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                                                     Exhibit A - Sound Recordings

    Artist                                Track                                             Plaintiff      Reg. No.
  1 Alabama                               Mountain Music                                    Arista Music   SR0000045289
  2 Alan Jackson                          Drive (For Daddy Gene)                            Arista Music   SR0000311615
  3 Alan Jackson                          It's Five O' Clock Somewhere                      Arista Music   SR0000340026
  4 Alan Jackson                          Where Were You (When the World Stopped Turning)   Arista Music   SR0000311615
  5 Alan Jackson                          www.memory                                        Arista Music   SR0000289367
  6 Alicia Keys                           A Woman's Worth                                   Arista Music   SR0000379937
  7 Alicia Keys                           As I Am (Intro)                                   Arista Music   SR0000627148
  8 Alicia Keys                           Butterflyz                                        Arista Music   SR0000299410
  9 Alicia Keys                           Caged Bird                                        Arista Music   SR0000299410
 10 Alicia Keys                           Diary                                             Arista Music   SR0000346869
 11 Alicia Keys                           Dragon Days                                       Arista Music   SR0000346869
 12 Alicia Keys                           Every Little Bit Hurts                            Arista Music   SR0000379937
 13 Alicia Keys                           Fallin'                                           Arista Music   PA0001328763
 14 Alicia Keys                           Feeling U, Feeling Me (Interlude)                 Arista Music   SR0000346869
 15 Alicia Keys                           Girlfriend                                        Arista Music   SR0000299410
 16 Alicia Keys                           Go Ahead                                          Arista Music   SR0000627148
 17 Alicia Keys                           Goodbye                                           Arista Music   SR0000299410
 18 Alicia Keys                           Harlem's Nocturne                                 Arista Music   SR0000346869
 19 Alicia Keys                           Heartburn                                         Arista Music   SR0000346869
 20 Alicia Keys                           I Need You                                        Arista Music   SR0000627148
 21 Alicia Keys                           If I Ain't Got You                                Arista Music   SR0000346869
 22 Alicia Keys                           If I Ain't Got You (Radio Edit)                   Arista Music   SR0000346869
 23 Alicia Keys                           If I Was Your Woman / Walk On By                  Arista Music   SR0000346869
 24 Alicia Keys                           Intro Alicia's Prayer (Acappella)                 Arista Music   SR0000379937
 25 Alicia Keys                           Jane Doe                                          Arista Music   SR0000299410
 26 Alicia Keys                           Karma                                             Arista Music   SR0000346869
 27 Alicia Keys                           Lesson Learned                                    Arista Music   SR0000627148
 28 Alicia Keys                           Like You'll Never See Me Again                    Arista Music   SR0000627148
 29 Alicia Keys                           Lovin U                                           Arista Music   SR0000299410
 30 Alicia Keys                           Never Felt This Way                               Arista Music   SR0000299410
 31 Alicia Keys                           No One                                            Arista Music   SR0000627148
 32 Alicia Keys                           Nobody Not Really (Interlude)                     Arista Music   SR0000346869
 33 Alicia Keys                           Piano & I                                         Arista Music   SR0000299410
 34 Alicia Keys                           Prelude To A Kiss                                 Arista Music   SR0000627148
 35 Alicia Keys                           Rock Wit U                                        Arista Music   SR0000299410
 36 Alicia Keys                           Samsonite Man                                     Arista Music   SR0000346869
 37 Alicia Keys                           Slow Down                                         Arista Music   SR0000346869
 38 Alicia Keys                           Stolen Moments                                    Arista Music   SR0000379937
 39 Alicia Keys                           Streets Of New York                               Arista Music   SR0000379937
 40 Alicia Keys                           Superwoman                                        Arista Music   SR0000627148
 41 Alicia Keys                           Sure Looks Good To Me                             Arista Music   SR0000627148
 42 Alicia Keys                           Teenage Love Affair                               Arista Music   SR0000627148
 43 Alicia Keys                           Tell You Something (Nana's Reprise)               Arista Music   SR0000627148
 44 Alicia Keys                           The Life                                          Arista Music   SR0000299410
 45 Alicia Keys                           The Thing About Love                              Arista Music   SR0000627148
 46 Alicia Keys                           Troubles                                          Arista Music   SR0000299410
 47 Alicia Keys                           Unbreakable                                       Arista Music   SR0000379937
 48 Alicia Keys                           Waiting For Your Love                             Arista Music   SR0000627148
 49 Alicia Keys                           Wake Up                                           Arista Music   SR0000346869
 50 Alicia Keys                           When You Really Love Someone                      Arista Music   SR0000346869
 51 Alicia Keys                           Where Do We Go From Here                          Arista Music   SR0000627148
 52 Alicia Keys                           Why Do I Feel So Sad                              Arista Music   SR0000299410
 53 Alicia Keys                           Wild Horses                                       Arista Music   SR0000379937
 54 Alicia Keys                           Wreckless Love                                    Arista Music   SR0000627148
 55 Alicia Keys                           You Don't Know My Name                            Arista Music   SR0000346869
 56 Alicia Keys feat. Lellow              So Simple                                         Arista Music   SR0000346869
 57 Alicia Keys;Jimmy Cozier              Mr. Man                                           Arista Music   SR0000299410
 58 Angie Stone feat. Alicia Keys & Eve   Brotha Part II                                    Arista Music   SR0000303830
 59 Avril Lavigne                         Complicated                                       Arista Music   PA0001328757
 60 Avril Lavigne                         Contagious                                        Arista Music   SR0000609671
 61 Avril Lavigne                         Everything Back But You                           Arista Music   SR0000609671
 62 Avril Lavigne                         Fall To Pieces                                    Arista Music   SR0000332312
 63 Avril Lavigne                         Forgotten                                         Arista Music   SR0000332312
 64 Avril Lavigne                         Freak Out                                         Arista Music   SR0000332312
 65 Avril Lavigne                         He Wasn't                                         Arista Music   SR0000332312
 66 Avril Lavigne                         Hot                                               Arista Music   SR0000609671
 67 Avril Lavigne                         How Does It Feel                                  Arista Music   SR0000332312
 68 Avril Lavigne                         I Always Get What I Want                          Arista Music   SR0000332312
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  69 Avril Lavigne                             I Can Do Better              Arista Music   SR0000609671
  70 Avril Lavigne                             I Don't Have To Try          Arista Music   SR0000609671
  71 Avril Lavigne                             Innocence                    Arista Music   SR0000609671
  72 Avril Lavigne                             Keep Holding On              Arista Music   SR0000609671
  73 Avril Lavigne                             My Happy Ending              Arista Music   SR0000332312
  74 Avril Lavigne                             Nobody's Home                Arista Music   SR0000332312
  75 Avril Lavigne                             One Of Those Girls           Arista Music   SR0000609671
  76 Avril Lavigne                             Runaway                      Arista Music   SR0000609671
  77 Avril Lavigne                             Slipped Away                 Arista Music   SR0000332312
  78 Avril Lavigne                             The Best Damn Thing          Arista Music   SR0000609671
  79 Avril Lavigne                             When You're Gone             Arista Music   SR0000609671
  80 Avril Lavigne                             Who Knows                    Arista Music   SR0000332312
  81 Brad Paisley                              All I Wanted Was a Car       Arista Music   SR0000610946
  82 Brad Paisley                              Better Than This             Arista Music   SR0000610946
  83 Brad Paisley                              Easy Money                   Arista Music   SR0000366007
  84 Brad Paisley                              Flowers                      Arista Music   SR0000366007
  85 Brad Paisley                              I'll Take You Back           Arista Music   SR0000366007
  86 Brad Paisley                              I'm Still A Guy              Arista Music   SR0000610946
  87 Brad Paisley                              If Love Was a Plane          Arista Music   SR0000610946
  88 Brad Paisley                              It Did                       Arista Music   SR0000610946
  89 Brad Paisley                              Letter To Me                 Arista Music   SR0000610946
  90 Brad Paisley                              Love Is Never-Ending         Arista Music   SR0000366007
  91 Brad Paisley                              Mr. Policeman                Arista Music   SR0000610946
  92 Brad Paisley                              Oh Love                      Arista Music   SR0000610946
  93 Brad Paisley                              Online                       Arista Music   SR0000610946
  94 Brad Paisley                              Out In The Parkin' Lot       Arista Music   SR0000366007
  95 Brad Paisley                              Out Take 3                   Arista Music   SR0000366007
  96 Brad Paisley                              Out Take 4                   Arista Music   SR0000366007
  97 Brad Paisley                              Outtake #2                   Arista Music   SR0000610946
  98 Brad Paisley                              Previously                   Arista Music   SR0000610946
  99 Brad Paisley                              Rainin' You                  Arista Music   SR0000366007
 100 Brad Paisley                              She's Everything             Arista Music   SR0000366007
 101 Brad Paisley                              Some Mistakes                Arista Music   SR0000610946
 102 Brad Paisley                              The Uncloudy Day             Arista Music   SR0000366007
 103 Brad Paisley                              The World                    Arista Music   SR0000366007
 104 Brad Paisley                              Throttleneck                 Arista Music   SR0000610946
 105 Brad Paisley                              Ticks                        Arista Music   SR0000610946
 106 Brad Paisley                              Time Warp                    Arista Music   SR0000366007
 107 Brad Paisley                              Time Well Wasted             Arista Music   SR0000366007
 108 Brad Paisley                              Waitin' On a Woman           Arista Music   SR0000366007
 109 Brad Paisley                              When I Get Where I'm Going   Arista Music   SR0000366007
 110 Brad Paisley                              When We All Get to Heaven    Arista Music   SR0000610946
 111 Brad Paisley                              With You, Without You        Arista Music   SR0000610946
 112 Brad Paisley                              You Need a Man Around Here   Arista Music   SR0000366007
     Brad Paisley feat. James Burton and The                                Arista Music   SR0000366007
 113 Kung Pao Buckaroos                        Cornography
     Brad Paisley feat. The Kung Pao
 114 Buckaroos                                 Bigger Fish to Fry           Arista Music   SR0000610946
 115 Christina Aguilera                        Candyman                     Arista Music   SR0000393677
 116 Citizen Cope                              107°                         Arista Music   SR0000395941
 117 Citizen Cope                              All Dressed Up               Arista Music   SR0000395941
 118 Citizen Cope                              Awe                          Arista Music   SR0000395941
 119 Citizen Cope                              Back Together                Arista Music   SR0000395941
 120 Citizen Cope                              Brother Lee                  Arista Music   SR0000395941
 121 Citizen Cope                              Bullet And A Target          Arista Music   SR0000355314
 122 Citizen Cope                              D'Artagnan's Theme           Arista Music   SR0000355314
 123 Citizen Cope                              Deep                         Arista Music   SR0000355314
 124 Citizen Cope                              Every Waking Moment          Arista Music   SR0000395941
 125 Citizen Cope                              Fame                         Arista Music   SR0000355314
 126 Citizen Cope                              Friendly Fire                Arista Music   SR0000395941
 127 Citizen Cope                              Hurricane Waters             Arista Music   SR0000355314
 128 Citizen Cope                              John Lennon                  Arista Music   SR0000395941
 129 Citizen Cope                              Left For Dead                Arista Music   SR0000395941
 130 Citizen Cope                              More Than It Seems           Arista Music   SR0000395941
 131 Citizen Cope                              My Way Home                  Arista Music   SR0000355314
 132 Citizen Cope                              Nite Becomes Day             Arista Music   SR0000355314
 133 Citizen Cope                              Pablo Picasso                Arista Music   SR0000355314
 134 Citizen Cope                              Penitentiary                 Arista Music   SR0000355314
 135 Citizen Cope                              Sideways                     Arista Music   SR0000355314
 136 Citizen Cope                              Somehow                      Arista Music   SR0000395941
 137 Citizen Cope                              Son's Gonna Rise             Arista Music   SR0000355314
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 138 Dave Matthews Band   #34                                           Arista Music   SR0000285688
 139 Dave Matthews Band   #41                                           Arista Music   SR0000212572
 140 Dave Matthews Band   American Baby Intro                           Arista Music   SR0000385935
 141 Dave Matthews Band   Angel                                         Arista Music   SR0000300313
 142 Dave Matthews Band   Ants Marching                                 Arista Music   SR0000285688
 143 Dave Matthews Band   Bartender                                     Arista Music   SR0000321902
 144 Dave Matthews Band   Big Eyed Fish                                 Arista Music   SR0000321902
 145 Dave Matthews Band   Busted Stuff                                  Arista Music   SR0000321902
 146 Dave Matthews Band   Captain                                       Arista Music   SR0000321902
 147 Dave Matthews Band   Crash Into Me                                 Arista Music   SR0000212572
 148 Dave Matthews Band   Crush                                         Arista Music   SR0000257982
 149 Dave Matthews Band   Cry Freedom                                   Arista Music   SR0000212572
 150 Dave Matthews Band   Dancing Nancies                               Arista Music   SR0000285688
 151 Dave Matthews Band   Digging a Ditch                               Arista Music   SR0000321902
 152 Dave Matthews Band   Don't Drink The Water                         Arista Music   SR0000257982
 153 Dave Matthews Band   Dreamgirl                                     Arista Music   SR0000385935
 154 Dave Matthews Band   Dreams of Our Fathers                         Arista Music   SR0000300313
 155 Dave Matthews Band   Drive in Drive Out                            Arista Music   SR0000212572
 156 Dave Matthews Band   Everybody Wake Up (Our Finest Hour Arrives)   Arista Music   SR0000385935
 157 Dave Matthews Band   Everyday                                      Arista Music   SR0000300313
 158 Dave Matthews Band   Fool to Think                                 Arista Music   SR0000300313
 159 Dave Matthews Band   Grace Is Gone                                 Arista Music   SR0000321902
 160 Dave Matthews Band   Grey Street                                   Arista Music   SR0000321902
 161 Dave Matthews Band   Halloween                                     Arista Music   SR0000257982
 162 Dave Matthews Band   Hunger For The Great Light                    Arista Music   SR0000385935
 163 Dave Matthews Band   I Did It                                      Arista Music   SR0000300313
 164 Dave Matthews Band   If I Had It All                               Arista Music   SR0000300313
 165 Dave Matthews Band   Jimi Thing                                    Arista Music   SR0000285688
 166 Dave Matthews Band   Kit Kat Jam                                   Arista Music   SR0000321902
 167 Dave Matthews Band   Let You Down                                  Arista Music   SR0000212572
 168 Dave Matthews Band   Lie in Our Graves                             Arista Music   SR0000212572
 169 Dave Matthews Band   Louisiana Bayou                               Arista Music   SR0000385935
 170 Dave Matthews Band   Lover Lay Down                                Arista Music   SR0000285688
 171 Dave Matthews Band   Mother Father                                 Arista Music   SR0000300313
 172 Dave Matthews Band   Old Dirt Hill (Bring That Beat Back)          Arista Music   SR0000385935
 173 Dave Matthews Band   Out of My Hands                               Arista Music   SR0000385935
 174 Dave Matthews Band   Pantala Naga Pampa                            Arista Music   SR0000257982
 175 Dave Matthews Band   Pay for What You Get                          Arista Music   SR0000285688
 176 Dave Matthews Band   Pig                                           Arista Music   SR0000257982
 177 Dave Matthews Band   Proudest Monkey                               Arista Music   SR0000212572
 178 Dave Matthews Band   Rapunzel                                      Arista Music   SR0000257982
 179 Dave Matthews Band   Raven                                         Arista Music   SR0000321902
 180 Dave Matthews Band   Rhyme & Reason                                Arista Music   SR0000285688
 181 Dave Matthews Band   Satellite                                     Arista Music   SR0000285688
 182 Dave Matthews Band   Say Goodbye                                   Arista Music   SR0000212572
 183 Dave Matthews Band   Sleep to Dream Her                            Arista Music   SR0000300313
 184 Dave Matthews Band   Smooth Rider                                  Arista Music   SR0000385935
 185 Dave Matthews Band   So Much To Say                                Arista Music   SR0000212572
 186 Dave Matthews Band   So Right                                      Arista Music   SR0000300313
 187 Dave Matthews Band   Spoon                                         Arista Music   SR0000257982
 188 Dave Matthews Band   Stand Up (For It)                             Arista Music   SR0000385935
 189 Dave Matthews Band   Stay (Wasting Time)                           Arista Music   SR0000257982
 190 Dave Matthews Band   Steady as We Go                               Arista Music   SR0000385935
 191 Dave Matthews Band   Stolen Away on 55th & 3rd                     Arista Music   SR0000385935
 192 Dave Matthews Band   The Best of What's Around                     Arista Music   SR0000285688
 193 Dave Matthews Band   The Dreaming Tree                             Arista Music   SR0000257982
 194 Dave Matthews Band   The Last Stop                                 Arista Music   SR0000257982
 195 Dave Matthews Band   The Space Between                             Arista Music   SR0000300313
 196 Dave Matthews Band   The Stone                                     Arista Music   SR0000257982
 197 Dave Matthews Band   Too Much                                      Arista Music   SR0000212572
 198 Dave Matthews Band   Tripping Billies                              Arista Music   SR0000212572
 199 Dave Matthews Band   Two Step                                      Arista Music   SR0000212572
 200 Dave Matthews Band   Typical Situation                             Arista Music   SR0000285688
 201 Dave Matthews Band   Warehouse                                     Arista Music   SR0000285688
 202 Dave Matthews Band   What Would You Say                            Arista Music   SR0000285688
 203 Dave Matthews Band   What You Are                                  Arista Music   SR0000300313
 204 Dave Matthews Band   When The World Ends                           Arista Music   SR0000300313
 205 Dave Matthews Band   Where Are You Going                           Arista Music   SR0000321902
 206 Dave Matthews Band   You Might Die Trying                          Arista Music   SR0000385935
 207 Dave Matthews Band   You Never Know                                Arista Music   SR0000321902
 208 Diamond Rio          Beautiful Mess                                Arista Music   SR0000319527
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 209 Etta James                                Crawlin' King Snake                                         Arista Music   SR0000356724
 210 Etta James                                I'll Be Seeing You                                          Arista Music   SR0000187947
 211 Etta James                                I've Been Lovin' You Too Long                               Arista Music   SR0000279857
 212 Etta James                                If I Had Any Pride Left At All                              Arista Music   SR0000279857
 213 Etta James                                It's a Man's Man's Man's World                              Arista Music   SR0000386246
 214 Etta James                                Strongest Weakness                                          Arista Music   SR0000339597
 215 Etta James                                The Blues Is My Business                                    Arista Music   SR0000339597
 216 Etta James                                The Man I Love                                              Arista Music   SR0000187947
 217 Etta James                                The Very Thought Of You                                     Arista Music   SR0000187947
 218 Etta James                                Try a Little Tenderness                                     Arista Music   SR0000270247
 219 Heather Headley                           Am I Worth It                                               Arista Music   SR0000382683
 220 Heather Headley                           Back When It Was                                            Arista Music   SR0000382683
 221 Heather Headley                           Change                                                      Arista Music   SR0000382683
 222 Heather Headley                           I Didn't Mean To                                            Arista Music   SR0000382683
 223 Heather Headley                           In My Mind                                                  Arista Music   SR0000382683
 224 Heather Headley                           Losing You                                                  Arista Music   SR0000382683
 225 Heather Headley                           Me Time                                                     Arista Music   SR0000382683
 226 Heather Headley                           The Letter                                                  Arista Music   SR0000382683
 227 Heather Headley                           Wait A Minute                                               Arista Music   SR0000382683
 228 Heather Headley                           What's Not Being Said                                       Arista Music   SR0000382683
 229 Heather Headley featuring Shaggy          Rain                                                        Arista Music   SR0000382683
 230 Heather Headley featuring Vybz Kartel     How Many Ways                                               Arista Music   SR0000382683
 231 Hurricane Chris                           Beat In My Trunk                                            Arista Music   SR0000620403
 232 Hurricane Chris                           Do Something                                                Arista Music   SR0000620403
 233 Hurricane Chris                           Doin' My Thang                                              Arista Music   SR0000620403
 234 Hurricane Chris                           Leaving You                                                 Arista Music   SR0000620403
 235 Hurricane Chris                           New Fashion                                                 Arista Music   SR0000620403
 236 Hurricane Chris                           Touch Me                                                    Arista Music   SR0000620403
 237 Hurricane Chris                           Walk Like That                                              Arista Music   SR0000620403
     Hurricane Chris featuring Big Poppa of
 238 Ratchet City & Bigg Redd                  Bang                                                        Arista Music   SR0000620403
 239 Hurricane Chris featuring Boxie           Playas Rock                                                 Arista Music   SR0000620403
 240 Hurricane Chris featuring Nicole Wray     Getting Money                                               Arista Music   SR0000620403
 241 Hurricane Chris featuring Nicole Wray     Momma                                                       Arista Music   SR0000620403
     Hurricane Chris featuring The Game, Lil
     Boosie, Baby, E-40, Angie Locc of Lava
 242 House & Jadakiss                          A Bay Bay (The Ratchet Remix)                               Arista Music   SR0000620403
 243 Jamey Johnson                             It Was Me                                                   Arista Music   SR0000374946
 244 Jamey Johnson                             Redneck Side of Me                                          Arista Music   SR0000374946
 245 Jamie Foxx                                DJ Play A Love Song                                         Arista Music   SR0000374820
 246 Jamie Foxx                                Love Changes                                                Arista Music   SR0000374820
 247 Jamie Foxx                                Unpredictable                                               Arista Music   SR0000374820
 248 Jamie Foxx                                With You                                                    Arista Music   SR0000374820
 249 Jazmine Sullivan                          After The Hurricane                                         Arista Music   SR0000618093
 250 Jazmine Sullivan                          Bust Your Windows                                           Arista Music   SR0000618093
 251 Jazmine Sullivan                          Call Me Guilty                                              Arista Music   SR0000618093
 252 Jazmine Sullivan                          Dream Big                                                   Arista Music   SR0000618093
 253 Jazmine Sullivan                          Fear                                                        Arista Music   SR0000618093
 254 Jazmine Sullivan                          In Love With Another Man                                    Arista Music   SR0000618093
 255 Jazmine Sullivan                          Lions, Tigers & Bears                                       Arista Music   SR0000618093
 256 Jazmine Sullivan                          Live A Lie                                                  Arista Music   SR0000618093
 257 Jazmine Sullivan                          My Foolish Heart                                            Arista Music   SR0000618093
 258 Jazmine Sullivan                          Need U Bad                                                  Arista Music   SR0000613934
 259 Jazmine Sullivan                          One Night Stand                                             Arista Music   SR0000618093
 260 Jazmine Sullivan                          Switch!                                                     Arista Music   SR0000618093
 261 John Denver                               Annie's Song                                                Arista Music   SR0000046358
 262 John Denver                               Back Home Again                                             Arista Music   SR0000046358
 263 John Denver                               Calypso                                                     Arista Music   RE0000918692
 264 John Denver                               Darcy Farrow                                                Arista Music   RE0000919266
 265 John Denver                               Fall                                                        Arista Music   RE0000919266
 266 John Denver                               Fly Away                                                    Arista Music   RE0000918692
 267 John Denver                               For Baby (For Bobbie)                                       Arista Music   RE0000919266
 268 John Denver                               Goodbye Again                                               Arista Music   RE0000919266

 269 John Denver                               Late Winter, Early Spring (When Everybody Goes To Mexico)   Arista Music   RE0000919266
 270 John Denver                               Like a Sad Song                                             Arista Music   RE0000918620
 271 John Denver                               Looking for Space                                           Arista Music   RE0000918692
 272 John Denver                               Mother Nature's Son                                         Arista Music   RE0000919266
 273 John Denver                               Prisoners                                                   Arista Music   RE0000919266
 274 John Denver                               Rocky Mountain High                                         Arista Music   RE0000919266
 275 John Denver                               Shanghai Breezes                                            Arista Music   SR0000039874
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 276 John Denver                Spring                                        Arista Music   RE0000919266
 277 John Denver                Summer                                        Arista Music   RE0000919266
 278 John Denver                Sweet Surrender                               Arista Music   RE0000919475
 279 John Denver                Thank God I'm a Country Boy                   Arista Music   SR0000046358
 280 John Denver                Wild Montana Skies                            Arista Music   SR0000049211
 281 John Denver                Winter                                        Arista Music   RE0000919266
 282 Kenny Chesney              All I Need To Know                            Arista Music   SR0000208984
 283 Kenny Chesney              All I Want For Christmas Is A Real Good Tan   Arista Music   SR0000333554
 284 Kenny Chesney              Back Where I Come From                        Arista Music   SR0000277700
 285 Kenny Chesney              Baptism                                       Arista Music   SR0000263302
 286 Kenny Chesney              Because Of Your Love                          Arista Music   SR0000277700
 287 Kenny Chesney              Christmas In Dixie                            Arista Music   SR0000333554
 288 Kenny Chesney              Don't Happen Twice                            Arista Music   SR0000277700
 289 Kenny Chesney              Fall In Love                                  Arista Music   SR0000208984
 290 Kenny Chesney              For The First Time                            Arista Music   SR0000277700
 291 Kenny Chesney              How Forever Feels                             Arista Music   SR0000263302
 292 Kenny Chesney              I Lost It                                     Arista Music   SR0000277700
 293 Kenny Chesney              I'll Be Home For Christmas                    Arista Music   SR0000333554
 294 Kenny Chesney              Jingle Bells                                  Arista Music   SR0000333554
 295 Kenny Chesney              Just A Kid                                    Arista Music   SR0000333554
 296 Kenny Chesney              Me And You                                    Arista Music   SR0000208984
 297 Kenny Chesney              O Little Town Of Bethlehem                    Arista Music   SR0000333554
 298 Kenny Chesney              Pretty Paper                                  Arista Music   SR0000333554
 299 Kenny Chesney              She Thinks My Tractor's Sexy                  Arista Music   SR0000263302
 300 Kenny Chesney              She's Got It All                              Arista Music   SR0000238371
 301 Kenny Chesney              Silent Night                                  Arista Music   SR0000333554
 302 Kenny Chesney              Silver Bells                                  Arista Music   SR0000333554
 303 Kenny Chesney              Thank God For Kids                            Arista Music   SR0000333554
 304 Kenny Chesney              That's Why I'm Here                           Arista Music   SR0000238371
 305 Kenny Chesney              The Angel At The Top Of My Tree               Arista Music   SR0000333554
 306 Kenny Chesney              The Tin Man                                   Arista Music   SR0000208984
 307 Kenny Chesney              When I Close My Eyes                          Arista Music   SR0000238371
 308 Kenny Chesney              You Had Me From Hello                         Arista Music   SR0000263302
 309 Kings Of Leon              California Waiting                            Arista Music   SR0000330401
 310 Kings Of Leon              Holy Roller Novocaine                         Arista Music   SR0000330401
 311 Kings Of Leon              Molly's Chambers                              Arista Music   SR0000330401
 312 Kings Of Leon              Wasted Time                                   Arista Music   SR0000330401
 313 Kings Of Leon              Wicker Chair                                  Arista Music   SR0000330401
 314 Luther Vandross            I'd Rather                                    Arista Music   SR0000298047
 315 Luther Vandross            Take You Out                                  Arista Music   SR0000298047
 316 Mario                      Let Me Love You                               Arista Music   SR0000363091
 317 SWV                        Anything                                      Arista Music   SR0000146905
 318 SWV                        Blak Pudd'n                                   Arista Music   SR0000146905
 319 SWV                        Can We                                        Arista Music   SR0000249300
 320 SWV                        Come And Get Some                             Arista Music   SR0000249300
 321 SWV                        Coming Home                                   Arista Music   SR0000146905
 322 SWV                        Downtown                                      Arista Music   SR0000146905
 323 SWV                        Gettin' Funky                                 Arista Music   SR0000249300
 324 SWV                        Give It To Me                                 Arista Music   SR0000146905
 325 SWV                        Give It Up                                    Arista Music   SR0000249300
 326 SWV                        Here For You                                  Arista Music   SR0000249300
 327 SWV                        I'm so into You                               Arista Music   SR0000146905
 328 SWV                        It's About Time                               Arista Music   SR0000146905
 329 SWV                        Lose Myself                                   Arista Music   SR0000249300
 330 SWV                        Love Like This                                Arista Music   SR0000249300
 331 SWV                        Rain                                          Arista Music   SR0000249300
 332 SWV                        Release Some Tension                          Arista Music   SR0000249300
 333 SWV                        Right Here                                    Arista Music   SR0000146905
 334 SWV                        SWV (In The House)                            Arista Music   SR0000146905
 335 SWV                        That's What I Need                            Arista Music   SR0000146905
 336 SWV                        Think You're Gonna Like It                    Arista Music   SR0000146905
 337 SWV                        Weak                                          Arista Music   SR0000146905
 338 SWV                        Weak (A Cappella)                             Arista Music   SR0000146905
 339 SWV                        When U Cry                                    Arista Music   SR0000249300
 340 SWV                        You're Always On My Mind                      Arista Music   SR0000146905
 341 SWV                        You're The One                                Arista Music   PA0001288814
 342 SWV featuring Puff Daddy   Someone                                       Arista Music   SR0000249300
 343 SWV featuring Redman       Lose My Cool                                  Arista Music   SR0000249300
 344 The Chieftains             Molly Ban                                     Arista Music   SR0000344757
 345 Usher                      Bad Girl                                      Arista Music   SR0000354784
 346 Usher                      Burn                                          Arista Music   SR0000354784
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 347 Usher                                  Can U Handle It?                                          Arista Music         SR0000354784
 348 Usher                                  Caught Up                                                 Arista Music         SR0000354784
 349 Usher                                  Confessions                                               Arista Music         SR0000354784
 350 Usher                                  Confessions Part II                                       Arista Music         SR0000354784
 351 Usher                                  Do It To Me                                               Arista Music         SR0000354784
 352 Usher                                  Follow Me                                                 Arista Music         SR0000354784
 353 Usher                                  Simple Things                                             Arista Music         SR0000354784
 354 Usher                                  Superstar                                                 Arista Music         SR0000354784
 355 Usher                                  Take Your Hand                                            Arista Music         SR0000354784
 356 Usher                                  That's What It's Made For                                 Arista Music         SR0000354784
 357 Usher                                  Throwback                                                 Arista Music         SR0000354784
 358 Usher                                  Truth Hurts                                               Arista Music         SR0000354784
 359 Usher                                  Yeah!                                                     Arista Music         SR0000354784
 360 Waylon Jennings                        Luckenbach, Texas (Back to the Basics of Love)            Arista Music         RE0000919768
 361 Whitney Houston                        Cantique De Noel (O Holy Night)                           Arista Music         SR0000353688
 362 Whitney Houston                        Deck the Halls / Silent Night                             Arista Music         SR0000353688
 363 Whitney Houston                        Have Yourself a Merry Little Christmas                    Arista Music         SR0000353688
 364 Whitney Houston                        I'll Be Home for Christmas                                Arista Music         SR0000353688
 365 Whitney Houston                        Little Drummer Boy                                        Arista Music         SR0000353688
 366 Whitney Houston                        O Come O Come Emanuel                                     Arista Music         SR0000353688
 367 Whitney Houston                        One Wish (For Christmas)                                  Arista Music         SR0000353688
 368 Whitney Houston                        The Christmas Song (Chestnuts Roasting on an Open Fire)   Arista Music         SR0000353688
 369 Whitney Houston                        The First Noel                                            Arista Music         SR0000353688

 370 Whitney Houston                       Who Would Imagine A King - (From "The Preacher's Wife")    Arista Music         SR0000353688
     Whitney Houston with The Georgia Mass
 371 Choir                                 Joy To The World                                           Arista Music         SR0000353688
 372 Air Supply                            American Hearts                                            Arista Records LLC   SR0000038070
 373 Air Supply                            Chances                                                    Arista Records LLC   SR0000038070
 374 Air Supply                            Don't Turn Me Away                                         Arista Records LLC   SR0000027866
 375 Air Supply                            Having You Near Me                                         Arista Records LLC   SR0000038070
 376 Air Supply                            I Can't Get Excited                                        Arista Records LLC   SR0000038070
 377 Air Supply                            I Want to Give It All                                      Arista Records LLC   SR0000027856
 378 Air Supply                            I'll Never Get Enough Of You                               Arista Records LLC   SR0000027866
 379 Air Supply                            I've Got Your Love                                         Arista Records LLC   SR0000027866
 380 Air Supply                            Just Another Woman                                         Arista Records LLC   SR0000038070
 381 Air Supply                            Keeping the Love Alive                                     Arista Records LLC   SR0000027866
 382 Air Supply                            My Best Friend                                             Arista Records LLC   SR0000038070
 383 Air Supply                            Old Habits Die Hard                                        Arista Records LLC   SR0000038070
 384 Air Supply                            The One That You Love                                      Arista Records LLC   SR0000027856
 385 Air Supply                            This Heart Belongs To Me                                   Arista Records LLC   SR0000027866
 386 Air Supply                            Tonite                                                     Arista Records LLC   SR0000027866
 387 Alan Jackson                          Chasin' That Neon Rainbow                                  Arista Records LLC   SR0000120465
 388 Alan Jackson                          Chattahoochee                                              Arista Records LLC   SR0000147716
 389 Alan Jackson                          Don't Rock The Jukebox                                     Arista Records LLC   SR0000138302
 390 Alan Jackson                          Everything I Love                                          Arista Records LLC   SR0000227719
 391 Alan Jackson                          Gone Country                                               Arista Records LLC   SR0000202090
 392 Alan Jackson                          Here In The Real World                                     Arista Records LLC   SR0000120465
 393 Alan Jackson                          It Must Be Love                                            Arista Records LLC   SR0000303828
 394 Alan Jackson                          Little Bitty                                               Arista Records LLC   SR0000227719
 395 Alan Jackson                          Little Man                                                 Arista Records LLC   SR0000295185
 396 Alan Jackson                          Livin' On Love                                             Arista Records LLC   SR0000202090
 397 Alan Jackson                          Midnight In Montgomery                                     Arista Records LLC   SR0000138302
 398 Alan Jackson                          Pop A Top                                                  Arista Records LLC   SR0000303828
 399 Alan Jackson                          Right On the Money                                         Arista Records LLC   SR0000295185
 400 Alan Jackson                          She's Got the Rhythm (And I Got the Blues)                 Arista Records LLC   SR0000147716
 401 Alan Jackson                          Tall, Tall Trees                                           Arista Records LLC   SR0000216936
 402 Alan Jackson                          Who's Cheatin' Who                                         Arista Records LLC   SR0000227719
 403 Annie Lennox                          Cold                                                       Arista Records LLC   SR0000145693
 404 Annie Lennox                          Little Bird                                                Arista Records LLC   SR0000145693
 405 Annie Lennox                          Precious                                                   Arista Records LLC   SR0000145683
 406 Annie Lennox                          Walking On Broken Glass                                    Arista Records LLC   SR0000145693
 407 Annie Lennox                          Why                                                        Arista Records LLC   SR0000145693
 408 Anthony Hamilton                      Diamond In The Rough                                       Arista Records LLC   SR0000625444
 409 Anthony Hamilton                      Fallin' In Love                                            Arista Records LLC   SR0000625444
 410 Anthony Hamilton                      Fine Again                                                 Arista Records LLC   SR0000625444
 411 Anthony Hamilton                      Hard To Breathe                                            Arista Records LLC   SR0000625444
 412 Anthony Hamilton                      Her Heart                                                  Arista Records LLC   SR0000625444
 413 Anthony Hamilton                      I Did It For Sho                                           Arista Records LLC   SR0000625444
 414 Anthony Hamilton                      Please Stay                                                Arista Records LLC   SR0000625444
 415 Anthony Hamilton                      Prayin' For You/Superman                                   Arista Records LLC   SR0000625444
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 416 Anthony Hamilton                         Soul's On Fire                                          Arista Records LLC   SR0000625444
 417 Anthony Hamilton                         The Day We Met                                          Arista Records LLC   SR0000625444
 418 Anthony Hamilton                         The News                                                Arista Records LLC   SR0000625444
 419 Anthony Hamilton                         The Point Of It All                                     Arista Records LLC   SR0000625444

 420 Anthony Hamilton featuring David Banner Cool                                                     Arista Records LLC   PA0001640157
 421 Avril Lavigne                           Anything But Ordinary                                    Arista Records LLC   SR0000312786
 422 Avril Lavigne                           I'm with You                                             Arista Records LLC   SR0000312786
 423 Avril Lavigne                           Losing Grip                                              Arista Records LLC   SR0000312786
 424 Avril Lavigne                           Mobile                                                   Arista Records LLC   SR0000312786
 425 Avril Lavigne                           Naked                                                    Arista Records LLC   SR0000312786
 426 Avril Lavigne                           Nobody's Fool                                            Arista Records LLC   SR0000312786
 427 Avril Lavigne                           Sk8er Boi                                                Arista Records LLC   SR0000312786
 428 Avril Lavigne                           Things I'll Never Say                                    Arista Records LLC   SR0000312786
 429 Avril Lavigne                           Tomorrow                                                 Arista Records LLC   SR0000312786
 430 Brandy                                  Sittin' Up In My Room                                    Arista Records LLC   SR0000219539
 431 Brooks & Dunn                           Boot Scootin' Boogie                                     Arista Records LLC   SR0000140290
 432 John Williams                           March from 1941                                          Arista Records LLC   SR0000019891
 433 Kenny G                                 Against Doctor's Orders                                  Arista Records LLC   SR0000135107
 434 Kenny G                                 Brazil                                                   Arista Records LLC   SR0000321704
 435 Kenny G                                 Desafinado                                               Arista Records LLC   SR0000289898
 436 Kenny G                                 Havana                                                   Arista Records LLC   SR0000236228
 437 Kenny G                                 Have Yourself a Merry Little Christmas                   Arista Records LLC   SR0000206848
 438 Kenny G                                 I'm in the Mood for Love                                 Arista Records LLC   SR0000399076
 439 Kenny G                                 It Had To Be You                                         Arista Records LLC   SR0000399076
 440 Kenny G                                 Loving You                                               Arista Records LLC   SR0000248755

 441 Kenny G                                  Medley: Deck the Halls / The Twelve Days of Christmas   Arista Records LLC   SR0000322511
 442 Kenny G                                  Round Midnight                                          Arista Records LLC   SR0000289898
 443 Kenny G                                  Sade                                                    Arista Records LLC   SR0000079028
 444 Kenny G                                  Silhouette                                              Arista Records LLC   SR0000135107
 445 Kenny G                                  Slip of the Tongue                                      Arista Records LLC   SR0000079028
 446 Kenny G                                  Songbird                                                Arista Records LLC   SR0000079028
 447 Kenny G                                  The Champion's Theme                                    Arista Records LLC   SR0000236228
 448 Kenny G                                  The Look Of Love                                        Arista Records LLC   SR0000289898
 449 Kenny G                                  The Moment                                              Arista Records LLC   SR0000236228
 450 Kenny G                                  Theme from "Dying Young"                                Arista Records LLC   SR0000263707
 451 Monica featuring OutKast                 Gone Be Fine                                            Arista Records LLC   SR0000263982
 452 OutKast                                  A Life In The of Benjamin Andre (Incomplete)            Arista Records LLC   SR0000340520
 453 OutKast                                  Da Art of Storytellin' (Pt. 1) (Explicit)               Arista Records LLC   SR0000264092
 454 OutKast                                  Da Art of Storytellin' (Pt. 2) (Explicit)               Arista Records LLC   SR0000264092
 455 OutKast                                  Return of the "G" (Explicit)                            Arista Records LLC   SR0000264092
 456 OutKast featuring George Clinton         Synthesizer (Explicit)                                  Arista Records LLC   SR0000264092
 457 P!nk                                     18 Wheeler                                              Arista Records LLC   SR0000326672
 458 P!nk                                     Dear Diary                                              Arista Records LLC   SR0000326672
 459 P!nk                                     Don't Let Me Get Me                                     Arista Records LLC   SR0000326672
 460 P!nk                                     Eventually                                              Arista Records LLC   SR0000326672
 461 P!nk                                     Family Portrait                                         Arista Records LLC   SR0000326672
 462 P!nk                                     Get The Party Started                                   Arista Records LLC   SR0000326672
 463 P!nk                                     God Is A DJ                                             Arista Records LLC   SR0000345431
 464 P!nk                                     Gone to California                                      Arista Records LLC   SR0000326672
 465 P!nk                                     Just Like A Pill                                        Arista Records LLC   SR0000326672
 466 P!nk                                     Lonely Girl                                             Arista Records LLC   SR0000326672
 467 P!nk                                     Misery                                                  Arista Records LLC   SR0000326672
 468 P!nk                                     Missunaztood                                            Arista Records LLC   SR0000326672
 469 P!nk                                     My Vietnam                                              Arista Records LLC   SR0000326672
 470 P!nk                                     Numb                                                    Arista Records LLC   SR0000326672
 471 P!nk                                     Trouble                                                 Arista Records LLC   SR0000344428
 472 Paula DeAnda                             Breathe                                                 Arista Records LLC   SR0000393631
 473 Paula DeAnda                             Doing Too Much                                          Arista Records LLC   SR0000393631
 474 Paula DeAnda                             Easy                                                    Arista Records LLC   SR0000393631
 475 Paula DeAnda                             Footprints On My Heart                                  Arista Records LLC   SR0000393631
 476 Paula DeAnda                             Good Girl                                               Arista Records LLC   SR0000393631
 477 Paula Deanda                             I'll Be Down For You                                    Arista Records LLC   SR0000393631
 478 Paula DeAnda                             Overloved                                               Arista Records LLC   SR0000393631
 479 Paula DeAnda                             So Cold                                                 Arista Records LLC   SR0000393631
 480 Paula DeAnda                             When It Was Me                                          Arista Records LLC   SR0000393631
 481 Paula DeAnda feat. The Dey               Walk Away (Remember Me)                                 Arista Records LLC   SR0000393631
 482 Paula DeAnda featuring Ak'Sent           Clap Ta This                                            Arista Records LLC   SR0000393631
 483 Paula DeAnda featuring P.B.              Let's Go Out Tonight                                    Arista Records LLC   SR0000393631
 484 Paula DeAnda featuring V Nice            Wanna Be With You                                       Arista Records LLC   SR0000393631
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 485 RUN-DMC                                  Beats to the Rhyme                     Arista Records LLC   SR0000124365
 486 RUN-DMC                                  Down With The King                     Arista Records LLC   SR0000291221
 487 RUN-DMC                                  Faces                                  Arista Records LLC   SR0000124852
 488 RUN-DMC                                  Hit It Run                             Arista Records LLC   SR0000124846
 489 RUN-DMC                                  I'm Not Going Out Like That            Arista Records LLC   SR0000124365
 490 RUN-DMC                                  It's Like That                         Arista Records LLC   SR0000044959
 491 RUN-DMC                                  It's Tricky                            Arista Records LLC   SR0000124846
 492 RUN-DMC                                  King Of Rock                           Arista Records LLC   SR0000124851
 493 RUN-DMC                                  Mary, Mary                             Arista Records LLC   SR0000124365
 494 RUN-DMC                                  My Adidas                              Arista Records LLC   SR0000124846
 495 RUN-DMC                                  Run's House                            Arista Records LLC   SR0000124365
 496 RUN-DMC                                  What's It All About                    Arista Records LLC   SR0000124852
 497 RUN-DMC                                  You Be Illin'                          Arista Records LLC   SR0000124846
 498 RUN-DMC                                  You Talk Too Much                      Arista Records LLC   SR0000124851
 499 Santana                                  (Da Le) Yaleo                          Arista Records LLC   SR0000289833
 500 Santana                                  Africa Bamba                           Arista Records LLC   SR0000289833
 501 Santana                                  Corazon Espinado                       Arista Records LLC   SR0000289833
 502 Santana                                  El Farol                               Arista Records LLC   SR0000289833
 503 Santana                                  Maria Maria                            Arista Records LLC   SR0000289833
 504 Santana                                  Migra                                  Arista Records LLC   SR0000289833
 505 Santana                                  Primavera                              Arista Records LLC   SR0000289833
 506 Santana                                  Put Your Lights On                     Arista Records LLC   SR0000289833
 507 Santana                                  Smooth                                 Arista Records LLC   SR0000289833
     Santana feat. Dave Matthews & Carter
 508 Beauford                                 Love Of My Life                        Arista Records LLC   SR0000289833
 509 Santana featuring Eagle-Eye Cherry       Wishing It Was                         Arista Records LLC   SR0000289833
 510 Santana featuring Lauryn Hill & Cee-Lo   Do You Like The Way                    Arista Records LLC   SR0000289833
 511 Sarah McLachlan                          Adia                                   Arista Records LLC   SR0000243027
 512 Sarah McLachlan                          Ben's Song                             Arista Records LLC   SR0000137750
 513 Sarah McLachlan                          Building A Mystery                     Arista Records LLC   SR0000243027
 514 Sarah McLachlan                          Drawn to the Rhythm                    Arista Records LLC   SR0000140285
 515 Sarah McLachlan                          Fallen                                 Arista Records LLC   SR0000345432
 516 Sarah McLachlan                          Fumbling Towards Ecstasy               Arista Records LLC   SR0000200152
 517 Sarah McLachlan                          Good Enough                            Arista Records LLC   SR0000200152
 518 Sarah McLachlan                          Hold On                                Arista Records LLC   SR0000200152
 519 Sarah Mclachlan                          I Will Remember You                    Arista Records LLC   SR0000219471
 520 Sarah McLachlan                          Ice Cream                              Arista Records LLC   SR0000200152
 521 Sarah McLachlan                          Into the Fire                          Arista Records LLC   SR0000140285
 522 Sarah McLachlan                          Mercy                                  Arista Records LLC   SR0000140285
 523 Sarah McLachlan                          Possession                             Arista Records LLC   SR0000200152
 524 Sarah McLachlan                          Push                                   Arista Records LLC   SR0000345432
 525 Sarah McLachlan                          Steaming                               Arista Records LLC   SR0000137750
 526 Sarah McLachlan                          Stupid                                 Arista Records LLC   SR0000345432
 527 Sarah McLachlan                          Sweet Surrender                        Arista Records LLC   SR0000243027
 528 Sarah McLachlan                          The Path of Thorns (Terms)             Arista Records LLC   SR0000140285
 529 Sarah McLachlan                          Vox                                    Arista Records LLC   SR0000137750
 530 Sarah McLachlan                          World On Fire                          Arista Records LLC   SR0000345432
 531 The Alan Parsons Project                 Any Other Day                          Arista Records LLC   SR0000609687
 532 The Alan Parsons Project                 Children Of The Moon                   Arista Records LLC   SR0000037591
 533 The Alan Parsons Project                 Eye In The Sky                         Arista Records LLC   SR0000037591
 534 The Alan Parsons Project                 Eye Pieces                             Arista Records LLC   SR0000609687
 535 The Alan Parsons Project                 Gemini                                 Arista Records LLC   SR0000037591
 536 The Alan Parsons Project                 Mammagamma                             Arista Records LLC   SR0000037591
 537 The Alan Parsons Project                 Old & Wise                             Arista Records LLC   SR0000609687
 538 The Alan Parsons Project                 Old and Wise                           Arista Records LLC   SR0000037591
 539 The Alan Parsons Project                 Psychobabble                           Arista Records LLC   SR0000037591
 540 The Alan Parsons Project                 Silence and I                          Arista Records LLC   SR0000037591
 541 The Alan Parsons Project                 SIRIUS                                 Arista Records LLC   SR0000037591
 542 The Alan Parsons Project                 Step By Step                           Arista Records LLC   SR0000037591
 543 The Alan Parsons Project                 The Naked Eye                          Arista Records LLC   SR0000609687
 544 The Alan Parsons Project                 You're Gonna Get Your Fingers Burned   Arista Records LLC   SR0000037591
 545 Whitney Houston                          Didn't We Almost Have It All           Arista Records LLC   SR0000089966
 546 Whitney Houston                          Exhale                                 Arista Records LLC   SR0000219539
 547 Whitney Houston                          Get It Back                            Arista Records LLC   SR0000298453
 548 Whitney Houston                          Greatest Love Of All                   Arista Records LLC   SR0000060716
 549 Whitney Houston                          Heartbreak Hotel                       Arista Records LLC   SR0000298453
 550 Whitney Houston                          How Will I Know                        Arista Records LLC   SR0000060716
 551 Whitney Houston                          I Bow Out                              Arista Records LLC   SR0000298453
 552 Whitney Houston                          I Have Nothing                         Arista Records LLC   SR0000152583
 553 Whitney Houston                          I Learned From The Best                Arista Records LLC   SR0000298453
 554 Whitney Houston                          I Wanna Dance With Somebody            Arista Records LLC   SR0000089966
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 555 Whitney Houston   I Was Made To Love Him                                Arista Records LLC               SR0000298453
 556 Whitney Houston   I Will Always Love You                                Arista Records LLC               SR0000152583
 557 Whitney Houston   I'm Every Woman                                       Arista Records LLC               SR0000152583
 558 Whitney Houston   I'm Your Baby Tonight                                 Arista Records LLC               SR0000129257
 559 Whitney Houston   If I Told You That                                    Arista Records LLC               SR0000298453
 560 Whitney Houston   In My Business                                        Arista Records LLC               SR0000298453
 561 Whitney Houston   It's Not Right But It's Okay                          Arista Records LLC               SR0000298453
 562 Whitney Houston   My Love Is Your Love                                  Arista Records LLC               SR0000298453
 563 Whitney Houston   Oh Yes                                                Arista Records LLC               SR0000298453
 564 Whitney Houston   One Moment In Time                                    Arista Records LLC               SR0000097640
 565 Whitney Houston   Run To You                                            Arista Records LLC               SR0000152583
 566 Whitney Houston   Saving All My Love For You                            Arista Records LLC               SR0000060716
 567 Whitney Houston   So Emotional                                          Arista Records LLC               SR0000089966
 568 Whitney Houston   Until You Come Back                                   Arista Records LLC               SR0000298453
 569 Whitney Houston   When You Believe                                      Arista Records LLC               SR0000298453
 570 Whitney Houston   Where Do Broken Hearts Go                             Arista Records LLC               SR0000089966
 571 Whitney Houston   You'll Never Stand Alone                              Arista Records LLC               SR0000298453
 572 3OH!3             StarStrukk                                            Atlantic Recording Corporation   SR0000652637
 573 B.o.B             Nothin' On You (feat. Bruno Mars)                     Atlantic Recording Corporation   SR0000704831
 574 Brandy            (Everything I Do) I Do It For You                     Atlantic Recording Corporation   SR0000256701
 575 Brandy            Afrodisiac                                            Atlantic Recording Corporation   SR0000370673
 576 Brandy            All In Me                                             Atlantic Recording Corporation   SR0000345858
 577 Brandy            Almost Doesn't Count                                  Atlantic Recording Corporation   SR0000256701
 578 Brandy            Always On My Mind                                     Atlantic Recording Corporation   SR0000202696
 579 Brandy            Angel In Disguise                                     Atlantic Recording Corporation   SR0000256701
 580 Brandy            Anybody                                               Atlantic Recording Corporation   SR0000345858
 581 Brandy            Apart                                                 Atlantic Recording Corporation   SR0000345858
 582 Brandy            As Long As You're Here                                Atlantic Recording Corporation   SR0000202696
 583 Brandy            B Rocka Intro                                         Atlantic Recording Corporation   SR0000345858
 584 Brandy            Baby                                                  Atlantic Recording Corporation   SR0000202696
 585 Brandy            Best Friend                                           Atlantic Recording Corporation   SR0000202696
 586 Brandy            Brokenhearted (Single Version) (feat. Wanya Morris)   Atlantic Recording Corporation   SR0000373291
 587 Brandy            Can We                                                Atlantic Recording Corporation   SR0000345858
 588 Brandy            Come A Little Closer                                  Atlantic Recording Corporation   SR0000345858
 589 Brandy            Come As You Are                                       Atlantic Recording Corporation   SR0000370673
 590 Brandy            Die Without You                                       Atlantic Recording Corporation   SR0000345858
 591 Brandy            Finally                                               Atlantic Recording Corporation   SR0000370673
 592 Brandy            Focus                                                 Atlantic Recording Corporation   SR0000370673
 593 Brandy            Full Moon                                             Atlantic Recording Corporation   SR0000345858
 594 Brandy            Give Me You                                           Atlantic Recording Corporation   SR0000202696
 595 Brandy            Happy                                                 Atlantic Recording Corporation   SR0000256701
 596 Brandy            Have You Ever                                         Atlantic Recording Corporation   SR0000256701
 597 Brandy            He Is                                                 Atlantic Recording Corporation   SR0000345858
 598 Brandy            How I Feel                                            Atlantic Recording Corporation   SR0000370673
 599 Brandy            I Dedicate (Part I)                                   Atlantic Recording Corporation   SR0000202696
 600 Brandy            I Dedicate (Part II)                                  Atlantic Recording Corporation   SR0000202696
 601 Brandy            I Dedicate (Part III)                                 Atlantic Recording Corporation   SR0000202696
 602 Brandy            I Thought                                             Atlantic Recording Corporation   SR0000345858
 603 Brandy            I Tried                                               Atlantic Recording Corporation   SR0000370673
 604 Brandy            I Wanna Be Down                                       Atlantic Recording Corporation   SR0000202696
 605 Brandy            I Wanna Be Down (Single Version)                      Atlantic Recording Corporation   SR0000373291
 606 Brandy            I'm Yours                                             Atlantic Recording Corporation   SR0000202696
 607 Brandy            In The Car Interlude                                  Atlantic Recording Corporation   SR0000256701
 608 Brandy            Intro                                                 Atlantic Recording Corporation   SR0000256701
 609 Brandy            It's Not Worth It                                     Atlantic Recording Corporation   SR0000345858
 610 Brandy            Learn The Hard Way                                    Atlantic Recording Corporation   SR0000256701
 611 Brandy            Like This                                             Atlantic Recording Corporation   SR0000345858
 612 Brandy            Love Is On My Side                                    Atlantic Recording Corporation   SR0000202696
 613 Brandy            Love Wouldn't Count Me Out                            Atlantic Recording Corporation   SR0000345858
 614 Brandy            Movin' On                                             Atlantic Recording Corporation   SR0000202696
 615 Brandy            Necessary                                             Atlantic Recording Corporation   SR0000370673
 616 Brandy            Never Say Never                                       Atlantic Recording Corporation   SR0000256701
 617 Brandy            Nothing                                               Atlantic Recording Corporation   SR0000345858
 618 Brandy            One Voice                                             Atlantic Recording Corporation   SR0000256701
 619 Brandy            Put That On Everything                                Atlantic Recording Corporation   SR0000256701
 620 Brandy            Sadiddy                                               Atlantic Recording Corporation   SR0000370673
 621 Brandy            Say You Will                                          Atlantic Recording Corporation   SR0000370673
 622 Brandy            Should I Go                                           Atlantic Recording Corporation   SR0000370673
 623 Brandy            Sunny Day                                             Atlantic Recording Corporation   SR0000202696
 624 Brandy            Talk About Our Love (Featuring Kanye West)            Atlantic Recording Corporation   SR0000370673
 625 Brandy            Tomorrow                                              Atlantic Recording Corporation   SR0000256701
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 626 Brandy             Top Of The World (feat. Mase)            Atlantic Recording Corporation   SR0000256701
 627 Brandy             Truthfully                               Atlantic Recording Corporation   SR0000256701
 628 Brandy             Turn It Up                               Atlantic Recording Corporation   SR0000370673
 629 Brandy             U Dont Know Me (Like U Used To)          Atlantic Recording Corporation   SR0000256701
 630 Brandy             What About Us?                           Atlantic Recording Corporation   SR0000345858
 631 Brandy             When You Touch Me                        Atlantic Recording Corporation   SR0000345858
 632 Brandy             Where You Wanna Be                       Atlantic Recording Corporation   SR0000370673
 633 Brandy             Who I Am                                 Atlantic Recording Corporation   SR0000370673
 634 Brandy             Who Is She 2 U                           Atlantic Recording Corporation   SR0000370673
 635 Brandy             Wow                                      Atlantic Recording Corporation   SR0000345858
 636 Brandy & Monica    The Boy Is Mine                          Atlantic Recording Corporation   SR0000256110
 637 Brandy & Ray J     Another Day In Paradise                  Atlantic Recording Corporation   SR0000373291
 638 Bruno Mars         Gorilla                                  Atlantic Recording Corporation   SR0000715738
 639 Bruno Mars         Locked Out of Heaven                     Atlantic Recording Corporation   SR0000715738
 640 Bruno Mars         Treasure                                 Atlantic Recording Corporation   SR0000715738
 641 Carolina Liar      All That Sh** Is Gone                    Atlantic Recording Corporation   SR0000637774
 642 Carolina Liar      Better Alone                             Atlantic Recording Corporation   SR0000637774
 643 Carolina Liar      California Bound                         Atlantic Recording Corporation   SR0000637774
 644 Carolina Liar      Coming To Terms                          Atlantic Recording Corporation   SR0000637774
 645 Carolina Liar      Done Stealin'                            Atlantic Recording Corporation   SR0000637774
 646 Carolina Liar      I'm Not Over                             Atlantic Recording Corporation   SR0000637774
 647 Carolina Liar      Last Night                               Atlantic Recording Corporation   SR0000637774
 648 Carolina Liar      Show Me What I'm Looking For             Atlantic Recording Corporation   SR0000637774
 649 Carolina Liar      Simple Life                              Atlantic Recording Corporation   SR0000637774
 650 Carolina Liar      Something To Die For                     Atlantic Recording Corporation   SR0000637774
 651 Carolina Liar      When You Are Near                        Atlantic Recording Corporation   SR0000637774
 652 Christina Perri    arms                                     Atlantic Recording Corporation   SR0000704080
 653 Christina Perri    backwards (Bonus Track)                  Atlantic Recording Corporation   SR0000705202
 654 Christina Perri    bang bang bang                           Atlantic Recording Corporation   SR0000704080
 655 Christina Perri    black + blue (Bonus Track)               Atlantic Recording Corporation   SR0000705202
 656 Christina Perri    bluebird                                 Atlantic Recording Corporation   SR0000704080
 657 Christina Perri    interlude                                Atlantic Recording Corporation   SR0000704080
 658 Christina Perri    miles                                    Atlantic Recording Corporation   SR0000704080
 659 Christina Perri    mine                                     Atlantic Recording Corporation   SR0000704080
 660 Christina Perri    my eyes (Bonus Track)                    Atlantic Recording Corporation   SR0000705202
 661 Christina Perri    penguin                                  Atlantic Recording Corporation   SR0000704080
 662 Christina Perri    sad song                                 Atlantic Recording Corporation   SR0000704080
 663 Christina Perri    the lonely                               Atlantic Recording Corporation   SR0000704080
 664 Christina Perri    tragedy                                  Atlantic Recording Corporation   SR0000704080
 665 Flo Rida           21 (feat. Laza Morgan)                   Atlantic Recording Corporation   SR0000672870
 666 Flo Rida           Ack Like You Know                        Atlantic Recording Corporation   SR0000629161
 667 Flo Rida           All My Life                              Atlantic Recording Corporation   SR0000629161
 668 Flo Rida           American Superstar (feat. Lil Wayne)     Atlantic Recording Corporation   SR0000629161
 669 Flo Rida           Available (feat. Akon)                   Atlantic Recording Corporation   SR0000658178
 670 Flo Rida           Be On You (feat. Ne-Yo)                  Atlantic Recording Corporation   SR0000658178
 671 Flo Rida           Don't Know How To Act (feat. Yung Joc)   Atlantic Recording Corporation   SR0000629161
 672 Flo Rida           Elevator (feat. Timbaland)               Atlantic Recording Corporation   SR0000629161
 673 Flo Rida           Finally Here                             Atlantic Recording Corporation   SR0000658178
 674 Flo Rida           Freaky Deaky (feat. Trey Songz)          Atlantic Recording Corporation   SR0000629161
 675 Flo Rida           Gotta Get It (Dancer)                    Atlantic Recording Corporation   SR0000658178
 676 Flo Rida           I Cry                                    Atlantic Recording Corporation   SR0000754532
 677 Flo Rida           In My Mind (Part 2) (feat. Georgi Kay)   Atlantic Recording Corporation   SR0000754532
 678 Flo Rida           In The Ayer (feat. will.I.am)            Atlantic Recording Corporation   SR0000629161
 679 Flo Rida           Jump (feat. Nelly Furtado)               Atlantic Recording Corporation   SR0000658178
 680 Flo Rida           Low (feat T-Pain)                        Atlantic Recording Corporation   SR0000629161
 681 Flo Rida           Me & U                                   Atlantic Recording Corporation   SR0000629161
 682 Flo Rida           Mind On My Money                         Atlantic Recording Corporation   SR0000658178
 683 Flo Rida           Money Right (feat. Rick Ross & Brisco)   Atlantic Recording Corporation   SR0000629161
 684 Flo Rida           Ms. Hangover                             Atlantic Recording Corporation   SR0000629161
 685 Flo Rida           Never                                    Atlantic Recording Corporation   SR0000658178
 686 Flo Rida           On and On (feat. Kevin Rudolf)           Atlantic Recording Corporation   SR0000672870
 687 Flo Rida           Priceless (feat. Birdman)                Atlantic Recording Corporation   SR0000629161
 688 Flo Rida           R.O.O.T.S.                               Atlantic Recording Corporation   SR0000658178
 689 Flo Rida           Respirator                               Atlantic Recording Corporation   SR0000672870
 690 Flo Rida           Rewind (feat. Wyclef Jean)               Atlantic Recording Corporation   SR0000658178
 691 Flo Rida           Right Round                              Atlantic Recording Corporation   SR0000658178
 692 Flo Rida           Roll (feat. Sean Kingston)               Atlantic Recording Corporation   SR0000629161
 693 Flo Rida           Shone (feat. Pleasure P)                 Atlantic Recording Corporation   SR0000658178
 694 Flo Rida           Still Missin                             Atlantic Recording Corporation   SR0000629161
 695 Flo Rida           Sugar (Feat. Wynter)                     Atlantic Recording Corporation   SR0000658178
 696 Flo Rida           Sweet Spot (feat. Jennifer Lopez)        Atlantic Recording Corporation   SR0000754532
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 697 Flo Rida                Touch Me                                                  Atlantic Recording Corporation   SR0000658178
 698 Flo Rida                Turn Around (5,4,3,2,1)                                   Atlantic Recording Corporation   SR0000672870
 699 Flo Rida                Who Dat Girl (feat. Akon)                                 Atlantic Recording Corporation   SR0000672870
                             Why You Up In Here (feat. Ludacris, Git Fresh and Gucci
 700 Flo Rida                Mane)                                                     Atlantic Recording Corporation   SR0000672870
 701 Flo Rida                Wild Ones (feat. Sia)                                     Atlantic Recording Corporation   SR0000754532
 702 Genesis                 Congo                                                     Atlantic Recording Corporation   SR0000239424
 703 Genesis                 I Know What I Like (In Your Wardrobe)                     Atlantic Recording Corporation   N10834
 704 Genesis                 Mama (2004 Digital Remaster)                              Atlantic Recording Corporation   SR0000380344
 705 Genesis                 The Carpet Crawlers                                       Atlantic Recording Corporation   N19639
 706 Gnarls Barkley          Crazy                                                     Atlantic Recording Corporation   SR0000398345
 707 Gnarls Barkley          Feng Shui                                                 Atlantic Recording Corporation   SR0000398345
 708 Gnarls Barkley          Go-Go Gadget Gospel                                       Atlantic Recording Corporation   SR0000398345
 709 Gnarls Barkley          Gone Daddy Gone                                           Atlantic Recording Corporation   SR0000398345
 710 Gnarls Barkley          Just A Thought                                            Atlantic Recording Corporation   SR0000398345
 711 Gnarls Barkley          Necromancer                                               Atlantic Recording Corporation   SR0000398345
 712 Gnarls Barkley          Online                                                    Atlantic Recording Corporation   SR0000398345
 713 Gnarls Barkley          Smiley Faces                                              Atlantic Recording Corporation   SR0000398345
 714 Gnarls Barkley          St. Elsewhere                                             Atlantic Recording Corporation   SR0000398345
 715 Gnarls Barkley          The Boogie Monster                                        Atlantic Recording Corporation   SR0000398345
 716 Gnarls Barkley          The Last Time                                             Atlantic Recording Corporation   SR0000398345
 717 Gnarls Barkley          Transformer                                               Atlantic Recording Corporation   SR0000398345
 718 Gnarls Barkley          Who Cares?                                                Atlantic Recording Corporation   SR0000398345
 719 Grouplove               Betty's a Bombshell                                       Atlantic Recording Corporation   SR0000704081
 720 Grouplove               Chloe                                                     Atlantic Recording Corporation   SR0000704081
 721 Grouplove               Close Your Eyes and Count to Ten                          Atlantic Recording Corporation   SR0000704081
 722 Grouplove               Colours                                                   Atlantic Recording Corporation   SR0000707748
 723 Grouplove               Cruel and Beautiful World                                 Atlantic Recording Corporation   SR0000704081
 724 Grouplove               Don't Say Oh Well                                         Atlantic Recording Corporation   SR0000707748
 725 Grouplove               Get Giddy                                                 Atlantic Recording Corporation   SR0000707748
 726 Grouplove               Getaway Car                                               Atlantic Recording Corporation   SR0000707748
 727 Grouplove               Goldcoast                                                 Atlantic Recording Corporation   SR0000707748
 728 Grouplove               Itchin' On A Photograph                                   Atlantic Recording Corporation   SR0000704081
 729 Grouplove               Love Will Save Your Soul                                  Atlantic Recording Corporation   SR0000704081
 730 Grouplove               Lovely Cup                                                Atlantic Recording Corporation   SR0000704081
 731 Grouplove               Naked Kids                                                Atlantic Recording Corporation   SR0000704081
 732 Grouplove               Slow                                                      Atlantic Recording Corporation   SR0000704081
 733 Grouplove               Spun                                                      Atlantic Recording Corporation   SR0000704081
 734 Grouplove               Tongue Tied                                               Atlantic Recording Corporation   SR0000704081
 735 Hootie & The Blowfish   Be The One                                                Atlantic Recording Corporation   SR0000223661
 736 Hootie & The Blowfish   Hey Hey What Can I Do?                                    Atlantic Recording Corporation   SR0000311807
 737 Hootie & The Blowfish   Hold My Hand                                              Atlantic Recording Corporation   SR0000193960
 738 Hootie & The Blowfish   I Go Blind                                                Atlantic Recording Corporation   SR0000230125
 739 Hootie & The Blowfish   I Will Wait                                               Atlantic Recording Corporation   SR0000246482
 740 Hootie & The Blowfish   Innocence                                                 Atlantic Recording Corporation   SR0000334892
 741 Hootie & The Blowfish   Let Her Cry                                               Atlantic Recording Corporation   SR0000193960
 742 Hootie & The Blowfish   Not Even The Trees                                        Atlantic Recording Corporation   SR0000193960
 743 Hootie & The Blowfish   Old Man & Me                                              Atlantic Recording Corporation   SR0000223661
 744 Hootie & The Blowfish   Only Lonely                                               Atlantic Recording Corporation   SR0000246482
 745 Hootie & The Blowfish   Only Wanna Be With You                                    Atlantic Recording Corporation   SR0000193960
 746 Hootie & The Blowfish   Sad Caper                                                 Atlantic Recording Corporation   SR0000223661
 747 Hootie & The Blowfish   Space                                                     Atlantic Recording Corporation   SR0000334892
 748 Hootie & The Blowfish   Time                                                      Atlantic Recording Corporation   SR0000193960
 749 Hootie & The Blowfish   Tucker's Town                                             Atlantic Recording Corporation   SR0000223661
 750 Hootie & The Blowfish   Use Me                                                    Atlantic Recording Corporation   SR0000311807
 751 Hunter Hayes            I Want Crazy (Encore)                                     Atlantic Recording Corporation   SR0000748751
 752 INXS                    Baby Don't Cry                                            Atlantic Recording Corporation   SR0000152091
 753 INXS                    Beautiful Girl                                            Atlantic Recording Corporation   SR0000152091
 754 INXS                    Bitter Tears                                              Atlantic Recording Corporation   SR0000121377
 755 INXS                    Black And White                                           Atlantic Recording Corporation   SR0000042945
 756 INXS                    Burn For You                                              Atlantic Recording Corporation   SR0000054062
 757 INXS                    By My Side                                                Atlantic Recording Corporation   SR0000121377
 758 INXS                    Dancing On The Jetty                                      Atlantic Recording Corporation   SR0000054062
 759 INXS                    Devil Inside                                              Atlantic Recording Corporation   SR0000085232
 760 INXS                    Disappear                                                 Atlantic Recording Corporation   SR0000121377
 761 INXS                    Don't Change                                              Atlantic Recording Corporation   SR0000042945
 762 INXS                    Heaven Sent                                               Atlantic Recording Corporation   SR0000152091
 763 INXS                    I Send A Message                                          Atlantic Recording Corporation   SR0000054062
 764 INXS                    Just Keep Walking                                         Atlantic Recording Corporation   SR0000054970
 765 INXS                    Kiss The Dirt (Falling Down The Mountain)                 Atlantic Recording Corporation   SR0000066559
 766 INXS                    Listen Like Thieves                                       Atlantic Recording Corporation   SR0000066559
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 767 INXS                     Love Is (What I Say)                               Atlantic Recording Corporation   SR0000054062
 768 INXS                     Mystify                                            Atlantic Recording Corporation   SR0000085232
 769 INXS                     Need You Tonight                                   Atlantic Recording Corporation   SR0000085232
 770 INXS                     Never Tear Us Apart                                Atlantic Recording Corporation   SR0000085232
 771 INXS                     New Sensation                                      Atlantic Recording Corporation   SR0000085232
 772 INXS                     Original Sin                                       Atlantic Recording Corporation   SR0000054753
 773 INXS                     Stay Young                                         Atlantic Recording Corporation   SR0000054971
 774 INXS                     Suicide Blonde                                     Atlantic Recording Corporation   SR0000121377
 775 INXS                     Taste It                                           Atlantic Recording Corporation   SR0000152091
 776 INXS                     The Gift                                           Atlantic Recording Corporation   SR0000175450
 777 INXS                     The One Thing                                      Atlantic Recording Corporation   SR0000042945
 778 INXS                     The Stairs                                         Atlantic Recording Corporation   SR0000121377
 779 INXS                     This Time                                          Atlantic Recording Corporation   SR0000065969
 780 INXS                     To Look At You                                     Atlantic Recording Corporation   SR0000042945
 781 INXS                     What You Need                                      Atlantic Recording Corporation   SR0000066559
 782 INXS with Jimmy Barnes   Good Times                                         Atlantic Recording Corporation   SR0000084356
 783 Jason Mraz               A Beautiful Mess                                   Atlantic Recording Corporation   SR0000623312
 784 Jason Mraz               Butterfly                                          Atlantic Recording Corporation   SR0000623312
 785 Jason Mraz               Coyotes                                            Atlantic Recording Corporation   SR0000623312
 786 Jason Mraz               Details in the Fabric (feat. James Morrison)       Atlantic Recording Corporation   SR0000623312
 787 Jason Mraz               I Won't Give Up                                    Atlantic Recording Corporation   SR0000704463
 788 Jason Mraz               I'm Yours                                          Atlantic Recording Corporation   SR0000623312
 789 Jason Mraz               If It Kills Me                                     Atlantic Recording Corporation   SR0000623312
 790 Jason Mraz               Live High                                          Atlantic Recording Corporation   SR0000623312
 791 Jason Mraz               Love For A Child                                   Atlantic Recording Corporation   SR0000623312
 792 Jason Mraz               Lucky (feat. Colbie Caillat)                       Atlantic Recording Corporation   SR0000623312
 793 Jason Mraz               Make It Mine                                       Atlantic Recording Corporation   SR0000623312
 794 Jason Mraz               Only Human                                         Atlantic Recording Corporation   SR0000623312
 795 Jason Mraz               The Dynamo Of Volition                             Atlantic Recording Corporation   SR0000623312
 796 Kid Rock                 All Summer Long                                    Atlantic Recording Corporation   SR0000622796
 797 Kid Rock                 Amen                                               Atlantic Recording Corporation   SR0000622796
 798 Kid Rock                 Blue Jeans And A Rosary                            Atlantic Recording Corporation   SR0000622796
 799 Kid Rock                 Don't Tell Me You Love Me                          Atlantic Recording Corporation   SR0000622796
 800 Kid Rock                 Half Your Age                                      Atlantic Recording Corporation   SR0000622796
 801 Kid Rock                 Lowlife (Living The Highlife)                      Atlantic Recording Corporation   SR0000622796
 802 Kid Rock                 New Orleans                                        Atlantic Recording Corporation   SR0000622796
 803 Kid Rock                 Rock N Roll Jesus                                  Atlantic Recording Corporation   SR0000622796
 804 Kid Rock                 Roll On                                            Atlantic Recording Corporation   SR0000622796
 805 Kid Rock                 So Hott                                            Atlantic Recording Corporation   SR0000622796
 806 Kid Rock                 Sugar                                              Atlantic Recording Corporation   SR0000622796
 807 Kid Rock                 When U Love Someone                                Atlantic Recording Corporation   SR0000622796
 808 Led Zeppelin             Achilles Last Stand                                Atlantic Recording Corporation   N31545
 809 Led Zeppelin             All My Love                                        Atlantic Recording Corporation   SR0000013105
 810 Led Zeppelin             D'yer Mak'er                                       Atlantic Recording Corporation   N5660
 811 Led Zeppelin             Houses Of The Holy                                 Atlantic Recording Corporation   N21799
 812 Led Zeppelin             In The Evening                                     Atlantic Recording Corporation   SR0000013105
 813 Led Zeppelin             Kashmir                                            Atlantic Recording Corporation   N21799
 814 Led Zeppelin             No Quarter                                         Atlantic Recording Corporation   N5660
 815 Led Zeppelin             Nobody's Fault But Mine                            Atlantic Recording Corporation   N31545
 816 Led Zeppelin             Over The Hills And Far Away                        Atlantic Recording Corporation   N5660
 817 Led Zeppelin             The Song Remains The Same                          Atlantic Recording Corporation   N5660
 818 Led Zeppelin             Trampled Underfoot                                 Atlantic Recording Corporation   N21799
 819 Lupe Fiasco              All Black Everything                               Atlantic Recording Corporation   SR0000704469
 820 Lupe Fiasco              Beautiful Lasers (2 Ways) (feat. MDMA)             Atlantic Recording Corporation   SR0000704469
 821 Lupe Fiasco              BREAK THE CHAIN (feat. Eric Turner & Sway)         Atlantic Recording Corporation   SR0000704469
 822 Lupe Fiasco              Coming Up (feat. MDMA)                             Atlantic Recording Corporation   SR0000704469

 823 Lupe Fiasco              Dumb It Down (feat. GemStones and Graham Burris)   Atlantic Recording Corporation   SR0000639320
 824 Lupe Fiasco              Fighters (feat. Matthew Santos)                    Atlantic Recording Corporation   SR0000639320
 825 Lupe Fiasco              Go Baby (feat GemStones)                           Atlantic Recording Corporation   SR0000639320
 826 Lupe Fiasco              Go Go Gadget Flow                                  Atlantic Recording Corporation   SR0000639320
 827 Lupe Fiasco              Gotta Eat                                          Atlantic Recording Corporation   SR0000639320
 828 Lupe Fiasco              I Don't Wanna Care Right Now (feat. MDMA)          Atlantic Recording Corporation   SR0000704469
 829 Lupe Fiasco              Letting Go (feat. Sarah Green)                     Atlantic Recording Corporation   SR0000704469
 830 Lupe Fiasco              Little Weapon (feat. Bishop G and Nikki Jean)      Atlantic Recording Corporation   SR0000639320
 831 Lupe Fiasco              Never Forget You (feat. John Legend)               Atlantic Recording Corporation   SR0000704469
 832 Lupe Fiasco              Out Of My Head (feat. Trey Songz)                  Atlantic Recording Corporation   SR0000704469
 833 Lupe Fiasco              Paris, Tokyo                                       Atlantic Recording Corporation   SR0000639320
 834 Lupe Fiasco              Put You On Game                                    Atlantic Recording Corporation   SR0000639320
 835 Lupe Fiasco              State Run Radio (feat. Matt Mahaffey)              Atlantic Recording Corporation   SR0000704469
 836 Lupe Fiasco              Streets On Fire                                    Atlantic Recording Corporation   SR0000639320
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 837 Lupe Fiasco        Superstar (feat. Matthew Santos)                Atlantic Recording Corporation   SR0000639320
 838 Lupe Fiasco        The Coolest                                     Atlantic Recording Corporation   SR0000639320
 839 Lupe Fiasco        The Show Goes On                                Atlantic Recording Corporation   SR0000704469
 840 Lupe Fiasco        Till I Get There                                Atlantic Recording Corporation   SR0000704469
 841 Lupe Fiasco        Words I Never Said (feat. Skylar Grey)          Atlantic Recording Corporation   SR0000704469
 842 Lupe Fiasco        Free Chilly (feat. Sarah Green and GemStones)   Atlantic Recording Corporation   SR0000639320
 843 Lupe Fiasco        Hi-Definition (feat. Snoop Dogg & Pooh Bear)    Atlantic Recording Corporation   SR0000639320
 844 Lupe Fiasco        Hip-Hop Saved My Life (feat. Nikki Jean)        Atlantic Recording Corporation   SR0000639320
 845 Lupe Fiasco        Intruder Alert (feat. Sarah Green)              Atlantic Recording Corporation   SR0000639320
 846 Lupe Fiasco        The Die (feat. GemStones)                       Atlantic Recording Corporation   SR0000639320
 847 Matchbox Twenty    3AM                                             Atlantic Recording Corporation   SR0000227755
 848 Matchbox Twenty    All I Need                                      Atlantic Recording Corporation   SR0000345857
 849 Matchbox Twenty    All Your Reasons                                Atlantic Recording Corporation   SR0000633456
 850 Matchbox Twenty    Angry                                           Atlantic Recording Corporation   SR0000305708
 851 Matchbox Twenty    Argue                                           Atlantic Recording Corporation   SR0000227755
 852 Matchbox Twenty    Back 2 Good (Remastered Version)                Atlantic Recording Corporation   SR0000633456
 853 Matchbox Twenty    Bed Of Lies                                     Atlantic Recording Corporation   SR0000305708
 854 Matchbox Twenty    Bent (Remastered Version)                       Atlantic Recording Corporation   SR0000633456
 855 Matchbox Twenty    Black & White People                            Atlantic Recording Corporation   SR0000305708
 856 Matchbox Twenty    Busted                                          Atlantic Recording Corporation   SR0000227755
 857 Matchbox Twenty    Can't Let You Go                                Atlantic Recording Corporation   SR0000633456
 858 Matchbox Twenty    Cold                                            Atlantic Recording Corporation   SR0000345857
 859 Matchbox Twenty    Could I Be You                                  Atlantic Recording Corporation   SR0000345857
 860 Matchbox Twenty    Crutch                                          Atlantic Recording Corporation   SR0000305708
 861 Matchbox Twenty    Damn                                            Atlantic Recording Corporation   SR0000227755
 862 Matchbox Twenty    Disease                                         Atlantic Recording Corporation   SR0000345857
 863 Matchbox Twenty    Disease (Acoustic)                              Atlantic Recording Corporation   SR0000353594
 864 Matchbox Twenty    Disease (Remastered Version)                    Atlantic Recording Corporation   SR0000633456
 865 Matchbox Twenty    Downfall                                        Atlantic Recording Corporation   SR0000345857
 866 Matchbox Twenty    English Town                                    Atlantic Recording Corporation   SR0000714896
 867 Matchbox Twenty    Feel                                            Atlantic Recording Corporation   SR0000345857
 868 Matchbox Twenty    Girl Like That                                  Atlantic Recording Corporation   SR0000227755
 869 Matchbox Twenty    Hand Me Down                                    Atlantic Recording Corporation   SR0000345857
 870 Matchbox Twenty    Hang                                            Atlantic Recording Corporation   SR0000227755
 871 Matchbox Twenty    How Far We've Come                              Atlantic Recording Corporation   SR0000633456
 872 Matchbox Twenty    How Long                                        Atlantic Recording Corporation   SR0000714896
 873 Matchbox Twenty    I Will                                          Atlantic Recording Corporation   SR0000714896
 874 Matchbox Twenty    I'll Believe You When                           Atlantic Recording Corporation   SR0000633456
 875 Matchbox Twenty    If I Fall                                       Atlantic Recording Corporation   SR0000633456
 876 Matchbox Twenty    If You're Gone                                  Atlantic Recording Corporation   SR0000305708
 877 Matchbox Twenty    Kody                                            Atlantic Recording Corporation   SR0000227755
 878 Matchbox Twenty    Last Beautiful Girl                             Atlantic Recording Corporation   SR0000305708
 879 Matchbox Twenty    Leave                                           Atlantic Recording Corporation   SR0000305708
 880 Matchbox Twenty    Like Sugar                                      Atlantic Recording Corporation   SR0000714896
 881 Matchbox Twenty    Long Day                                        Atlantic Recording Corporation   SR0000227755
 882 Matchbox Twenty    Mad Season (Remastered Version)                 Atlantic Recording Corporation   SR0000633456
 883 Matchbox Twenty    Our Song                                        Atlantic Recording Corporation   SR0000714896
 884 Matchbox Twenty    Overjoyed                                       Atlantic Recording Corporation   SR0000714896
 885 Matchbox Twenty    Push                                            Atlantic Recording Corporation   SR0000227755
 886 Matchbox Twenty    Push (Remastered Version)                       Atlantic Recording Corporation   SR0000633456
 887 Matchbox Twenty    Put Your Hands Up                               Atlantic Recording Corporation   SR0000714896
 888 Matchbox Twenty    Radio                                           Atlantic Recording Corporation   SR0000714896
 889 Matchbox Twenty    Real World                                      Atlantic Recording Corporation   SR0000227755
 890 Matchbox Twenty    Rest Stop                                       Atlantic Recording Corporation   SR0000305708
 891 Matchbox Twenty    She's So Mean                                   Atlantic Recording Corporation   SR0000714896
 892 Matchbox Twenty    Sleeping At The Wheel                           Atlantic Recording Corporation   SR0000714896
 893 Matchbox Twenty    Soul                                            Atlantic Recording Corporation   SR0000345857
 894 Matchbox Twenty    Stop                                            Atlantic Recording Corporation   SR0000305708
 895 Matchbox Twenty    The Burn                                        Atlantic Recording Corporation   SR0000305708
 896 Matchbox Twenty    The Difference                                  Atlantic Recording Corporation   SR0000345857
 897 Matchbox Twenty    These Hard Times                                Atlantic Recording Corporation   SR0000633456
 898 Matchbox Twenty    Unwell                                          Atlantic Recording Corporation   SR0000345857
 899 Matchbox Twenty    You Won't Be Mine                               Atlantic Recording Corporation   SR0000305708
 900 Matchbox Twenty    You're So Real                                  Atlantic Recording Corporation   SR0000345857
 901 Meek Mill          Amen (feat. Drake)                              Atlantic Recording Corporation   SRu001109021
 902 Musiq Soulchild    backagain                                       Atlantic Recording Corporation   SR0000706644
 903 Musiq Soulchild    dearjohn                                        Atlantic Recording Corporation   SR0000706644
 904 Musiq Soulchild    deserveumore                                    Atlantic Recording Corporation   SR0000706644
 905 Musiq Soulchild    ifuleave (feat. Mary J. Blige)                  Atlantic Recording Corporation   SR0000706644
 906 Musiq Soulchild    iwannabe (feat. Damian Marley)                  Atlantic Recording Corporation   SR0000706644
 907 Musiq Soulchild    loveofmylife                                    Atlantic Recording Corporation   SR0000706644
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 908 Musiq Soulchild    moneyright                               Atlantic Recording Corporation   SR0000706644
 909 Musiq Soulchild    Radio                                    Atlantic Recording Corporation   SR0000706644
 910 Musiq Soulchild    sobeautiful                              Atlantic Recording Corporation   SR0000706644
 911 Musiq Soulchild    someone                                  Atlantic Recording Corporation   SR0000706644
 912 Musiq Soulchild    special                                  Atlantic Recording Corporation   SR0000706644
 913 Musiq Soulchild    until                                    Atlantic Recording Corporation   SR0000706644
 914 P.O.D.             Youth Of The Nation                      Atlantic Recording Corporation   SR0000303757
 915 Paramore           (One Of Those) Crazy Girls               Atlantic Recording Corporation   SR0000724441
 916 Paramore           All I Wanted                             Atlantic Recording Corporation   SR0000657157
 917 Paramore           Anklebiters                              Atlantic Recording Corporation   SR0000724441
 918 Paramore           Be Alone                                 Atlantic Recording Corporation   SR0000724441
 919 Paramore           Born For This                            Atlantic Recording Corporation   SR0000631909
 920 Paramore           Brick By Boring Brick                    Atlantic Recording Corporation   SR0000657157
 921 Paramore           Careful                                  Atlantic Recording Corporation   SR0000657157
 922 Paramore           crushcrushcrush                          Atlantic Recording Corporation   SR0000631909
 923 Paramore           Daydreaming                              Atlantic Recording Corporation   SR0000724441
 924 Paramore           Fast In My Car                           Atlantic Recording Corporation   SR0000724441
 925 Paramore           Feeling Sorry                            Atlantic Recording Corporation   SR0000657157
 926 Paramore           Fences                                   Atlantic Recording Corporation   SR0000631909
 927 Paramore           For A Pessimist, I'm Pretty Optimistic   Atlantic Recording Corporation   SR0000631909
 928 Paramore           Future                                   Atlantic Recording Corporation   SR0000724441
 929 Paramore           Grow Up                                  Atlantic Recording Corporation   SR0000724441
 930 Paramore           Hallelujah                               Atlantic Recording Corporation   SR0000631909
 931 Paramore           Hate To See Your Heart Break             Atlantic Recording Corporation   SR0000724441
 932 Paramore           Ignorance                                Atlantic Recording Corporation   SR0000657157
 933 Paramore           Interlude: Holiday                       Atlantic Recording Corporation   SR0000724441
 934 Paramore           Interlude: I'm Not Angry Anymore         Atlantic Recording Corporation   SR0000724441
 935 Paramore           Interlude: Moving On                     Atlantic Recording Corporation   SR0000724441
 936 Paramore           Last Hope                                Atlantic Recording Corporation   SR0000724441
 937 Paramore           Let The Flames Begin                     Atlantic Recording Corporation   SR0000631909
 938 Paramore           Looking Up                               Atlantic Recording Corporation   SR0000657157
 939 Paramore           Miracle                                  Atlantic Recording Corporation   SR0000631909
 940 Paramore           Misery Business                          Atlantic Recording Corporation   SR0000631909
 941 Paramore           Misguided Ghosts                         Atlantic Recording Corporation   SR0000657157
 942 Paramore           Now                                      Atlantic Recording Corporation   SR0000724441
 943 Paramore           Part II                                  Atlantic Recording Corporation   SR0000724441
 944 Paramore           Playing God                              Atlantic Recording Corporation   SR0000657157
 945 Paramore           Proof                                    Atlantic Recording Corporation   SR0000724441
 946 Paramore           Still Into You                           Atlantic Recording Corporation   SR0000724441
 947 Paramore           That's What You Get                      Atlantic Recording Corporation   SR0000631909
 948 Paramore           The Only Exception                       Atlantic Recording Corporation   SR0000657157
 949 Paramore           Turn It Off                              Atlantic Recording Corporation   SR0000657157
 950 Paramore           We Are Broken                            Atlantic Recording Corporation   SR0000631909
 951 Paramore           When It Rains                            Atlantic Recording Corporation   SR0000631909
 952 Paramore           Where The Lines Overlap                  Atlantic Recording Corporation   SR0000657157
 953 Plies              1 Mo Time                                Atlantic Recording Corporation   SR0000612286
 954 Plies              100 Years                                Atlantic Recording Corporation   SR0000612286
 955 Plies              Friday                                   Atlantic Recording Corporation   SR0000612286
 956 Plies              Goons Lurkin                             Atlantic Recording Corporation   SR0000612286
 957 Plies              Hypnotized (feat. Akon)                  Atlantic Recording Corporation   SR0000612286
 958 Plies              I Am The Club                            Atlantic Recording Corporation   SR0000612286
 959 Plies              I Kno U Workin                           Atlantic Recording Corporation   SR0000612286
 960 Plies              Kept It Too Real                         Atlantic Recording Corporation   SR0000612286
 961 Plies              Money Straight                           Atlantic Recording Corporation   SR0000612286
 962 Plies              Murkin Season                            Atlantic Recording Corporation   SR0000612286
 963 Plies              On My D**k                               Atlantic Recording Corporation   SR0000612286
 964 Plies              Runnin' My Momma Crazy                   Atlantic Recording Corporation   SR0000612286
 965 Plies              The Real Testament Intro                 Atlantic Recording Corporation   SR0000612286
 966 Plies              You                                      Atlantic Recording Corporation   SR0000612286
 967 Plies              Shawty (feat. T-Pain)                    Atlantic Recording Corporation   SR0000612286
 968 Rob Thomas         All That I Am                            Atlantic Recording Corporation   SR0000373876
 969 Rob Thomas         Ever The Same                            Atlantic Recording Corporation   SR0000373876
 970 Rob Thomas         Fallin' To Pieces                        Atlantic Recording Corporation   SR0000373876
 971 Rob Thomas         I Am An Illusion                         Atlantic Recording Corporation   SR0000373876
 972 Rob Thomas         Lonely No More                           Atlantic Recording Corporation   SR0000373876
 973 Rob Thomas         My, My, My                               Atlantic Recording Corporation   SR0000373876
 974 Rob Thomas         Now Comes The Night                      Atlantic Recording Corporation   SR0000373876
 975 Rob Thomas         Problem Girl                             Atlantic Recording Corporation   SR0000373876
 976 Rob Thomas         Something To Be                          Atlantic Recording Corporation   SR0000373876
 977 Rob Thomas         This Is How A Heart Breaks               Atlantic Recording Corporation   SR0000373876
 978 Rob Thomas         When The Heartache Ends                  Atlantic Recording Corporation   SR0000373876
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  979 Sean Paul         Got 2 Luv U (feat. Alexis Jordan)        Atlantic Recording Corporation   SR0000715070
  980 Shinedown         45                                       Atlantic Recording Corporation   SR0000342566
  981 Shinedown         All I Ever Wanted                        Atlantic Recording Corporation   SR0000342566
  982 Shinedown         Better Version                           Atlantic Recording Corporation   SR0000342566
  983 Shinedown         Breaking Inside                          Atlantic Recording Corporation   SR0000673788
  984 Shinedown         Burning Bright                           Atlantic Recording Corporation   SR0000342566
  985 Shinedown         Call Me                                  Atlantic Recording Corporation   SR0000673788
  986 Shinedown         Cry For Help                             Atlantic Recording Corporation   SR0000673788
  987 Shinedown         Crying Out                               Atlantic Recording Corporation   SR0000342566
  988 Shinedown         Cyanide Sweet Tooth Suicide              Atlantic Recording Corporation   SR0000673788
  989 Shinedown         Devour                                   Atlantic Recording Corporation   SR0000673788
  990 Shinedown         Fly From The Inside                      Atlantic Recording Corporation   SR0000342566
  991 Shinedown         I Own You                                Atlantic Recording Corporation   SR0000673788
  992 Shinedown         If You Only Knew                         Atlantic Recording Corporation   SR0000673788
  993 Shinedown         In Memory                                Atlantic Recording Corporation   SR0000342566
  994 Shinedown         Lacerated                                Atlantic Recording Corporation   SR0000342566
  995 Shinedown         Left Out                                 Atlantic Recording Corporation   SR0000342566
  996 Shinedown         Lost In The Crowd                        Atlantic Recording Corporation   SR0000342566
  997 Shinedown         No More Love                             Atlantic Recording Corporation   SR0000342566
  998 Shinedown         Second Chance                            Atlantic Recording Corporation   SR0000673788
  999 Shinedown         Sin With A Grin                          Atlantic Recording Corporation   SR0000673788
 1000 Shinedown         Son Of Sam                               Atlantic Recording Corporation   SR0000673788
 1001 Shinedown         Sound Of Madness                         Atlantic Recording Corporation   SR0000673788
 1002 Shinedown         Stranger Inside                          Atlantic Recording Corporation   SR0000342566
 1003 Shinedown         The Crow & The Butterfly                 Atlantic Recording Corporation   SR0000673788
 1004 Shinedown         The Energy                               Atlantic Recording Corporation   SR0000673788
 1005 Shinedown         What A Shame                             Atlantic Recording Corporation   SR0000673788
 1006 Simple Plan       Addicted                                 Atlantic Recording Corporation   SR0000351060
 1007 Simple Plan       Crazy                                    Atlantic Recording Corporation   SR0000375167
 1008 Simple Plan       Everytime                                Atlantic Recording Corporation   SR0000375167
 1009 Simple Plan       Generation                               Atlantic Recording Corporation   SR0000639323
 1010 Simple Plan       God Must Hate Me                         Atlantic Recording Corporation   SR0000351060
 1011 Simple Plan       Holding On                               Atlantic Recording Corporation   SR0000639323
 1012 Simple Plan       I Can Wait Forever                       Atlantic Recording Corporation   SR0000639323
 1013 Simple Plan       I Won't Be There                         Atlantic Recording Corporation   SR0000351060
 1014 Simple Plan       I'd Do Anything                          Atlantic Recording Corporation   SR0000351060
 1015 Simple Plan       I'm Just A Kid                           Atlantic Recording Corporation   SR0000351060
 1016 Simple Plan       Jump                                     Atlantic Recording Corporation   SR0000375167
 1017 Simple Plan       Me Against The World                     Atlantic Recording Corporation   SR0000375167
 1018 Simple Plan       Meet You There                           Atlantic Recording Corporation   SR0000351060
 1019 Simple Plan       My Alien                                 Atlantic Recording Corporation   SR0000351060
 1020 Simple Plan       No Love                                  Atlantic Recording Corporation   SR0000639323
 1021 Simple Plan       One                                      Atlantic Recording Corporation   SR0000375167
 1022 Simple Plan       One Day                                  Atlantic Recording Corporation   SR0000351060
 1023 Simple Plan       Perfect                                  Atlantic Recording Corporation   SR0000351060
 1024 Simple Plan       Perfect World                            Atlantic Recording Corporation   SR0000375167
 1025 Simple Plan       Promise                                  Atlantic Recording Corporation   SR0000375167
 1026 Simple Plan       Running Out of Time                      Atlantic Recording Corporation   SR0000686779
 1027 Simple Plan       Save You                                 Atlantic Recording Corporation   SR0000639323
 1028 Simple Plan       Take My Hand                             Atlantic Recording Corporation   SR0000639323
 1029 Simple Plan       Thank You                                Atlantic Recording Corporation   SR0000375167
 1030 Simple Plan       The End                                  Atlantic Recording Corporation   SR0000639323
 1031 Simple Plan       The Worst Day Ever                       Atlantic Recording Corporation   SR0000351060
 1032 Simple Plan       Time To Say Goodbye                      Atlantic Recording Corporation   SR0000639323
 1033 Simple Plan       When I'm Gone                            Atlantic Recording Corporation   SR0000639323
 1034 Simple Plan       When I'm Gone (Acoustic Version)         Atlantic Recording Corporation   SR0000686779
 1035 Simple Plan       When I'm With You                        Atlantic Recording Corporation   SR0000351060
 1036 Simple Plan       Your Love Is A Lie                       Atlantic Recording Corporation   SR0000639323
 1037 Trey Songz        2 Reasons (feat. T.I.)                   Atlantic Recording Corporation   SR0000715080
 1038 Trey Songz        Alone                                    Atlantic Recording Corporation   SR0000671697
 1039 Trey Songz        Bad Decisions                            Atlantic Recording Corporation   SR0000715080
 1040 Trey Songz        Blind                                    Atlantic Recording Corporation   SR0000671697
 1041 Trey Songz        Bottoms Up (Feat. Nicki Minaj)           Atlantic Recording Corporation   SR0000671697
 1042 Trey Songz        Can't Be Friends                         Atlantic Recording Corporation   SR0000671697
 1043 Trey Songz        Chapter V                                Atlantic Recording Corporation   SR0000715080
 1044 Trey Songz        Check Me Out (feat. Diddy & Meek Mill)   Atlantic Recording Corporation   SR0000715080
 1045 Trey Songz        Dive In                                  Atlantic Recording Corporation   SR0000715080
 1046 Trey Songz        Don't Be Scared (feat. Rick Ross)        Atlantic Recording Corporation   SR0000715080
 1047 Trey Songz        Doorbell                                 Atlantic Recording Corporation   SR0000671697
 1048 Trey Songz        Forever Yours                            Atlantic Recording Corporation   SR0000715080
 1049 Trey Songz        Fumble                                   Atlantic Recording Corporation   SR0000715080
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 1050 Trey Songz          Hail Mary (feat. Young Jeezy & Lil Wayne)                   Atlantic Recording Corporation   SR0000715080
 1051 Trey Songz          Heart Attack                                                Atlantic Recording Corporation   SR0000715080
 1052 Trey Songz          Inside Interlewd                                            Atlantic Recording Corporation   SR0000715080
 1053 Trey Songz          Interlude4U                                                 Atlantic Recording Corporation   SR0000715080
 1054 Trey Songz          Love Faces                                                  Atlantic Recording Corporation   SR0000671697
 1055 Trey Songz          Made To Be Together                                         Atlantic Recording Corporation   SR0000671697
 1056 Trey Songz          Massage                                                     Atlantic Recording Corporation   SR0000671697
 1057 Trey Songz          Never Again                                                 Atlantic Recording Corporation   SR0000715080
 1058 Trey Songz          Pain (Interlude)                                            Atlantic Recording Corporation   SR0000671697
 1059 Trey Songz          Panty Droppa (Intro)                                        Atlantic Recording Corporation   SR0000797222
 1060 Trey Songz          Panty Wetter                                                Atlantic Recording Corporation   SR0000715080
 1061 Trey Songz          Passion (Interlude)                                         Atlantic Recording Corporation   SR0000671697
 1062 Trey Songz          Playin' Hard                                                Atlantic Recording Corporation   SR0000715080
 1063 Trey Songz          Please Return My Call                                       Atlantic Recording Corporation   SR0000671697
 1064 Trey Songz          Pleasure (Interlude)                                        Atlantic Recording Corporation   SR0000671697
 1065 Trey Songz          Pretty Girl's Lie                                           Atlantic Recording Corporation   SR0000715080
 1066 Trey Songz          Red Lipstick                                                Atlantic Recording Corporation   SR0000671697
 1067 Trey Songz          Simply Amazing                                              Atlantic Recording Corporation   SR0000715080
 1068 Trey Songz          Unfortunate                                                 Atlantic Recording Corporation   SR0000671697
 1069 Trey Songz          Unusual (Feat. Drake)                                       Atlantic Recording Corporation   SR0000671697
 1070 Trey Songz          Without A Woman                                             Atlantic Recording Corporation   SR0000715080
 1071 Trey Songz          You Just Need Me                                            Atlantic Recording Corporation   SR0000671697
 1072 Ty Dolla $ign       Or Nah (feat. Wiz Khalifa and DJ Mustard)                   Atlantic Recording Corporation   SR0000743306
 1073 Uncle Kracker       Smile                                                       Atlantic Recording Corporation   SR0000657108
 1074 Waka Flocka Flame   Bang (feat. YG Hootie & Slim Dunkin)                        Atlantic Recording Corporation   SR0000672357
 1075 Waka Flocka Flame   Bricksquad (feat. Gudda Gudda)                              Atlantic Recording Corporation   SR0000672357
 1076 Waka Flocka Flame   Bustin' At 'Em                                              Atlantic Recording Corporation   SR0000672357
 1077 Waka Flocka Flame   F**k The Club Up (feat. Pastor Troy & Slim Dunkin)          Atlantic Recording Corporation   SR0000672357
 1078 Waka Flocka Flame   F**k This Industry                                          Atlantic Recording Corporation   SR0000672357
 1079 Waka Flocka Flame   For My Dawgs                                                Atlantic Recording Corporation   SR0000672357
 1080 Waka Flocka Flame   G Check (feat. YG Hootie, Bo Deal & Joe Moses)              Atlantic Recording Corporation   SR0000672357
 1081 Waka Flocka Flame   Grove St. Party (feat. Kebo Gotti)                          Atlantic Recording Corporation   SR0000672357

 1082 Waka Flocka Flame   Homies (feat. YG Hootie, Popa Smurf & Ice Burgundy)         Atlantic Recording Corporation   SR0000672357
 1083 Waka Flocka Flame   Karma (feat. YG Hootie, Popa Smurf & Slim Dunkin)           Atlantic Recording Corporation   SR0000672357
 1084 Waka Flocka Flame   Live By The Gun (feat. RA Diggs & Uncle Murda)              Atlantic Recording Corporation   SR0000672357
 1085 Waka Flocka Flame   No Hands (feat. Roscoe Dash and Wale)                       Atlantic Recording Corporation   SR0000672357
 1086 Waka Flocka Flame   O Let's Do It (Feat. Cap)                                   Atlantic Recording Corporation   SR0000672357
 1087 Waka Flocka Flame   Smoke, Drank (feat. Bo Deal, Mouse & Kebo Gotti)            Atlantic Recording Corporation   SR0000672357
 1088 Waka Flocka Flame   Snake In The Grass (feat. Cartier Kitten)                   Atlantic Recording Corporation   SR0000672357
                          TTG (Trained To Go) (feat. French Montana, YG Hootie, Joe
 1089 Waka Flocka Flame   Moses & Baby Bomb)                                          Atlantic Recording Corporation   SR0000672357
 1090 Wale                LoveHate Thing (feat. Sam Dew)                              Atlantic Recording Corporation   SR0000734288
 1091 Wale & Meek Mill    Bag Of Money (feat. Rick Ross & T-Pain)                     Atlantic Recording Corporation   SR0000718581
 1092 Wiz Khalifa         Bluffin (feat. Berner)                                      Atlantic Recording Corporation   SR0000715951
 1093 Wiz Khalifa         Fall Asleep                                                 Atlantic Recording Corporation   SR0000715951
 1094 Wiz Khalifa         Got Everything (feat. Courtney Noelle)                      Atlantic Recording Corporation   SR0000715951
 1095 Wiz Khalifa         Initiation (feat. Lola Monroe)                              Atlantic Recording Corporation   SR0000715951
 1096 Wiz Khalifa         Intro                                                       Atlantic Recording Corporation   SR0000715951
 1097 Wiz Khalifa         It's Nothin (feat. 2 Chainz)                                Atlantic Recording Corporation   SR0000715951
 1098 Wiz Khalifa         Let It Go (feat. Akon)                                      Atlantic Recording Corporation   SR0000715951
 1099 Wiz Khalifa         Medicated (feat. Chevy Woods & Juicy J)                     Atlantic Recording Corporation   SR0000715951
 1100 Wiz Khalifa         No Limit                                                    Atlantic Recording Corporation   SR0000715951
 1101 Wiz Khalifa         Paperbond                                                   Atlantic Recording Corporation   SR0000715951
 1102 Wiz Khalifa         Remember You (feat. The Weeknd)                             Atlantic Recording Corporation   SR0000715951

 1103 Wiz Khalifa         Rise Above (feat. Pharrell, Tuki Carter & Amber Rose)       Atlantic Recording Corporation   SR0000715951
 1104 Wiz Khalifa         The Bluff (feat. Cam'Ron)                                   Atlantic Recording Corporation   SR0000715951
 1105 Wiz Khalifa         The Plan (feat. Juicy J)                                    Atlantic Recording Corporation   SR0000715951
 1106 Wiz Khalifa         Time                                                        Atlantic Recording Corporation   SR0000715951
 1107 Wiz Khalifa         Up In It                                                    Atlantic Recording Corporation   SR0000715951
 1108 Wiz Khalifa         Work Hard, Play Hard                                        Atlantic Recording Corporation   SR0000715951
 1109 Zac Brown Band      Day That I Die (feat. Amos Lee)                             Atlantic Recording Corporation   SR0000726685
 1110 Zac Brown Band      Goodbye In Her Eyes                                         Atlantic Recording Corporation   SR0000726685
 1111 Zac Brown Band      Island Song                                                 Atlantic Recording Corporation   SR0000726685
 1112 Zac Brown Band      Lance's Song                                                Atlantic Recording Corporation   SR0000726685
 1113 Zac Brown Band      Last But Not Least                                          Atlantic Recording Corporation   SR0000726685
 1114 Zac Brown Band      Natural Disaster                                            Atlantic Recording Corporation   SR0000726685
 1115 Zac Brown Band      Overnight (feat. Trombone Shorty)                           Atlantic Recording Corporation   SR0000726685
 1116 Zac Brown Band      Sweet Annie                                                 Atlantic Recording Corporation   SR0000726685
 1117 Zac Brown Band      The Wind                                                    Atlantic Recording Corporation   SR0000726685
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 1118 Zac Brown Band                Uncaged                                                         Atlantic Recording Corporation   SR0000726685
 1119 Gorilla Zoe                   Lost                                                            Bad Boy Records LLC              SR0000663781
 1120 P. Diddy feat. Keyshia Cole   Last Night                                                      Bad Boy Records LLC              SR0000400868
 1121 The Notorious B.I.G.          Notorious Thugs                                                 Bad Boy Records LLC              SR0000220411
 1122 Yung Joc                      1st Time (feat. Marques Houston)                                Bad Boy Records LLC              SR0000393525
 1123 Yung Joc                      Bottle Poppin' (feat. Gorilla Zoe)                              Bad Boy Records LLC              SR0000622799
 1124 Yung Joc                      Brand New                                                       Bad Boy Records LLC              SR0000622799
 1125 Yung Joc                      BYOB                                                            Bad Boy Records LLC              SR0000622799
 1126 Yung Joc                      Chevy Smile                                                     Bad Boy Records LLC              SR0000622799
 1127 Yung Joc                      Coffee Shop (feat. Gorilla Zoe)                                 Bad Boy Records LLC              SR0000622799
 1128 Yung Joc                      Cut Throat (featuring The Game, Jim Jones & Block)              Bad Boy Records LLC              SR0000622799
 1129 Yung Joc                      Do Yah Bad                                                      Bad Boy Records LLC              SR0000393525
 1130 Yung Joc                      Don't Play Wit It (feat. Big Gee)                               Bad Boy Records LLC              SR0000393525

                                    Dope Boy Magic (feat. Nicholas "Play Boy Nick" Smith, Corey
 1131 Yung Joc                      "Black Owned C Bone" Andrews & Chino Dolla)                     Bad Boy Records LLC              SR0000393525

 1132 Yung Joc                      Excuse Me Officer (Interlude) (feat. A.D. "Griff" Griffin)      Bad Boy Records LLC              SR0000393525
 1133 Yung Joc                      Flip Flop (feat. Boyz N Da Hood and Cheri Dennis)               Bad Boy Records LLC              SR0000393525

 1134 Yung Joc                      Getting to da Money (featuring Mike Carlito & Gorilla Zoe)      Bad Boy Records LLC              SR0000622799

 1135 Yung Joc                      He Stayed In Trouble (Interlude) (Feat. A.D. "Griff" Griffin)   Bad Boy Records LLC              SR0000393525
 1136 Yung Joc                      Hear Me Coming                                                  Bad Boy Records LLC              SR0000393525
 1137 Yung Joc                      Hell Yeah (feat. Diddy)                                         Bad Boy Records LLC              SR0000622799
 1138 Yung Joc                      Hustlemania (Skit)                                              Bad Boy Records LLC              SR0000622799
 1139 Yung Joc                      Hustlenomics                                                    Bad Boy Records LLC              SR0000622799
 1140 Yung Joc                      I Know You See It                                               Bad Boy Records LLC              SR0000393525
 1141 Yung Joc                      I'm A G (feat. Bun B & Young Dro)                               Bad Boy Records LLC              SR0000622799
 1142 Yung Joc                      I'm Him                                                         Bad Boy Records LLC              SR0000393525
 1143 Yung Joc                      It's Goin' Down                                                 Bad Boy Records LLC              SR0000393525
 1144 Yung Joc                      Knock It Out                                                    Bad Boy Records LLC              SR0000393525
 1145 Yung Joc                      Livin' The Life                                                 Bad Boy Records LLC              SR0000622799
 1146 Yung Joc                      Momma (feat. Jazze Pha)                                         Bad Boy Records LLC              SR0000622799
 1147 Yung Joc                      New Joc City (Intro)                                            Bad Boy Records LLC              SR0000393525
 1148 Yung Joc                      Pak Man                                                         Bad Boy Records LLC              SR0000622799
 1149 Yung Joc                      Patron                                                          Bad Boy Records LLC              SR0000393525
 1150 Yung Joc                      Picture Perfect                                                 Bad Boy Records LLC              SR0000393525
 1151 Yung Joc                      Play Your Cards                                                 Bad Boy Records LLC              SR0000622799
 1152 Avant                         Break Ya Back                                                   Capitol Records, LLC             SR0000648878
 1153 Avant                         French Pedicure                                                 Capitol Records, LLC             SR0000648878
 1154 Avant                         Involve Yourself                                                Capitol Records, LLC             SR0000648878
 1155 Avant                         Material Things                                                 Capitol Records, LLC             SR0000648878
 1156 Avant                         Out of Character                                                Capitol Records, LLC             SR0000648878
 1157 Avant                         Perfect Gentleman                                               Capitol Records, LLC             SR0000648878
 1158 Avant                         Sailing                                                         Capitol Records, LLC             SR0000648878
 1159 Avant                         Sensuality                                                      Capitol Records, LLC             SR0000648878
 1160 Avant                         When It Hurts                                                   Capitol Records, LLC             SR0000649607
 1161 Avant                         Y.O.U.                                                          Capitol Records, LLC             SR0000648878
 1162 Avant featuring Snoop Dogg    Attention                                                       Capitol Records, LLC             SR0000648878
 1163 Blind Melon                   2X4                                                             Capitol Records, LLC             SR0000262682
 1164 Blind Melon                   All That I Need                                                 Capitol Records, LLC             SR0000336269
 1165 Blind Melon                   Car Seat (God's Presents)                                       Capitol Records, LLC             SR0000262682
 1166 Blind Melon                   Change                                                          Capitol Records, LLC             SR0000384161
 1167 Blind Melon                   Dear Ol' Dad                                                    Capitol Records, LLC             SR0000384161
 1168 Blind Melon                   Deserted                                                        Capitol Records, LLC             SR0000384161
 1169 Blind Melon                   Drive                                                           Capitol Records, LLC             SR0000384161
 1170 Blind Melon                   Dumptruck                                                       Capitol Records, LLC             SR0000262682
 1171 Blind Melon                   Galaxie                                                         Capitol Records, LLC             SR0000262682
 1172 Blind Melon                   Glitch                                                          Capitol Records, LLC             SR0000336269
 1173 Blind Melon                   Hell                                                            Capitol Records, LLC             SR0000336269
 1174 Blind Melon                   Holyman                                                         Capitol Records, LLC             SR0000384161
 1175 Blind Melon                   I Wonder                                                        Capitol Records, LLC             SR0000384161
 1176 Blind Melon                   John Sinclair (Explicit)                                        Capitol Records, LLC             SR0000336269
 1177 Blind Melon                   Lemonade                                                        Capitol Records, LLC             SR0000262682
 1178 Blind Melon                   Letters From A Porcupine                                        Capitol Records, LLC             SR0000336269
 1179 Blind Melon                   Life Ain't So Shitty (Explicit)                                 Capitol Records, LLC             SR0000336269
 1180 Blind Melon                   Mouthful Of Cavities                                            Capitol Records, LLC             SR0000262682
 1181 Blind Melon                   New Life                                                        Capitol Records, LLC             SR0000262682
 1182 Blind Melon                   No Rain                                                         Capitol Records, LLC             SR0000384161
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                        No Rain (Ripped Away Version) (24-Bit Digitally Remastered
 1183 Blind Melon       05)                                                          Capitol Records, LLC   SR0000377592
 1184 Blind Melon       Paper Scratcher                                              Capitol Records, LLC   SR0000384161
 1185 Blind Melon       Pull                                                         Capitol Records, LLC   SR0000336269
 1186 Blind Melon       Seed To A Tree (Explicit)                                    Capitol Records, LLC   SR0000384161
 1187 Blind Melon       Skinned                                                      Capitol Records, LLC   SR0000262682
 1188 Blind Melon       Sleepyhouse                                                  Capitol Records, LLC   SR0000384161
 1189 Blind Melon       Soak The Sin                                                 Capitol Records, LLC   SR0000384161
 1190 Blind Melon       Soul One (24-Bit Digitally Remastered 01)                    Capitol Records, LLC   SR0000377592
 1191 Blind Melon       Soup (24-Bit Digitally Remastered 01)                        Capitol Records, LLC   SR0000377592
 1192 Blind Melon       St. Andrew's Fall                                            Capitol Records, LLC   SR0000262682
 1193 Blind Melon       St. Andrew's Hall                                            Capitol Records, LLC   SR0000336269
 1194 Blind Melon       Swallowed                                                    Capitol Records, LLC   SR0000336269
 1195 Blind Melon       The Duke                                                     Capitol Records, LLC   SR0000262682
 1196 Blind Melon       The Pusher                                                   Capitol Records, LLC   SR0000336269
 1197 Blind Melon       Time                                                         Capitol Records, LLC   SR0000384161
 1198 Blind Melon       Toes Across The Floor                                        Capitol Records, LLC   SR0000262682
 1199 Blind Melon       Tones Of Home                                                Capitol Records, LLC   SR0000384161
 1200 Blind Melon       Vernie                                                       Capitol Records, LLC   SR0000262682
 1201 Blind Melon       Walk                                                         Capitol Records, LLC   SR0000377592
 1202 Blind Melon       Wilt                                                         Capitol Records, LLC   SR0000262682
 1203 Capital Cities    Center Stage                                                 Capitol Records, LLC   SR0000725325
 1204 Capital Cities    Chartreuse                                                   Capitol Records, LLC   SR0000725325
 1205 Capital Cities    Chasing You                                                  Capitol Records, LLC   SR0000725325
 1206 Capital Cities    Farrah Fawcett Hair (feat. Andre 3000)                       Capitol Records, LLC   SR0000725325
 1207 Capital Cities    I Sold My Bed, But Not My Stereo                             Capitol Records, LLC   SR0000725325
 1208 Capital Cities    Kangaroo Court                                               Capitol Records, LLC   SR0000725325
 1209 Capital Cities    Lazy Lies                                                    Capitol Records, LLC   SR0000725325
 1210 Capital Cities    Love Away                                                    Capitol Records, LLC   SR0000725325
 1211 Capital Cities    Origami                                                      Capitol Records, LLC   SR0000725325
 1212 Capital Cities    Patience Gets Us Nowhere Fast                                Capitol Records, LLC   SR0000725325
 1213 Capital Cities    Safe and Sound                                               Capitol Records, LLC   SR0000725325
 1214 Capital Cities    Tell Me How To Live                                          Capitol Records, LLC   SR0000725325
 1215 Chris Cagle       Change Me                                                    Capitol Records, LLC   SR0000640838
 1216 Chris Cagle       I Don't Wanna Live                                           Capitol Records, LLC   SR0000640838
 1217 Chris Cagle       If It Isn't One Thing                                        Capitol Records, LLC   SR0000640838
 1218 Chris Cagle       It's Good To Be Back                                         Capitol Records, LLC   SR0000640838
 1219 Chris Cagle       Keep Me From Loving You                                      Capitol Records, LLC   SR0000640838
 1220 Chris Cagle       Little Sundress                                              Capitol Records, LLC   SR0000640838
 1221 Chris Cagle       My Heart Move On                                             Capitol Records, LLC   SR0000640838
 1222 Chris Cagle       Never Ever Gone                                              Capitol Records, LLC   SR0000640838
 1223 Darius Rucker     Heartbreak Road                                              Capitol Records, LLC   SR0000724693
 1224 Darius Rucker     I Will Love You Still (feat. Mallary Hope)                   Capitol Records, LLC   SR0000724693
 1225 Darius Rucker     Leavin' The Light On                                         Capitol Records, LLC   SR0000724693
 1226 Darius Rucker     Lie To Me                                                    Capitol Records, LLC   SR0000724693
 1227 Darius Rucker     Lost In You                                                  Capitol Records, LLC   SR0000724693
 1228 Darius Rucker     Love Without You (feat. Sheryl Crow)                         Capitol Records, LLC   SR0000724693
 1229 Darius Rucker     Miss You                                                     Capitol Records, LLC   SR0000724693
 1230 Darius Rucker     Radio                                                        Capitol Records, LLC   SR0000724693
 1231 Darius Rucker     Shine                                                        Capitol Records, LLC   SR0000724693
 1232 Darius Rucker     Take Me Home                                                 Capitol Records, LLC   SR0000724693
 1233 Darius Rucker     True Believers                                               Capitol Records, LLC   SR0000724693
 1234 Darius Rucker     Wagon Wheel                                                  Capitol Records, LLC   SR0000724693
 1235 Heart             All I Wanna Do Is Make Love To You                           Capitol Records, LLC   SR0000114803
 1236 Heart             Alone                                                        Capitol Records, LLC   SR0000088275
 1237 Heart             Crazy On You                                                 Capitol Records, LLC   SR0000102964
 1238 Heart             Dreamboat Annie                                              Capitol Records, LLC   SR0000102964
 1239 Heart             Heartless                                                    Capitol Records, LLC   SR0000102963
 1240 Heart             If Looks Could Kill                                          Capitol Records, LLC   SR0000075726
 1241 Heart             Magic Man                                                    Capitol Records, LLC   SR0000102964
 1242 Heart             Never                                                        Capitol Records, LLC   SR0000075726
 1243 Heart             Nothin' At All                                               Capitol Records, LLC   SR0000075726
 1244 Heart             Stranded (2000 Digital Remaster)                             Capitol Records, LLC   SR0000114803
 1245 Heart             These Dreams                                                 Capitol Records, LLC   SR0000276088
 1246 Heart             What About Love                                              Capitol Records, LLC   SR0000075726
 1247 Heart             Who Will You Run To                                          Capitol Records, LLC   SR0000088275
 1248 Heart             Will You Be There (In The Morning)                           Capitol Records, LLC   SR0000212555
 1249 Katy Perry        California Gurls (feat. Snoop Dogg)                          Capitol Records, LLC   SR0000662264
                        California Gurls (feat. Snoop Dogg) (Armand Van Helden
 1250 Katy Perry        Remix) (Explicit)                                            Capitol Records, LLC   SR0000669922
 1251 Katy Perry        Circle The Drain (Explicit)                                  Capitol Records, LLC   SR0000662268
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 1252 Katy Perry        Dressin' Up                                                  Capitol Records, LLC   SR0000695553
 1253 Katy Perry        E.T.                                                         Capitol Records, LLC   SR0000681293
 1254 Katy Perry        E.T. (feat. Kayne West)                                      Capitol Records, LLC   SR0000681293
 1255 Katy Perry        Fingerprints                                                 Capitol Records, LLC   SR0000638214
 1256 Katy Perry        Firework                                                     Capitol Records, LLC   SR0000662268
 1257 Katy Perry        Hot N Cold                                                   Capitol Records, LLC   SR0000638214
 1258 Katy Perry        Hummingbird Heartbeat (Explicit)                             Capitol Records, LLC   SR0000662268
 1259 Katy Perry        I Kissed A Girl                                              Capitol Records, LLC   SR0000638214
 1260 Katy Perry        I'm Still Breathing                                          Capitol Records, LLC   SR0000638214
 1261 Katy Perry        If You Can Afford Me                                         Capitol Records, LLC   SR0000638214
 1262 Katy Perry        Last Friday Night (T.G.I.F.)                                 Capitol Records, LLC   SR0000662268
 1263 Katy Perry        Last Friday Night (T.G.I.F.) (Explicit)                      Capitol Records, LLC   SR0000662268
 1264 Katy Perry        Last Friday Night (T.G.I.F.) (feat. Missy Elliott)           Capitol Records, LLC   SR0000695549
 1265 Katy Perry        Lost                                                         Capitol Records, LLC   SR0000638213
 1266 Katy Perry        Mannequin                                                    Capitol Records, LLC   SR0000638214
 1267 Katy Perry        Not Like The Movies (Explicit)                               Capitol Records, LLC   SR0000662268
 1268 Katy Perry        One Of The Boys                                              Capitol Records, LLC   SR0000638214
 1269 Katy Perry        Part Of Me                                                   Capitol Records, LLC   SR0000695742
 1270 Katy Perry        Peacock                                                      Capitol Records, LLC   SR0000662268
 1271 Katy Perry        Pearl (Explicit)                                             Capitol Records, LLC   SR0000662268
 1272 Katy Perry        Roar                                                         Capitol Records, LLC   SR0000734383
 1273 Katy Perry        Self Inflicted                                               Capitol Records, LLC   SR0000638214
 1274 Katy Perry        Teenage Dream                                                Capitol Records, LLC   SR0000662268
 1275 Katy Perry        Teenage Dream (Kaskade Club Remix)                           Capitol Records, LLC   SR0000662268
 1276 Katy Perry        Teenage Dream (Kaskade Club Remix) (Explicit)                Capitol Records, LLC   SR0000662268
 1277 Katy Perry        The One That Got Away                                        Capitol Records, LLC   SR0000662268
 1278 Katy Perry        The One That Got Away (Acoustic)                             Capitol Records, LLC   SR0000695553
 1279 Katy Perry        The One That Got Away (Radio Mix)                            Capitol Records, LLC   SR0000662268
 1280 Katy Perry        Thinking Of You                                              Capitol Records, LLC   SR0000638214
 1281 Katy Perry        Ur So Gay                                                    Capitol Records, LLC   SR0000638214
 1282 Katy Perry        Waking Up In Vegas                                           Capitol Records, LLC   SR0000638214
 1283 Katy Perry        Who Am I Living For?                                         Capitol Records, LLC   SR0000695553
 1284 Katy Perry        Who Am I Living For? (Explicit)                              Capitol Records, LLC   SR0000662268
                        California Gurls (feat. Snoop Dogg) (Passion Pit Main Mix)
 1285 Katy Perry        (Explicit)                                                   Capitol Records, LLC   SR0000662268
 1286 Keith Urban       All For You                                                  Capitol Records, LLC   SR0000697018
 1287 Keith Urban       Black Leather Jacket                                         Capitol Records, LLC   SR0000733375
 1288 Keith Urban       Come Back To Me                                              Capitol Records, LLC   SR0000733375
 1289 Keith Urban       Cop Car                                                      Capitol Records, LLC   SR0000733375
 1290 Keith Urban       Even The Stars Fall 4 U                                      Capitol Records, LLC   SR0000733375
 1291 Keith Urban       Georgia Woods                                                Capitol Records, LLC   SR0000697018
 1292 Keith Urban       Gonna B Good                                                 Capitol Records, LLC   SR0000733375
 1293 Keith Urban       Good Thing                                                   Capitol Records, LLC   SR0000733375
 1294 Keith Urban       Heart Like Mine                                              Capitol Records, LLC   SR0000733375
 1295 Keith Urban       Little Bit Of Everything                                     Capitol Records, LLC   SR0000733375
 1296 Keith Urban       Long Hot Summer                                              Capitol Records, LLC   SR0000697018
 1297 Keith Urban       Love's Poster Child                                          Capitol Records, LLC   SR0000733375
 1298 Keith Urban       Lucky Charm                                                  Capitol Records, LLC   SR0000733375
 1299 Keith Urban       Raise 'Em Up                                                 Capitol Records, LLC   SR0000733375
 1300 Keith Urban       Red Camaro                                                   Capitol Records, LLC   SR0000733375
 1301 Keith Urban       Right On Back To You                                         Capitol Records, LLC   SR0000697018
 1302 Keith Urban       Shame                                                        Capitol Records, LLC   SR0000733375
 1303 Keith Urban       She's My 11                                                  Capitol Records, LLC   SR0000733375
 1304 Keith Urban       Shut Out The Lights                                          Capitol Records, LLC   SR0000697018
 1305 Keith Urban       Somewhere In My Car                                          Capitol Records, LLC   SR0000733375
 1306 Keith Urban       Thank You                                                    Capitol Records, LLC   SR0000656739
 1307 Keith Urban       We Were Us                                                   Capitol Records, LLC   SR0000733375
 1308 Keith Urban       You Gonna Fly                                                Capitol Records, LLC   SR0000697018
 1309 Lady Antebellum   All For Love                                                 Capitol Records, LLC   SR0000724696
 1310 Lady Antebellum   And The Radio Played                                         Capitol Records, LLC   SR0000724696
 1311 Lady Antebellum   As You Turn Away                                             Capitol Records, LLC   SR0000686148
 1312 Lady Antebellum   Better Man                                                   Capitol Records, LLC   SR0000724696
 1313 Lady Antebellum   Better Off Now (That You're Gone)                            Capitol Records, LLC   SR0000724696
 1314 Lady Antebellum   Can't Stand The Rain                                         Capitol Records, LLC   SR0000724696
 1315 Lady Antebellum   Cold As Stone                                                Capitol Records, LLC   SR0000686148
 1316 Lady Antebellum   Compass                                                      Capitol Records, LLC   SR0000750709
 1317 Lady Antebellum   Dancin' Away With My Heart                                   Capitol Records, LLC   SR0000686148
 1318 Lady Antebellum   Downtown                                                     Capitol Records, LLC   SR0000721174
 1319 Lady Antebellum   Friday Night                                                 Capitol Records, LLC   SR0000686148
 1320 Lady Antebellum   Generation Away                                              Capitol Records, LLC   SR0000723786
 1321 Lady Antebellum   Get To Me                                                    Capitol Records, LLC   SR0000724696
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 1322 Lady Antebellum                  Golden                                                       Capitol Records, LLC               SR0000741953
 1323 Lady Antebellum                  Goodbye Town                                                 Capitol Records, LLC               SR0000724696
 1324 Lady Antebellum                  Heart Of The World                                           Capitol Records, LLC               SR0000686148
 1325 Lady Antebellum                  I Run To You                                                 Capitol Records, LLC               SR0000732681
 1326 Lady Antebellum                  It Ain't Pretty                                              Capitol Records, LLC               SR0000724696
 1327 Lady Antebellum                  Just A Kiss                                                  Capitol Records, LLC               SR0000679267
 1328 Lady Antebellum                  Life As We Know It                                           Capitol Records, LLC               SR0000724696
 1329 Lady Antebellum                  Long Teenage Goodbye                                         Capitol Records, LLC               SR0000724696
 1330 Lady Antebellum                  Love I've Found In You                                       Capitol Records, LLC               SR0000686148
 1331 Lady Antebellum                  Nothin' Like The First Time                                  Capitol Records, LLC               SR0000724696
 1332 Lady Antebellum                  Singing Me Home                                              Capitol Records, LLC               SR0000686148
 1333 Lady Antebellum                  Somewhere Love Remains                                       Capitol Records, LLC               SR0000686148
 1334 Lady Antebellum                  Wanted You More                                              Capitol Records, LLC               SR0000686145
 1335 Lady Antebellum                  We Owned The Night                                           Capitol Records, LLC               SR0000686144
 1336 Lady Antebellum                  When You Were Mine                                           Capitol Records, LLC               SR0000686148
 1337 Luke Bryan                       Beer In The Headlights                                       Capitol Records, LLC               SR0000728445
 1338 Luke Bryan                       Better Than My Heart                                         Capitol Records, LLC               SR0000728445
 1339 Luke Bryan                       Blood Brothers                                               Capitol Records, LLC               SR0000722027
 1340 Luke Bryan                       Crash My Party                                               Capitol Records, LLC               SR0000722027
 1341 Luke Bryan                       Dirt Road Diary                                              Capitol Records, LLC               SR0000722027
 1342 Luke Bryan                       Drink A Beer                                                 Capitol Records, LLC               SR0000728445
 1343 Luke Bryan                       Goodbye Girl                                                 Capitol Records, LLC               SR0000728445
 1344 Luke Bryan                       Out Like That                                                Capitol Records, LLC               SR0000728445
 1345 Luke Bryan                       Play It Again                                                Capitol Records, LLC               SR0000728445
 1346 Luke Bryan                       Shut It Down                                                 Capitol Records, LLC               SR0000728445
 1347 Luke Bryan                       Sunburnt Lips                                                Capitol Records, LLC               SR0000728445
 1348 Luke Bryan                       That's My Kind Of Night                                      Capitol Records, LLC               SR0000728445
 1349 Luke Bryan                       We Run This Town                                             Capitol Records, LLC               SR0000728445
 1350 Luke Bryan                       What Is It With You                                          Capitol Records, LLC               SR0000728445
 1351 Luke Bryan                       Your Mama Should've Named You Whiskey                        Capitol Records, LLC               SR0000728445
 1352 Maze                             Changing Times                                               Capitol Records, LLC               SR0000034187
 1353 Maze                             Dee's Song (Live)                                            Capitol Records, LLC               SR0000337846
 1354 Maze                             Feel That You're Feelin'                                     Capitol Records, LLC               SR0000034187
 1355 Maze                             Feel That You're Feelin' (Live)                              Capitol Records, LLC               SR0000337846
 1356 Maze                             Golden Time Of Day                                           Capitol Records, LLC               SR0000007973
 1357 Maze                             I Wanna Thank You (Live)                                     Capitol Records, LLC               SR0000337846
 1358 Maze                             I Want To Feel Wanted (Live)                                 Capitol Records, LLC               SR0000337846
 1359 Maze                             Introduction                                                 Capitol Records, LLC               SR0000034187
 1360 Maze                             Joy & Pain                                                   Capitol Records, LLC               SR0000034187
 1361 Maze                             Joy And Pain                                                 Capitol Records, LLC               SR0000034187
 1362 Maze                             Lady Of Magic                                                Capitol Records, LLC               SR0000048450
 1363 Maze                             Reason                                                       Capitol Records, LLC               SR0000034187
 1364 Maze                             Running Away                                                 Capitol Records, LLC               SR0000034187
 1365 Maze                             Running Away (Live)                                          Capitol Records, LLC               SR0000337846
 1366 Maze                             We Are One (Live)                                            Capitol Records, LLC               SR0000337846
 1367 Maze                             You (Live)                                                   Capitol Records, LLC               SR0000337846
 1368 Maze Featuring Frankie Beverly   Ain't It Strange (2004 Digital Remaster)                     Capitol Records, LLC               SR0000008107
 1369 Maze Featuring Frankie Beverly   Back In Stride (Live)                                        Capitol Records, LLC               SR0000337846
 1370 Maze Featuring Frankie Beverly   Call On Me (2004 Digital Remaster)                           Capitol Records, LLC               SR0000008107
 1371 Maze Featuring Frankie Beverly   Feel That You're Feelin' (2004 Digital Remaster)             Capitol Records, LLC               SR0000008107
 1372 Maze Featuring Frankie Beverly   Freedom (South Africa) (Live)                                Capitol Records, LLC               SR0000337846
 1373 Maze Featuring Frankie Beverly   Happy Feelings (Live)                                        Capitol Records, LLC               SR0000096013
 1374 Maze Featuring Frankie Beverly   I Need You (1999 Digital Remaster)                           Capitol Records, LLC               SR0000007973
 1375 Maze Featuring Frankie Beverly   I Wanna Thank You                                            Capitol Records, LLC               SR0000046840
 1376 Maze Featuring Frankie Beverly   Lovely Inspiration (Instrumental) (2004 Digital Remaster)    Capitol Records, LLC               SR0000008107
 1377 Maze Featuring Frankie Beverly   Song For My Mother (1999 Digital Remaster)                   Capitol Records, LLC               SR0000007973
 1378 Maze Featuring Frankie Beverly   Timin' (2004 Digital Remaster)                               Capitol Records, LLC               SR0000008107
                                       Too Many Games (Live) (24-Bit Remastered 02) (2003 Digital
 1379 Maze Featuring Frankie Beverly   Remaster)                                                    Capitol Records, LLC               SR0000337846
 1380 Maze Featuring Frankie Beverly   Welcome Home (2004 Digital Remaster)                         Capitol Records, LLC               SR0000008107
 1381 Maze Featuring Frankie Beverly   When You Love Someone (Live)                                 Capitol Records, LLC               SR0000337846
 1382 Maze Featuring Frankie Beverly   Woman Is A Wonder (2004 Digital Remaster)                    Capitol Records, LLC               SR0000008107
 1383 Maze Featuring Frankie Beverly   You (1999 Digital Remaster)                                  Capitol Records, LLC               SR0000351843
 1384 Maze Featuring Frankie Beverly   You're Not The Same (1999 Digital Remaster)                  Capitol Records, LLC               SR0000007973
 1385 Maze Featuring Frankie Beverly   Your Own Kind Of Way                                         Capitol Records, LLC               SR0000046840
 1386 Bruno Mars                       The Lazy Song                                                Elektra Entertainment Group Inc.   SR0000671062
 1387 CeeLo Green                      Bodies                                                       Elektra Entertainment Group Inc.   SR0000673160
 1388 CeeLo Green                      Bright Lights Bigger City (feat.Wiz Khalifa)                 Elektra Entertainment Group Inc.   SR0000673160
 1389 CeeLo Green                      Cry Baby                                                     Elektra Entertainment Group Inc.   SR0000673160
 1390 CeeLo Green                      Fool For You (feat. Melanie Fiona)                           Elektra Entertainment Group Inc.   SR0000796589
 1391 CeeLo Green                      Forget You                                                   Elektra Entertainment Group Inc.   SR0000673160
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 1392 CeeLo Green              I Want You                           Elektra Entertainment Group Inc.   SR0000673160
 1393 CeeLo Green              It's OK                              Elektra Entertainment Group Inc.   SR0000673160
 1394 CeeLo Green              Love Gun (Feat. Lauren Bennett)      Elektra Entertainment Group Inc.   SR0000673160
 1395 CeeLo Green              No One's Gonna Love You              Elektra Entertainment Group Inc.   SR0000673160
 1396 CeeLo Green              Old Fashioned                        Elektra Entertainment Group Inc.   SR0000673160
 1397 CeeLo Green              Satisfied                            Elektra Entertainment Group Inc.   SR0000673160
 1398 CeeLo Green              The Lady Killer Theme (Intro)        Elektra Entertainment Group Inc.   SR0000673160
 1399 CeeLo Green              The Lady Killer Theme (Outro)        Elektra Entertainment Group Inc.   SR0000673160
 1400 CeeLo Green              Wildflower                           Elektra Entertainment Group Inc.   SR0000673160
 1401 Fitz & The Tantrums      6am                                  Elektra Entertainment Group Inc.   SR0000724442
 1402 Fitz & The Tantrums      Break The Walls                      Elektra Entertainment Group Inc.   SR0000724442
 1403 Fitz & The Tantrums      Fools Gold                           Elektra Entertainment Group Inc.   SR0000724442
 1404 Fitz & The Tantrums      Get Away                             Elektra Entertainment Group Inc.   SR0000724442
 1405 Fitz & The Tantrums      House On Fire                        Elektra Entertainment Group Inc.   SR0000724442
 1406 Fitz & The Tantrums      Keepin Our Eyes Out                  Elektra Entertainment Group Inc.   SR0000724442
 1407 Fitz & The Tantrums      Last Raindrop                        Elektra Entertainment Group Inc.   SR0000724442
 1408 Fitz & The Tantrums      MerryGoRound                         Elektra Entertainment Group Inc.   SR0000724442
 1409 Fitz & The Tantrums      Out Of My League                     Elektra Entertainment Group Inc.   SR0000724442
 1410 Fitz & The Tantrums      Spark                                Elektra Entertainment Group Inc.   SR0000724442
 1411 Fitz & The Tantrums      The End                              Elektra Entertainment Group Inc.   SR0000724442
 1412 Fitz & The Tantrums      The Walker                           Elektra Entertainment Group Inc.   SR0000724442
 1413 George Jones             Choices                              Elektra Entertainment Group Inc.   SR0000178893
 1414 Grover Washington, Jr.   Just The Two Of Us                   Elektra Entertainment Group Inc.   SR0000023451
 1415 Keith Sweat              (There You Go) Tellin' Me No Again   Elektra Entertainment Group Inc.   SR0000150241
 1416 Keith Sweat              Come With Me (feat. Ronald Isley)    Elektra Entertainment Group Inc.   SR0000226496
 1417 Keith Sweat              Don't Stop Your Love                 Elektra Entertainment Group Inc.   SR0000086761
 1418 Keith Sweat              Get Up On It (feat. Kut Klose)       Elektra Entertainment Group Inc.   SR0000193836
 1419 Keith Sweat              How Deep Is Your Love                Elektra Entertainment Group Inc.   SR0000086761
 1420 Keith Sweat              I Want Her                           Elektra Entertainment Group Inc.   SR0000085227
 1421 Keith Sweat              I'll Give All My Love To You         Elektra Entertainment Group Inc.   SR0000150379
 1422 Keith Sweat              Make It Last Forever                 Elektra Entertainment Group Inc.   SR0000086761
 1423 Keith Sweat              Merry Go Round                       Elektra Entertainment Group Inc.   SR0000150379
 1424 Keith Sweat              Right And A Wrong Way                Elektra Entertainment Group Inc.   SR0000086761
 1425 Keith Sweat              Something Just Ain't Right           Elektra Entertainment Group Inc.   SR0000086761
 1426 Keith Sweat              Why Me Baby?                         Elektra Entertainment Group Inc.   SR0000150241
 1427 Keith Sweat              Yumi                                 Elektra Entertainment Group Inc.   SR0000226496
 1428 Nada Surf                Deeper Well                          Elektra Entertainment Group Inc.   SR0000225933
 1429 Nada Surf                Hollywood                            Elektra Entertainment Group Inc.   SR0000225933
 1430 Nada Surf                Icebox                               Elektra Entertainment Group Inc.   SR0000225933
 1431 Nada Surf                Psychic Caramel                      Elektra Entertainment Group Inc.   SR0000225933
 1432 Nada Surf                Sleep                                Elektra Entertainment Group Inc.   SR0000225933
 1433 Nada Surf                Stalemate                            Elektra Entertainment Group Inc.   SR0000225933
 1434 Nada Surf                The Plan                             Elektra Entertainment Group Inc.   SR0000225933
 1435 Nada Surf                Treehouse                            Elektra Entertainment Group Inc.   SR0000225933
 1436 Nada Surf                Zen Brain                            Elektra Entertainment Group Inc.   SR0000225933
 1437 The Cars                 Bye Bye Love                         Elektra Entertainment Group Inc.   SR0000004128
 1438 The Cars                 Dangerous Type                       Elektra Entertainment Group Inc.   SR0000010621
 1439 The Cars                 Drive                                Elektra Entertainment Group Inc.   SR0000052759
 1440 The Cars                 Good Times Roll                      Elektra Entertainment Group Inc.   SR0000004128
 1441 The Cars                 Heartbeat City                       Elektra Entertainment Group Inc.   SR0000053584
 1442 The Cars                 Hello Again                          Elektra Entertainment Group Inc.   SR0000052759
 1443 The Cars                 I'm Not The One                      Elektra Entertainment Group Inc.   SR0000032055
 1444 The Cars                 It's All I Can Do                    Elektra Entertainment Group Inc.   SR0000010621
 1445 The Cars                 Just What I Needed                   Elektra Entertainment Group Inc.   SR0000004127
 1446 The Cars                 Let's Go                             Elektra Entertainment Group Inc.   SR0000010639
 1447 The Cars                 Moving In Stereo                     Elektra Entertainment Group Inc.   SR0000004128
 1448 The Cars                 My Best Friend's Girl                Elektra Entertainment Group Inc.   SR0000004128
 1449 The Cars                 Shake It Up                          Elektra Entertainment Group Inc.   SR0000032055
 1450 The Cars                 Since You're Gone                    Elektra Entertainment Group Inc.   SR0000032055
 1451 The Cars                 Tonight She Comes                    Elektra Entertainment Group Inc.   SR0000066519
 1452 The Cars                 Touch and Go                         Elektra Entertainment Group Inc.   SR0000020897
 1453 The Cars                 Why Can't I Have You                 Elektra Entertainment Group Inc.   SR0000052759
 1454 The Cars                 You Are The Girl                     Elektra Entertainment Group Inc.   SR0000083709
 1455 The Cars                 You Might Think                      Elektra Entertainment Group Inc.   SR0000053584
 1456 The Cars                 You're All I've Got Tonight          Elektra Entertainment Group Inc.   SR0000004128
 1457 The Cure                 10:15 Saturday Night                 Elektra Entertainment Group Inc.   SR0000072309
 1458 The Cure                 A Night Like This                    Elektra Entertainment Group Inc.   SR0000065872
 1459 The Cure                 Boys Don't Cry                       Elektra Entertainment Group Inc.   SR0000075783
 1460 The Cure                 Charlotte Sometimes                  Elektra Entertainment Group Inc.   SR0000192615
 1461 The Cure                 Close To Me                          Elektra Entertainment Group Inc.   SR0000065872
 1462 The Cure                 Closedown                            Elektra Entertainment Group Inc.   SR0000104305
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 1463 The Cure           Disintegration                               Elektra Entertainment Group Inc.   SR0000104305
 1464 The Cure           Fascination Street                           Elektra Entertainment Group Inc.   SR0000104305
 1465 The Cure           In Between Days                              Elektra Entertainment Group Inc.   SR0000065872
 1466 The Cure           Jumping Someone Else's Train                 Elektra Entertainment Group Inc.   SR0000072370
 1467 The Cure           Killing An Arab                              Elektra Entertainment Group Inc.   SR0000072370
 1468 The Cure           Love Song                                    Elektra Entertainment Group Inc.   SR0000104305
 1469 The Cure           Lullaby                                      Elektra Entertainment Group Inc.   SR0000104305
 1470 The Cure           Pictures Of You                              Elektra Entertainment Group Inc.   SR0000104305
 1471 The Cure           Plainsong                                    Elektra Entertainment Group Inc.   SR0000104305
 1472 The Cure           Prayers For Rain                             Elektra Entertainment Group Inc.   SR0000104305
 1473 The Cure           The Hanging Garden                           Elektra Entertainment Group Inc.   SR0000036019
 1474 The Cure           The Same Deep Water As You                   Elektra Entertainment Group Inc.   SR0000104305
 1475 The Cure           Untitled                                     Elektra Entertainment Group Inc.   SR0000104305
 1476 Third Eye Blind    10 Days Late                                 Elektra Entertainment Group Inc.   SR0000278241
 1477 Third Eye Blind    1000 Julys                                   Elektra Entertainment Group Inc.   SR0000278241
 1478 Third Eye Blind    An Ode To Maybe                              Elektra Entertainment Group Inc.   SR0000278241
 1479 Third Eye Blind    Anything                                     Elektra Entertainment Group Inc.   SR0000278241
 1480 Third Eye Blind    Burning Man                                  Elektra Entertainment Group Inc.   SR0000188673
 1481 Third Eye Blind    Camouflage                                   Elektra Entertainment Group Inc.   SR0000278241
 1482 Third Eye Blind    Darwin                                       Elektra Entertainment Group Inc.   SR0000278241
 1483 Third Eye Blind    Deep Inside Of You                           Elektra Entertainment Group Inc.   SR0000278241
 1484 Third Eye Blind    Farther                                      Elektra Entertainment Group Inc.   SR0000278241
 1485 Third Eye Blind    God Of Wine                                  Elektra Entertainment Group Inc.   SR0000188673
 1486 Third Eye Blind    Good For You                                 Elektra Entertainment Group Inc.   SR0000188673
 1487 Third Eye Blind    Graduate                                     Elektra Entertainment Group Inc.   SR0000188673
 1488 Third Eye Blind    How's It Going To Be                         Elektra Entertainment Group Inc.   SR0000188673
 1489 Third Eye Blind    I Want You                                   Elektra Entertainment Group Inc.   SR0000188673
 1490 Third Eye Blind    Jumper                                       Elektra Entertainment Group Inc.   SR0000188673
 1491 Third Eye Blind    London                                       Elektra Entertainment Group Inc.   SR0000188673
 1492 Third Eye Blind    Losing A Whole Year                          Elektra Entertainment Group Inc.   SR0000188673
 1493 Third Eye Blind    Motorcycle Drive By                          Elektra Entertainment Group Inc.   SR0000188673
 1494 Third Eye Blind    Narcolepsy                                   Elektra Entertainment Group Inc.   SR0000188673
 1495 Third Eye Blind    Never Let You Go                             Elektra Entertainment Group Inc.   SR0000278241
 1496 Third Eye Blind    Semi-Charmed Life                            Elektra Entertainment Group Inc.   SR0000188673
 1497 Third Eye Blind    Slow Motion (Instrumental)                   Elektra Entertainment Group Inc.   SR0000278241
 1498 Third Eye Blind    Thanks A Lot                                 Elektra Entertainment Group Inc.   SR0000188673
 1499 Third Eye Blind    The Background                               Elektra Entertainment Group Inc.   SR0000188673
 1500 Third Eye Blind    The Red Summer Sun                           Elektra Entertainment Group Inc.   SR0000278241
 1501 Third Eye Blind    Wounded                                      Elektra Entertainment Group Inc.   SR0000278241
 1502 Cobra Starship     Cobras Never Say Die                         Fueled By Ramen LLC                SR0000711457
 1503 Cobra Starship     Fold Your Hands Child                        Fueled By Ramen LLC                SR0000657140
 1504 Cobra Starship     Good Girls Go Bad (feat. Leighton Meester)   Fueled By Ramen LLC                SR0000657140
 1505 Cobra Starship     Hot Mess                                     Fueled By Ramen LLC                SR0000657140
 1506 Cobra Starship     I May Be Rude But I'm The Truth              Fueled By Ramen LLC                SR0000711457
 1507 Cobra Starship     Living In The Sky With Diamonds              Fueled By Ramen LLC                SR0000657140
 1508 Cobra Starship     Move Like You Gonna Die                      Fueled By Ramen LLC                SR0000657140
 1509 Cobra Starship     Nice Guys Finish Last                        Fueled By Ramen LLC                SR0000657140
 1510 Cobra Starship     Pete Wentz Is The Only Reason We're Famous   Fueled By Ramen LLC                SR0000657140
 1511 Cobra Starship     The Scene Is Dead; Long Live The Scene       Fueled By Ramen LLC                SR0000657140
 1512 Cobra Starship     The World Will Never Do (feat. B.o.B)        Fueled By Ramen LLC                SR0000657140
 1513 Cobra Starship     Wet Hot American Summer                      Fueled By Ramen LLC                SR0000657140
 1514 Cobra Starship     You're Not In On The Joke                    Fueled By Ramen LLC                SR0000657140
 1515 fun.               All Alone                                    Fueled By Ramen LLC                SR0000704930
 1516 fun.               All Alright                                  Fueled By Ramen LLC                SR0000704930
 1517 fun.               Carry On                                     Fueled By Ramen LLC                SR0000704930
 1518 fun.               It Gets Better                               Fueled By Ramen LLC                SR0000704930
 1519 fun.               One Foot                                     Fueled By Ramen LLC                SR0000704930
 1520 fun.               Out on the Town (Bonus Track)                Fueled By Ramen LLC                SR0000704930
 1521 fun.               Some Nights                                  Fueled By Ramen LLC                SR0000704930
 1522 fun.               Some Nights (Intro)                          Fueled By Ramen LLC                SR0000704930
 1523 fun.               Stars                                        Fueled By Ramen LLC                SR0000704930
 1524 fun.               We Are Young (feat. Janelle Monae)           Fueled By Ramen LLC                SR0000704930
 1525 fun.               Why Am I the One                             Fueled By Ramen LLC                SR0000704930
 1526 Gym Class Heroes   The Fighter (feat. Ryan Tedder)              Fueled By Ramen LLC                SR0000704012
 1527 Travie McCoy       Billionaire (feat. Bruno Mars)               Fueled By Ramen LLC                SR0000706137
 1528 Young the Giant    Anagram                                      Fueled By Ramen LLC                SR0000746139
 1529 Young the Giant    Camera                                       Fueled By Ramen LLC                SR0000746139
 1530 Young the Giant    Crystallized                                 Fueled By Ramen LLC                SR0000746139
 1531 Young the Giant    Daydreamer                                   Fueled By Ramen LLC                SR0000746139
 1532 Young the Giant    Eros                                         Fueled By Ramen LLC                SR0000746139
 1533 Young the Giant    Firelight                                    Fueled By Ramen LLC                SR0000746139
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 1534 Young the Giant       In My Home                                         Fueled By Ramen LLC   SR0000746139
 1535 Young the Giant       Mind Over Matter                                   Fueled By Ramen LLC   SR0000746139
 1536 Young the Giant       Paralysis                                          Fueled By Ramen LLC   SR0000746139
 1537 Young the Giant       Slow Dive                                          Fueled By Ramen LLC   SR0000746139
 1538 Young the Giant       Teachers                                           Fueled By Ramen LLC   SR0000746139
 1539 Young the Giant       Waves                                              Fueled By Ramen LLC   SR0000746139
 1540 Ciara                 Bang It Up                                         LaFace Records LLC    SR0000404728
 1541 Ciara                 Go Girl                                            LaFace Records LLC    PA0001640177
 1542 Ciara                 I Proceed                                          LaFace Records LLC    SR0000404728
 1543 Ciara                 Make It Last Forever                               LaFace Records LLC    SR0000404728
 1544 Ciara                 My Love                                            LaFace Records LLC    SR0000404728
 1545 Ciara                 Promise                                            LaFace Records LLC    SR0000404728
 1546 Ciara feat. Lil Jon   That's Right                                       LaFace Records LLC    SR0000404728
 1547 OutKast               13th Floor / Growing Old (Explicit)                LaFace Records LLC    SR0000233296
 1548 OutKast               13th Floor/Growing Old                             LaFace Records LLC    SR0000233296
 1549 OutKast               ATLiens                                            LaFace Records LLC    SR0000233296
 1550 OutKast               B.O.B. (Explicit)                                  LaFace Records LLC    SR0000306741
 1551 OutKast               Babylon                                            LaFace Records LLC    SR0000233296
 1552 OutKast               Decatur Psalm                                      LaFace Records LLC    SR0000233296
 1553 OutKast               E.T. (Extraterrestrial)                            LaFace Records LLC    SR0000233296
 1554 OutKast               E.T. (Extraterrestrial) (Explicit)                 LaFace Records LLC    SR0000233296
 1555 OutKast               Elevators                                          LaFace Records LLC    SR0000233296
 1556 OutKast               Elevators (Me & You)                               LaFace Records LLC    SR0000233296
 1557 OutKast               Funkin' Around                                     LaFace Records LLC    SR0000326671
 1558 OutKast               Hollywood Divorce                                  LaFace Records LLC    SR0000395944
 1559 OutKast               Jazzy Belle (Explicit)                             LaFace Records LLC    SR0000233296
 1560 OutKast               Mainstream (Explicit)                              LaFace Records LLC    SR0000233296
 1561 OutKast               Millennium                                         LaFace Records LLC    SR0000233296
 1562 OutKast               Morris Brown                                       LaFace Records LLC    SR0000395944
 1563 OutKast               Movin' Cool (The After Party)                      LaFace Records LLC    SR0000326671
 1564 OutKast               Ms. Jackson                                        LaFace Records LLC    SR0000306741
 1565 OutKast               Ova Da Wudz                                        LaFace Records LLC    SR0000233296
 1566 OutKast               So Fresh, So Clean                                 LaFace Records LLC    SR0000306741
 1567 OutKast               The Whole World                                    LaFace Records LLC    SR0000309898
 1568 OutKast               Wailin'                                            LaFace Records LLC    SR0000233296
 1569 Outkast               Wailin' (Explicit)                                 LaFace Records LLC    SR0000233296
 1570 OutKast               Wheelz of Steel                                    LaFace Records LLC    SR0000233296
 1571 OutKast               You May Die                                        LaFace Records LLC    SR0000233296
 1572 P!nk                  Ave Mary A                                         LaFace Records LLC    SR0000619959
 1573 P!nk                  Crystal Ball                                       LaFace Records LLC    SR0000619959
 1574 P!nk                  Funhouse                                           LaFace Records LLC    SR0000619959
 1575 P!nk                  Glitter In The Air                                 LaFace Records LLC    SR0000619959
 1576 P!nk                  It's All Your Fault                                LaFace Records LLC    SR0000619959
 1577 P!nk                  Leave Me Alone (I'm Lonely) (Explicit)             LaFace Records LLC    SR0000403184
 1578 P!nk                  Mean                                               LaFace Records LLC    SR0000619959
 1579 P!nk                  Mean (Explicit)                                    LaFace Records LLC    SR0000619959
 1580 P!nk                  Most Girls                                         LaFace Records LLC    SR0000279958
 1581 P!nk                  Nobody Knows                                       LaFace Records LLC    SR0000395942
 1582 P!nk                  One Foot Wrong                                     LaFace Records LLC    SR0000619959
 1583 P!nk                  There You Go                                       LaFace Records LLC    SR0000279958
 1584 P!nk                  U + Ur Hand                                        LaFace Records LLC    SR0000403184
 1585 P!nk                  U + Ur Hand (Main Version/Clean) (Clean Version)   LaFace Records LLC    SR0000395942
 1586 P!nk                  Who Knew                                           LaFace Records LLC    SR0000395942
 1587 P!nk                  Dear Mr. President Featuring Indigo Girls          LaFace Records LLC    SR0000395942
 1588 TLC                   Can I Get a Witness-Interlude                      LaFace Records LLC    SR0000198743
 1589 TLC                   Case Of The Fake People                            LaFace Records LLC    SR0000198743
 1590 TLC                   CrazySexyCool-Interlude                            LaFace Records LLC    SR0000198743
 1591 TLC                   Creep                                              LaFace Records LLC    SR0000198743
 1592 TLC                   Diggin' on You                                     LaFace Records LLC    SR0000198743
 1593 TLC                   If I Was Your Girlfriend                           LaFace Records LLC    SR0000198743
 1594 TLC                   Intermission-lude                                  LaFace Records LLC    SR0000198743
 1595 TLC                   Intro-Iude                                         LaFace Records LLC    SR0000198743
 1596 TLC                   Kick Your Game                                     LaFace Records LLC    SR0000198743
 1597 TLC                   Let's Do It Again                                  LaFace Records LLC    SR0000198743
 1598 TLC                   Sexy-Interlude                                     LaFace Records LLC    SR0000198743
 1599 TLC                   Sumthin' Wicked This Way Comes                     LaFace Records LLC    SR0000198743
 1600 TLC                   Switch                                             LaFace Records LLC    SR0000198743
 1601 TLC                   Take Our Time                                      LaFace Records LLC    SR0000198743
 1602 TLC                   Waterfalls                                         LaFace Records LLC    SR0000198743
 1603 Usher                 Appetite                                           LaFace Records LLC    SR0000620940
 1604 Usher                 Bedtime                                            LaFace Records LLC    SR0000257730
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 1605 Usher                   Before I Met You                  LaFace Records LLC           SR0000620940
 1606 Usher                   Can U Help Me                     LaFace Records LLC           SR0000307207
 1607 Usher                   Come Back                         LaFace Records LLC           SR0000257730
 1608 Usher                   Here I Stand                      LaFace Records LLC           SR0000620940
 1609 Usher                   His Mistakes                      LaFace Records LLC           SR0000620940
 1610 Usher                   Hottest Thing                     LaFace Records LLC           SR0000307207
 1611 Usher                   How Do I Say                      LaFace Records LLC           SR0000307207
 1612 Usher                   I Can't Let U Go                  LaFace Records LLC           SR0000307207
 1613 Usher                   I Will                            LaFace Records LLC           SR0000257730
 1614 Usher                   If I Want To                      LaFace Records LLC           SR0000307207
 1615 Usher                   Intro                             LaFace Records LLC           SR0000620940
 1616 Usher                   Just Like Me                      LaFace Records LLC           SR0000257730
 1617 Usher                   Lifetime                          LaFace Records LLC           SR0000620940
 1618 Usher                   Love In This Club, Part II        LaFace Records LLC           SR0000620940
 1619 Usher                   Love You Gently                   LaFace Records LLC           SR0000620940
 1620 Usher                   Moving Mountains                  LaFace Records LLC           SR0000620940
 1621 Usher                   My Way                            LaFace Records LLC           SR0000257730
 1622 Usher                   Nice & Slow                       LaFace Records LLC           SR0000257730
 1623 Usher                   One Day You'll Be Mine            LaFace Records LLC           SR0000257730
 1624 Usher                   Prayer For You Interlude          LaFace Records LLC           SR0000620940
 1625 Usher                   Something Special                 LaFace Records LLC           SR0000620940
 1626 Usher                   This Ain't Sex                    LaFace Records LLC           SR0000620940
 1627 Usher                   Trading Places                    LaFace Records LLC           SR0000620940
 1628 Usher                   Twork It Out                      LaFace Records LLC           SR0000307207
 1629 Usher                   U Don't Have to Call (Explicit)   LaFace Records LLC           SR0000307207
 1630 Usher                   U Got It Bad                      LaFace Records LLC           SR0000307207
 1631 Usher                   U Remind Me                       LaFace Records LLC           SR0000307207
 1632 Usher                   What's A Man To Do                LaFace Records LLC           SR0000620940
 1633 Usher                   Will Work For Love                LaFace Records LLC           SR0000620940
 1634 Usher                   Without U                         LaFace Records LLC           SR0000307207
 1635 Usher                   You Make Me Wanna...              LaFace Records LLC           SR0000257730
 1636 Usher feat. Jay-Z       Best Thing                        LaFace Records LLC           SR0000620940
 1637 Usher feat. Monica      Slow Jam                          LaFace Records LLC           SR0000257730
 1638 Usher feat. will.i.am   What's Your Name                  LaFace Records LLC           SR0000620940
 1639 Casting Crowns          Always Enough - Demo              Provident Label Group, LLC   SR0000643694
 1640 Casting Crowns          And Now My Lifesong Sings         Provident Label Group, LLC   SR0000375845
 1641 Casting Crowns          At Your Feet                      Provident Label Group, LLC   SR0000643694
 1642 Casting Crowns          Blessed Redeemer                  Provident Label Group, LLC   SR0000643694
 1643 Casting Crowns          Does Anybody Hear Her             Provident Label Group, LLC   SR0000375845
 1644 Casting Crowns          Father, Spirit, Jesus             Provident Label Group, LLC   SR0000375845
 1645 Casting Crowns          Holy One                          Provident Label Group, LLC   SR0000643694
 1646 Casting Crowns          If We've Ever Needed You - Demo   Provident Label Group, LLC   SR0000643694
 1647 Casting Crowns          In Me (Demo)                      Provident Label Group, LLC   SR0000375845
 1648 Casting Crowns          Jesus, Hold Me Now - Demo         Provident Label Group, LLC   SR0000643694
 1649 Casting Crowns          Joyful, Joyful                    Provident Label Group, LLC   SR0000643694
 1650 Casting Crowns          Lifesong                          Provident Label Group, LLC   SR0000375845
 1651 Casting Crowns          Love Them Like Jesus (Demo)       Provident Label Group, LLC   SR0000375845
 1652 Casting Crowns          Mercy                             Provident Label Group, LLC   SR0000643694
 1653 Casting Crowns          Praise You In This Storm          Provident Label Group, LLC   SR0000375845
 1654 Casting Crowns          Prodigal                          Provident Label Group, LLC   SR0000375845
 1655 Casting Crowns          Set Me Free                       Provident Label Group, LLC   SR0000375845
 1656 Casting Crowns          Shadow Of Your Wings              Provident Label Group, LLC   SR0000643694
 1657 Casting Crowns          Stained Glass Masquerade          Provident Label Group, LLC   SR0000375845
 1658 Casting Crowns          To Know You - Demo                Provident Label Group, LLC   SR0000643694
 1659 Casting Crowns          Until The Whole World Hears       Provident Label Group, LLC   SR0000643694
 1660 Casting Crowns          While You Were Sleeping           Provident Label Group, LLC   SR0000375845
 1661 Nickelback              Good Times Gone                   Roadrunner Records, Inc.     SR0000330446
 1662 Nickelback              Hangnail                          Roadrunner Records, Inc.     SR0000330446
 1663 Nickelback              Hollywood                         Roadrunner Records, Inc.     SR0000330446
 1664 Nickelback              If Today Was Your Last Day        Roadrunner Records, Inc.     SR0000651954
 1665 Nickelback              Just For                          Roadrunner Records, Inc.     SR0000330446
 1666 Nickelback              Money Bought                      Roadrunner Records, Inc.     SR0000330446
 1667 Nickelback              Never Again                       Roadrunner Records, Inc.     SR0000330446
 1668 Nickelback              Too Bad                           Roadrunner Records, Inc.     SR0000330446
 1669 Nickelback              Where Do I Hide                   Roadrunner Records, Inc.     SR0000330446
 1670 Nickelback              Woke Up This Morning              Roadrunner Records, Inc.     SR0000330446
 1671 Slipknot                742617000027                      Roadrunner Records, Inc.     SR0000301094
 1672 Slipknot                .execute.                         Roadrunner Records, Inc.     SR0000656810
 1673 Slipknot                (515)                             Roadrunner Records, Inc.     SR0000330440
 1674 Slipknot                (sic)                             Roadrunner Records, Inc.     SR0000301094
 1675 Slipknot                All Hope Is Gone                  Roadrunner Records, Inc.     SR0000656810
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 1676 Slipknot          Before I Forget                    Roadrunner Records, Inc.   SR0000358238
 1677 Slipknot          Butcher's Hook                     Roadrunner Records, Inc.   SR0000656810
 1678 Slipknot          Child Of Burning Time              Roadrunner Records, Inc.   SR0000656810
 1679 Slipknot          Dead Memories                      Roadrunner Records, Inc.   SR0000656810
 1680 Slipknot          Disasterpiece                      Roadrunner Records, Inc.   SR0000330440
 1681 Slipknot          Duality                            Roadrunner Records, Inc.   SR0000358238
 1682 Slipknot          Everything Ends                    Roadrunner Records, Inc.   SR0000330440
 1683 Slipknot          Eyeless                            Roadrunner Records, Inc.   SR0000301094
 1684 Slipknot          Gehenna                            Roadrunner Records, Inc.   SR0000656810
 1685 Slipknot          Gematria (The Killing Name)        Roadrunner Records, Inc.   SR0000656810
 1686 Slipknot          Iowa (Live Version)                Roadrunner Records, Inc.   SR0000390797
 1687 Slipknot          Left Behind                        Roadrunner Records, Inc.   SR0000330440
 1688 Slipknot          My Plague                          Roadrunner Records, Inc.   SR0000330440
 1689 Slipknot          People = Shit                      Roadrunner Records, Inc.   SR0000330440
 1690 Slipknot          Prelude 3.0                        Roadrunner Records, Inc.   SR0000358238
 1691 Slipknot          Psychosocial                       Roadrunner Records, Inc.   SR0000656810
 1692 Slipknot          Snuff                              Roadrunner Records, Inc.   SR0000656810
 1693 Slipknot          Spit It Out                        Roadrunner Records, Inc.   SR0000301094
 1694 Slipknot          Sulfur                             Roadrunner Records, Inc.   SR0000656810
 1695 Slipknot          Surfacing                          Roadrunner Records, Inc.   SR0000301094
 1696 Slipknot          The Blister Exists                 Roadrunner Records, Inc.   SR0000358238
 1697 Slipknot          The Heretic Anthem                 Roadrunner Records, Inc.   SR0000330440
 1698 Slipknot          The Nameless                       Roadrunner Records, Inc.   SR0000358238
 1699 Slipknot          This Cold Black                    Roadrunner Records, Inc.   SR0000656810
 1700 Slipknot          Til We Die                         Roadrunner Records, Inc.   SR0000656810
 1701 Slipknot          Vendetta                           Roadrunner Records, Inc.   SR0000656810
 1702 Slipknot          Vermilion                          Roadrunner Records, Inc.   SR0000358238
 1703 Slipknot          Vermilion Pt. 2                    Roadrunner Records, Inc.   SR0000358238
 1704 Slipknot          Vermilion Pt. 2 (Bloodstone Mix)   Roadrunner Records, Inc.   SR0000656810
 1705 Slipknot          Wait And Bleed                     Roadrunner Records, Inc.   SR0000301094
 1706 Slipknot          Wherein Lies Continue              Roadrunner Records, Inc.   SR0000656810
 1707 Stone Sour        Bother                             Roadrunner Records, Inc.   SR0000330447
 1708 Stone Sour        Choose                             Roadrunner Records, Inc.   SR0000330447
 1709 Stone Sour        Digital (Did You Tell)             Roadrunner Records, Inc.   SR0000689549
 1710 Stone Sour        Get Inside                         Roadrunner Records, Inc.   SR0000330447
 1711 Stone Sour        Home Again                         Roadrunner Records, Inc.   SR0000689549
 1712 Stone Sour        Inhale                             Roadrunner Records, Inc.   SR0000330447
 1713 Stone Sour        Kill Everybody                     Roadrunner Records, Inc.   SR0000357276
 1714 Stone Sour        Nylon 6/6                          Roadrunner Records, Inc.   SR0000689549
 1715 Stone Sour        Orchids                            Roadrunner Records, Inc.   SR0000330447
 1716 Stone Sour        Pieces                             Roadrunner Records, Inc.   SR0000689549
 1717 Stone Sour        Road Hogs                          Roadrunner Records, Inc.   SR0000357276
 1718 Stone Sour        Say You'll Haunt Me                Roadrunner Records, Inc.   SR0000689549
 1719 Stone Sour        Take A Number                      Roadrunner Records, Inc.   SR0000330447
 1720 Stone Sour        The Bitter End                     Roadrunner Records, Inc.   SR0000689549
 1721 Stone Sour        Threadbare                         Roadrunner Records, Inc.   SR0000689549
 1722 Stone Sour        Tumult                             Roadrunner Records, Inc.   SR0000330447
 1723 Adam Lambert      If I Had You                       Sony Music Entertainment   SR0000654886
 1724 Adele             Best For Last                      Sony Music Entertainment   SR0000616701
 1725 Adele             Chasing Pavements                  Sony Music Entertainment   SR0000616701
 1726 Adele             Cold Shoulder                      Sony Music Entertainment   SR0000616701
 1727 Adele             Crazy For You                      Sony Music Entertainment   SR0000616701
 1728 Adele             Daydreamer                         Sony Music Entertainment   SR0000616701
 1729 Adele             Don't You Remember                 Sony Music Entertainment   SR0000673074
 1730 Adele             First Love                         Sony Music Entertainment   SR0000616701
 1731 Adele             He Won't Go                        Sony Music Entertainment   SR0000673074
 1732 Adele             Hometown Glory                     Sony Music Entertainment   SR0000616701
 1733 Adele             I Found A Boy                      Sony Music Entertainment   SR0000673074
 1734 Adele             Lovesong                           Sony Music Entertainment   SR0000673074
 1735 Adele             Make You Feel My Love              Sony Music Entertainment   SR0000616701
 1736 Adele             Melt My Heart To Stone             Sony Music Entertainment   SR0000616701
 1737 Adele             My Same                            Sony Music Entertainment   SR0000616701
 1738 Adele             One And Only                       Sony Music Entertainment   SR0000673074
 1739 Adele             Right As Rain                      Sony Music Entertainment   SR0000616701
 1740 Adele             Rolling In The Deep                Sony Music Entertainment   SR0000673074
 1741 Adele             Rumour Has It                      Sony Music Entertainment   SR0000673074
 1742 Adele             Set Fire To The Rain               Sony Music Entertainment   SR0000673074
 1743 Adele             Someone Like You                   Sony Music Entertainment   SR0000673074
 1744 Adele             Take It All                        Sony Music Entertainment   SR0000673074
 1745 Adele             That's It, I Quit, I'm Moving On   Sony Music Entertainment   SR0000616701
 1746 Adele             Tired                              Sony Music Entertainment   SR0000616701
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 1747 Adele                                   Turning Tables                               Sony Music Entertainment   SR0000673074
 1748 Aerosmith                               Adam's Apple (Audio)                         Sony Music Entertainment   N25838
 1749 Aerosmith                               Back In The Saddle                           Sony Music Entertainment   N33961
 1750 Aerosmith                               Big Ten Inch Record                          Sony Music Entertainment   N25838
 1751 Aerosmith                               Chip Away The Stone                          Sony Music Entertainment   SR0000005095
 1752 Aerosmith                               Critical Mass                                Sony Music Entertainment   RE0000927389
 1753 Aerosmith                               Devil's Got a New Disguise                   Sony Music Entertainment   SR0000400132
 1754 Aerosmith                               Dream On                                     Sony Music Entertainment   RE0000928145
 1755 Aerosmith                               Falling In Love (Is Hard On The Knees)       Sony Music Entertainment   SR0000246031
 1756 Aerosmith                               Girls of Summer                              Sony Music Entertainment   SR0000314304
 1757 Aerosmith                               Helter Skelter                               Sony Music Entertainment   SR0000138466
 1758 Aerosmith                               Jaded                                        Sony Music Entertainment   PA0001065844
 1759 Aerosmith                               Jailbait                                     Sony Music Entertainment   SR0000039598
 1760 Aerosmith                               Just Push Play                               Sony Music Entertainment   SR0000299932
 1761 Aerosmith                               Kings And Queens (Audio)                     Sony Music Entertainment   RE0000927389
 1762 Aerosmith                               Last Child                                   Sony Music Entertainment   N33961
 1763 Aerosmith                               Lay It Down                                  Sony Music Entertainment   SR0000314304
 1764 Aerosmith                               Lick And A Promise (Audio)                   Sony Music Entertainment   N33961
 1765 Aerosmith                               Lightning Strikes                            Sony Music Entertainment   SR0000039598
 1766 Aerosmith                               Lord Of The Thighs                           Sony Music Entertainment   RE0000871991
 1767 Aerosmith                               Mama Kin                                     Sony Music Entertainment   RE0000928145
 1768 Aerosmith                               No Surprize                                  Sony Music Entertainment   SR0000014473
 1769 Aerosmith                               Nobody's Fault                               Sony Music Entertainment   N33961
 1770 Aerosmith                               One Way Street                               Sony Music Entertainment   RE0000928145
 1771 Aerosmith                               Pink                                         Sony Music Entertainment   SR0000246031
 1772 Aerosmith                               Rats In The Cellar (Audio)                   Sony Music Entertainment   N33961
 1773 Aerosmith                               Remember (Walking In The Sand) (Audio)       Sony Music Entertainment   SR0000014473
 1774 Aerosmith                               Round And Round                              Sony Music Entertainment   N25838
 1775 Aerosmith                               Seasons of Wither                            Sony Music Entertainment   RE0000871991
 1776 Aerosmith                               Sweet Emotion                                Sony Music Entertainment   N25838
 1777 Aerosmith                               Theme From Spider Man                        Sony Music Entertainment   SR0000316861
 1778 Aerosmith                               Toys In The Attic                            Sony Music Entertainment   N25838
 1779 Aerosmith                               Train Kept A Rollin'                         Sony Music Entertainment   RE0000871991
 1780 Aerosmith                               Walk This Way                                Sony Music Entertainment   N25838
 1781 Aerosmith                               You See Me Crying                            Sony Music Entertainment   N25838
 1782 Alicia Keys                             Dah Dee Dah (Sexy Thing)                     Sony Music Entertainment   SR0000252535
 1783 Alicia Keys                             Empire State Of Mind (Part II) Broken Down   Sony Music Entertainment   SR0000752597
 1784 Alicia Keys                             I Got A Little Something                     Sony Music Entertainment   SR0000685875
 1785 Alicia Keys                             Juiciest                                     Sony Music Entertainment   SR0000685875
 1786 Alicia Keys                             Un-thinkable (I'm Ready)                     Sony Music Entertainment   SR0000752593
 1787 Annie Lennox                            Dark Road                                    Sony Music Entertainment   SR0000627150
 1788 Annie Lennox                            Sing                                         Sony Music Entertainment   SR0000627150
 1789 Audioslave                              Like A Stone                                 Sony Music Entertainment   SR0000322103
 1790 Avril Lavigne                           4 Real                                       Sony Music Entertainment   SR0000680182
 1791 Avril Lavigne                           Alice                                        Sony Music Entertainment   SR0000680182
 1792 Avril Lavigne                           Bad Reputation                               Sony Music Entertainment   SR0000680182
 1793 Avril Lavigne                           Black Star                                   Sony Music Entertainment   SR0000680182
 1794 Avril Lavigne                           Darlin                                       Sony Music Entertainment   SR0000680182
 1795 Avril Lavigne                           Everybody Hurts                              Sony Music Entertainment   SR0000680182
 1796 Avril Lavigne                           Girlfriend                                   Sony Music Entertainment   SR0000719163
 1797 Avril Lavigne                           Goodbye                                      Sony Music Entertainment   SR0000680182
 1798 Avril Lavigne                           I Love You                                   Sony Music Entertainment   SR0000680182
 1799 Avril Lavigne                           Knockin' on Heaven's Door                    Sony Music Entertainment   SR0000680182
 1800 Avril Lavigne                           Not Enough                                   Sony Music Entertainment   SR0000680182
 1801 Avril Lavigne                           Push                                         Sony Music Entertainment   SR0000680182
 1802 Avril Lavigne                           Remember When                                Sony Music Entertainment   SR0000680182
 1803 Avril Lavigne                           Smile                                        Sony Music Entertainment   SR0000680182
 1804 Avril Lavigne                           Stop Standing There                          Sony Music Entertainment   SR0000680182
 1805 Avril Lavigne                           What The Hell                                Sony Music Entertainment   SR0000670616
 1806 Avril Lavigne                           Wish You Were Here                           Sony Music Entertainment   SR0000680182
 1807 Barbra Streisand                        Tell Him (Duet with Barbra Streisand)        Sony Music Entertainment   SR0000248109

 1808 Barbra Streisand duet with Neil Diamond You Don't Bring Me Flowers                   Sony Music Entertainment   SR0000004765
 1809 Beyoncé                                 ***Flawless (Explicit)                       Sony Music Entertainment   SR0000747291
 1810 Beyoncé                                 1+1                                          Sony Music Entertainment   SR0000683948
 1811 Beyoncé                                 Ave Maria                                    Sony Music Entertainment   SR0000623449
 1812 Beyoncé                                 Be With You                                  Sony Music Entertainment   SR0000342236
 1813 Beyoncé                                 Best Thing I Never Had                       Sony Music Entertainment   SR0000683948
 1814 Beyoncé                                 Broken-Hearted Girl                          Sony Music Entertainment   SR0000623449
 1815 Beyoncé                                 Check On It                                  Sony Music Entertainment   SR0000395861
 1816 Beyoncé                                 Countdown                                    Sony Music Entertainment   SR0000683948
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 1817 Beyoncé                                  Crazy in Love                      Sony Music Entertainment   SR0000342236
 1818 Beyoncé                                  Dance For You                      Sony Music Entertainment   SR0000683948
 1819 Beyoncé                                  Dangerously In Love                Sony Music Entertainment   SR0000289199
 1820 Beyoncé                                  Disappear                          Sony Music Entertainment   SR0000623449
 1821 Beyoncé                                  Diva                               Sony Music Entertainment   SR0000623449
 1822 Beyoncé                                  Ego                                Sony Music Entertainment   SR0000623449
 1823 Beyoncé                                  End Of Time                        Sony Music Entertainment   SR0000683948
 1824 Beyoncé                                  Gift From Virgo                    Sony Music Entertainment   SR0000342236
 1825 Beyoncé                                  Halo                               Sony Music Entertainment   SR0000623449
 1826 Beyoncé                                  Haunted (Explicit)                 Sony Music Entertainment   SR0000747291
 1827 Beyoncé                                  Heaven                             Sony Music Entertainment   SR0000747291
 1828 Beyoncé                                  Hello                              Sony Music Entertainment   SR0000623449
 1829 Beyoncé                                  I Care                             Sony Music Entertainment   SR0000683948
 1830 Beyoncé                                  I Miss You                         Sony Music Entertainment   SR0000683948
 1831 Beyoncé                                  I Was Here                         Sony Music Entertainment   SR0000683948
 1832 Beyoncé                                  If I Were A Boy                    Sony Music Entertainment   SR0000718926
 1833 Beyoncé                                  Jealous                            Sony Music Entertainment   SR0000747291
 1834 Beyoncé                                  Lay Up Under Me                    Sony Music Entertainment   SR0000683948
 1835 Beyoncé                                  Love On Top                        Sony Music Entertainment   SR0000683948
 1836 Beyoncé                                  Me, Myself And I                   Sony Music Entertainment   SR0000342236
 1837 Beyoncé                                  Naughty Girl                       Sony Music Entertainment   SR0000342236
 1838 Beyoncé                                  No Angel                           Sony Music Entertainment   SR0000747291
 1839 Beyoncé                                  Partition (Explicit)               Sony Music Entertainment   SR0000747291
 1840 Beyoncé                                  Pretty Hurts                       Sony Music Entertainment   SR0000747291
 1841 Beyoncé                                  Radio                              Sony Music Entertainment   SR0000623449
 1842 Beyoncé                                  Rather Die Young                   Sony Music Entertainment   SR0000683948
 1843 Beyoncé                                  Rocket (Explicit)                  Sony Music Entertainment   SR0000747291
 1844 Beyoncé                                  Run The World (Girls)              Sony Music Entertainment   SR0000683948
 1845 Beyoncé                                  Satellites                         Sony Music Entertainment   SR0000623449
 1846 Beyoncé                                  Scared Of Lonely                   Sony Music Entertainment   SR0000623449
 1847 Beyoncé                                  Schoolin' Life                     Sony Music Entertainment   SR0000683948
 1848 Beyoncé                                  Single Ladies (Put A Ring On It)   Sony Music Entertainment   SR0000723765
 1849 Beyoncé                                  Smash Into You                     Sony Music Entertainment   SR0000623449
 1850 Beyoncé                                  Speechless                         Sony Music Entertainment   SR0000342236
 1851 Beyoncé                                  Start Over                         Sony Music Entertainment   SR0000683948
 1852 Beyoncé                                  Sweet Dreams                       Sony Music Entertainment   SR0000623449
 1853 Beyoncé                                  That's Why You're Beautiful        Sony Music Entertainment   SR0000623449
 1854 Beyoncé                                  Video Phone                        Sony Music Entertainment   SR0000623449
 1855 Beyoncé                                  XO                                 Sony Music Entertainment   SR0000747291
 1856 Beyoncé feat. André 3000                 Party                              Sony Music Entertainment   SR0000683948
 1857 Beyoncé feat. Big Boi and Sleepy Brown   Hip Hop Star                       Sony Music Entertainment   SR0000342236
 1858 Beyoncé feat. Blue Ivy                   Blue                               Sony Music Entertainment   SR0000747291
 1859 Beyoncé feat. Drake                      Mine (Explicit)                    Sony Music Entertainment   SR0000747291
 1860 Beyoncé feat. Frank Ocean                Superpower                         Sony Music Entertainment   SR0000747291
 1861 Beyoncé feat. Jay-Z                      Drunk in Love                      Sony Music Entertainment   SR0000747291
 1862 Beyoncé feat. Jay-Z                      That's How You Like It             Sony Music Entertainment   SR0000342236
 1863 Beyoncé feat. Missy Elliott              Signs                              Sony Music Entertainment   SR0000342236
 1864 Big Time Rush                            All Over Again                     Sony Music Entertainment   SR0000697856
 1865 Big Time Rush                            Big Night                          Sony Music Entertainment   SR0000668082
 1866 Big Time Rush                            Big Time Rush                      Sony Music Entertainment   SR0000668082
 1867 Big Time Rush                            City Is Ours                       Sony Music Entertainment   SR0000668082
 1868 Big Time Rush                            Cover Girl                         Sony Music Entertainment   SR0000697856
 1869 Big Time Rush                            Elevate                            Sony Music Entertainment   SR0000697856
 1870 Big Time Rush                            Halfway There                      Sony Music Entertainment   SR0000668082
 1871 Big Time Rush                            If I Ruled The World               Sony Music Entertainment   SR0000697856
 1872 Big Time Rush                            Invisible                          Sony Music Entertainment   SR0000697856
 1873 Big Time Rush                            Love Me Love Me                    Sony Music Entertainment   SR0000697856
 1874 Big Time Rush                            Music Sounds Better                Sony Music Entertainment   SR0000697856
 1875 Big Time Rush                            No Idea                            Sony Music Entertainment   SR0000697856
 1876 Big Time Rush                            Nothing Even Matters               Sony Music Entertainment   SR0000668082
 1877 Big Time Rush                            Oh Yeah                            Sony Music Entertainment   SR0000668082
 1878 Big Time Rush                            Show Me                            Sony Music Entertainment   SR0000697856
 1879 Big Time Rush                            Superstar                          Sony Music Entertainment   SR0000697856
 1880 Big Time Rush                            Til I Forget About You             Sony Music Entertainment   SR0000668082
 1881 Big Time Rush                            Time Of Our Life                   Sony Music Entertainment   SR0000697856
 1882 Big Time Rush                            Worldwide                          Sony Music Entertainment   SR0000668082
 1883 Big Time Rush                            You're Not Alone                   Sony Music Entertainment   SR0000697856
 1884 Big Time Rush feat. Cymphonique          I Know You Know                    Sony Music Entertainment   SR0000668082
 1885 Big Time Rush feat. Jordin Sparks        Count On You                       Sony Music Entertainment   SR0000668082
 1886 Bill Withers                             I Don't Know                       Sony Music Entertainment   N1596
 1887 Bill Withers                             I Don't Want You on My Mind        Sony Music Entertainment   N1596
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 1888 Bill Withers                       Kissing My Love                                  Sony Music Entertainment   N1596
 1889 Bill Withers                       Lean On Me                                       Sony Music Entertainment   N1596
 1890 Bill Withers                       Lonely Town, Lonely Street                       Sony Music Entertainment   N1596
 1891 Bill Withers                       Use Me                                           Sony Music Entertainment   N1596
 1892 Bill Withers                       Watching You Watching Me                         Sony Music Entertainment   SR0000065774
 1893 Billy Joel                         A Matter Of Trust                                Sony Music Entertainment   SR0000077612
 1894 Billy Joel                         All About Soul                                   Sony Music Entertainment   SR0000185184
 1895 Billy Joel                         All For Leyna                                    Sony Music Entertainment   SR0000017630
 1896 Billy Joel                         Allentown                                        Sony Music Entertainment   SR0000040031
 1897 Billy Joel                         An Innocent Man                                  Sony Music Entertainment   SR0000047532
 1898 Billy Joel                         Baby Grand (duet w/Ray Charles)                  Sony Music Entertainment   SR0000077612
 1899 Billy Joel                         Don't Ask Me Why                                 Sony Music Entertainment   SR0000017630
 1900 Billy Joel                         Honesty                                          Sony Music Entertainment   SR0000004681
 1901 Billy Joel                         I Go To Extremes                                 Sony Music Entertainment   SR0000109420
 1902 Billy Joel                         It's Still Rock & Roll to Me                     Sony Music Entertainment   SR0000017630
 1903 Billy Joel                         Just The Way You Are                             Sony Music Entertainment   RE0000927434
 1904 Billy Joel                         Leave A Tender Moment Alone                      Sony Music Entertainment   SR0000047532
 1905 Billy Joel                         Leningrad                                        Sony Music Entertainment   SR0000109420
 1906 Billy Joel                         My Life                                          Sony Music Entertainment   SR0000004681
 1907 Billy Joel                         Piano Man                                        Sony Music Entertainment   N11702
 1908 Billy Joel                         Say Goodbye To Hollywood                         Sony Music Entertainment   SR0000031638
 1909 Billy Joel                         Streetlife Serenader (Audio)                     Sony Music Entertainment   RE0000872265
 1910 Billy Joel                         Tell Her About It                                Sony Music Entertainment   SR0000047534
 1911 Billy Joel                         The Downeaster 'Alexa'                           Sony Music Entertainment   SR0000109420
 1912 Billy Joel                         The Entertainer                                  Sony Music Entertainment   RE0000872265
 1913 Billy Joel                         The Longest Time                                 Sony Music Entertainment   SR0000047532
 1914 Billy Joel                         The River Of Dreams                              Sony Music Entertainment   SR0000798617
 1915 Billy Joel                         This Is The Time                                 Sony Music Entertainment   SR0000077612
 1916 Billy Joel                         Uptown Girl                                      Sony Music Entertainment   SR0000047532
 1917 Billy Joel                         We Didn't Start the Fire                         Sony Music Entertainment   SR0000111680
 1918 Billy Joel                         You May Be Right                                 Sony Music Entertainment   SR0000017630
 1919 Billy Joel                         You're My Home                                   Sony Music Entertainment   N11702
 1920 Billy Joel                         You're Only Human (Second Wind)                  Sony Music Entertainment   SR0000068501
 1921 Bone Thugs & Harmony               Thuggish Ruggish Bone                            Sony Music Entertainment   SR0000223608
 1922 Bone Thugs N Harmony               Tha Crossroads                                   Sony Music Entertainment   SR0000225335
 1923 Bone Thugs N Harmony feat. 2Pac    Thug Luv                                         Sony Music Entertainment   SR0000260406
      Bone Thugs N Harmony,Felecia
 1924 Lindsey,3LW                        Get Up & Get It                                  Sony Music Entertainment   SR0000330830
 1925 Bone Thugs-N-Harmony               1st Of Tha Month                                 Sony Music Entertainment   SR0000225335
 1926 Bone Thugs-N-Harmony               Buddah Lovaz                                     Sony Music Entertainment   SR0000225335
 1927 Bone Thugs-n-Harmony               Cleveland Is The City (Explicit)                 Sony Music Entertainment   SR0000330830
 1928 Bone Thugs-N-Harmony               Crept And We Came                                Sony Music Entertainment   SR0000225335
 1929 Bone Thugs-N-Harmony               Da Introduction                                  Sony Music Entertainment   SR0000225335
 1930 Bone Thugs-N-Harmony               Die Die Die                                      Sony Music Entertainment   SR0000225335
 1931 Bone Thugs-N-Harmony               East 1999                                        Sony Music Entertainment   SR0000225335
 1932 Bone thugs-n-harmony               Ecstasy (Explicit)                               Sony Music Entertainment   SR0000274908
 1933 Bone Thugs-N-Harmony               Eternal                                          Sony Music Entertainment   SR0000225335
 1934 Bone Thugs-N-Harmony               Get'Cha Thug On                                  Sony Music Entertainment   SR0000260406
 1935 Bone Thugs-N-Harmony               Home (Explicit)                                  Sony Music Entertainment   SR0000330830
 1936 Bone Thugs-N-Harmony               Land Of Tha Heartless                            Sony Music Entertainment   SR0000225335
 1937 Bone Thugs-N-Harmony               Look Into My Eyes                                Sony Music Entertainment   SR0000260406
 1938 Bone Thugs-N-Harmony               Mo'Murda                                         Sony Music Entertainment   SR0000225335
 1939 Bone Thugs-N-Harmony               Money, Money (Explicit)                          Sony Music Entertainment   SR0000330830
 1940 Bone Thugs-N-Harmony               Mr. Bill Collector                               Sony Music Entertainment   SR0000225335
 1941 Bone Thugs-N-Harmony               Mr. Quija 2                                      Sony Music Entertainment   SR0000225335
 1942 Bone Thugs-N-Harmony               No Shorts, No Losses                             Sony Music Entertainment   SR0000225335
 1943 Bone thugs-n-harmony               Resurrection (Paper, Paper) (Explicit)           Sony Music Entertainment   SR0000274908
 1944 Bone Thugs-N-Harmony               Shotz To Tha Double Glock                        Sony Music Entertainment   SR0000225335
 1945 Bone thugs-n-harmony               Weed Song (Explicit)                             Sony Music Entertainment   SR0000274908
 1946 Bone Thugs-N-Harmony with Eazy-E   For Tha Love Of $                                Sony Music Entertainment   SR0000223608
 1947 Boston                             A Man I'll Never Be                              Sony Music Entertainment   SR0000004079
 1948 Boston                             Don't Look Back                                  Sony Music Entertainment   SR0000003614
 1949 Boston                             Feelin' Satisfied                                Sony Music Entertainment   SR0000004079
 1950 Boston                             Higher Power                                     Sony Music Entertainment   SR0000239485
 1951 Boston                             Higher Power (Kalodner Edit)                     Sony Music Entertainment   SR0000239485
 1952 Boston                             More Than A Feeling                              Sony Music Entertainment   N36238
 1953 Boston                             Party                                            Sony Music Entertainment   SR0000004079
 1954 Boston                             Tell Me                                          Sony Music Entertainment   SR0000239485
 1955 Boston                             The Star Spangled Banner / 4th of July Reprise   Sony Music Entertainment   SR0000239485
 1956 Boys Like Girls                    Be Your Everything                               Sony Music Entertainment   SR0000717244
 1957 Boys Like Girls                    Broken Man                                       Sony Music Entertainment   SR0000724396
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 1958 Boys Like Girls                           Cheated                            Sony Music Entertainment   SR0000731314
 1959 Boys Like Girls                           Chemicals Collide                  Sony Music Entertainment   SR0000643654
 1960 Boys Like Girls                           Contagious                         Sony Music Entertainment   SR0000643654
 1961 Boys Like Girls                           Crazy World                        Sony Music Entertainment   SR0000731314
 1962 Boys Like Girls                           Dance Hall Drug                    Sony Music Entertainment   SR0000724396
 1963 Boys Like Girls                           Five Minutes To Midnight           Sony Music Entertainment   SR0000724396
 1964 Boys Like Girls                           Go                                 Sony Music Entertainment   SR0000643654
 1965 Boys Like Girls                           Heart Heart Heartbreak             Sony Music Entertainment   SR0000643654
 1966 Boys Like Girls                           Heels Over Head                    Sony Music Entertainment   SR0000724396
 1967 Boys Like Girls                           Hero / Heroine                     Sony Music Entertainment   SR0000724396
 1968 Boys Like Girls                           Hero/Heroine                       Sony Music Entertainment   SR0000724396
 1969 Boys Like Girls                           Hey You                            Sony Music Entertainment   SR0000731314
 1970 Boys Like Girls                           Holiday                            Sony Music Entertainment   SR0000724396
 1971 Boys Like Girls                           Learning To Fall                   Sony Music Entertainment   SR0000724396
 1972 Boys Like Girls                           Leaving California                 Sony Music Entertainment   SR0000731314
 1973 Boys Like Girls                           Life Of The Party                  Sony Music Entertainment   SR0000717244
 1974 Boys Like Girls                           Love Drunk                         Sony Music Entertainment   SR0000643654
 1975 Boys Like Girls                           Me, You And My Medication          Sony Music Entertainment   SR0000724396
 1976 Boys Like Girls                           On Top Of The World                Sony Music Entertainment   SR0000724396
 1977 Boys Like Girls                           Real Thing                         Sony Music Entertainment   SR0000643654
 1978 Boys Like Girls                           Red Cup Hands Up Long Brown Hair   Sony Music Entertainment   SR0000731314
 1979 Boys Like Girls                           She's Got A Boyfriend Now          Sony Music Entertainment   SR0000643654
 1980 Boys Like Girls                           Shoot                              Sony Music Entertainment   SR0000731314
 1981 Boys Like Girls                           Someone Like You                   Sony Music Entertainment   SR0000643654
 1982 Boys Like Girls                           Stuck in the Middle                Sony Music Entertainment   SR0000731314
 1983 Boys Like Girls                           Take Me Home                       Sony Music Entertainment   SR0000731314
 1984 Boys Like Girls                           The First One                      Sony Music Entertainment   SR0000643654
 1985 Boys Like Girls                           The First Time                     Sony Music Entertainment   SR0000717244
 1986 Boys Like Girls                           The Great Escape                   Sony Music Entertainment   SR0000724396
 1987 Boys Like Girls                           The Shot Heard 'Round The World    Sony Music Entertainment   SR0000643654
 1988 Boys Like Girls                           Thunder                            Sony Music Entertainment   SR0000724396
 1989 Boys Like Girls                           Up Against The Wall                Sony Music Entertainment   SR0000724396
 1990 Boys Like Girls featuring Taylor Swift    Two Is Better Than One             Sony Music Entertainment   SR0000639800
 1991 Brad Paisley                              A Man Don't Have to Die            Sony Music Entertainment   SR0000680360
 1992 Brad Paisley                              Alcohol                            Sony Music Entertainment   SR0000746295
 1993 Brad Paisley                              American Saturday Night            Sony Music Entertainment   SR0000639650
 1994 Brad Paisley                              Anything Like Me                   Sony Music Entertainment   SR0000639650
 1995 Brad Paisley                              Back To The Future                 Sony Music Entertainment   SR0000639650
 1996 Brad Paisley                              Be The Lake                        Sony Music Entertainment   SR0000680360
 1997 Brad Paisley                              Camouflage                         Sony Music Entertainment   SR0000680360
 1998 Brad Paisley                              Catch All The Fish                 Sony Music Entertainment   SR0000639650
 1999 Brad Paisley                              Everybody's Here                   Sony Music Entertainment   SR0000639650
 2000 Brad Paisley                              I Do Now                           Sony Music Entertainment   SR0000680360
 2001 Brad Paisley                              I Hope That's Me                   Sony Music Entertainment   SR0000639650
 2002 Brad Paisley                              New Favorite Memory                Sony Music Entertainment   SR0000680360
 2003 Brad Paisley                              No                                 Sony Music Entertainment   SR0000639650
 2004 Brad Paisley                              Oh Yeah, You're Gone               Sony Music Entertainment   SR0000639650
 2005 Brad Paisley                              Old Alabama                        Sony Music Entertainment   SR0000680360
 2006 Brad Paisley                              One of Those Lives                 Sony Music Entertainment   SR0000680360
 2007 Brad Paisley                              She's Her Own Woman                Sony Music Entertainment   SR0000639650
 2008 Brad Paisley                              The Pants                          Sony Music Entertainment   SR0000639650
 2009 Brad Paisley                              Then                               Sony Music Entertainment   SR0000680448
 2010 Brad Paisley                              This Is Country Music              Sony Music Entertainment   SR0000680360
 2011 Brad Paisley                              Toothbrush                         Sony Music Entertainment   SR0000680360
 2012 Brad Paisley                              Water                              Sony Music Entertainment   SR0000639650
 2013 Brad Paisley                              Welcome To The Future              Sony Music Entertainment   SR0000639650
 2014 Brad Paisley                              Working On A Tan                   Sony Music Entertainment   SR0000680360
 2015 Brad Paisley                              You Do The Math                    Sony Music Entertainment   SR0000639650
 2016 Brad Paisley feat. Blake Shelton          Don't Drink the Water              Sony Music Entertainment   SR0000680360
 2017 Brad Paisley feat. Clint Eastwood         Eastwood                           Sony Music Entertainment   SR0000680360
 2018 Brad Paisley feat. Don Henley             Love Her Like She's Leavin'        Sony Music Entertainment   SR0000680360
      Brad Paisley feat. Marty Stuart, Sheryl
 2019 Crow and Carl Jackson                     Life's Railway to Heaven           Sony Music Entertainment   SR0000680360
 2020 Brad Praisley                             Remind Me                          Sony Music Entertainment   SR0000680360
 2021 Brandi Carlile                            Again Today / Hiding My Heart      Sony Music Entertainment   SR0000609517
 2022 Brandi Carlile                            Cannonball                         Sony Music Entertainment   SR0000609517
 2023 Brandi Carlile                            Downpour                           Sony Music Entertainment   SR0000609517
 2024 Brandi Carlile                            Have You Ever                      Sony Music Entertainment   SR0000609517
 2025 Brandi Carlile                            Josephine                          Sony Music Entertainment   SR0000609517
 2026 Brandi Carlile                            Late Morning Lullaby               Sony Music Entertainment   SR0000609517
 2027 Brandi Carlile                            Losing Heart                       Sony Music Entertainment   SR0000609517
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 2028 Brandi Carlile                    My Song                           Sony Music Entertainment   SR0000609517
 2029 Brandi Carlile                    Shadow On The Wall                Sony Music Entertainment   SR0000609517
 2030 Brandi Carlile                    Turpentine                        Sony Music Entertainment   SR0000609517
 2031 Brandi Carlile                    Until I Die                       Sony Music Entertainment   SR0000609517
 2032 Brandi Carlile                    Wasted                            Sony Music Entertainment   SR0000609517
 2033 Brandy                            1st & Love                        Sony Music Entertainment   SR0000622255
 2034 Brandy                            A Capella (Something's Missing)   Sony Music Entertainment   SR0000622255
 2035 Brandy                            Camouflage                        Sony Music Entertainment   SR0000622255
 2036 Brandy                            Can You Hear Me Now               Sony Music Entertainment   SR0000710136
 2037 Brandy                            Do You Know What You Have         Sony Music Entertainment   SR0000710136
 2038 Brandy                            Fall                              Sony Music Entertainment   SR0000622255
 2039 Brandy                            Hardly Breathing                  Sony Music Entertainment   SR0000710136
 2040 Brandy                            Human                             Sony Music Entertainment   SR0000622255
 2041 Brandy                            Let Me Go                         Sony Music Entertainment   SR0000710136
 2042 Brandy                            Long Distance                     Sony Music Entertainment   SR0000622255
 2043 Brandy                            Long Distance Interlude           Sony Music Entertainment   SR0000622255
 2044 Brandy                            Music                             Sony Music Entertainment   SR0000710136
 2045 Brandy                            No Such Thing As Too Late         Sony Music Entertainment   SR0000710136
 2046 Brandy                            Outro                             Sony Music Entertainment   SR0000710136
 2047 Brandy                            Paint This House                  Sony Music Entertainment   SR0000710136
 2048 Brandy                            Piano Man                         Sony Music Entertainment   SR0000622255
 2049 Brandy                            Scared Of Beautiful               Sony Music Entertainment   SR0000710136
 2050 Brandy                            Shattered Heart                   Sony Music Entertainment   SR0000622255
 2051 Brandy                            Slower                            Sony Music Entertainment   SR0000710136
 2052 Brandy                            So Sick                           Sony Music Entertainment   SR0000710136
 2053 Brandy                            The Definition                    Sony Music Entertainment   SR0000622255
 2054 Brandy                            Torn Down                         Sony Music Entertainment   SR0000622255
 2055 Brandy                            TRUE                              Sony Music Entertainment   SR0000622255
 2056 Brandy                            Warm It Up (With Love)            Sony Music Entertainment   SR0000622255
 2057 Brandy                            What You Need                     Sony Music Entertainment   SR0000710136
 2058 Brandy                            Wildest Dreams                    Sony Music Entertainment   SR0000710136
 2059 Brandy                            Wish Your Love Away               Sony Music Entertainment   SR0000710136
 2060 Brandy                            Without You                       Sony Music Entertainment   SR0000710136
 2061 Brandy featuring Chris Brown      Put It Down                       Sony Music Entertainment   SR0000710136
 2062 Britney Spears                    Alien                             Sony Music Entertainment   SR0000738040
 2063 Britney Spears                    Body Ache                         Sony Music Entertainment   SR0000738040
 2064 Britney Spears                    Brightest Morning Star            Sony Music Entertainment   SR0000738040
 2065 Britney Spears                    Don't Cry                         Sony Music Entertainment   SR0000738040
 2066 Britney Spears                    Hold On Tight                     Sony Music Entertainment   SR0000738040
 2067 Britney Spears                    Now That I Found You              Sony Music Entertainment   SR0000738040
 2068 Britney Spears                    Passenger                         Sony Music Entertainment   SR0000738040
 2069 Britney Spears                    Perfume                           Sony Music Entertainment   SR0000738038
 2070 Britney Spears                    Perfume (The Dreaming Mix)        Sony Music Entertainment   SR0000738040
 2071 Britney Spears                    Til It's Gone                     Sony Music Entertainment   SR0000738040
 2072 Britney Spears                    Till The World Ends               Sony Music Entertainment   SR0000674674
 2073 Britney Spears feat. Jamie Lynn   Chillin' With You                 Sony Music Entertainment   SR0000738040
 2074 Britney Spears feat. T.I.         Tik Tik Boom                      Sony Music Entertainment   SR0000738040
 2075 Britney Spears feat. will.i.am    It Should Be Easy                 Sony Music Entertainment   SR0000738040
 2076 Broken Bells                      After the Disco                   Sony Music Entertainment   SR0000767352
 2077 Broken Bells                      Control                           Sony Music Entertainment   SR0000767354
 2078 Broken Bells                      Holding On for Life               Sony Music Entertainment   SR0000767353
 2079 Broken Bells                      Lazy Wonderland                   Sony Music Entertainment   SR0000767354
 2080 Broken Bells                      Leave It Alone                    Sony Music Entertainment   SR0000767354
 2081 Broken Bells                      Medicine                          Sony Music Entertainment   SR0000767354
 2082 Broken Bells                      No Matter What You're Told        Sony Music Entertainment   SR0000767354
 2083 Broken Bells                      Perfect World                     Sony Music Entertainment   SR0000767354
 2084 Broken Bells                      The Angel and the Fool            Sony Music Entertainment   SR0000767354
 2085 Broken Bells                      The Changing Lights               Sony Music Entertainment   SR0000767354
 2086 Broken Bells                      The Remains of Rock & Roll        Sony Music Entertainment   SR0000767354
 2087 Bruce Springsteen                 American Land                     Sony Music Entertainment   SR0000383238
 2088 Bruce Springsteen                 Atlantic City                     Sony Music Entertainment   SR0000043466
 2089 Bruce Springsteen                 Badlands                          Sony Music Entertainment   SR0000008335
 2090 Bruce Springsteen                 Better Days                       Sony Music Entertainment   SR0000141676
 2091 Bruce Springsteen                 Blood Brothers                    Sony Music Entertainment   SR0000198948
 2092 Bruce Springsteen                 Born in the U.S.A.                Sony Music Entertainment   SR0000055647
 2093 Bruce Springsteen                 Born To Run                       Sony Music Entertainment   RE0000894630
 2094 Bruce Springsteen                 Brilliant Disguise                Sony Music Entertainment   SR0000087116
 2095 Bruce Springsteen                 Dancing In The Dark               Sony Music Entertainment   SR0000055658
 2096 Bruce Springsteen                 Death To My Hometown              Sony Music Entertainment   SR0000705192
 2097 Bruce Springsteen                 Easy Money                        Sony Music Entertainment   SR0000705192
 2098 Bruce Springsteen                 Glory Days                        Sony Music Entertainment   SR0000055647
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 2099 Bruce Springsteen         Human Touch                                Sony Music Entertainment   SR0000152008
 2100 Bruce Springsteen         Hungry Heart                               Sony Music Entertainment   SR0000025235
 2101 Bruce Springsteen         Jack Of All Trades                         Sony Music Entertainment   SR0000705192
 2102 Bruce Springsteen         Land of Hope and Dreams                    Sony Music Entertainment   SR0000705192
 2103 Bruce Springsteen         Murder Incorporated                        Sony Music Entertainment   SR0000198948
 2104 Bruce Springsteen         My Hometown                                Sony Music Entertainment   SR0000055647
 2105 Bruce Springsteen         Rocky Ground                               Sony Music Entertainment   SR0000705192
 2106 Bruce Springsteen         Secret Garden                              Sony Music Entertainment   SR0000198948
 2107 Bruce Springsteen         Shackled And Drawn                         Sony Music Entertainment   SR0000705192
 2108 Bruce Springsteen         Streets Of Philadelphia                    Sony Music Entertainment   SR0000185365
 2109 Bruce Springsteen         Swallowed Up (In The Belly Of The Whale)   Sony Music Entertainment   SR0000705192
 2110 Bruce Springsteen         The River                                  Sony Music Entertainment   SR0000025235
 2111 Bruce Springsteen         This Depression                            Sony Music Entertainment   SR0000705192
 2112 Bruce Springsteen         This Hard Land                             Sony Music Entertainment   SR0000198948
 2113 Bruce Springsteen         Thunder Road                               Sony Music Entertainment   RE0000894630
 2114 Bruce Springsteen         We Are Alive                               Sony Music Entertainment   SR0000705192
 2115 Bruce Springsteen         We Take Care Of Our Own                    Sony Music Entertainment   SR0000705192
 2116 Bruce Springsteen         Wrecking Ball                              Sony Music Entertainment   SR0000705192
 2117 Bruce Springsteen         You've Got It                              Sony Music Entertainment   SR0000705192
 2118 Bullet For My Valentine   A Place Where You Belong                   Sony Music Entertainment   SR0000706395
 2119 Bullet For My Valentine   Alone                                      Sony Music Entertainment   SR0000706395
 2120 Bullet For My Valentine   Begging For Mercy                          Sony Music Entertainment   SR0000706395
 2121 Bullet For My Valentine   Bittersweet Memories                       Sony Music Entertainment   SR0000706395
 2122 Bullet For My Valentine   Breaking Out, Breaking Down                Sony Music Entertainment   SR0000706395
 2123 Bullet For My Valentine   Deliver Us from Evil                       Sony Music Entertainment   SR0000619985
 2124 Bullet For My Valentine   Dignity                                    Sony Music Entertainment   SR0000706395
 2125 Bullet For My Valentine   Disappear                                  Sony Music Entertainment   SR0000619985
 2126 Bullet For My Valentine   End Of Days                                Sony Music Entertainment   SR0000619985
 2127 Bullet For My Valentine   Eye Of The Storm                           Sony Music Entertainment   SR0000619985
 2128 Bullet For My Valentine   Fever                                      Sony Music Entertainment   SR0000706395
 2129 Bullet For My Valentine   Forever And Always                         Sony Music Entertainment   SR0000619985
 2130 Bullet For My Valentine   Hearts Burst Into Fire                     Sony Music Entertainment   SR0000619985
 2131 Bullet For My Valentine   Last To Know                               Sony Music Entertainment   SR0000619985
 2132 Bullet For My Valentine   Pleasure And Pain                          Sony Music Entertainment   SR0000706395
 2133 Bullet For My Valentine   Pretty On The Outside                      Sony Music Entertainment   SR0000706395
 2134 Bullet For My Valentine   Say Goodnight                              Sony Music Entertainment   SR0000619985
 2135 Bullet For My Valentine   Scream Aim Fire                            Sony Music Entertainment   PA0001607594
 2136 Bullet For My Valentine   Take It Out On Me                          Sony Music Entertainment   SR0000619985
 2137 Bullet For My Valentine   The Last Fight                             Sony Music Entertainment   SR0000706395
 2138 Bullet For My Valentine   Waking The Demon                           Sony Music Entertainment   SR0000619985
 2139 Bullet For My Valentine   Your Betrayal                              Sony Music Entertainment   SR0000706395
 2140 Cage The Elephant         2024                                       Sony Music Entertainment   SR0000703665
 2141 Cage The Elephant         Aberdeen                                   Sony Music Entertainment   SR0000703665
 2142 Cage The Elephant         Ain't No Rest for the Wicked               Sony Music Entertainment   SR0000615871
 2143 Cage The Elephant         Always Something                           Sony Music Entertainment   SR0000703665
 2144 Cage The Elephant         Around My Head                             Sony Music Entertainment   SR0000703665
 2145 Cage The Elephant         Back Against The Wall                      Sony Music Entertainment   SR0000631003
 2146 Cage The Elephant         Back Stabbin' Betty (Explicit)             Sony Music Entertainment   SR0000631003
 2147 Cage The Elephant         Cover Me Again                             Sony Music Entertainment   SR0000631003
 2148 Cage The Elephant         Drones In The Valley                       Sony Music Entertainment   SR0000631003
 2149 Cage The Elephant         Flow                                       Sony Music Entertainment   SR0000703665
 2150 Cage The Elephant         Free Love                                  Sony Music Entertainment   SR0000631003
 2151 Cage The Elephant         In One Ear                                 Sony Music Entertainment   SR0000631003
 2152 Cage The Elephant         Indy Kidz                                  Sony Music Entertainment   SR0000703665
 2153 Cage The Elephant         James Brown                                Sony Music Entertainment   SR0000631003
 2154 Cage The Elephant         Japanese Buffalo                           Sony Music Entertainment   SR0000703665
 2155 Cage The Elephant         Judas                                      Sony Music Entertainment   SR0000631003
 2156 Cage The Elephant         Lotus                                      Sony Music Entertainment   SR0000631003
 2157 Cage The Elephant         Right Before My Eyes                       Sony Music Entertainment   SR0000703665
 2158 Cage The Elephant         Rubber Ball                                Sony Music Entertainment   SR0000703665
 2159 Cage The Elephant         Sabertooth Tiger                           Sony Music Entertainment   SR0000703665
 2160 Cage The Elephant         Sell Yourself                              Sony Music Entertainment   SR0000703665
 2161 Cage The Elephant         Shake Me Down                              Sony Music Entertainment   SR0000703665
 2162 Cage The Elephant         Soil To The Sun                            Sony Music Entertainment   SR0000631003
 2163 Cage The Elephant         Tiny Little Robots                         Sony Music Entertainment   SR0000631003
 2164 Calvin Harris             I Need Your Love                           Sony Music Entertainment   SR0000710756
 2165 Camila                    Coleccionista De Canciones                 Sony Music Entertainment   SR0000393905
 2166 Camila                    Me Basto                                   Sony Music Entertainment   SR0000393905
 2167 Camila                    Me Da Igual                                Sony Music Entertainment   SR0000393905
 2168 Camila                    Perderte de Nuevo                          Sony Music Entertainment   SR0000393905
 2169 Camila                    Sin Tu Amor                                Sony Music Entertainment   SR0000393905
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 2170 Camila             Todo Cambio                                              Sony Music Entertainment    SR0000393905
 2171 Camila             U Got My Love                                            Sony Music Entertainment    SR0000393905
 2172 Camila             Va Para Ti                                               Sony Music Entertainment    SR0000393905
 2173 Camila             Yo Quiero                                                Sony Music Entertainment    SR0000393905
 2174 Carlos Santana     Havana Moon                                              Sony Music Entertainment    SR0000045295
 2175 Carrie Underwood   All-American Girl                                        Sony Music Entertainment    SR0000627157
 2176 Carrie Underwood   Before He Cheats                                         Sony Music Entertainment    SR0000742546
 2177 Carrie Underwood   Blown Away                                               Sony Music Entertainment    SR0000700157
 2178 Carrie Underwood   Crazy Dreams                                             Sony Music Entertainment    SR0000627157
 2179 Carrie Underwood   Cupid's Got A Shotgun                                    Sony Music Entertainment    SR0000700157
 2180 Carrie Underwood   Do You Think About Me                                    Sony Music Entertainment    SR0000700157
 2181 Carrie Underwood   Don't Forget to Remember Me                              Sony Music Entertainment    SR0000383054
 2182 Carrie Underwood   Flat On The Floor                                        Sony Music Entertainment    SR0000627157
 2183 Carrie Underwood   Forever Changed                                          Sony Music Entertainment    SR0000700157
 2184 Carrie Underwood   Get Out Of This Town                                     Sony Music Entertainment    SR0000627157
 2185 Carrie Underwood   Good Girl                                                Sony Music Entertainment    SR0000700157
 2186 Carrie Underwood   Good In Goodbye                                          Sony Music Entertainment    SR0000700157
 2187 Carrie Underwood   I Ain't In Checotah Anymore                              Sony Music Entertainment    SR0000383054
 2188 Carrie Underwood   I Just Can't Live A Lie                                  Sony Music Entertainment    SR0000383054
 2189 Carrie Underwood   I Know You Won't                                         Sony Music Entertainment    SR0000627157
 2190 Carrie Underwood   I Told You So                                            Sony Music Entertainment    SR0000627157
 2191 Carrie Underwood   Inside Your Heaven                                       Sony Music Entertainment    SR0000383054
 2192 Carrie Underwood   Jesus Take The Wheel                                     Sony Music Entertainment    SR0000742547
 2193 Carrie Underwood   Just A Dream                                             Sony Music Entertainment    SR0000627157
 2194 Carrie Underwood   Last Name                                                Sony Music Entertainment    SR0000627157
 2195 Carrie Underwood   Leave Love Alone                                         Sony Music Entertainment    SR0000700157
 2196 Carrie Underwood   Lessons Learned                                          Sony Music Entertainment    SR0000383054
 2197 Carrie Underwood   Nobody Ever Told You                                     Sony Music Entertainment    SR0000700157
 2198 Carrie Underwood   One Way Ticket                                           Sony Music Entertainment    SR0000700157
 2199 Carrie Underwood   See You Again                                            Sony Music Entertainment    SR0000700157
 2200 Carrie Underwood   So Small                                                 Sony Music Entertainment    SR0000742208
 2201 Carrie Underwood   Some Hearts                                              Sony Music Entertainment    SR0000383054
 2202 Carrie Underwood   Starts With Goodbye                                      Sony Music Entertainment    SR0000383054
 2203 Carrie Underwood   Thank God For Hometowns                                  Sony Music Entertainment    SR0000700157
 2204 Carrie Underwood   That's Where It Is                                       Sony Music Entertainment    SR0000383054
 2205 Carrie Underwood   The More Boys I Meet                                     Sony Music Entertainment    SR0000627157
 2206 Carrie Underwood   The Night Before (Life Goes On)                          Sony Music Entertainment    SR0000383054
 2207 Carrie Underwood   Twisted                                                  Sony Music Entertainment    SR0000627157
 2208 Carrie Underwood   Two Black Cadillacs                                      Sony Music Entertainment    SR0000700157
 2209 Carrie Underwood   Wasted                                                   Sony Music Entertainment    SR0000383054
 2210 Carrie Underwood   We're Young and Beautiful                                Sony Music Entertainment    SR0000383054
 2211 Carrie Underwood   Wheel Of The World                                       Sony Music Entertainment    SR0000627157
 2212 Carrie Underwood   Whenever You Remember                                    Sony Music Entertainment    SR0000383054
 2213 Carrie Underwood   Who Are You                                              Sony Music Entertainment    SR0000700157
 2214 Carrie Underwood   Wine After Whiskey                                       Sony Music Entertainment    SR0000700157
 2215 Carrie Underwood   You Won't Find This                                      Sony Music Entertainment    SR0000627157
 2216 Céline Dion        A New Day Has Come                                       Sony Music Entertainment    SR0000311366
 2217 Céline Dion        All By Myself                                            Sony Music Entertainment    SR0000224159
 2218 Céline Dion        Alone                                                    Sony Music Entertainment    SR0000640988
 2219 Céline Dion        At Last                                                  Sony Music Entertainment    SR0000311366
 2220 Céline Dion        Aún Existe Amor                                          Sony Music Entertainment    SR0000311366
 2221 Céline Dion        Because You Loved Me                                     Sony Music Entertainment    SR0000224159
                                                                                  Sony Music Entertainment    SR0000224159
 2222 Céline Dion        Because You Loved Me (Theme from "Up Close and Personal")
 2223 Céline Dion        Call The Man                                              Sony Music Entertainment   SR0000224159
 2224 Céline Dion        Eyes On Me                                                Sony Music Entertainment   SR0000640988
 2225 Céline Dion        Falling Into You                                          Sony Music Entertainment   SR0000224159
 2226 Céline Dion        Goodbye's (The Saddest Word)                              Sony Music Entertainment   SR0000311366
 2227 Céline Dion        Have You Ever Been In Love                                Sony Music Entertainment   SR0000311366
 2228 Céline Dion        I Drove All Night                                         Sony Music Entertainment   PA0001138957
 2229 Céline Dion        I Surrender                                               Sony Music Entertainment   SR0000311366
 2230 Céline Dion        I Want You to Need Me                                     Sony Music Entertainment   SR0000311601
 2231 Céline Dion        I'm Alive                                                 Sony Music Entertainment   SR0000311366
 2232 Céline Dion        If Walls Could Talk                                       Sony Music Entertainment   SR0000311601
 2233 Céline Dion        Immortality                                               Sony Music Entertainment   SR0000248109
 2234 Céline Dion        It's All Coming Back to Me Now                            Sony Music Entertainment   SR0000224159
 2235 Céline Dion        Live for the One I Love                                   Sony Music Entertainment   SR0000311601
 2236 Céline Dion        Love Can Move Mountains                                   Sony Music Entertainment   SR0000144117
 2237 Céline Dion        Misled                                                    Sony Music Entertainment   SR0000191558
 2238 Céline Dion        My Heart Will Go On                                       Sony Music Entertainment   SR0000248109
 2239 Céline Dion        My Love                                                   Sony Music Entertainment   SR0000640988
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 2240 Céline Dion                         Nature Boy                            Sony Music Entertainment   SR0000311366
 2241 Céline Dion                         One Heart                             Sony Music Entertainment   SR0000331435
 2242 Céline Dion                         Only One Road                         Sony Music Entertainment   SR0000191558
 2243 Céline Dion                         Pour que tu m'aimes encore            Sony Music Entertainment   SR0000211677
 2244 Céline Dion                         Prayer                                Sony Music Entertainment   SR0000264455
 2245 Céline Dion                         Rain, Tax (It's Inevitable)           Sony Music Entertainment   SR0000311366
 2246 Céline Dion                         Right In Front Of You                 Sony Music Entertainment   SR0000311366
 2247 Céline Dion                         River Deep, Mountain High             Sony Music Entertainment   SR0000224159
 2248 Céline Dion                         Seduces Me                            Sony Music Entertainment   SR0000224159
 2249 Céline Dion                         Sorry For Love                        Sony Music Entertainment   SR0000311366
 2250 Céline Dion                         Taking Chances                        Sony Music Entertainment   SR0000622400
 2251 Céline Dion                         Ten Days                              Sony Music Entertainment   SR0000311366
 2252 Céline Dion                         That's The Way It Is                  Sony Music Entertainment   SR0000311601
 2253 Céline Dion                         The First Time Ever I Saw Your Face   Sony Music Entertainment   SR0000311601
 2254 Céline Dion                         The Greatest Reward                   Sony Music Entertainment   SR0000311366
 2255 Céline Dion                         The Power of Love                     Sony Music Entertainment   SR0000191558
 2256 Céline Dion                         The Reason                            Sony Music Entertainment   SR0000248109
 2257 Céline Dion                         Then You Look At Me                   Sony Music Entertainment   SR0000311601
 2258 Céline Dion                         There Comes a Time                    Sony Music Entertainment   SR0000621415
 2259 Céline Dion                         Think Twice                           Sony Music Entertainment   SR0000191558
 2260 Céline Dion                         To Love You More                      Sony Music Entertainment   SR0000248109
 2261 Céline Dion                         When The Wrong One Loves You Right    Sony Music Entertainment   SR0000311366
 2262 Céline Dion                         You And I                             Sony Music Entertainment   SR0000361341
 2263 Charlie Daniels                     the Devil Went Down To Georgia        Sony Music Entertainment   SR0000008973
 2264 Charlie Wilson                      Crying For You                        Sony Music Entertainment   SR0000679365
 2265 Charlie Wilson                      I Can't Let Go                        Sony Music Entertainment   SR0000679365
 2266 Charlie Wilson                      Life Of The Party                     Sony Music Entertainment   SR0000679365
 2267 Charlie Wilson                      Lotto                                 Sony Music Entertainment   SR0000679365
 2268 Charlie Wilson                      My Girl Is A Dime                     Sony Music Entertainment   SR0000679365
 2269 Charlie Wilson                      Never Got Enough                      Sony Music Entertainment   SR0000679365
 2270 Charlie Wilson                      Once And Forever                      Sony Music Entertainment   SR0000679365
 2271 Charlie Wilson                      Where Would I Be                      Sony Music Entertainment   SR0000679365
 2272 Charlie Wilson                      You Are                               Sony Music Entertainment   SR0000679365
 2273 Charlie Wilson Featuring Fantasia   I Wanna Be Your Man                   Sony Music Entertainment   SR0000679365
 2274 Cher Lloyd                          Swagger Jagger                        Sony Music Entertainment   SR0000724733
 2275 Chevelle                            Closure                               Sony Music Entertainment   SR0000324184
 2276 Chevelle                            Comfortable Liar                      Sony Music Entertainment   SR0000324184
 2277 Chevelle                            Forfeit                               Sony Music Entertainment   SR0000324184
 2278 Chevelle                            Get Some                              Sony Music Entertainment   SR0000363500
 2279 Chevelle                            I Get It                              Sony Music Entertainment   SR0000407044
 2280 Chevelle                            Panic Prone                           Sony Music Entertainment   SR0000363500
 2281 Chevelle                            Send The Pain Below                   Sony Music Entertainment   SR0000324184
 2282 Chevelle                            Straight Jacket Fashion               Sony Music Entertainment   SR0000407044
 2283 Chevelle                            The Clincher                          Sony Music Entertainment   SR0000363500
 2284 Chevelle                            The Fad                               Sony Music Entertainment   SR0000407044
 2285 Chevelle                            The Red                               Sony Music Entertainment   PA0001060682
 2286 Chevelle                            Vitamin R (Leading Us Along)          Sony Music Entertainment   PA0001263996
 2287 Chipmunk Feat. Chris Brown          Champion                              Sony Music Entertainment   SR0000751658
 2288 Chris Brown                         2012 (Explicit)                       Sony Music Entertainment   SR0000711816
 2289 Chris Brown                         4 Years Old                           Sony Music Entertainment   SR0000711816
 2290 Chris Brown                         All Back                              Sony Music Entertainment   SR0000679366
 2291 Chris Brown                         Bassline (Explicit)                   Sony Music Entertainment   SR0000711816
 2292 Chris Brown                         Beg For It                            Sony Music Entertainment   SR0000679366
 2293 Chris Brown                         Biggest Fan                           Sony Music Entertainment   SR0000711816
 2294 Chris Brown                         Biggest Fan (Explicit)                Sony Music Entertainment   SR0000711816
 2295 Chris Brown                         Don't Judge Me                        Sony Music Entertainment   SR0000711816
 2296 Chris Brown                         Don't Wake Me Up                      Sony Music Entertainment   SR0000711816
 2297 Chris Brown                         Free Run                              Sony Music Entertainment   SR0000711816
 2298 Chris Brown                         Oh My Love                            Sony Music Entertainment   SR0000679366
 2299 Chris Brown                         Oh My Love (Explicit)                 Sony Music Entertainment   SR0000679366
 2300 Chris Brown                         Say It With Me                        Sony Music Entertainment   SR0000679366
 2301 Chris Brown                         She Ain't You                         Sony Music Entertainment   SR0000679366
 2302 Chris Brown                         Should've Kissed You                  Sony Music Entertainment   SR0000679366
 2303 Chris Brown                         Strip                                 Sony Music Entertainment   SR0000711816
 2304 Chris Brown                         Stuck On Stupid                       Sony Music Entertainment   SR0000711816
 2305 Chris Brown                         Sweet Love                            Sony Music Entertainment   SR0000711816
 2306 Chris Brown                         Tell Somebody                         Sony Music Entertainment   SR0000711816
 2307 Chris Brown                         Up To You                             Sony Music Entertainment   SR0000679366
 2308 Chris Brown                         Wait For You                          Sony Music Entertainment   SR0000711816
 2309 Chris Brown                         Yeah 3x                               Sony Music Entertainment   SR0000679366
 2310 Chris Brown feat. Benny Benassi     Beautiful People                      Sony Music Entertainment   SR0000679366
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 2311 Chris Brown feat. Big Sean & Wiz Khalifa Till I Die (Explicit)                          Sony Music Entertainment   SR0000711816
 2312 Chris Brown feat. Kevin McCall           No BS (Explicit)                               Sony Music Entertainment   SR0000679366
      Chris Brown feat. Lil Wayne & Busta
 2313 Rhymes                                   Look At Me Now (Explicit)                      Sony Music Entertainment   SR0000677541
 2314 Chris Brown feat. Lil Wayne & Tyga       Loyal                                          Sony Music Entertainment   SR0000760918
 2315 Chris Brown feat. Ludacris               Wet The Bed                                    Sony Music Entertainment   SR0000679366
 2316 Chris Brown feat. Nas                    Mirage                                         Sony Music Entertainment   SR0000711816
 2317 Chris Brown feat. Nicki Minaj            Love More                                      Sony Music Entertainment   SR0000726473
 2318 Chris Brown feat. Sabrina Antionette     Trumpet Lights                                 Sony Music Entertainment   SR0000711816
 2319 Chris Brown feat. Sevyn                  Party Hard / Cadillac (Interlude)              Sony Music Entertainment   SR0000711816
 2320 Chris Brown feat. Sevyn                  Remember My Name                               Sony Music Entertainment   SR0000711816
 2321 Chris Brown feat. Sevyn                  Touch Me                                       Sony Music Entertainment   SR0000711816
 2322 Chris Brown feat. Wiz Khalifa            Bomb (Explicit)                                Sony Music Entertainment   SR0000679366
 2323 Chris Brown featuring B.o.B              Get Down (Rarities & B-Sides) (Explicit)       Sony Music Entertainment   SR0000708122
 2324 Chris Brown featuring Eva Simons         Love The Girls (Explicit)                      Sony Music Entertainment   SR0000679366
 2325 Chris Brown featuring Eva Simons         Pass Out                                       Sony Music Entertainment   SR0000747286
 2326 Chris Brown featuring Justin Bieber      Next To You                                    Sony Music Entertainment   SR0000679366
      Chris Brown featuring Lil Wayne & Busta
 2327 Rhymes                                   Look At Me Now                                 Sony Music Entertainment   SR0000677541
      Chris Brown featuring Lil Wayne & Swizz
 2328 Beatz                                    I Can Transform Ya                             Sony Music Entertainment   SR0000747284
 2329 Chris Brown featuring Nas                Mirage (Explicit)                              Sony Music Entertainment   SR0000711816
 2330 Chris Brown featuring Sevyn              Party Hard / Cadillac (Interlude) (Explicit)   Sony Music Entertainment   SR0000711816
      Chris Brown featuring Tyga & Kevin
 2331 McCall                                   Deuces                                         Sony Music Entertainment   SR0000679366
 2332 Chris Young                              A.M.                                           Sony Music Entertainment   SR0000726878
 2333 Chris Young                              Aw Naw                                         Sony Music Entertainment   SR0000726910
 2334 Chris Young                              Forgiveness                                    Sony Music Entertainment   SR0000726878
 2335 Chris Young                              Goodbye                                        Sony Music Entertainment   SR0000736687
 2336 Chris Young                              Hold You To It                                 Sony Music Entertainment   SR0000726878
 2337 Chris Young                              Lighters In the Air                            Sony Music Entertainment   SR0000726878
 2338 Chris Young                              Nothin' But the Cooler Left                    Sony Music Entertainment   SR0000726878
 2339 Chris Young                              Text Me Texas                                  Sony Music Entertainment   SR0000726878
 2340 Chris Young                              We're Gonna Find It Tonight                    Sony Music Entertainment   SR0000726878
 2341 Chris Young                              Who I Am With You                              Sony Music Entertainment   SR0000726878
 2342 Ciara                                    Ciara To The Stage                             Sony Music Entertainment   SR0000631011
 2343 Ciara                                    G Is For Girl (A-Z)                            Sony Music Entertainment   SR0000631011
 2344 Ciara                                    Gimmie Dat                                     Sony Music Entertainment   PA0001744092
 2345 Ciara                                    I Don't Remember                               Sony Music Entertainment   SR0000631011
 2346 Ciara                                    Keep Dancin' On Me                             Sony Music Entertainment   SR0000631011
 2347 Ciara                                    Like A Surgeon                                 Sony Music Entertainment   SR0000631011
 2348 Ciara                                    Never Ever                                     Sony Music Entertainment   SR0000631011
 2349 Ciara                                    Pucker Up                                      Sony Music Entertainment   SR0000631011
 2350 Ciara                                    Ride                                           Sony Music Entertainment   SR0000671337
 2351 Ciara                                    So Hard                                        Sony Music Entertainment   SR0000757150
 2352 Ciara                                    Tell Me What Your Name Is                      Sony Music Entertainment   SR0000631011
 2353 Ciara feat. Chris Brown                  Turntables                                     Sony Music Entertainment   SR0000631011
 2354 Ciara feat. Ludacris                     High Price                                     Sony Music Entertainment   SR0000631011
 2355 Ciara feat. Nicki Minaj                  I'm Out (Explicit)                             Sony Music Entertainment   SR0000724534
 2356 Ciara feat. The-Dream                    Lover's Thing                                  Sony Music Entertainment   SR0000631011
 2357 Ciara Featuring Justin Timberlake        Love Sex Magic (Main Version)                  Sony Music Entertainment   SR0000631011
 2358 Crossfade                                Cold                                           Sony Music Entertainment   SR0000697112
 2359 Crossfade                                Colors                                         Sony Music Entertainment   SR0000354126
 2360 Crossfade                                Dead Skin                                      Sony Music Entertainment   SR0000354126
 2361 Crossfade                                Death Trend Setta                              Sony Music Entertainment   SR0000354126
 2362 Crossfade                                Disco                                          Sony Music Entertainment   SR0000354126
 2363 Crossfade                                No Giving Up                                   Sony Music Entertainment   SR0000354126
 2364 Crossfade                                So Far Away                                    Sony Music Entertainment   SR0000354126
 2365 Crossfade                                Starless                                       Sony Music Entertainment   SR0000354126
 2366 Crossfade                                The Deep End                                   Sony Music Entertainment   SR0000354126
 2367 Crossfade                                The Unknown                                    Sony Music Entertainment   SR0000354126
 2368 Cypress Hill                             (Rock) Superstar (Explicit)                    Sony Music Entertainment   SR0000287128
 2369 Cypress Hill                             Can't Get the Best of Me                       Sony Music Entertainment   SR0000287128
 2370 Cypress Hill                             Dr. Greenthumb                                 Sony Music Entertainment   SR0000263930
 2371 Cypress Hill                             EZ Come EZ Go                                  Sony Music Entertainment   SR0000384639
 2372 Cypress Hill                             Hand On The Pump                               Sony Music Entertainment   SR0000134573
 2373 Cypress Hill                             Tequila Sunrise (Explicit)                     Sony Music Entertainment   SR0000263930
 2374 Cypress Hill                             The Only Way                                   Sony Music Entertainment   SR0000384639
 2375 Cypress Hill                             Throw Your Set In The Air                      Sony Music Entertainment   SR0000215690
 2376 Cypress Hill featuring Tego Calderon     Latin Thugs                                    Sony Music Entertainment   SR0000354123
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 2377 Cypress Hill featuring Tego Calderon   Latin Thugs (Explicit)                Sony Music Entertainment   SR0000354123
 2378 Darren Hayes of Savage Garden          California                            Sony Music Entertainment   SR0000386428
 2379 Darren Hayes of Savage Garden          So Beautiful                          Sony Music Entertainment   SR0000386428
 2380 Daughtry                               All These Lives                       Sony Music Entertainment   SR0000399960
 2381 Daughtry                               Breakdown                             Sony Music Entertainment   SR0000399960
 2382 Daughtry                               Crashed                               Sony Music Entertainment   SR0000399960
 2383 Daughtry                               Feels Like Tonight                    Sony Music Entertainment   SR0000399960
 2384 Daughtry                               Gone                                  Sony Music Entertainment   SR0000399960
 2385 Daughtry                               Home                                  Sony Music Entertainment   SR0000399960
 2386 Daughtry                               It's Not Over                         Sony Music Entertainment   SR0000399960
 2387 Daughtry                               Over You                              Sony Music Entertainment   SR0000399960
 2388 Daughtry                               There And Back Again                  Sony Music Entertainment   SR0000399960
 2389 Daughtry                               Used To                               Sony Music Entertainment   SR0000399960
 2390 Daughtry                               What About Now                        Sony Music Entertainment   SR0000399960
 2391 Daughtry                               What I Want                           Sony Music Entertainment   SR0000399960
 2392 Dave Matthews Band                     Alligator Pie                         Sony Music Entertainment   SR0000628753
 2393 Dave Matthews Band                     American Baby                         Sony Music Entertainment   SR0000719468
 2394 Dave Matthews Band                     Baby Blue                             Sony Music Entertainment   SR0000628753
 2395 Dave Matthews Band                     Dive In                               Sony Music Entertainment   SR0000628753
 2396 Dave Matthews Band                     Funny the Way It Is                   Sony Music Entertainment   SR0000628753
 2397 Dave Matthews Band                     Grux                                  Sony Music Entertainment   SR0000628753
 2398 Dave Matthews Band                     Lying in the Hands of God             Sony Music Entertainment   SR0000628753
 2399 Dave Matthews Band                     Seven                                 Sony Music Entertainment   SR0000628753
 2400 Dave Matthews Band                     Shake Me Like A Monkey                Sony Music Entertainment   SR0000628753
 2401 Dave Matthews Band                     Spaceman                              Sony Music Entertainment   SR0000628753
 2402 Dave Matthews Band                     Squirm                                Sony Music Entertainment   SR0000628753
 2403 Dave Matthews Band                     Time Bomb                             Sony Music Entertainment   SR0000628753
 2404 Dave Matthews Band                     Why I Am                              Sony Music Entertainment   SR0000628753
 2405 Dave Matthews Band                     You & Me                              Sony Music Entertainment   SR0000628753
 2406 Dixie Chicks                           Bitter End                            Sony Music Entertainment   SR0000391109
 2407 Dixie Chicks                           Cowboy Take Me Away                   Sony Music Entertainment   SR0000275086
 2408 Dixie Chicks                           Easy Silence                          Sony Music Entertainment   SR0000391109
 2409 Dixie Chicks                           Everybody Knows                       Sony Music Entertainment   SR0000391109
 2410 Dixie Chicks                           Give It Up Or Let Me Go               Sony Music Entertainment   SR0000252000
 2411 Dixie Chicks                           Goodbye Earl                          Sony Music Entertainment   SR0000275086
 2412 Dixie Chicks                           Heartbreak Town                       Sony Music Entertainment   SR0000275086
 2413 Dixie Chicks                           I Believe in Love                     Sony Music Entertainment   SR0000314722
 2414 Dixie Chicks                           I Can Love You Better                 Sony Music Entertainment   SR0000252000
 2415 Dixie Chicks                           Landslide                             Sony Music Entertainment   SR0000314722
 2416 Dixie Chicks                           Let Him Fly                           Sony Music Entertainment   SR0000275086
 2417 Dixie Chicks                           Lil' Jack Slade                       Sony Music Entertainment   SR0000314722
 2418 Dixie Chicks                           Lubbock or Leave It                   Sony Music Entertainment   SR0000391109
 2419 Dixie Chicks                           Lullaby                               Sony Music Entertainment   SR0000391109
 2420 Dixie Chicks                           Not Ready To Make Nice                Sony Music Entertainment   SR0000697321
 2421 Dixie Chicks                           Ready To Run                          Sony Music Entertainment   SR0000309667
 2422 Dixie Chicks                           Silent House                          Sony Music Entertainment   SR0000391109
 2423 Dixie Chicks                           Sin Wagon                             Sony Music Entertainment   SR0000275086
 2424 Dixie Chicks                           Some Days You Gotta Dance             Sony Music Entertainment   SR0000275086
 2425 Dixie Chicks                           The Long Way Around                   Sony Music Entertainment   SR0000391109
 2426 Dixie Chicks                           There's Your Trouble                  Sony Music Entertainment   SR0000252000
 2427 Dixie Chicks                           Tonight the Heartache's on Me         Sony Music Entertainment   SR0000252000
 2428 Dixie Chicks                           Top of the World                      Sony Music Entertainment   SR0000314722
 2429 Dixie Chicks                           Travelin' Soldier                     Sony Music Entertainment   SR0000314722
 2430 Dixie Chicks                           Truth No. 2                           Sony Music Entertainment   SR0000314722
 2431 Dixie Chicks                           White Trash Wedding                   Sony Music Entertainment   SR0000314722
 2432 Dixie Chicks                           Wide Open Spaces                      Sony Music Entertainment   SR0000252000
 2433 Dixie Chicks                           Without You                           Sony Music Entertainment   SR0000275086
 2434 Dixie Chicks                           You Were Mine                         Sony Music Entertainment   SR0000252000
 2435 Eddie Money                            Baby Hold On                          Sony Music Entertainment   RE0000923174
 2436 Eddie Money                            I Wanna Go Back                       Sony Music Entertainment   SR0000071987
 2437 Eddie Money                            Looking Through The Eyes Of A Child   Sony Music Entertainment   SR0000109485
 2438 Eddie Money                            No Control                            Sony Music Entertainment   SR0000038050
 2439 Eddie Money                            Peace in Our Time                     Sony Music Entertainment   SR0000109485
 2440 Eddie Money                            Shakin'                               Sony Music Entertainment   SR0000038050
 2441 Eddie Money                            Stop Steppin' On My Heart             Sony Music Entertainment   SR0000109485
 2442 Eddie Money                            Think I'm In Love                     Sony Music Entertainment   SR0000038226
 2443 Eddie Money                            Two Tickets To Paradise               Sony Music Entertainment   RE0000923174
 2444 Eddie Money                            We Should Be Sleeping                 Sony Music Entertainment   SR0000071987
 2445 Eddie Money                            Where's The Party?                    Sony Music Entertainment   SR0000050822
 2446 Electric Light Orchestra               Across the Border                     Sony Music Entertainment   N46612
 2447 Electric Light Orchestra               Do Ya                                 Sony Music Entertainment   N36991
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 2448 Electric Light Orchestra        Evil Woman                          Sony Music Entertainment   N27257
 2449 Electric Light Orchestra        Four Little Diamonds                Sony Music Entertainment   SR0000046784
 2450 Electric Light Orchestra        Getting to the Point                Sony Music Entertainment   SR0000070477
 2451 Electric Light Orchestra        Here Is the News                    Sony Music Entertainment   SR0000030537
 2452 Electric Light Orchestra        Illusions In G Major                Sony Music Entertainment   N19100
 2453 Electric Light Orchestra        Livin' Thing (Audio)                Sony Music Entertainment   N36991
 2454 Electric Light Orchestra        Ma Ma Ma Belle                      Sony Music Entertainment   N11365
 2455 Electric Light Orchestra        Mr Blue Sky                         Sony Music Entertainment   N46612
 2456 Electric Light Orchestra        Nightrider                          Sony Music Entertainment   N27257
 2457 Electric Light Orchestra        Rockaria!                           Sony Music Entertainment   N36991
 2458 Electric Light Orchestra        Secret Messages                     Sony Music Entertainment   SR0000046784
 2459 Electric Light Orchestra        Shine a Little Love                 Sony Music Entertainment   SR0000009161
 2460 Electric Light Orchestra        Showdown                            Sony Music Entertainment   N11365
 2461 Electric Light Orchestra        So Serious                          Sony Music Entertainment   SR0000070477
 2462 Electric Light Orchestra        Strange Magic                       Sony Music Entertainment   N27257
 2463 Electric Light Orchestra        Sweet Talkin' Woman                 Sony Music Entertainment   N46612
 2464 Electric Light Orchestra        Telephone Line                      Sony Music Entertainment   N36991
 2465 Electric Light Orchestra        The Way Life's Meant To Be          Sony Music Entertainment   SR0000030537
 2466 Electric Light Orchestra        TICKET TO THE MOON                  Sony Music Entertainment   SR0000030537
 2467 Electric Light Orchestra        Turn To Stone                       Sony Music Entertainment   N46612
 2468 Electric Light Orchestra        Twilight                            Sony Music Entertainment   SR0000030537
 2469 Electric Light Orchestra        Wild West Hero                      Sony Music Entertainment   N46612
 2470 Elle Varner                     Damn Good Friends                   Sony Music Entertainment   SR0000721189
 2471 Elle Varner                     Leaf                                Sony Music Entertainment   SR0000721189
 2472 Elle Varner                     Not Tonight                         Sony Music Entertainment   SR0000721189
 2473 Elle Varner                     Oh What A Night                     Sony Music Entertainment   SR0000721189
 2474 Elle Varner                     Refill                              Sony Music Entertainment   SR0000721190
 2475 Elle Varner                     So Fly                              Sony Music Entertainment   SR0000721187
 2476 Elle Varner                     Sound Proof Room                    Sony Music Entertainment   SR0000721189
 2477 Elle Varner                     Stop The Clock                      Sony Music Entertainment   SR0000721189
 2478 Elle Varner                     Welcome Home                        Sony Music Entertainment   SR0000721189
 2479 Elle Varner Featuring J. Cole   Only Wanna Give It To You           Sony Music Entertainment   SR0000721192
 2480 Emblem3                         3000 Miles                          Sony Music Entertainment   SR0000726978
 2481 Emblem3                         Chloe (You're The One I Want)       Sony Music Entertainment   SR0000726979
 2482 Emblem3                         Do It All Again                     Sony Music Entertainment   SR0000726978
 2483 Emblem3                         Girl Next Door                      Sony Music Entertainment   SR0000726978
 2484 Emblem3                         I Love LA                           Sony Music Entertainment   SR0000726978
 2485 Emblem3                         I Wish                              Sony Music Entertainment   SR0000726978
 2486 Emblem3                         Jaiden                              Sony Music Entertainment   SR0000726978
 2487 Emblem3                         Just For One Day                    Sony Music Entertainment   SR0000726978
 2488 Emblem3                         Nothing To Lose                     Sony Music Entertainment   SR0000726978
 2489 Emblem3                         One Day                             Sony Music Entertainment   SR0000726978
 2490 Emblem3                         Reason                              Sony Music Entertainment   SR0000726978
 2491 Emblem3                         Spaghetti                           Sony Music Entertainment   SR0000726978
 2492 Emblem3                         Sunset Blvd                         Sony Music Entertainment   SR0000726978
 2493 Emblem3                         Teenage Kings                       Sony Music Entertainment   SR0000726978
 2494 Emblem3                         XO                                  Sony Music Entertainment   SR0000726978
 2495 Europe                          Carrie                              Sony Music Entertainment   SR0000076395
 2496 Europe                          Cherokee                            Sony Music Entertainment   SR0000076395
 2497 Europe                          Danger On the Track                 Sony Music Entertainment   SR0000076395
 2498 Europe                          Heart Of Stone                      Sony Music Entertainment   SR0000076395
 2499 Europe                          Love Chaser                         Sony Music Entertainment   SR0000076395
 2500 Europe                          Ninja                               Sony Music Entertainment   SR0000076395
 2501 Europe                          On The Loose                        Sony Music Entertainment   SR0000076395
 2502 Europe                          Rock the Night                      Sony Music Entertainment   SR0000076395
 2503 Europe                          The Final Countdown                 Sony Music Entertainment   SR0000076395
 2504 Europe                          Time Has Come                       Sony Music Entertainment   SR0000076395
 2505 Fabulous Thunderbirds           Amnesia                             Sony Music Entertainment   SR0000076616
 2506 Fabulous Thunderbirds           Down At Antwones                    Sony Music Entertainment   SR0000076616
 2507 Fabulous Thunderbirds           I Don't Care                        Sony Music Entertainment   SR0000076616
 2508 Fabulous Thunderbirds           Tell Me                             Sony Music Entertainment   SR0000076616
 2509 Fabulous Thunderbirds           True Love                           Sony Music Entertainment   SR0000076616
 2510 Fabulous Thunderbirds           Tuff Enuff                          Sony Music Entertainment   SR0000076616
 2511 Foo Fighters                    Ain't It The Life                   Sony Music Entertainment   SR0000285034
 2512 Foo Fighters                    All My Life (Edit)                  Sony Music Entertainment   SR0000325862
 2513 Foo Fighters                    Another Round                       Sony Music Entertainment   SR0000377762
 2514 Foo Fighters                    Aurora                              Sony Music Entertainment   SR0000285034
 2515 Foo Fighters                    Ballad Of The Beaconsfield Miners   Sony Music Entertainment   SR0000617325
 2516 Foo Fighters                    Best Of You                         Sony Music Entertainment   SR0000734391
 2517 Foo Fighters                    Breakout                            Sony Music Entertainment   SR0000285034
 2518 Foo Fighters                    But, Honestly                       Sony Music Entertainment   SR0000617325
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 2519 Foo Fighters                  Cheer Up, Boys (Your Make Up Is Running)   Sony Music Entertainment   SR0000617325
 2520 Foo Fighters                  Cold Day In The Sun                        Sony Music Entertainment   SR0000377762
 2521 Foo Fighters                  Come Alive                                 Sony Music Entertainment   SR0000617325
 2522 Foo Fighters                  Danny Says                                 Sony Music Entertainment   SR0000325862
 2523 Foo Fighters                  DOA                                        Sony Music Entertainment   SR0000377762
 2524 Foo Fighters                  Doll                                       Sony Music Entertainment   SR0000297253
 2525 Foo Fighters                  End Over End                               Sony Music Entertainment   SR0000377762
 2526 Foo Fighters                  Enough Space                               Sony Music Entertainment   SR0000297253
 2527 Foo Fighters                  Erase/Replace                              Sony Music Entertainment   SR0000617325
 2528 Foo Fighters                  Everlong                                   Sony Music Entertainment   SR0000297253
 2529 Foo Fighters                  February Stars                             Sony Music Entertainment   SR0000297253
 2530 Foo Fighters                  Free Me                                    Sony Music Entertainment   SR0000377762
 2531 Foo Fighters                  Friend Of A Friend                         Sony Music Entertainment   SR0000377762
 2532 Foo Fighters                  Generator                                  Sony Music Entertainment   SR0000285034
 2533 Foo Fighters                  Gimme Stitches                             Sony Music Entertainment   SR0000285034
 2534 Foo Fighters                  Headwires                                  Sony Music Entertainment   SR0000285034
 2535 Foo Fighters                  Hell                                       Sony Music Entertainment   SR0000377762
 2536 Foo Fighters                  Hey, Johnny Park!                          Sony Music Entertainment   SR0000297253
 2537 Foo Fighters                  Home                                       Sony Music Entertainment   SR0000617325
 2538 Foo Fighters                  In Your Honor                              Sony Music Entertainment   SR0000377762
 2539 Foo Fighters                  Learn To Fly                               Sony Music Entertainment   SR0000285034
 2540 Foo Fighters                  Let It Die                                 Sony Music Entertainment   SR0000617325
 2541 Foo Fighters                  Live-In Skin                               Sony Music Entertainment   SR0000285034
 2542 Foo Fighters                  Long Road To Ruin                          Sony Music Entertainment   SR0000617325
 2543 Foo Fighters                  M.I.A.                                     Sony Music Entertainment   SR0000285034
 2544 Foo Fighters                  Marigold                                   Sony Music Entertainment   SR0000396409
 2545 Foo Fighters                  Miracle                                    Sony Music Entertainment   SR0000377762
 2546 Foo Fighters                  Monkey Wrench                              Sony Music Entertainment   SR0000297253
 2547 Foo Fighters                  My Hero                                    Sony Music Entertainment   SR0000297253
 2548 Foo Fighters                  My Hero (Live)                             Sony Music Entertainment   SR0000396409
 2549 Foo Fighters                  My Poor Brain                              Sony Music Entertainment   SR0000297253
 2550 Foo Fighters                  New Way Home                               Sony Music Entertainment   SR0000297253
 2551 Foo Fighters                  Next Year                                  Sony Music Entertainment   SR0000285034
 2552 Foo Fighters                  No Way Back                                Sony Music Entertainment   SR0000377762
 2553 Foo Fighters                  On The Mend                                Sony Music Entertainment   SR0000377762
 2554 Foo Fighters                  Once & For All (Demo)                      Sony Music Entertainment   SR0000617325
 2555 Foo Fighters                  Over And Out                               Sony Music Entertainment   SR0000377762
 2556 Foo Fighters                  Razor                                      Sony Music Entertainment   SR0000396409
 2557 Foo Fighters                  Resolve                                    Sony Music Entertainment   SR0000377762
 2558 Foo Fighters                  See You                                    Sony Music Entertainment   SR0000297253
 2559 Foo Fighters                  Skin And Bones                             Sony Music Entertainment   SR0000396409
 2560 Foo Fighters                  Stacked Actors                             Sony Music Entertainment   SR0000285034
 2561 Foo Fighters                  Statues                                    Sony Music Entertainment   SR0000617325
 2562 Foo Fighters                  Still                                      Sony Music Entertainment   SR0000377762
 2563 Foo Fighters                  Stranger Things Have Happened              Sony Music Entertainment   SR0000617325
 2564 Foo Fighters                  Summer's End                               Sony Music Entertainment   SR0000617325
 2565 Foo Fighters                  The Deepest Blues Are Black                Sony Music Entertainment   SR0000377762
 2566 Foo Fighters                  The Last Song                              Sony Music Entertainment   SR0000377762
 2567 Foo Fighters                  The Pretender                              Sony Music Entertainment   SR0000748786
 2568 Foo Fighters                  Up In Arms                                 Sony Music Entertainment   SR0000297253
 2569 Foo Fighters                  Virginia Moon                              Sony Music Entertainment   SR0000377762
 2570 Foo Fighters                  Walking After You                          Sony Music Entertainment   SR0000297253
 2571 Foo Fighters                  What If I Do?                              Sony Music Entertainment   SR0000377762
 2572 Foo Fighters                  Wheels                                     Sony Music Entertainment   SR0000636262
 2573 Foo Fighters                  Wind Up                                    Sony Music Entertainment   SR0000297253
 2574 Foo Fighters                  Word Forward                               Sony Music Entertainment   SR0000636262
 2575 Foster The People             Houdini                                    Sony Music Entertainment   SR0000752475
 2576 Foster The People             Warrant                                    Sony Music Entertainment   SR0000752474
 2577 Fozzy                         A Passed Life                              Sony Music Entertainment   SR0000726755
 2578 Fozzy                         Blood Happens                              Sony Music Entertainment   SR0000726755
 2579 Fozzy                         Dark Passenger                             Sony Music Entertainment   SR0000726755
 2580 Fozzy                         Inside My Head                             Sony Music Entertainment   SR0000726755
 2581 Fozzy                         Sandpaper                                  Sony Music Entertainment   SR0000726755
 2582 Fozzy                         She's My Addiction                         Sony Music Entertainment   SR0000726755
 2583 Fozzy                         Shine Forever                              Sony Music Entertainment   SR0000726755
 2584 Fozzy                         Sin and Bones                              Sony Music Entertainment   SR0000726755
 2585 Fozzy                         Spider in My Mouth                         Sony Music Entertainment   SR0000726755
 2586 Fozzy                         Storm the Beaches                          Sony Music Entertainment   SR0000726755
 2587 Frank Sinatra & Celine Dion   All The Way                                Sony Music Entertainment   SR0000311601
 2588 Fuel                          Again                                      Sony Music Entertainment   SR0000616497
 2589 Fuel                          Angels Take a Soul                         Sony Music Entertainment   SR0000616497
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 2590 Fuel                                        Bad Day                     Sony Music Entertainment   SR0000269920
 2591 Fuel                                        Days With You               Sony Music Entertainment   SR0000342237
 2592 Fuel                                        Die Like This               Sony Music Entertainment   SR0000342237
 2593 Fuel                                        Down                        Sony Music Entertainment   SR0000269920
 2594 Fuel                                        Down Inside Of You          Sony Music Entertainment   SR0000342237
 2595 Fuel                                        Easy                        Sony Music Entertainment   SR0000269920
 2596 Fuel                                        Empty Spaces                Sony Music Entertainment   SR0000269920
 2597 Fuel                                        Falls On Me                 Sony Music Entertainment   PA0001234071
 2598 Fuel                                        Forever                     Sony Music Entertainment   SR0000616497
 2599 Fuel                                        Getting Thru?               Sony Music Entertainment   SR0000342237
 2600 Fuel                                        Gone                        Sony Music Entertainment   SR0000616497
 2601 Fuel                                        Halos of the Son            Sony Music Entertainment   SR0000616497
 2602 Fuel                                        Hangin Round                Sony Music Entertainment   SR0000616497
 2603 Fuel                                        I Should Have Told You      Sony Music Entertainment   SR0000616497
 2604 Fuel                                        Innocent                    Sony Music Entertainment   SR0000269920
 2605 Fuel                                        Jesus Or A Gun              Sony Music Entertainment   PA0000939885
 2606 Fuel                                        Knives                      Sony Music Entertainment   SR0000269920
 2607 Fuel                                        Last Time                   Sony Music Entertainment   SR0000269920
 2608 Fuel                                        Leave the Memories Alone    Sony Music Entertainment   SR0000616497
 2609 Fuel                                        Luck                        Sony Music Entertainment   SR0000342237
 2610 Fuel                                        Million Miles               Sony Music Entertainment   SR0000342237
 2611 Fuel                                        Most Of All                 Sony Music Entertainment   SR0000342237
 2612 Fuel                                        Not This Time               Sony Music Entertainment   SR0000616497
 2613 Fuel                                        Prove                       Sony Music Entertainment   SR0000269920
 2614 Fuel                                        Quarter                     Sony Music Entertainment   SR0000342237
 2615 Fuel                                        Running Away                Sony Music Entertainment   SR0000342237
 2616 Fuel                                        Scar                        Sony Music Entertainment   SR0000269920
 2617 Fuel                                        Scars in the Making         Sony Music Entertainment   SR0000616497
 2618 Fuel                                        Shimmer                     Sony Music Entertainment   SR0000253431
 2619 Fuel                                        Slow                        Sony Music Entertainment   SR0000269920
 2620 Fuel                                        Solace                      Sony Music Entertainment   SR0000269920
 2621 Fuel                                        Sunburn                     Sony Music Entertainment   SR0000253431
 2622 Fuel                                        These Things                Sony Music Entertainment   SR0000342237
 2623 Fuel                                        Wasted Time                 Sony Music Entertainment   SR0000616497
 2624 Fuel 238                                    Hideaway                    Sony Music Entertainment   SR0000253431
 2625 Fuel 238                                    Mary Pretends               Sony Music Entertainment   SR0000253431
 2626 Fuel 238                                    New Thing                   Sony Music Entertainment   SR0000253431
 2627 Fuel 238                                    Ozone                       Sony Music Entertainment   SR0000253431
 2628 Fuel 238                                    Song For You                Sony Music Entertainment   SR0000253431
 2629 Fuel 238                                    Untitled**                  Sony Music Entertainment   SR0000253431
 2630 Fugees                                      Manifest/Outro              Sony Music Entertainment   SR0000222005
 2631 Fugees                                      Mista Mista (Explicit)      Sony Music Entertainment   SR0000222005
 2632 Fugees                                      No Woman No Cry             Sony Music Entertainment   SR0000222005
 2633 Fugees                                      Red Intro                   Sony Music Entertainment   SR0000222005
 2634 Fugees                                      The Score (Explicit)        Sony Music Entertainment   SR0000222005
 2635 Fugees                                      Zealots (Explicit)          Sony Music Entertainment   SR0000222005
 2636 Future                                      Astronaut Chick             Sony Music Entertainment   SR0000701457
 2637 Future                                      Neva End                    Sony Music Entertainment   SR0000701457
 2638 Future                                      Permanent Scar              Sony Music Entertainment   SR0000701457
 2639 Future                                      Permanent Scar (Explicit)   Sony Music Entertainment   SR0000701457
 2640 Future                                      Same Damn Time              Sony Music Entertainment   SR0000701457
 2641 Future                                      Straight Up                 Sony Music Entertainment   SR0000701457
 2642 Future                                      Tony Montana                Sony Music Entertainment   SR0000701457
 2643 Future                                      Tony Montana (Explicit)     Sony Music Entertainment   SR0000701457
 2644 Future                                      Truth Gonna Hurt You        Sony Music Entertainment   SR0000701457
 2645 Future                                      Turn On The Lights          Sony Music Entertainment   SR0000701457
 2646 Future                                      You Deserve It              Sony Music Entertainment   SR0000701457
 2647 Future                                      You Deserve It (Explicit)   Sony Music Entertainment   SR0000701457

 2648 Future feat. Pharrell, Pusha T and Casino Move That Doh                 Sony Music Entertainment   SR0000762576

 2649 Future feat. Pharrell, Pusha T and Casino   Move That Dope (Explicit)   Sony Music Entertainment   SR0000762576
 2650 Future featuring Big Rube                   The Future Is Now           Sony Music Entertainment   SR0000701457
 2651 Future featuring Juicy J                    I'm Trippin                 Sony Music Entertainment   SR0000701457
 2652 Future featuring R. Kelly                   Parachute                   Sony Music Entertainment   SR0000701457
 2653 Future featuring Snoop Dogg                 Homicide                    Sony Music Entertainment   SR0000701457
 2654 Future featuring T.I.                       Magic                       Sony Music Entertainment   SR0000701457
 2655 Future featuring Trae The Truth             Long Live The Pimp          Sony Music Entertainment   SR0000701457
 2656 Gavin DeGraw                                Candy                       Sony Music Entertainment   SR0000412465
 2657 Gavin DeGraw                                Radiation                   Sony Music Entertainment   SR0000412465
 2658 Gavin DeGraw                                Run Every Time              Sony Music Entertainment   SR0000412465
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 2659 Gavin DeGraw                   Spell It Out                                    Sony Music Entertainment   SR0000412465
 2660 Gavin DeGraw                   Stealing                                        Sony Music Entertainment   SR0000412465
 2661 Gavin DeGraw                   Sweeter                                         Sony Music Entertainment   SR0000412465
 2662 Gavin DeGraw                   Where You Are                                   Sony Music Entertainment   SR0000412465
 2663 Gavin DeGraw                   You Know Where I'm At                           Sony Music Entertainment   SR0000412465
 2664 George Jones                   He Stopped Loving Her Today                     Sony Music Entertainment   SR0000018496
 2665 George Jones                   I Always Get Lucky With You                     Sony Music Entertainment   SR0000045294
 2666 George Jones                   I'm A One Woman Man                             Sony Music Entertainment   SR0000101829
 2667 George Jones                   I've Aged Twenty Years In Five                  Sony Music Entertainment   SR0000021788
 2668 George Jones                   If Drinkin' Don't Kill Me (Her Memory Will)     Sony Music Entertainment   SR0000021788
 2669 George Jones                   Someday My Day Will Come                        Sony Music Entertainment   SR0000010280
 2670 George Jones                   Still Doin' Time                                Sony Music Entertainment   SR0000030506
 2671 George Jones                   Tennessee Whiskey                               Sony Music Entertainment   SR0000045294
 2672 George Jones                   The One I Loved Back Then (The Corvette Song)   Sony Music Entertainment   SR0000067238
 2673 George Jones                   The Right Left Hand                             Sony Music Entertainment   SR0000078097
 2674 George Jones                   Who's Gonna Fill Their Shoes                    Sony Music Entertainment   PA0000262395
 2675 George Jones                   You've Still Got a Place In My Heart            Sony Music Entertainment   SR0000055734
 2676 George Jones & Tammy Wynette   Near You                                        Sony Music Entertainment   RE0000905501
 2677 Gloria Estefan                 123                                             Sony Music Entertainment   SR0000083468
 2678 Gloria Estefan                 Anything For You                                Sony Music Entertainment   SR0000083468
 2679 Gloria Estefan                 Can't Stay Away From You                        Sony Music Entertainment   SR0000083468
 2680 Gloria Estefan                 Coming Out of the Dark                          Sony Music Entertainment   SR0000208812
 2681 Gloria Estefan                 Don't Let This Moment End                       Sony Music Entertainment   SR0000246529
 2682 Gloria Estefan                 Don't Wanna Lose You                            Sony Music Entertainment   SR0000107742
 2683 Gloria Estefan                 Get On Your Feet                                Sony Music Entertainment   SR0000107742
 2684 Gloria Estefan                 Hold Me, Thrill Me, Kiss Me                     Sony Music Entertainment   SR0000201780
 2685 Gloria Estefan                 Oye Mi Canto (Hear My Voice)                    Sony Music Entertainment   SR0000107742
 2686 Gloria Estefan                 Turn The Beat Around                            Sony Music Entertainment   SR0000201780
 2687 Gloria Estefan                 You'll Be Mine (Party Time)                     Sony Music Entertainment   SR0000224314
 2688 Gretchen Wilson                All Jacked Up                                   Sony Music Entertainment   PA0001259117
 2689 Gretchen Wilson                California Girls                                Sony Music Entertainment   SR0000388036
 2690 Gretchen Wilson                Chariot                                         Sony Music Entertainment   PA0001245662
 2691 Gretchen Wilson                Here For The Party                              Sony Music Entertainment   PA0001245662
 2692 Gretchen Wilson                Holdin' You                                     Sony Music Entertainment   PA0001245662
 2693 Gretchen Wilson                Homewrecker                                     Sony Music Entertainment   PA0001245662
 2694 Gretchen Wilson                I Don't Feel Like Loving You Today              Sony Music Entertainment   SR0000388036
 2695 Gretchen Wilson                One Of The Boys                                 Sony Music Entertainment   SR0000609494
 2696 Gretchen Wilson                Pocahontas Proud                                Sony Music Entertainment   PA0001245662
 2697 Gretchen Wilson                Politically Uncorrect                           Sony Music Entertainment   SR0000388036
 2698 Gretchen Wilson                Redneck Woman                                   Sony Music Entertainment   PA0001233077
 2699 Gretchen Wilson                The Bed                                         Sony Music Entertainment   PA0001245662
 2700 Gretchen Wilson                What Happened                                   Sony Music Entertainment   PA0001245662
 2701 Gretchen Wilson                When I Think About Cheatin'                     Sony Music Entertainment   PA0001245662
 2702 Gretchen Wilson                When It Rains                                   Sony Music Entertainment   PA0001245662
 2703 Heatwave                       Ain't No Half Steppin'                          Sony Music Entertainment   SR0000004075
 2704 Heatwave                       All You Do Is Dial                              Sony Music Entertainment   SR0000000875
 2705 Heatwave                       Always And Forever                              Sony Music Entertainment   SR0000000875
 2706 Heatwave                       Boogie Nights                                   Sony Music Entertainment   SR0000000875
 2707 Heatwave                       Central Heating                                 Sony Music Entertainment   SR0000005108
 2708 Heatwave                       Eyeballin'                                      Sony Music Entertainment   SR0000008717
 2709 Heatwave                       Gangsters of the Groove                         Sony Music Entertainment   SR0000023077
 2710 Heatwave                       Happiness Togetherness                          Sony Music Entertainment   SR0000005108
 2711 Heatwave                       I'll Beat Your Booty                            Sony Music Entertainment   SR0000000875
 2712 Heatwave                       Lay It On Me                                    Sony Music Entertainment   SR0000000875
 2713 Heatwave                       Lettin' It Loose                                Sony Music Entertainment   SR0000041027
 2714 Heatwave                       Look After Love                                 Sony Music Entertainment   SR0000041402
 2715 Heatwave                       Mind Blowing Decisions                          Sony Music Entertainment   SR0000005108
 2716 Heatwave                       Sho'Nuff Must Be Luv                            Sony Music Entertainment   SR0000000875
 2717 Heatwave                       The Groove Line                                 Sony Music Entertainment   SR0000005108
 2718 Heatwave                       Too Hot To Handle                               Sony Music Entertainment   SR0000000875
 2719 Heatwave                       Where Did I Go Wrong                            Sony Music Entertainment   SR0000024332
 2720 Hey Monday                     Candles                                         Sony Music Entertainment   SR0000621326
 2721 Hollies                        The Air That I Breathe                          Sony Music Entertainment   N14686
 2722 Hot Chelle Rae                 Beautiful Freaks                                Sony Music Entertainment   SR0000412466
 2723 Hot Chelle Rae                 Downtown Girl                                   Sony Music Entertainment   SR0000412466
 2724 Hot Chelle Rae                 Forever Unstoppable                             Sony Music Entertainment   SR0000412466
 2725 Hot Chelle Rae                 Honestly                                        Sony Music Entertainment   SR0000412466
 2726 Hot Chelle Rae                 Keep You With Me                                Sony Music Entertainment   SR0000412466
 2727 Hot Chelle Rae                 The Only One                                    Sony Music Entertainment   SR0000412466
 2728 Hot Chelle Rae                 Tonight Tonight                                 Sony Music Entertainment   SR0000412466
 2729 Hot Chelle Rae                 Whatever                                        Sony Music Entertainment   SR0000412466
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 2730 Hot Chelle Rae Featuring Bei Maejor    Radio                                     Sony Music Entertainment   SR0000412466
 2731 Hot Chelle Rae Featuring Demi Lovato   Why Don't You Love Me                     Sony Music Entertainment   SR0000412466
 2732 Hurricane Chris                        A Bay Bay                                 Sony Music Entertainment   SR0000719410
 2733 In This Moment                         A Star-Crossed Wasteland                  Sony Music Entertainment   SR0000669909
 2734 In This Moment                         Adrenalize                                Sony Music Entertainment   SR0000703747
 2735 In This Moment                         Aries                                     Sony Music Entertainment   SR0000703747
 2736 In This Moment                         Beast Within                              Sony Music Entertainment   SR0000703747
 2737 In This Moment                         Blazin'                                   Sony Music Entertainment   SR0000669909
 2738 In This Moment                         Blood                                     Sony Music Entertainment   SR0000703747
 2739 In This Moment                         Burn                                      Sony Music Entertainment   SR0000703747
 2740 In This Moment                         Comanche                                  Sony Music Entertainment   SR0000703747
 2741 In This Moment                         From the Ashes                            Sony Music Entertainment   SR0000703747
 2742 In This Moment                         Gunshow                                   Sony Music Entertainment   SR0000669909
 2743 In This Moment                         Iron Army                                 Sony Music Entertainment   SR0000669909
 2744 In This Moment                         Just Drive                                Sony Music Entertainment   SR0000669909
 2745 In This Moment                         Rise With Me                              Sony Music Entertainment   SR0000703747
 2746 In This Moment                         Scarlet                                   Sony Music Entertainment   SR0000703747
 2747 In This Moment                         Standing Alone                            Sony Music Entertainment   SR0000669909
 2748 In This Moment                         The Blood Legion                          Sony Music Entertainment   SR0000703747
 2749 In This Moment                         The Last Cowboy                           Sony Music Entertainment   SR0000669909
 2750 In This Moment                         The Promise                               Sony Music Entertainment   SR0000669909
 2751 In This Moment                         The Road                                  Sony Music Entertainment   SR0000669909
 2752 In This Moment                         Whore                                     Sony Music Entertainment   SR0000703747
 2753 In This Moment                         World In Flames                           Sony Music Entertainment   SR0000669909
 2754 In This Moment                         You're Gonna' Listen                      Sony Music Entertainment   SR0000703747
 2755 Incubus                                A Kiss to Send Us Off                     Sony Music Entertainment   SR0000403204
 2756 Incubus                                Anna Molly                                Sony Music Entertainment   SR0000742203
 2757 Incubus                                Aqueous Transmission                      Sony Music Entertainment   SR0000306181
 2758 Incubus                                Are You In?                               Sony Music Entertainment   SR0000306181
 2759 Incubus                                Battlestar Scralatchtica                  Sony Music Entertainment   SR0000278818
 2760 Incubus                                Blood on the Ground                       Sony Music Entertainment   SR0000306181
 2761 Incubus                                Circles                                   Sony Music Entertainment   SR0000306181
 2762 Incubus                                Clean                                     Sony Music Entertainment   SR0000278818
 2763 Incubus                                Consequence                               Sony Music Entertainment   SR0000278818
 2764 Incubus                                Diamonds and Coal                         Sony Music Entertainment   SR0000403204
 2765 Incubus                                Dig                                       Sony Music Entertainment   SR0000403204
 2766 Incubus                                Drive                                     Sony Music Entertainment   SR0000278818
 2767 Incubus                                Earth To Bella (Part I)                   Sony Music Entertainment   SR0000403204
 2768 Incubus                                Earth To Bella (Part II)                  Sony Music Entertainment   SR0000403204
 2769 Incubus                                Echo                                      Sony Music Entertainment   SR0000306181
 2770 Incubus                                Have You Ever                             Sony Music Entertainment   SR0000306181
 2771 Incubus                                I Miss You                                Sony Music Entertainment   SR0000278818
 2772 Incubus                                Just a Phase                              Sony Music Entertainment   SR0000306181
 2773 Incubus                                Light Grenades                            Sony Music Entertainment   SR0000403204
 2774 Incubus                                Love Hurts                                Sony Music Entertainment   SR0000403204
 2775 Incubus                                Magic Medicine                            Sony Music Entertainment   SR0000249690
 2776 Incubus                                Make Yourself                             Sony Music Entertainment   SR0000278818
 2777 Incubus                                Mexico                                    Sony Music Entertainment   SR0000306181
 2778 Incubus                                Nice To Know You                          Sony Music Entertainment   SR0000306181
 2779 Incubus                                Nowhere Fast                              Sony Music Entertainment   SR0000278818
 2780 Incubus                                Oil And Water                             Sony Music Entertainment   SR0000403204
 2781 Incubus                                Out from Under                            Sony Music Entertainment   SR0000278818
 2782 Incubus                                Paper Shoes                               Sony Music Entertainment   SR0000403204
 2783 Incubus                                Pendulous Threads                         Sony Music Entertainment   SR0000403204
 2784 Incubus                                Privilege                                 Sony Music Entertainment   SR0000278818
 2785 Incubus                                Quicksand                                 Sony Music Entertainment   SR0000403204
 2786 Incubus                                Rogues                                    Sony Music Entertainment   SR0000403204
 2787 Incubus                                Stellar                                   Sony Music Entertainment   SR0000278818
 2788 Incubus                                Summer Romance (Anti-Gravity Love Song)   Sony Music Entertainment   SR0000249690
 2789 Incubus                                The Warmth                                Sony Music Entertainment   SR0000278818
 2790 Incubus                                Under My Umbrella                         Sony Music Entertainment   SR0000306181
 2791 Incubus                                Warning                                   Sony Music Entertainment   SR0000306181
 2792 Incubus                                When It Comes                             Sony Music Entertainment   SR0000278818
 2793 Incubus                                Wish You Were Here                        Sony Music Entertainment   PA0001065849
 2794 Itzhak Perlman                         Theme from"Far and Away"                  Sony Music Entertainment   SR0000247495
 2795 Itzhak Perlman;John Williams           Schindler's List: Theme                   Sony Music Entertainment   SR0000247495
 2796 iwrestledabearonce                     Break It Down Camacho                     Sony Music Entertainment   SR0000697986
 2797 iwrestledabearonce                     Deodorant Can't Fix Ugly                  Sony Music Entertainment   SR0000697986
 2798 iwrestledabearonce                     Gold Jacket, Green Jacket                 Sony Music Entertainment   SR0000697986
 2799 iwrestledabearonce                     I'm Gonna Shoot                           Sony Music Entertainment   SR0000697986
 2800 iwrestledabearonce                     It Is "Bro" Isn't It?                     Sony Music Entertainment   SR0000697986
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 2801 iwrestledabearonce                        Karate Nipples                              Sony Music Entertainment   SR0000697986
 2802 iwrestledabearonce                        Next Visible Delicious                      Sony Music Entertainment   SR0000697986
 2803 iwrestledabearonce                        Stay to the Right                           Sony Music Entertainment   SR0000697986
 2804 iwrestledabearonce                        This Head Music Makes My Eyes Rain          Sony Music Entertainment   SR0000697986
 2805 iwrestledabearonce                        You Know That Ain't Them Dogs' Real Voice   Sony Music Entertainment   SR0000697986
 2806 J. Cole                                   Chaining Day                                Sony Music Entertainment   SR0000730319
 2807 J. Cole                                   Let Nas Down                                Sony Music Entertainment   SR0000730319
 2808 J. Cole                                   Mo Money (Interlude)                        Sony Music Entertainment   SR0000730319
 2809 J. Cole                                   Power Trip (Explicit)                       Sony Music Entertainment   SR0000730319
 2810 J. Cole                                   Rich Niggaz                                 Sony Music Entertainment   SR0000730319
 2811 J. Cole                                   Trouble                                     Sony Music Entertainment   SR0000730319
 2812 J. Cole                                   Where's Jermaine? (Skit)                    Sony Music Entertainment   SR0000730319
 2813 J. Cole feat. TLC                         Crooked Smile                               Sony Music Entertainment   SR0000730319
 2814 J. Cole feat. TLC                         Crooked Smile (Explicit)                    Sony Music Entertainment   SR0000730319
 2815 Jace Everett                              Bad Things                                  Sony Music Entertainment   SR0000385664
 2816 Jack White                                Blunderbuss                                 Sony Music Entertainment   SR0000699383
 2817 Jack White                                Freedom At 21                               Sony Music Entertainment   SR0000699383
 2818 Jack White                                Hip (Eponymous) Poor Boy                    Sony Music Entertainment   SR0000699383
 2819 Jack White                                Hypocritical Kiss                           Sony Music Entertainment   SR0000699383
 2820 Jack White                                I Guess I Should Go To Sleep                Sony Music Entertainment   SR0000699383
 2821 Jack White                                I'm Shakin'                                 Sony Music Entertainment   SR0000699383
 2822 Jack White                                Love Interruption                           Sony Music Entertainment   SR0000699383
 2823 Jack White                                Missing Pieces                              Sony Music Entertainment   SR0000699383
 2824 Jack White                                On And On And On                            Sony Music Entertainment   SR0000699383
 2825 Jack White                                Sixteen Saltines                            Sony Music Entertainment   SR0000699383
 2826 Jack White                                Trash Tongue Talker                         Sony Music Entertainment   SR0000699383
 2827 Jack White                                Weep Themselves To Sleep                    Sony Music Entertainment   SR0000699383
 2828 Jake Owen                                 Alone With You                              Sony Music Entertainment   SR0000697851
 2829 Jake Owen                                 Anywhere With You                           Sony Music Entertainment   SR0000697851
 2830 Jake Owen                                 Apple Pie Moonshine                         Sony Music Entertainment   SR0000697851
 2831 Jake Owen                                 Barefoot Blue Jean Night                    Sony Music Entertainment   SR0000697851
 2832 Jake Owen                                 Heaven                                      Sony Music Entertainment   SR0000697851
 2833 Jake Owen                                 Keepin' It Country                          Sony Music Entertainment   SR0000697851
 2834 Jake Owen                                 Nobody Feelin' No Pain                      Sony Music Entertainment   SR0000697851
 2835 Jake Owen                                 Settin' The World On Fire                   Sony Music Entertainment   SR0000697851
 2836 Jake Owen                                 The Journey Of Your Life                    Sony Music Entertainment   SR0000697851
 2837 Jake Owen                                 The One That Got Away                       Sony Music Entertainment   SR0000697851
 2838 Jake Owen                                 Wide Awake                                  Sony Music Entertainment   SR0000697851
 2839 James Taylor                              (I've Got To) Stop Thinkin' 'Bout That      Sony Music Entertainment   SR0000135070
 2840 James Taylor                              Another Day                                 Sony Music Entertainment   SR0000250547
 2841 James Taylor                              Bartender's Blues                           Sony Music Entertainment   SR0000000157
 2842 James Taylor                              Copperline                                  Sony Music Entertainment   SR0000135070
 2843 James Taylor                              Enough To Be On Your Way                    Sony Music Entertainment   SR0000250547
 2844 James Taylor                              Her Town Too                                Sony Music Entertainment   SR0000026497
 2845 James Taylor                              Little More Time with You                   Sony Music Entertainment   SR0000250547
 2846 James Taylor                              Only A Dream In Rio                         Sony Music Entertainment   SR0000068536
 2847 James Taylor                              Secret O' Life                              Sony Music Entertainment   RE0000923126
 2848 James Taylor                              Shed a Little Light                         Sony Music Entertainment   SR0000135070
 2849 James Taylor                              Song For You Far Away                       Sony Music Entertainment   SR0000068536
 2850 James Taylor                              Up On The Roof                              Sony Music Entertainment   SR0000009172
 2851 James Taylor                              Your Smiling Face                           Sony Music Entertainment   RE0000923126
 2852 Jamie Foxx feat. Drake                    Fall For Your Type (Explicit)               Sony Music Entertainment   SR0000671348
 2853 Jamiroquai                                Virtual Insanity                            Sony Music Entertainment   SR0000299909
 2854 Jennifer Hudson                           Angel                                       Sony Music Entertainment   SR0000674220
 2855 Jennifer Hudson                           Believe                                     Sony Music Entertainment   SR0000674220
 2856 Jennifer Hudson                           Don't Look Down                             Sony Music Entertainment   SR0000674220
 2857 Jennifer Hudson                           Everybody Needs Love                        Sony Music Entertainment   SR0000674220
 2858 Jennifer Hudson                           Gone                                        Sony Music Entertainment   SR0000674220
 2859 Jennifer Hudson                           I Got This                                  Sony Music Entertainment   SR0000674220
 2860 Jennifer Hudson                           I Remember Me                               Sony Music Entertainment   SR0000674220
 2861 Jennifer Hudson                           No One Gonna Love You                       Sony Music Entertainment   SR0000674220
 2862 Jennifer Hudson                           Still Here                                  Sony Music Entertainment   SR0000674220
 2863 Jennifer Hudson                           The Star-Spangled Banner                    Sony Music Entertainment   SR0000674220
 2864 Jennifer Hudson                           What You Think                              Sony Music Entertainment   SR0000674220
 2865 Jennifer Hudson                           Where You At                                Sony Music Entertainment   SR0000674220
 2866 Jennifer Hudson                           Why Is It So Hard                           Sony Music Entertainment   SR0000674220
 2867 Jennifer Hudson & Ne-Yo feat. Rick Ross   Think Like A Man                            Sony Music Entertainment   SR0000712017
 2868 Jennifer Lopez                            No Me Ames                                  Sony Music Entertainment   SR0000267571
 2869 Jerrod Niemann                            Drink to That All Night                     Sony Music Entertainment   SR0000738148
 2870 John Denver with Placido Domingo          Perhaps Love                                Sony Music Entertainment   SR0000032536
 2871 John Legend                               Aim High                                    Sony Music Entertainment   SR0000732352
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 2872 John Legend                        All Of Me                                         Sony Music Entertainment   SR0000732356
 2873 John Legend                        Asylum                                            Sony Music Entertainment   SR0000732352
 2874 John Legend                        Caught Up                                         Sony Music Entertainment   SR0000732352
 2875 John Legend                        Cross The Line                                    Sony Music Entertainment   SR0000619653
 2876 John Legend                        Dreams                                            Sony Music Entertainment   SR0000732352
 2877 John Legend                        Everybody Knows                                   Sony Music Entertainment   SR0000619653
 2878 John Legend                        For The First Time                                Sony Music Entertainment   SR0000732352
 2879 John Legend                        Good Morning                                      Sony Music Entertainment   SR0000742202
 2880 John Legend                        Hold On Longer                                    Sony Music Entertainment   SR0000732352
 2881 John Legend                        I Love, You Love                                  Sony Music Entertainment   SR0000619653
 2882 John Legend                        If You're Out There                               Sony Music Entertainment   SR0000619653
 2883 John Legend                        Love In The Future (Intro)                        Sony Music Entertainment   SR0000732352
 2884 John Legend                        Made To Love                                      Sony Music Entertainment   SR0000732354
 2885 John Legend                        Open Your Eyes                                    Sony Music Entertainment   SR0000732352
 2886 John Legend                        Quickly                                           Sony Music Entertainment   SR0000619653
 2887 John Legend                        Satisfaction                                      Sony Music Entertainment   SR0000619653
 2888 John Legend                        Save The Night                                    Sony Music Entertainment   SR0000732352
 2889 John Legend                        So Gone                                           Sony Music Entertainment   SR0000732352
 2890 John Legend                        Take Me Away                                      Sony Music Entertainment   SR0000619653
 2891 John Legend                        The Beginning...                                  Sony Music Entertainment   SR0000732357
 2892 John Legend                        This Time                                         Sony Music Entertainment   SR0000619653
 2893 John Legend                        Tomorrow                                          Sony Music Entertainment   SR0000732352
 2894 John Legend                        Wanna Be Loved                                    Sony Music Entertainment   SR0000732352
 2895 John Legend                        What If I Told You? (Interlude)                   Sony Music Entertainment   SR0000732352
 2896 John Legend                        You & I (Nobody In The World)                     Sony Music Entertainment   SR0000732352
 2897 John Legend feat. Buju Banton      Can't Be My Lover                                 Sony Music Entertainment   SR0000619653
 2898 John Legend feat. Estelle          No Other Love                                     Sony Music Entertainment   SR0000619653
 2899 John Legend feat. Rick Ross        Who Do We Think We Are                            Sony Music Entertainment   SR0000732358
 2900 John Legend feat. Seal             We Loved It                                       Sony Music Entertainment   SR0000732352
 2901 John Legend feat. Stacy Barthe     Angel (Interlude)                                 Sony Music Entertainment   SR0000732352
 2902 John Legend featuring Kanye west   It's Over                                         Sony Music Entertainment   SR0000619653
 2903 John Mayer                         83                                                Sony Music Entertainment   SR0000305049
 2904 John Mayer                         3x5                                               Sony Music Entertainment   SR0000305049
 2905 John Mayer                         Back to You                                       Sony Music Entertainment   SR0000305049
 2906 John Mayer                         Belief                                            Sony Music Entertainment   SR0000398715
 2907 John Mayer                         Bold As Love                                      Sony Music Entertainment   SR0000398715
 2908 John Mayer                         City Love                                         Sony Music Entertainment   SR0000305049
 2909 John Mayer                         Crossroads                                        Sony Music Entertainment   SR0000650569
 2910 John Mayer                         Daughters                                         Sony Music Entertainment   SR0000405307
 2911 John Mayer                         Do You Know Me                                    Sony Music Entertainment   SR0000650569
 2912 John Mayer                         Dreaming With A Broken Heart                      Sony Music Entertainment   SR0000398715
 2913 John Mayer                         Edge Of Desire                                    Sony Music Entertainment   SR0000650569
 2914 John Mayer                         Friends, Lovers Or Nothing                        Sony Music Entertainment   SR0000650569
 2915 John Mayer                         Gravity                                           Sony Music Entertainment   SR0000398715
 2916 John Mayer                         Great Indoors                                     Sony Music Entertainment   SR0000305049
 2917 John Mayer                         Half Of My Heart                                  Sony Music Entertainment   SR0000650569
 2918 John Mayer                         Heartbreak Warfare                                Sony Music Entertainment   SR0000650569
 2919 John Mayer                         I Don't Trust Myself (With Loving You)            Sony Music Entertainment   SR0000398715
 2920 John Mayer                         I'm Gonna Find Another You                        Sony Music Entertainment   SR0000398715
 2921 John Mayer                         In Repair                                         Sony Music Entertainment   SR0000398715
 2922 John Mayer                         Love Song For No One                              Sony Music Entertainment   SR0000305049
 2923 John Mayer                         My Stupid Mouth                                   Sony Music Entertainment   SR0000305049
 2924 John Mayer                         Neon                                              Sony Music Entertainment   SR0000305049
 2925 John Mayer                         No Such Thing                                     Sony Music Entertainment   SR0000305049
 2926 John Mayer                         Not Myself                                        Sony Music Entertainment   SR0000305049
 2927 John Mayer                         Perfectly Lonely                                  Sony Music Entertainment   SR0000650569
 2928 John Mayer                         Slow Dancing In A Burning Room                    Sony Music Entertainment   SR0000398715
 2929 John Mayer                         St. Patrick's Day                                 Sony Music Entertainment   SR0000305049
 2930 John Mayer                         Stop This Train                                   Sony Music Entertainment   SR0000398715
 2931 John Mayer                         The Heart Of Life                                 Sony Music Entertainment   SR0000398715
 2932 John Mayer                         Vultures                                          Sony Music Entertainment   SR0000398715
 2933 John Mayer                         Waiting On The World To Change                    Sony Music Entertainment   SR0000718995
 2934 John Mayer                         War Of My Life                                    Sony Music Entertainment   SR0000650569
 2935 John Mayer                         Who Says                                          Sony Music Entertainment   SR0000650569
 2936 John Mayer                         Why Georgia                                       Sony Music Entertainment   SR0000305049
 2937 John Mayer                         Your Body Is A Wonderland                         Sony Music Entertainment   SR0000305049
 2938 John Williams                      Bugler's Dream and Olympic Fanfare Medley         Sony Music Entertainment   SR0000224437
 2939 John Williams                      Hook: Flight To Neverland                         Sony Music Entertainment   SR0000233783
 2940 John Williams                      Summon The Heroes                                 Sony Music Entertainment   SR0000224437
 2941 John Williams                      The Imperial March from The Empire Strikes Back   Sony Music Entertainment   SR0000233783
 2942 John Williams                      Theme From Jurassic Park                          Sony Music Entertainment   SR0000233783
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      John Williams and the Boston Pops       Close Encounters of the Third Kind/When You Wish Upon a
 2943 Orchestra                               Star Medley                                                 Sony Music Entertainment   SR0000186141
      John Williams and the Boston Pops       Scherzo for Motorcycle and Orchestra from Indiana Jones and
 2944 Orchestra                               the Last Crusade                                            Sony Music Entertainment   SR0000186141
      John Williams and the Boston Pops
 2945 Orchestra                               Theme from "Sugarland Express"                             Sony Music Entertainment    SR0000186141
      John Williams and the London Symphony
 2946 Orchestra                               Main Title (From "Star Wars")                              Sony Music Entertainment    SR0000247474
 2947 Johnny Cash                             (Ghost) Riders in the Sky                                  Sony Music Entertainment    SR0000010496
 2948 Johnny Cash                             Cocaine Blues                                              Sony Music Entertainment    SR0000011119
 2949 Johnny Cash                             Highway Patrolman                                          Sony Music Entertainment    SR0000051140
 2950 Johnny Cash                             Highwayman                                                 Sony Music Entertainment    PA0000248233
 2951 Johnny Cash                             I Will Rock And Roll With You                              Sony Music Entertainment    SR0000004945
 2952 Johnny Cash                             I'm Never Gonna Roam Again                                 Sony Music Entertainment    SR0000076399
 2953 Johnny Cash                             Old Shep                                                   Sony Music Entertainment    RE0000889373
 2954 Johnny Cash                             Sunday Morning Coming Down                                 Sony Music Entertainment    RE0000923063
 2955 Johnny Cash                             That Silver Haired Daddy Of Mine                           Sony Music Entertainment    SR0000034598
 2956 Johnny Cash                             The General Lee                                            Sony Music Entertainment    SR0000035327
 2957 Johnny Cash                             There Ain't No Good Chain Gang                             Sony Music Entertainment    SR0000001597
 2958 Johnny Cash                             Who's Gene Autry?                                          Sony Music Entertainment    SR0000001597
 2959 Johnny Cash                             Without Love                                               Sony Music Entertainment    SR0000022431
 2960 Jordin Sparks                           Freeze                                                     Sony Music Entertainment    SR0000667919
 2961 Jordin Sparks                           God Loves Ugly                                             Sony Music Entertainment    SR0000667919
 2962 Jordin Sparks                           Just For The Record                                        Sony Music Entertainment    SR0000667919
 2963 Jordin Sparks                           Next To You                                                Sony Music Entertainment    SR0000667919
 2964 Jordin Sparks                           No Air Duet                                                Sony Music Entertainment    SR0000667919
 2965 Jordin Sparks                           Now You Tell Me                                            Sony Music Entertainment    SR0000667919
 2966 Jordin Sparks                           One Step At A Time                                         Sony Music Entertainment    SR0000667919
 2967 Jordin Sparks                           Permanent Monday                                           Sony Music Entertainment    SR0000667919
 2968 Jordin Sparks                           See My Side                                                Sony Music Entertainment    SR0000667919
 2969 Jordin Sparks                           Shy Boy                                                    Sony Music Entertainment    SR0000667919
 2970 Jordin Sparks                           Tattoo                                                     Sony Music Entertainment    SR0000719130
 2971 Jordin Sparks                           This Is My Now                                             Sony Music Entertainment    SR0000667919
 2972 Jordin Sparks                           Worth The Wait                                             Sony Music Entertainment    SR0000667919
 2973 Jordin Sparks                           Young And In Love                                          Sony Music Entertainment    SR0000667919
 2974 Josh Thompson                           A Name In This Town                                        Sony Music Entertainment    SR0000652025
 2975 Josh Thompson                           Always Been Me                                             Sony Music Entertainment    SR0000652025
 2976 Josh Thompson                           Back Around                                                Sony Music Entertainment    SR0000652025
 2977 Josh Thompson                           Beer On The Table                                          Sony Music Entertainment    SR0000652025
 2978 Josh Thompson                           Blame It On Waylon                                         Sony Music Entertainment    SR0000652025
 2979 Josh Thompson                           I Won't Go Crazy                                           Sony Music Entertainment    SR0000652025
 2980 Josh Thompson                           Sinner                                                     Sony Music Entertainment    SR0000652025
 2981 Josh Thompson                           Way Out Here                                               Sony Music Entertainment    SR0000652025
 2982 Josh Thompson                           Won't Be Lonely Long - On The Road                         Sony Music Entertainment    SR0000652025
 2983 Josh Thompson                           You Ain't Seen Country Yet                                 Sony Music Entertainment    SR0000652025
 2984 Journey                                 Dead or Alive                                              Sony Music Entertainment    SR0000030088
 2985 Journey                                 Don't Stop Believin'                                       Sony Music Entertainment    SR0000030088
 2986 Journey                                 Escape                                                     Sony Music Entertainment    SR0000030088
 2987 Journey                                 Keep on Runnin'                                            Sony Music Entertainment    SR0000030088
 2988 Journey                                 Lay It Down                                                Sony Music Entertainment    SR0000030088
 2989 Journey                                 Mother, Father                                             Sony Music Entertainment    SR0000030707
 2990 Journey                                 Open Arms                                                  Sony Music Entertainment    SR0000030088
 2991 Journey                                 Still They Ride (Audio)                                    Sony Music Entertainment    SR0000030088
 2992 Journey                                 Stone In Love                                              Sony Music Entertainment    SR0000030088
 2993 Journey                                 Who's Crying Now                                           Sony Music Entertainment    SR0000030707
 2994 Julio Iglesias                          Para Todas las Chicas (duet with Willie Nelson)            Sony Music Entertainment    SR0000058185
 2995 Justin Timberlake                       Blue Ocean Floor                                           Sony Music Entertainment    SR0000717770
 2996 Justin Timberlake                       Body Count                                                 Sony Music Entertainment    SR0000717770
 2997 Justin Timberlake                       Don't Hold The Wall                                        Sony Music Entertainment    SR0000717770
 2998 Justin Timberlake                       Dress On                                                   Sony Music Entertainment    SR0000717770
 2999 Justin Timberlake                       Let The Groove Get In                                      Sony Music Entertainment    SR0000717770
 3000 Justin Timberlake                       Not A Bad Thing                                            Sony Music Entertainment    SR0000743696
 3001 Justin Timberlake                       Pusher Love Girl                                           Sony Music Entertainment    SR0000717770
 3002 Justin Timberlake                       SexyBack                                                   Sony Music Entertainment    SR0000719411
 3003 Justin Timberlake                       Spaceship Coupe                                            Sony Music Entertainment    SR0000717770
 3004 Justin Timberlake                       Strawberry Bubblegum                                       Sony Music Entertainment    SR0000717770
 3005 Justin Timberlake                       Suit & Tie featuring JAY Z                                 Sony Music Entertainment    SR0000714855
 3006 Justin Timberlake                       Take Back The Night                                        Sony Music Entertainment    SR0000743698
 3007 Justin Timberlake                       That Girl                                                  Sony Music Entertainment    SR0000717770
 3008 Justin Timberlake                       TKO                                                        Sony Music Entertainment    SR0000743696
 3009 Justin Timberlake                       Tunnel Vision                                              Sony Music Entertainment    SR0000717770
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 3010 Kansas                             Closet Chronicles                                        Sony Music Entertainment   RE0000927442
 3011 Kansas                             Dust in The Wind                                         Sony Music Entertainment   RE0000927442
 3012 Kansas                             Hopelessly Human                                         Sony Music Entertainment   RE0000927442
 3013 Kansas                             Lightning's Hand                                         Sony Music Entertainment   RE0000927442
 3014 Kansas                             Nobody's Home                                            Sony Music Entertainment   RE0000927442
 3015 Kansas                             Paradox                                                  Sony Music Entertainment   RE0000927442
 3016 Kansas                             Point Of Know Return                                     Sony Music Entertainment   RE0000927442
 3017 Kansas                             Portrait (He Knew)                                       Sony Music Entertainment   RE0000927442
 3018 Kansas                             Sparks of the Tempest                                    Sony Music Entertainment   RE0000927442
 3019 Kansas                             The Spider                                               Sony Music Entertainment   RE0000927442
 3020 Karmin                             Acapella                                                 Sony Music Entertainment   SR0000746675
 3021 Karmin                             Brokenhearted                                            Sony Music Entertainment   SR0000719608
 3022 Karmin                             Crash Your Party                                         Sony Music Entertainment   SR0000719621
 3023 Kellie Pickler                     100 Proof                                                Sony Music Entertainment   SR0000697940
 3024 Kellie Pickler                     Little House On The Highway                              Sony Music Entertainment   SR0000697940
 3025 Kellie Pickler                     Long As I Never See You Again                            Sony Music Entertainment   SR0000697940
 3026 Kellie Pickler                     Mother's Day                                             Sony Music Entertainment   SR0000697940
 3027 Kellie Pickler                     Rockaway (The Rockin' Chair Song)                        Sony Music Entertainment   SR0000697940
 3028 Kellie Pickler                     Stop Cheatin' On Me                                      Sony Music Entertainment   SR0000697940
 3029 Kellie Pickler                     The Letter (To Daddy)                                    Sony Music Entertainment   SR0000697940
 3030 Kellie Pickler                     Tough                                                    Sony Music Entertainment   SR0000697940
 3031 Kellie Pickler                     Turn On The Radio And Dance                              Sony Music Entertainment   SR0000697940
 3032 Kellie Pickler                     Unlock That Honky Tonk                                   Sony Music Entertainment   SR0000697940
 3033 Kellie Pickler                     Where's Tammy Wynette                                    Sony Music Entertainment   SR0000697940
 3034 Kelly Clarkson                     Alone                                                    Sony Music Entertainment   SR0000693113
 3035 Kelly Clarkson                     Breaking Your Own Heart                                  Sony Music Entertainment   SR0000693113
 3036 Kelly Clarkson                     Dark Side                                                Sony Music Entertainment   SR0000693113
 3037 Kelly Clarkson                     Don't Be A Girl About It                                 Sony Music Entertainment   SR0000693113
 3038 Kelly Clarkson                     Einstein                                                 Sony Music Entertainment   SR0000693113
 3039 Kelly Clarkson                     Hello                                                    Sony Music Entertainment   SR0000693113
 3040 Kelly Clarkson                     Honestly                                                 Sony Music Entertainment   SR0000693113
 3041 Kelly Clarkson                     I Forgive You                                            Sony Music Entertainment   SR0000693113
 3042 Kelly Clarkson                     Mr. Know It All                                          Sony Music Entertainment   SR0000715680
 3043 Kelly Clarkson                     Standing In Front Of You                                 Sony Music Entertainment   SR0000693113
 3044 Kelly Clarkson                     Stronger (What Doesn't Kill You) (Audio)                 Sony Music Entertainment   SR0000693113
 3045 Kelly Clarkson                     The Sun Will Rise                                        Sony Music Entertainment   SR0000693113
 3046 Kelly Clarkson                     The War Is Over                                          Sony Music Entertainment   SR0000693113
 3047 Kelly Clarkson                     Why Don't You Try                                        Sony Music Entertainment   SR0000734929
 3048 Kelly Clarkson                     You Can't Win                                            Sony Music Entertainment   SR0000693113
 3049 Kelly Clarkson                     You Love Me                                              Sony Music Entertainment   SR0000693113
 3050 Kenny Chesney                      Always Gonna Be You                                      Sony Music Entertainment   SR0000722762
 3051 Kenny Chesney                      American Kids                                            Sony Music Entertainment   SR0000744302
 3052 Kenny Chesney                      El Cerrito Place                                         Sony Music Entertainment   SR0000722762
 3053 Kenny Chesney                      Happy On The Hey Now (A Song For Kristi)                 Sony Music Entertainment   SR0000726972
 3054 Kenny Chesney                      I'm A Small Town                                         Sony Music Entertainment   SR0000722762
 3055 Kenny Chesney                      It's That Time Of Day                                    Sony Music Entertainment   SR0000726972
 3056 Kenny Chesney                      Life On A Rock                                           Sony Music Entertainment   SR0000726972
 3057 Kenny Chesney                      Lindy                                                    Sony Music Entertainment   SR0000726972
 3058 Kenny Chesney                      Makes Me Wonder                                          Sony Music Entertainment   SR0000722762
 3059 Kenny Chesney                      Marley                                                   Sony Music Entertainment   SR0000726972
 3060 Kenny Chesney                      Must Be Something I Missed                               Sony Music Entertainment   SR0000726972
 3061 Kenny Chesney                      Pirate Flag                                              Sony Music Entertainment   SR0000726974
 3062 Kenny Chesney                      Sing 'Em Good My Friend                                  Sony Music Entertainment   SR0000722762
 3063 Kenny Chesney                      Spread The Love (featuring The Wailers with Elan)        Sony Music Entertainment   SR0000726972
 3064 Kenny Chesney                      Time Flies                                               Sony Music Entertainment   SR0000722762
 3065 Kenny Chesney                      To Get To You (55th And 3rd)                             Sony Music Entertainment   SR0000722762
 3066 Kenny Chesney                      Welcome To The Fishbowl                                  Sony Music Entertainment   SR0000722762
 3067 Kenny Chesney                      When I See This Bar                                      Sony Music Entertainment   SR0000726972
 3068 Kenny Chesney                      While He Still Knows Who I Am                            Sony Music Entertainment   SR0000722762
                                         You And Tequila (With Grace Potter) (Live At Red Rocks
 3069 Kenny Chesney                      Amphitheatre)                                            Sony Music Entertainment   SR0000722762
 3070 Kenny Chesney with Willie Nelson   Coconut Tree (with Willie Nelson)                        Sony Music Entertainment   SR0000726972
 3071 Kenny G                            Forever In Love                                          Sony Music Entertainment   SR0000709272
 3072 Kenny G                            Morning                                                  Sony Music Entertainment   SR0000709272
 3073 Kenny G                            Sentimental                                              Sony Music Entertainment   SR0000709272
 3074 Kenny G                            Sister Rose                                              Sony Music Entertainment   SR0000709272
 3075 Kenny G                            The Wedding Song                                         Sony Music Entertainment   SR0000709272
 3076 Kid Ink                            Hello World                                              Sony Music Entertainment   SR0000742556
 3077 Kid Ink                            Money and the Power (Explicit)                           Sony Music Entertainment   SR0000761343
 3078 Kid Ink                            More Than A King                                         Sony Music Entertainment   SR0000742556
 3079 Kid Ink                            My System (Explicit)                                     Sony Music Entertainment   SR0000742556
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 3080 Kid Ink                            Rollin'                                                       Sony Music Entertainment     SR0000742556
 3081 Kid Ink                            Show Me                                                       Sony Music Entertainment     SR0000742549
 3082 Kid Ink                            Star Player (Explicit)                                        Sony Music Entertainment     SR0000742556
 3083 Kid Ink                            Tattoo Of My Name                                             Sony Music Entertainment     SR0000742556
 3084 Kid Ink                            The Movement                                                  Sony Music Entertainment     SR0000742556
      Kid Ink feat. A$AP Ferg & French
 3085 Montana                            Bossin' Up                                                    Sony Music Entertainment     SR0000761343
      Kid Ink feat. A$AP Ferg & French
 3086 Montana                            Bossin' Up (Explicit)                                         Sony Music Entertainment     SR0000761343
 3087 Kid Ink feat. August Alsina        We Just Came to Party                                         Sony Music Entertainment     SR0000742556
 3088 Kid Ink feat. Chris Brown          Main Chick                                                    Sony Music Entertainment     SR0000742556
 3089 Kid Ink feat. Elle Varner & MGK    No Miracles                                                   Sony Music Entertainment     SR0000742552
 3090 Kid Ink feat. King Los             No Option                                                     Sony Music Entertainment     SR0000742553
 3091 Kid Ink feat. Maejor Ali           I Don't Care                                                  Sony Music Entertainment     SR0000742556
 3092 Kid Ink feat. Meek Mill & Wale     Bad Ass                                                       Sony Music Entertainment     SR0000761343
 3093 Kid Ink feat. Meek Mill & Wale     Bad Ass (Explicit)                                            Sony Music Entertainment     SR0000761343
 3094 Kid Ink feat. Pusha T              Murda                                                         Sony Music Entertainment     SR0000742556
 3095 Kid Ink feat. Tyga                 Iz U Down                                                     Sony Music Entertainment     SR0000742550
 3096 Kings Of Leon                      17                                                            Sony Music Entertainment     SR0000617761
 3097 Kings Of Leon                      Be Somebody                                                   Sony Music Entertainment     SR0000617761
 3098 Kings Of Leon                      Closer                                                        Sony Music Entertainment     SR0000617761
 3099 Kings Of Leon                      Cold Desert                                                   Sony Music Entertainment     SR0000617761
 3100 Kings Of Leon                      Crawl                                                         Sony Music Entertainment     SR0000723763
 3101 Kings Of Leon                      Manhattan                                                     Sony Music Entertainment     SR0000617761
 3102 Kings Of Leon                      Notion                                                        Sony Music Entertainment     SR0000617761
 3103 Kings Of Leon                      Revelry                                                       Sony Music Entertainment     SR0000617761
 3104 Kings Of Leon                      Sex On Fire                                                   Sony Music Entertainment     SR0000617761
 3105 Kings Of Leon                      Wait for Me                                                   Sony Music Entertainment     SR0000734389
 3106 Korn                               Children Of The Korn                                          Sony Music Entertainment     SR0000263749
 3107 Korn                               Earache My Eye                                                Sony Music Entertainment     SR0000263749
 3108 L-Burna aka Layzie Bone            Carole Of The Bones (Explicit)                                Sony Music Entertainment     SR0000291785

 3109 L-Burna aka Layzie Bone            Still The Greatest featuring Flesh-n-Bone & Big Chan (Explicit) Sony Music Entertainment   SR0000291785
 3110 Lacuna Coil                        1.19                                                            Sony Music Entertainment   SR0000306486
 3111 Lacuna Coil                        A Current Obsession                                             Sony Music Entertainment   SR0000306486
 3112 Lacuna Coil                        Against You                                                     Sony Music Entertainment   SR0000700777
 3113 Lacuna Coil                        Closer                                                          Sony Music Entertainment   SR0000395212
 3114 Lacuna Coil                        Cold Heritage                                                   Sony Music Entertainment   SR0000306486
 3115 Lacuna Coil                        Devoted                                                         Sony Music Entertainment   SR0000395212
 3116 Lacuna Coil                        Distant Sun                                                     Sony Music Entertainment   SR0000306486
 3117 Lacuna Coil                        End of Time                                                     Sony Music Entertainment   SR0000700777
 3118 Lacuna Coil                        Enjoy The Silence (Depeche Mode)                                Sony Music Entertainment   SR0000395212
 3119 Lacuna Coil                        Fire                                                            Sony Music Entertainment   SR0000700777
 3120 Lacuna Coil                        Fragile                                                         Sony Music Entertainment   SR0000395212
 3121 Lacuna Coil                        Fragments Of Faith                                              Sony Music Entertainment   SR0000395212
 3122 Lacuna Coil                        Give Me Something More                                          Sony Music Entertainment   SR0000700777
 3123 Lacuna Coil                        Heir Of A Dying Day                                             Sony Music Entertainment   SR0000306486
 3124 Lacuna Coil                        I Don't Believe in Tomorrow                                     Sony Music Entertainment   SR0000700777
 3125 Lacuna Coil                        I Won't Tell You                                                Sony Music Entertainment   SR0000633888
 3126 Lacuna Coil                        I'm Not Afraid                                                  Sony Music Entertainment   SR0000633888
 3127 Lacuna Coil                        In Visible Light                                                Sony Music Entertainment   SR0000395212
 3128 Lacuna Coil                        Intoxicated                                                     Sony Music Entertainment   SR0000700777
 3129 Lacuna Coil                        Kill the Light                                                  Sony Music Entertainment   SR0000700777
 3130 Lacuna Coil                        Losing My Religion                                              Sony Music Entertainment   SR0000700777
 3131 Lacuna Coil                        My Spirit                                                       Sony Music Entertainment   SR0000700777
 3132 Lacuna Coil                        My Wings                                                        Sony Music Entertainment   SR0000342318
 3133 Lacuna Coil                        No Need to Explain                                              Sony Music Entertainment   SR0000317669
 3134 Lacuna Coil                        Not Enough                                                      Sony Music Entertainment   SR0000633888
 3135 Lacuna Coil                        Oblivion                                                        Sony Music Entertainment   SR0000633888
 3136 Lacuna Coil                        Our Truth                                                       Sony Music Entertainment   SR0000395212
 3137 Lacuna Coil                        Purify                                                          Sony Music Entertainment   SR0000306486
 3138 Lacuna Coil                        Shallow Life                                                    Sony Music Entertainment   SR0000633888
 3139 Lacuna Coil                        Spellbound                                                      Sony Music Entertainment   SR0000633888
 3140 Lacuna Coil                        Survive                                                         Sony Music Entertainment   SR0000633888
 3141 Lacuna Coil                        The Army Inside                                                 Sony Music Entertainment   SR0000700777
 3142 Lacuna Coil                        The Game                                                        Sony Music Entertainment   SR0000395212
 3143 Lacuna Coil                        The Maze                                                        Sony Music Entertainment   SR0000633888
 3144 Lacuna Coil                        The Pain                                                        Sony Music Entertainment   SR0000633888
 3145 Lacuna Coil                        To Live Is To Hide                                              Sony Music Entertainment   SR0000306486
 3146 Lacuna Coil                        To The Edge                                                     Sony Music Entertainment   SR0000395212
 3147 Lacuna Coil                        Trip the Darkness                                               Sony Music Entertainment   SR0000700777
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 3148 Lacuna Coil                      Unchained                                              Sony Music Entertainment   SR0000633888
 3149 Lacuna Coil                      Underdog                                               Sony Music Entertainment   SR0000633888
 3150 Lacuna Coil                      Upsidedown                                             Sony Music Entertainment   SR0000700777
 3151 Lacuna Coil                      Wave Of Anguish                                        Sony Music Entertainment   SR0000306486
 3152 Lacuna Coil                      What I See                                             Sony Music Entertainment   SR0000395212
 3153 Lacuna Coil                      When A Dead Man Walks                                  Sony Music Entertainment   SR0000306486
 3154 Lacuna Coil                      Wide Awake                                             Sony Music Entertainment   SR0000633888
 3155 Lacuna Coil                      Within Me                                              Sony Music Entertainment   SR0000395212
 3156 Lacuna Coil                      Without Fear                                           Sony Music Entertainment   SR0000395212
 3157 Lacuna Coil                      You Create                                             Sony Music Entertainment   SR0000395212
      London Symphony Orchestra;John
 3158 Williams                         Theme (From "Jaws")                                    Sony Music Entertainment   SR0000247474
 3159 Los Lonely Boys                  Crazy Dream                                            Sony Music Entertainment   SR0000352465
 3160 Los Lonely Boys                  Dime Mi Amor                                           Sony Music Entertainment   SR0000352465
 3161 Los Lonely Boys                  Heaven                                                 Sony Music Entertainment   SR0000352465
 3162 Los Lonely Boys                  Hollywood                                              Sony Music Entertainment   SR0000352465
 3163 Los Lonely Boys                  La Contestacion                                        Sony Music Entertainment   SR0000352465
 3164 Los Lonely Boys                  More Than Love                                         Sony Music Entertainment   SR0000352465
 3165 Los Lonely Boys                  Nobody Else                                            Sony Music Entertainment   SR0000352465
 3166 Los Lonely Boys                  Onda                                                   Sony Music Entertainment   SR0000352465
 3167 Los Lonely Boys                  Real Emotions                                          Sony Music Entertainment   SR0000352465
 3168 Los Lonely Boys                  Senorita                                               Sony Music Entertainment   SR0000352465
 3169 Los Lonely Boys                  Tell Me Why                                            Sony Music Entertainment   SR0000352465
 3170 Los Lonely Boys                  Velvet Sky                                             Sony Music Entertainment   SR0000352465
 3171 Love and Theft                   Angel Eyes                                             Sony Music Entertainment   PA0001922065
 3172 Luther Vandross                  A House Is Not A Home                                  Sony Music Entertainment   SR0000030527
 3173 Luther Vandross                  Ain't No Stoppin' Us Now                               Sony Music Entertainment   SR0000317135
 3174 Luther Vandross                  Always And Forever                                     Sony Music Entertainment   SR0000317135
 3175 Luther Vandross                  Any Love - Wembley Stadium 1989                        Sony Music Entertainment   PA0000434017
 3176 Luther Vandross                  Emotional Love                                         Sony Music Entertainment   SR0000185186
 3177 Luther Vandross                  Give Me the Reason                                     Sony Music Entertainment   SR0000071632
 3178 Luther Vandross                  Heaven Knows                                           Sony Music Entertainment   SR0000171321
 3179 Luther Vandross                  Killing Me Softly                                      Sony Music Entertainment   SR0000317135
 3180 Luther Vandross                  Lady, Lady                                             Sony Music Entertainment   SR0000171321
 3181 Luther Vandross                  Love Is On The Way (Real Love)                         Sony Music Entertainment   SR0000171321
 3182 Luther Vandross                  Never Too Much                                         Sony Music Entertainment   SR0000030497
 3183 Luther Vandross                  So Amazing                                             Sony Music Entertainment   SR0000079450
                                       Superstar/Until You Come Back To Me (That's What I'm
 3184 Luther Vandross                  Gonna Do)                                              Sony Music Entertainment   SR0000054317
 3185 Luther Vandross                  The Night I Fell in Love                               Sony Music Entertainment   SR0000064351
 3186 Luther Vandross                  What The World Needs Now                               Sony Music Entertainment   SR0000317135
 3187 Macy Gray                        A Moment To Myself                                     Sony Music Entertainment   SR0000267460
 3188 Macy Gray                        Blowin' Up Your Speakers                               Sony Music Entertainment   SR0000302804
 3189 Macy Gray                        Boo                                                    Sony Music Entertainment   SR0000302804
 3190 Macy Gray                        Caligula                                               Sony Music Entertainment   SR0000267460
 3191 Macy Gray                        Come Together                                          Sony Music Entertainment   SR0000336638
 3192 Macy Gray                        Do Something                                           Sony Music Entertainment   SR0000267460
 3193 Macy Gray                        Every Now And Then                                     Sony Music Entertainment   SR0000336638
 3194 Macy Gray                        Forgiveness                                            Sony Music Entertainment   SR0000302804
 3195 Macy Gray                        Freak Like Me                                          Sony Music Entertainment   SR0000302804
 3196 Macy Gray                        Gimme All Your Lovin' or I Will Kill You               Sony Music Entertainment   SR0000302804
 3197 Macy Gray                        Happiness                                              Sony Music Entertainment   SR0000336638
 3198 Macy Gray                        Harry                                                  Sony Music Entertainment   SR0000302804
 3199 Macy Gray                        Hey Young World, Pt. 2 (featuring Slick Rick)          Sony Music Entertainment   SR0000302804
 3200 Macy Gray                        I Can't Wait To Meetchu                                Sony Music Entertainment   SR0000267460
 3201 Macy Gray                        I Try                                                  Sony Music Entertainment   SR0000267460
 3202 Macy Gray                        I've Committed Murder                                  Sony Music Entertainment   SR0000267460
 3203 Macy Gray                        Jesus For A Day                                        Sony Music Entertainment   SR0000336638
 3204 Macy Gray                        My Fondest Childhood Memories                          Sony Music Entertainment   SR0000336638
 3205 Macy Gray                        Oblivion                                               Sony Music Entertainment   SR0000302804
 3206 Macy Gray                        Relating To A Psychopath                               Sony Music Entertainment   SR0000302804
 3207 Macy Gray                        Screamin'                                              Sony Music Entertainment   SR0000336638
 3208 Macy Gray                        Sex-o-matic Venus Freak                                Sony Music Entertainment   SR0000267460
 3209 Macy Gray                        Sexual Revolution                                      Sony Music Entertainment   SR0000302804
 3210 Macy Gray                        She Don't Write Songs About You                        Sony Music Entertainment   SR0000336638
 3211 Macy Gray                        Speechless                                             Sony Music Entertainment   SR0000336638
 3212 Macy Gray                        Still                                                  Sony Music Entertainment   SR0000267460
 3213 Macy Gray                        Sweet Baby (featuring Erykah Badu)                     Sony Music Entertainment   PA0001074698
 3214 Macy Gray                        The Letter                                             Sony Music Entertainment   SR0000267460
 3215 Macy Gray                        Things That Made Me Change                             Sony Music Entertainment   SR0000336638
 3216 Macy Gray                        When I See You                                         Sony Music Entertainment   PA0001207765
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 3217 Macy Gray                             Why Didn't You Call Me                                 Sony Music Entertainment   SR0000267460
 3218 Macy Gray                             Don't Come Around (featuring Sunshine Anderson)        Sony Music Entertainment   SR0000302804
 3219 Macy Gray                             My Nutmeg Phantasy (featuring Angie Stone & Mos Def)   Sony Music Entertainment   SR0000302804
 3220 Manchester Orchestra                  Apprehension                                           Sony Music Entertainment   SR0000680374
 3221 Manchester Orchestra                  April Fool                                             Sony Music Entertainment   SR0000680374
 3222 Manchester Orchestra                  Deer                                                   Sony Music Entertainment   SR0000680374
 3223 Manchester Orchestra                  Leaky Breaks                                           Sony Music Entertainment   SR0000680374
 3224 Manchester Orchestra                  Leave It Alone                                         Sony Music Entertainment   SR0000680374
 3225 Manchester Orchestra                  Mighty                                                 Sony Music Entertainment   SR0000680374
 3226 Manchester Orchestra                  Pale Black Eye                                         Sony Music Entertainment   SR0000680374
 3227 Manchester Orchestra                  Pensacola                                              Sony Music Entertainment   SR0000680374
 3228 Manchester Orchestra                  Simple Math                                            Sony Music Entertainment   SR0000680374
 3229 Manchester Orchestra                  Virgin                                                 Sony Music Entertainment   SR0000680374
 3230 Marc Anthony & Jennifer Lopez         Escapémonos                                            Sony Music Entertainment   SR0000355308
 3231 Mariah Carey                          All I Want For Christmas Is You                        Sony Music Entertainment   SR0000207178
 3232 Mariah Carey                          Breakdown                                              Sony Music Entertainment   SR0000244014
 3233 Marvin Gaye                           Sexual Healing                                         Sony Music Entertainment   SR0000038850
 3234 Marvin Sapp                           Comfort Zone                                           Sony Music Entertainment   PA0001749838
 3235 Marvin Sapp                           Don't Count Me Out                                     Sony Music Entertainment   PA0001749838
 3236 Marvin Sapp                           Fresh Wind                                             Sony Music Entertainment   PA0001749838
 3237 Marvin Sapp                           He Has His Hands On You                                Sony Music Entertainment   PA0001749838
 3238 Marvin Sapp                           Here I Am                                              Sony Music Entertainment   PA0001749838
 3239 Marvin Sapp                           I Came                                                 Sony Music Entertainment   PA0001749838
 3240 Marvin Sapp                           I Came (Intro)                                         Sony Music Entertainment   PA0001749838
 3241 Marvin Sapp                           Keep Holding On                                        Sony Music Entertainment   PA0001749838
 3242 Marvin Sapp                           More Than A Conqueror                                  Sony Music Entertainment   PA0001749838
 3243 Marvin Sapp                           Praise You Forever                                     Sony Music Entertainment   PA0001749838
 3244 Marvin Sapp                           The Best In Me                                         Sony Music Entertainment   PA0001749838
 3245 Marvin Sapp                           Wait                                                   Sony Music Entertainment   PA0001749838
 3246 Mary Mary                             Can't Give Up Now                                      Sony Music Entertainment   SR0000711038
 3247 Mary Mary                             Dirt                                                   Sony Music Entertainment   SR0000711038
 3248 Mary Mary                             Go Get It                                              Sony Music Entertainment   SR0000711038
 3249 Mary Mary                             God Bless                                              Sony Music Entertainment   SR0000711038
 3250 Mary Mary                             He Said                                                Sony Music Entertainment   SR0000317087
 3251 Mary Mary                             I'm Running                                            Sony Music Entertainment   SR0000711038
 3252 Mary Mary                             Little Girl                                            Sony Music Entertainment   SR0000317087
 3253 Mary Mary                             Sunday Morning                                         Sony Music Entertainment   SR0000711038
 3254 Mary Mary feat. Kirk Franklin         And I                                                  Sony Music Entertainment   SR0000378079
 3255 Mary Mary featuring Destiny's Child   Good To Me                                             Sony Music Entertainment   SR0000269994
 3256 Maxwell                               Bad Habits                                             Sony Music Entertainment   SR0000639738
 3257 Maxwell                               Cold                                                   Sony Music Entertainment   SR0000639738
 3258 Maxwell                               Fistful Of Tears                                       Sony Music Entertainment   SR0000639738
 3259 Maxwell                               Help Somebody                                          Sony Music Entertainment   SR0000639738
 3260 Maxwell                               Love You                                               Sony Music Entertainment   SR0000639738
 3261 Maxwell                               Phoenix Rise                                           Sony Music Entertainment   SR0000639738
 3262 Maxwell                               Playing Possum                                         Sony Music Entertainment   SR0000639738
 3263 Maxwell                               Pretty Wings                                           Sony Music Entertainment   SR0000639738
 3264 Maxwell                               Stop The World                                         Sony Music Entertainment   SR0000639738
 3265 Meat Loaf                             Bat Out Of Hell                                        Sony Music Entertainment   RE0000925597
 3266 Meat Loaf                             For Crying Out Loud                                    Sony Music Entertainment   N46962
 3267 Meat Loaf                             Great Boleros of Fire                                  Sony Music Entertainment   SR0000293673
 3268 Meat Loaf                             Heaven Can Wait                                        Sony Music Entertainment   RE0000925597
 3269 Meat Loaf                             Midnight at the Lost and Found                         Sony Music Entertainment   SR0000046157
 3270 Meat Loaf                             Nocturnal Pleasure                                     Sony Music Entertainment   SR0000030226
 3271 Meat Loaf                             Paradise By The Dashboard Light                        Sony Music Entertainment   RE0000925597
 3272 Meat Loaf                             Two out of Three Ain't Bad                             Sony Music Entertainment   RE0000925597
 3273 Meat Loaf with Cher                   Dead Ringer for Love                                   Sony Music Entertainment   SR0000030226
 3274 MGMT                                  4th Dimensional Transition                             Sony Music Entertainment   SR0000670166
 3275 MGMT                                  Electric Feel                                          Sony Music Entertainment   SR0000670166
 3276 MGMT                                  Future Reflections                                     Sony Music Entertainment   SR0000670166
 3277 MGMT                                  Kids                                                   Sony Music Entertainment   SR0000670166
 3278 MGMT                                  Of Moons, Birds & Monsters                             Sony Music Entertainment   SR0000670166
 3279 MGMT                                  Pieces of What                                         Sony Music Entertainment   SR0000670166
 3280 MGMT                                  The Handshake                                          Sony Music Entertainment   SR0000670166
 3281 MGMT                                  The Youth                                              Sony Music Entertainment   SR0000670166
 3282 MGMT                                  Time To Pretend                                        Sony Music Entertainment   SR0000697485
 3283 MGMT                                  Weekend Wars                                           Sony Music Entertainment   SR0000670166
 3284 Miami Sound Machine                   Bad Boy                                                Sony Music Entertainment   SR0000067181
 3285 Miami Sound Machine                   Dr. Beat                                               Sony Music Entertainment   SR0000053796
 3286 Michael Jackson                       Baby Be Mine                                           Sony Music Entertainment   SR0000041965
 3287 Michael Jackson                       Burn This Disco Out                                    Sony Music Entertainment   SR0000011120
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 3288 Michael Jackson                    Don't Stop 'Til You Get Enough        Sony Music Entertainment   SR0000011105
 3289 Michael Jackson                    Get On The Floor                      Sony Music Entertainment   SR0000011120
 3290 Michael Jackson                    Girlfriend                            Sony Music Entertainment   SR0000011120
 3291 Michael Jackson                    Human Nature                          Sony Music Entertainment   SR0000041965
 3292 Michael Jackson                    I Can't Help It                       Sony Music Entertainment   SR0000011105
 3293 Michael Jackson                    It's The Falling In Love              Sony Music Entertainment   SR0000011120
 3294 Michael Jackson                    Off The Wall (Single Version)         Sony Music Entertainment   SR0000011120
 3295 Michael Jackson                    Off The Wall: Workin' Day And Night   Sony Music Entertainment   SR0000011120
 3296 Michael Jackson                    P.Y.T. (Pretty Young Thing)           Sony Music Entertainment   SR0000041965
 3297 Michael Jackson                    The Lady In My Life                   Sony Music Entertainment   SR0000041965
 3298 Miguel                             Adorn                                 Sony Music Entertainment   SR0000709268
 3299 Miguel                             All I Want Is You                     Sony Music Entertainment   SR0000673073
 3300 Miguel                             Girl With The Tattoo Enter.lewd       Sony Music Entertainment   SR0000673073
 3301 Miguel                             Girls Like You                        Sony Music Entertainment   SR0000673073
 3302 Miguel                             Hard Way                              Sony Music Entertainment   SR0000673073
 3303 Miguel                             Hero                                  Sony Music Entertainment   SR0000673073
 3304 Miguel                             How Many Drinks?                      Sony Music Entertainment   SR0000709268
 3305 Miguel                             My Piece                              Sony Music Entertainment   SR0000673073
 3306 Miguel                             Pay Me                                Sony Music Entertainment   SR0000673073
 3307 Miguel                             Quickie                               Sony Music Entertainment   SR0000673073
 3308 Miguel                             Sure Thing                            Sony Music Entertainment   SR0000673073
 3309 Miguel                             Teach Me                              Sony Music Entertainment   SR0000673073
 3310 Miguel                             To The Moon                           Sony Music Entertainment   SR0000673073
 3311 Miguel                             Vixen                                 Sony Music Entertainment   SR0000673073
 3312 Mike Posner                        Bow Chicka Wow Wow                    Sony Music Entertainment   PA0001762099
 3313 Miley Cyrus                        #GETITRIGHT                           Sony Music Entertainment   SR0000735242
 3314 Miley Cyrus                        Adore You                             Sony Music Entertainment   SR0000735242
 3315 Miley Cyrus                        Do My Thang                           Sony Music Entertainment   SR0000735242
 3316 Miley Cyrus                        Drive                                 Sony Music Entertainment   SR0000735242
 3317 Miley Cyrus                        Maybe You're Right                    Sony Music Entertainment   SR0000735242
 3318 Miley Cyrus                        On My Own                             Sony Music Entertainment   SR0000735242
 3319 Miley Cyrus                        Rooting for My Baby                   Sony Music Entertainment   SR0000735242
 3320 Miley Cyrus                        Someone Else                          Sony Music Entertainment   SR0000735242
 3321 Miley Cyrus                        We Can't Stop                         Sony Music Entertainment   SR0000726503
 3322 Miley Cyrus feat. Big Sean         Love Money Party                      Sony Music Entertainment   SR0000735242
 3323 Miley Cyrus feat. Britney Spears   SMS (Bangerz)                         Sony Music Entertainment   SR0000735242
 3324 Miley Cyrus feat. French Montana   FU                                    Sony Music Entertainment   SR0000735242
 3325 Miley Cyrus feat. Future           My Darlin'                            Sony Music Entertainment   SR0000735242
 3326 Miley Cyrus feat. Ludacris         Hands in the Air                      Sony Music Entertainment   SR0000735242
 3327 Miley Cyrus feat. Nelly            4x4                                   Sony Music Entertainment   SR0000735242
 3328 Miranda Lambert                    Airstream Song                        Sony Music Entertainment   SR0000641403
 3329 Miranda Lambert                    All Kinds of Kinds                    Sony Music Entertainment   PA0001805349
 3330 Miranda Lambert                    Baggage Claim                         Sony Music Entertainment   PA0001805349
 3331 Miranda Lambert                    Better In The Long Run                Sony Music Entertainment   PA0001805349
 3332 Miranda Lambert                    Bring Me Down                         Sony Music Entertainment   SR0000367710
 3333 Miranda Lambert                    Crazy Ex-Girlfriend                   Sony Music Entertainment   SR0000746292
 3334 Miranda Lambert                    Dead Flowers                          Sony Music Entertainment   SR0000641403
 3335 Miranda Lambert                    Dear Diamond                          Sony Music Entertainment   PA0001805349
 3336 Miranda Lambert                    Desperation                           Sony Music Entertainment   SR0000609529
 3337 Miranda Lambert                    Down                                  Sony Music Entertainment   SR0000609529
 3338 Miranda Lambert                    Dry Town                              Sony Music Entertainment   SR0000609529
 3339 Miranda Lambert                    Easy From Now On                      Sony Music Entertainment   SR0000609529
 3340 Miranda Lambert                    Easy Living                           Sony Music Entertainment   PA0001805349
 3341 Miranda Lambert                    Famous In A Small Town                Sony Music Entertainment   SR0000609529
 3342 Miranda Lambert                    Fastest Girl In Town                  Sony Music Entertainment   PA0001805349
 3343 Miranda Lambert                    Fine Tune                             Sony Music Entertainment   PA0001805349
 3344 Miranda Lambert                    Getting Ready                         Sony Music Entertainment   SR0000609529
 3345 Miranda Lambert                    Greyhound Bound For Nowhere           Sony Music Entertainment   SR0000367710
 3346 Miranda Lambert                    Guilty In Here                        Sony Music Entertainment   SR0000609529
 3347 Miranda Lambert                    Gunpowder & Lead                      Sony Music Entertainment   SR0000609529
 3348 Miranda Lambert                    Heart Like Mine                       Sony Music Entertainment   SR0000641403
 3349 Miranda Lambert                    Hurts To Think                        Sony Music Entertainment   PA0001805349
 3350 Miranda Lambert                    I Can't Be Bothered                   Sony Music Entertainment   SR0000367710
 3351 Miranda Lambert                    I Wanna Die                           Sony Music Entertainment   SR0000367710
 3352 Miranda Lambert                    Kerosene                              Sony Music Entertainment   SR0000367710
 3353 Miranda Lambert                    Look At Miss Ohio                     Sony Music Entertainment   PA0001805349
 3354 Miranda Lambert                    Love Is Looking For You               Sony Music Entertainment   SR0000367710
 3355 Miranda Lambert                    Love Letters                          Sony Music Entertainment   SR0000609529
 3356 Miranda Lambert                    Love Song                             Sony Music Entertainment   SR0000641403
 3357 Miranda Lambert                    Love Your Memory                      Sony Music Entertainment   SR0000367710
 3358 Miranda Lambert                    Maintain the Pain                     Sony Music Entertainment   SR0000641403
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 3359 Miranda Lambert              Makin' Plans                                Sony Music Entertainment   SR0000641403
 3360 Miranda Lambert              Mama, I'm Alright                           Sony Music Entertainment   SR0000367710
 3361 Miranda Lambert              Mama's Broken Heart                         Sony Music Entertainment   PA0001805349
 3362 Miranda Lambert              Me And Charlie Talking                      Sony Music Entertainment   SR0000746293
 3363 Miranda Lambert              Me and Your Cigarettes                      Sony Music Entertainment   SR0000641403
 3364 Miranda Lambert              More Like Her                               Sony Music Entertainment   SR0000609529
 3365 Miranda Lambert              New Strings                                 Sony Music Entertainment   SR0000367710
 3366 Miranda Lambert              Nobody's Fool                               Sony Music Entertainment   PA0001805349
 3367 Miranda Lambert              Oklahoma Sky                                Sony Music Entertainment   PA0001805349
 3368 Miranda Lambert              Only Prettier                               Sony Music Entertainment   SR0000641403
 3369 Miranda Lambert              Over You                                    Sony Music Entertainment   PA0001805349
 3370 Miranda Lambert              Safe                                        Sony Music Entertainment   PA0001805349
 3371 Miranda Lambert              Same Old You                                Sony Music Entertainment   PA0001805349
 3372 Miranda Lambert              Sin For A Sin                               Sony Music Entertainment   SR0000641403
 3373 Miranda Lambert              Somewhere Trouble Don't Go                  Sony Music Entertainment   SR0000641403
 3374 Miranda Lambert              That's the Way That the World Goes 'Round   Sony Music Entertainment   SR0000641403
 3375 Miranda Lambert              There's A Wall                              Sony Music Entertainment   SR0000367710
 3376 Miranda Lambert              Time To Get A Gun                           Sony Music Entertainment   SR0000641403
 3377 Miranda Lambert              Virginia Bluebell                           Sony Music Entertainment   SR0000641403
 3378 Miranda Lambert              What About Georgia?                         Sony Music Entertainment   SR0000367710
 3379 Miranda Lambert              White Liar                                  Sony Music Entertainment   SR0000641403
 3380 Modest Mouse                 Education                                   Sony Music Entertainment   SR0000407040
 3381 Modest Mouse                 Fire It Up                                  Sony Music Entertainment   SR0000407040
 3382 Modest Mouse                 Florida                                     Sony Music Entertainment   SR0000407040
 3383 Modest Mouse                 Fly Trapped In A Jar                        Sony Music Entertainment   SR0000407040
 3384 Modest Mouse                 Invisible                                   Sony Music Entertainment   SR0000407040
 3385 Modest Mouse                 Little Motel                                Sony Music Entertainment   SR0000407040
 3386 Modest Mouse                 March Into The Sea                          Sony Music Entertainment   SR0000407040
 3387 Modest Mouse                 Missed The Boat                             Sony Music Entertainment   SR0000407040
 3388 Modest Mouse                 Parting of the Sensory (Explicit)           Sony Music Entertainment   SR0000407040
 3389 Modest Mouse                 People As Places As People                  Sony Music Entertainment   SR0000407040
 3390 Modest Mouse                 Spitting Venom                              Sony Music Entertainment   SR0000407040
 3391 Modest Mouse                 Steam Engenius                              Sony Music Entertainment   SR0000407040
 3392 Modest Mouse                 We've Got Everything                        Sony Music Entertainment   SR0000407040
 3393 Monica Featuring Rick Ross   Anything (To Find You)                      Sony Music Entertainment   SR0000700530
 3394 Montgomery Gentry            Daddy Won't Sell the Farm                   Sony Music Entertainment   SR0000266467
 3395 Montgomery Gentry            Didn't I                                    Sony Music Entertainment   PA0001079468
 3396 Montgomery Gentry            Gone                                        Sony Music Entertainment   SR0000266467
 3397 Montgomery Gentry            Hell Yeah                                   Sony Music Entertainment   SR0000314295
 3398 Montgomery Gentry            Lonely And Gone                             Sony Music Entertainment   SR0000266467
 3399 Montgomery Gentry            My Town                                     Sony Music Entertainment   SR0000314295
 3400 Montgomery Gentry            She Don't Tell Me To                        Sony Music Entertainment   SR0000386446
 3401 Montgomery Gentry            Something To Be Proud Of                    Sony Music Entertainment   SR0000355896
 3402 Montgomery Gentry            Speed                                       Sony Music Entertainment   SR0000314295
 3403 Mudvayne                     (Per)Version of a truth (Explicit)          Sony Music Entertainment   SR0000346266
 3404 Mudvayne                     A Key to Nothing                            Sony Music Entertainment   SR0000346266
 3405 Mudvayne                     Mercy, Severity                             Sony Music Entertainment   SR0000346266
 3406 Mudvayne                     Severed                                     Sony Music Entertainment   SR0000269973
 3407 Mudvayne                     Shadow of a Man                             Sony Music Entertainment   SR0000346266
 3408 Mudvayne                     Silenced                                    Sony Music Entertainment   SR0000346266
 3409 Mudvayne                     Skrying                                     Sony Music Entertainment   SR0000346266
 3410 Mudvayne                     Solve Et Coagula                            Sony Music Entertainment   SR0000346266
 3411 Mudvayne                     The End of All Things to Come (Explicit)    Sony Music Entertainment   SR0000346266
 3412 Mudvayne                     The Patient Mental                          Sony Music Entertainment   SR0000346266
 3413 Mudvayne                     Trapped In The Wake Of A Dream              Sony Music Entertainment   SR0000346266
 3414 Mudvayne                     World So Cold                               Sony Music Entertainment   SR0000346266
 3415 Oh Land                      Break The Chain                             Sony Music Entertainment   SR0000674211
 3416 Oh Land                      Helicopter                                  Sony Music Entertainment   SR0000674211
 3417 Oh Land                      Human                                       Sony Music Entertainment   SR0000674211
 3418 Oh Land                      Lean                                        Sony Music Entertainment   SR0000674211
 3419 Oh Land                      Perfection                                  Sony Music Entertainment   SR0000674211
 3420 Oh Land                      Rainbow                                     Sony Music Entertainment   SR0000674211
 3421 Oh Land                      Sun Of A Gun                                Sony Music Entertainment   SR0000674211
 3422 Oh Land                      Voodoo                                      Sony Music Entertainment   SR0000674211
 3423 Oh Land                      We Turn It Up                               Sony Music Entertainment   SR0000674211
 3424 Oh Land                      White Nights                                Sony Music Entertainment   SR0000674211
 3425 Oh Land                      Wolf & I                                    Sony Music Entertainment   SR0000674211
 3426 Olly Murs                    Heart Skips A Beat                          Sony Music Entertainment   SR0000727214
 3427 One Direction                Alive                                       Sony Music Entertainment   SR0000740363
 3428 One Direction                Best Song Ever                              Sony Music Entertainment   SR0000737314
 3429 One Direction                Better Than Words                           Sony Music Entertainment   SR0000740363
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 3430 One Direction     Diana                                     Sony Music Entertainment   SR0000740363
 3431 One Direction     Does He Know?                             Sony Music Entertainment   SR0000740363
 3432 One Direction     Don't Forget Where You Belong             Sony Music Entertainment   SR0000740363
 3433 One Direction     Everything About You                      Sony Music Entertainment   SR0000703645
 3434 One Direction     Gotta Be You                              Sony Music Entertainment   SR0000703645
 3435 One Direction     Half a Heart                              Sony Music Entertainment   SR0000740363
 3436 One Direction     Happily                                   Sony Music Entertainment   SR0000740363
 3437 One Direction     I Want                                    Sony Music Entertainment   SR0000703645
 3438 One Direction     I Wish                                    Sony Music Entertainment   SR0000703645
 3439 One Direction     Kiss You                                  Sony Music Entertainment   SR0000714020
 3440 One Direction     Little Black Dress                        Sony Music Entertainment   SR0000740363
 3441 One Direction     Little White Lies                         Sony Music Entertainment   SR0000740363
 3442 One Direction     Midnight Memories                         Sony Music Entertainment   SR0000740363
 3443 One Direction     Moments                                   Sony Music Entertainment   SR0000703645
 3444 One Direction     More Than This                            Sony Music Entertainment   SR0000703645
 3445 One Direction     One Thing                                 Sony Music Entertainment   SR0000703645
 3446 One Direction     Right Now                                 Sony Music Entertainment   SR0000740363
 3447 One Direction     Same Mistakes                             Sony Music Entertainment   SR0000703645
 3448 One Direction     Save You Tonight                          Sony Music Entertainment   SR0000703645
 3449 One Direction     Something Great                           Sony Music Entertainment   SR0000740363
 3450 One Direction     Stand Up                                  Sony Music Entertainment   SR0000703645
 3451 One Direction     Stole My Heart                            Sony Music Entertainment   SR0000703645
 3452 One Direction     Story of My Life                          Sony Music Entertainment   SR0000740364
 3453 One Direction     Strong                                    Sony Music Entertainment   SR0000740363
 3454 One Direction     Taken                                     Sony Music Entertainment   SR0000703645
 3455 One Direction     Tell Me A Lie                             Sony Music Entertainment   SR0000703645
 3456 One Direction     Through the Dark                          Sony Music Entertainment   SR0000740363
 3457 One Direction     What Makes You Beautiful                  Sony Music Entertainment   SR0000703645
 3458 One Direction     Why Don't We Go There                     Sony Music Entertainment   SR0000740363
 3459 One Direction     You & I                                   Sony Music Entertainment   SR0000740363
 3460 Otherwise         Crimson                                   Sony Music Entertainment   SR0000704620
 3461 Otherwise         Die for You                               Sony Music Entertainment   SR0000704620
 3462 Otherwise         Don't Be Afraid                           Sony Music Entertainment   SR0000704620
 3463 Otherwise         Full Circle                               Sony Music Entertainment   SR0000704620
 3464 Otherwise         Heaven (feat. Ashley Costello)            Sony Music Entertainment   SR0000704620
 3465 Otherwise         I                                         Sony Music Entertainment   SR0000704620
 3466 Otherwise         I Don't Apologize (1000 Pictures)         Sony Music Entertainment   SR0000704620
 3467 Otherwise         II                                        Sony Music Entertainment   SR0000704620
 3468 Otherwise         III                                       Sony Music Entertainment   SR0000704620
 3469 Otherwise         Lighthouse                                Sony Music Entertainment   SR0000704620
 3470 Otherwise         Scream Now                                Sony Music Entertainment   SR0000704620
 3471 Otherwise         Silence Reigns                            Sony Music Entertainment   SR0000704620
 3472 Otherwise         Soldiers                                  Sony Music Entertainment   SR0000704620
 3473 Otherwise         Vegas Girl                                Sony Music Entertainment   SR0000704620
 3474 OutKast           Idlewild Blue (Don'tchu Worry 'Bout Me)   Sony Music Entertainment   SR0000747302
 3475 OutKast           Mighty "O"                                Sony Music Entertainment   SR0000747300
 3476 Ozzy Osbourne     21st Century Schizoid Man                 Sony Music Entertainment   SR0000388035
 3477 Ozzy Osbourne     Back on Earth                             Sony Music Entertainment   SR0000247732
 3478 Ozzy Osbourne     Bark At The Moon                          Sony Music Entertainment   SR0000053824
 3479 Ozzy Osbourne     Breakin' All The Rules                    Sony Music Entertainment   SR0000098705
 3480 Ozzy Osbourne     Centre of Eternity                        Sony Music Entertainment   SR0000053824
 3481 Ozzy Osbourne     Crazy Babies                              Sony Music Entertainment   SR0000098705
 3482 Ozzy Osbourne     Crazy Train                               Sony Music Entertainment   SR0000028652
 3483 Ozzy Osbourne     Diary of a Madman                         Sony Music Entertainment   SR0000034167
 3484 Ozzy Osbourne     Dreamer                                   Sony Music Entertainment   SR0000303331
 3485 Ozzy Osbourne     Gets Me Through                           Sony Music Entertainment   SR0000303331
 3486 Ozzy Osbourne     Ghost Behind My Eyes                      Sony Music Entertainment   SR0000171292
 3487 Ozzy Osbourne     I Can't Save You                          Sony Music Entertainment   SR0000628282
 3488 Ozzy Osbourne     I Don't Wanna Stop                        Sony Music Entertainment   SR0000628282
 3489 Ozzy Osbourne     I Don't Want to Change the World          Sony Music Entertainment   SR0000135019
 3490 Ozzy Osbourne     I Just Want You                           Sony Music Entertainment   SR0000171292
 3491 Ozzy Osbourne     In My Life                                Sony Music Entertainment   SR0000373744
 3492 Ozzy Osbourne     Mama, I'm Coming Home                     Sony Music Entertainment   SR0000135019
 3493 Ozzy Osbourne     Miracle Man                               Sony Music Entertainment   SR0000098705
 3494 Ozzy Osbourne     Mississippi Queen                         Sony Music Entertainment   SR0000388035
 3495 Ozzy Osbourne     Mr. Crowley                               Sony Music Entertainment   SR0000028652
 3496 Ozzy Osbourne     Nightmare                                 Sony Music Entertainment   SR0000628282
 3497 Ozzy Osbourne     No Easy Way Out                           Sony Music Entertainment   SR0000303331
 3498 Ozzy Osbourne     No More Tears                             Sony Music Entertainment   SR0000135019
 3499 Ozzy Osbourne     Not Going Away                            Sony Music Entertainment   SR0000628282
 3500 Ozzy Osbourne     Now You See It (Now You Don't)            Sony Music Entertainment   SR0000053824
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 3501 Ozzy Osbourne                  Over The Mountain              Sony Music Entertainment   SR0000034167
 3502 Ozzy Osbourne                  Perry Mason                    Sony Music Entertainment   SR0000171292
 3503 Ozzy Osbourne                  Rock 'n' Roll Rebel            Sony Music Entertainment   SR0000053824
 3504 Ozzy Osbourne                  Shot In The Dark               Sony Music Entertainment   SR0000076545
 3505 Ozzy Osbourne                  Slow Down                      Sony Music Entertainment   SR0000053824
 3506 Ozzy Osbourne                  So Tired                       Sony Music Entertainment   SR0000053824
 3507 Ozzy Osbourne                  Spiders                        Sony Music Entertainment   SR0000054446
 3508 Ozzy Osbourne                  Thunder Underground            Sony Music Entertainment   SR0000171292
 3509 Ozzy Osbourne                  Time After Time                Sony Music Entertainment   SR0000135019
 3510 Ozzy Osbourne                  Waiting for Darkness           Sony Music Entertainment   SR0000053824
 3511 Ozzy Osbourne                  You're No Different            Sony Music Entertainment   SR0000053824
 3512 P!nk                           Are We All We Are (Explicit)   Sony Music Entertainment   SR0000709056
 3513 P!nk                           Beam Me Up                     Sony Music Entertainment   SR0000709056
 3514 P!nk                           Chaos & Piss (Explicit)        Sony Music Entertainment   SR0000709377
 3515 P!nk                           F**kin' Perfect                Sony Music Entertainment   SR0000671699
 3516 P!nk                           Here Comes The Weekend         Sony Music Entertainment   SR0000709056
 3517 P!nk                           How Come You're Not Here       Sony Music Entertainment   SR0000709056
 3518 P!nk                           Just Give Me A Reason          Sony Music Entertainment   SR0000709056
 3519 P!nk                           Push You Away                  Sony Music Entertainment   SR0000644873
 3520 P!nk                           Raise Your Glass               Sony Music Entertainment   SR0000671699
 3521 P!nk                           Slut Like You                  Sony Music Entertainment   SR0000709056
 3522 P!nk                           So What                        Sony Music Entertainment   SR0000719121
 3523 P!nk                           The Great Escape               Sony Music Entertainment   SR0000709056
 3524 P!nk                           The Truth About Love           Sony Music Entertainment   SR0000709056
 3525 P!nk                           Timebomb (Explicit)            Sony Music Entertainment   SR0000709377
 3526 P!nk                           True Love (Explicit)           Sony Music Entertainment   SR0000709056
 3527 P!nk                           Try                            Sony Music Entertainment   SR0000709056
 3528 P!nk                           Walk of Shame                  Sony Music Entertainment   SR0000709056
 3529 P!nk                           Walk of Shame (Explicit)       Sony Music Entertainment   SR0000709056
 3530 P!nk                           Where Did The Beat Go?         Sony Music Entertainment   SR0000709056
 3531 P!nk Featuring William Orbit   Feel Good Time                 Sony Music Entertainment   PA0001242238
 3532 Passion Pit                    Little Secrets                 Sony Music Entertainment   PA0001678112
 3533 Passion Pit                    To Kingdom Come                Sony Music Entertainment   PA0001683346
 3534 Pearl Jam                      1/2 Full                       Sony Music Entertainment   SR0000324204
 3535 Pearl Jam                      All or None                    Sony Music Entertainment   SR0000324204
 3536 Pearl Jam                      Arc                            Sony Music Entertainment   SR0000324204
 3537 Pearl Jam                      Army Reserve                   Sony Music Entertainment   SR0000654748
 3538 Pearl Jam                      Around The Bend                Sony Music Entertainment   SR0000230851
 3539 Pearl Jam                      Aya Davanita                   Sony Music Entertainment   SR0000206558
 3540 Pearl Jam                      Big Wave                       Sony Music Entertainment   SR0000654748
 3541 Pearl Jam                      Blood (Remastered)             Sony Music Entertainment   SR0000207219
 3542 Pearl Jam                      Brain Of J.                    Sony Music Entertainment   SR0000255869
 3543 Pearl Jam                      Breakerfall                    Sony Music Entertainment   SR0000300972
 3544 Pearl Jam                      Bu$hleaguer                    Sony Music Entertainment   SR0000324204
 3545 Pearl Jam                      Bugs                           Sony Music Entertainment   SR0000206558
 3546 Pearl Jam                      Can't Keep                     Sony Music Entertainment   SR0000324204
 3547 Pearl Jam                      Come Back                      Sony Music Entertainment   SR0000654748
 3548 Pearl Jam                      Cropduster                     Sony Music Entertainment   SR0000324204
 3549 Pearl Jam                      Deep                           Sony Music Entertainment   SR0000137787
 3550 Pearl Jam                      Evacuation                     Sony Music Entertainment   SR0000300972
 3551 Pearl Jam                      Faithful                       Sony Music Entertainment   SR0000255869
 3552 Pearl Jam                      Garden                         Sony Music Entertainment   SR0000137787
 3553 Pearl Jam                      Get Right                      Sony Music Entertainment   SR0000324204
 3554 Pearl Jam                      Ghost                          Sony Music Entertainment   SR0000324204
 3555 Pearl Jam                      Glorified G                    Sony Music Entertainment   SR0000207219
 3556 Pearl Jam                      Gods' Dice                     Sony Music Entertainment   SR0000300972
 3557 Pearl Jam                      Gone                           Sony Music Entertainment   SR0000654748
 3558 Pearl Jam                      Green Disease                  Sony Music Entertainment   SR0000324204
 3559 Pearl Jam                      Grievance                      Sony Music Entertainment   SR0000300972
 3560 Pearl Jam                      Habit                          Sony Music Entertainment   SR0000230851
 3561 Pearl Jam                      Help Help                      Sony Music Entertainment   SR0000324204
 3562 Pearl Jam                      I'm Open                       Sony Music Entertainment   SR0000230851
 3563 Pearl Jam                      In My Tree                     Sony Music Entertainment   SR0000230851
 3564 Pearl Jam                      Indifference (Remastered)      Sony Music Entertainment   SR0000207219
 3565 Pearl Jam                      Inside Job                     Sony Music Entertainment   SR0000654748
 3566 Pearl Jam                      Insignificance                 Sony Music Entertainment   SR0000300972
 3567 Pearl Jam                      Last Exit                      Sony Music Entertainment   SR0000206558
 3568 Pearl Jam                      Leash                          Sony Music Entertainment   SR0000207219
 3569 Pearl Jam                      Life Wasted                    Sony Music Entertainment   SR0000654748
 3570 Pearl Jam                      Love Boat Captain              Sony Music Entertainment   SR0000324204
 3571 Pearl Jam                      Low Light                      Sony Music Entertainment   SR0000255869
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 3572 Pearl Jam                                 Lukin                             Sony Music Entertainment   SR0000230851
 3573 Pearl Jam                                 Mankind                           Sony Music Entertainment   SR0000230851
 3574 Pearl Jam                                 Marker In The Sand                Sony Music Entertainment   SR0000654748
 3575 Pearl Jam                                 MFC                               Sony Music Entertainment   SR0000255869
 3576 Pearl Jam                                 No Way                            Sony Music Entertainment   SR0000255869
 3577 Pearl Jam                                 Oceans                            Sony Music Entertainment   SR0000137787
 3578 Pearl Jam                                 Of The Girl                       Sony Music Entertainment   SR0000300972
 3579 Pearl Jam                                 Parachutes                        Sony Music Entertainment   SR0000654748
 3580 Pearl Jam                                 Parting Ways                      Sony Music Entertainment   SR0000300972
 3581 Pearl Jam                                 Pilate                            Sony Music Entertainment   SR0000255869
 3582 Pearl Jam                                 Porch                             Sony Music Entertainment   SR0000137787
 3583 Pearl Jam                                 Present Tense                     Sony Music Entertainment   SR0000230851
 3584 Pearl Jam                                 Pry, To                           Sony Music Entertainment   SR0000206558
 3585 Pearl Jam                                 Push Me, Pull Me                  Sony Music Entertainment   SR0000255869
 3586 Pearl Jam                                 Rats (Remastered)                 Sony Music Entertainment   SR0000207219
 3587 Pearl Jam                                 Red Bar                           Sony Music Entertainment   SR0000255869
 3588 Pearl Jam                                 Red Mosquito                      Sony Music Entertainment   SR0000230851
 3589 Pearl Jam                                 Release                           Sony Music Entertainment   SR0000137787
 3590 Pearl Jam                                 Rival                             Sony Music Entertainment   SR0000300972
 3591 Pearl Jam                                 Satan's Bed                       Sony Music Entertainment   SR0000206558
 3592 Pearl Jam                                 Save You                          Sony Music Entertainment   SR0000324204
 3593 Pearl Jam                                 Sleight Of Hand                   Sony Music Entertainment   SR0000300972
 3594 Pearl Jam                                 Smile                             Sony Music Entertainment   SR0000230851
 3595 Pearl Jam                                 Sometimes                         Sony Music Entertainment   SR0000230851
 3596 Pearl Jam                                 Soon Forget                       Sony Music Entertainment   SR0000300972
 3597 Pearl Jam                                 Stupidmop                         Sony Music Entertainment   SR0000206558
 3598 Pearl Jam                                 Thin Air                          Sony Music Entertainment   SR0000300972
 3599 Pearl Jam                                 Thumbing My Way                   Sony Music Entertainment   SR0000324204
 3600 Pearl Jam                                 Tremor Christ                     Sony Music Entertainment   SR0000206558
 3601 Pearl Jam                                 Unemployable                      Sony Music Entertainment   SR0000654748
 3602 Pearl Jam                                 W.M.A. (Remastered)               Sony Music Entertainment   SR0000207219
 3603 Pearl Jam                                 Wash                              Sony Music Entertainment   SR0000363498
 3604 Pearl Jam                                 Wasted Reprise                    Sony Music Entertainment   SR0000654748
 3605 Pearl Jam                                 Whipping                          Sony Music Entertainment   SR0000206558
 3606 Pearl Jam                                 Why Go                            Sony Music Entertainment   SR0000137787
 3607 Pearl Jam                                 World Wide Suicide                Sony Music Entertainment   SR0000654748
 3608 Pharrell Williams Duet with Miley Cyrus   Come Get It Bae                   Sony Music Entertainment   SR0000756467
 3609 Pitbull                                   Call Of The Wild                  Sony Music Entertainment   SR0000641804
 3610 Pitbull                                   Can't Stop Me Now                 Sony Music Entertainment   SR0000641804
 3611 Pitbull                                   Don't Stop The Party              Sony Music Entertainment   SR0000714736
 3612 Pitbull                                   Dope Ball (Interlude)             Sony Music Entertainment   SR0000641804
 3613 Pitbull                                   Drinks for You (Ladies Anthem)    Sony Music Entertainment   SR0000714643
 3614 Pitbull                                   Echa Pa'lla (Manos Pa'rriba)      Sony Music Entertainment   SR0000714643
 3615 Pitbull                                   Get It Started                    Sony Music Entertainment   SR0000714740
 3616 Pitbull                                   Girls                             Sony Music Entertainment   SR0000641804
 3617 Pitbull                                   Give Me Everything                Sony Music Entertainment   SR0000681904
 3618 Pitbull                                   Give Them What They Ask For       Sony Music Entertainment   SR0000641804
 3619 Pitbull                                   Hotel Room Service                Sony Music Entertainment   SR0000641804
 3620 Pitbull                                   I Know You Want Me (Calle Ocho)   Sony Music Entertainment   SR0000641804
 3621 Pitbull                                   I'm Off That                      Sony Music Entertainment   SR0000714643
 3622 Pitbull                                   Juice Box                         Sony Music Entertainment   SR0000641804
 3623 Pitbull                                   Outta Nowhere (Explicit)          Sony Music Entertainment   SR0000714643
 3624 Pitbull                                   Pause                             Sony Music Entertainment   SR0000681904
 3625 Pitbull                                   Something For The DJs             Sony Music Entertainment   SR0000681904
 3626 Pitbull                                   Tchu Tchu Tcha                    Sony Music Entertainment   SR0000714643
 3627 Pitbull feat. Afrojack & Havana Brown     Last Night                        Sony Music Entertainment   SR0000714643
 3628 Pitbull feat. Akon & David Rush           Everybody Fucks (Explicit)        Sony Music Entertainment   SR0000714643
 3629 Pitbull feat. Chris Brown                 Hope We Meet Again                Sony Music Entertainment   SR0000714643
 3630 Pitbull feat. Christina Aguilera          Feel This Moment                  Sony Music Entertainment   SR0000714643
 3631 Pitbull feat. Danny Mercer                Outta Nowhere                     Sony Music Entertainment   SR0000714643
 3632 Pitbull feat. Enrique Iglesias            Tchu Tchu Tcha                    Sony Music Entertainment   SR0000714643
 3633 Pitbull feat. Ke$ha                       Timber                            Sony Music Entertainment   SR0000737322
 3634 Pitbull Feat. Lil Jon;Shawty Lo           Krazy                             Sony Music Entertainment   SR0000641804
 3635 Pitbull feat. Sensato                     Global Warming                    Sony Music Entertainment   SR0000714643
 3636 Pitbull feat. The Wanted & Afrojack       Have Some Fun                     Sony Music Entertainment   SR0000714643
 3637 Pitbull feat. Usher & Afrojack            Party Ain't Over                  Sony Music Entertainment   SR0000714643
 3638 Pitbull feat. Vein                        11:59 (Explicit)                  Sony Music Entertainment   SR0000714643
 3639 Pitbull featuring Akon                    Shut It Down                      Sony Music Entertainment   SR0000641804
 3640 Pitbull Featuring Akon & DJ Frank E       Mr. Right Now                     Sony Music Entertainment   SR0000683282
 3641 Pitbull featuring Avery Storm             Triumph                           Sony Music Entertainment   SR0000641804
 3642 Pitbull featuring B.O.B.                  Across The World                  Sony Music Entertainment   SR0000641804
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 3643 Pitbull Featuring Chris Brown             International Love                    Sony Music Entertainment   SR0000681904
 3644 Pitbull Featuring Enrique Iglesias        Come N Go                             Sony Music Entertainment   SR0000681904
 3645 Pitbull Featuring Jamie Foxx              Where Do We Go                        Sony Music Entertainment   SR0000681904
      Pitbull Featuring Kelly Rowland & Jamie
 3646 Drastik                                   Castle Made Of Sand                   Sony Music Entertainment   SR0000681904
 3647 Pitbull featuring Nayer & Bass III Euro   Full Of S**t                          Sony Music Entertainment   SR0000641804
 3648 Pitbull Featuring Nelly                   My Kinda Girl                         Sony Music Entertainment   SR0000683282
 3649 Pitbull Featuring Nelly                   My Kinda Girl (Explicit)              Sony Music Entertainment   SR0000683282
      Pitbull Featuring Red Foo, Vein & David
 3650 Rush                                      Took My Love                          Sony Music Entertainment   SR0000641804
 3651 Pitbull featuring Slim                    Daddy's Little Girl                   Sony Music Entertainment   SR0000641804
 3652 Pitbull featuring T-Pain                  Hey Baby (Drop It To The Floor)       Sony Music Entertainment   SR0000681904
 3653 Pitbull Featuring T-Pain & Sean Paul      Shake Senora                          Sony Music Entertainment   SR0000681904
      Pitbull Featuring T-Pain, Sean Paul &
 3654 Ludacris                                  Shake Senora Remix                    Sony Music Entertainment   SR0000683282
 3655 Pitbull Featuring Vein                    Mr. Worldwide (Intro)                 Sony Music Entertainment   SR0000681904
 3656 Pitbull vs. Nicola Fasano                 Oye Baby                              Sony Music Entertainment   SR0000683282
 3657 R. Kelly                                  Cookie                                Sony Music Entertainment   SR0000737848
 3658 R. Kelly                                  Every Position                        Sony Music Entertainment   SR0000737848
 3659 R. Kelly                                  Genius                                Sony Music Entertainment   SR0000737850
 3660 R. Kelly                                  Marry the P***y                       Sony Music Entertainment   SR0000737848
 3661 R. Kelly                                  Marry The P***y (Explicit)            Sony Music Entertainment   SR0000737848
 3662 R. Kelly                                  Physical                              Sony Music Entertainment   SR0000737848
 3663 R. Kelly                                  Prelude                               Sony Music Entertainment   SR0000737848
 3664 R. Kelly                                  Prelude (Explicit)                    Sony Music Entertainment   SR0000737848
 3665 R. Kelly                                  Throw This Money On You               Sony Music Entertainment   SR0000737848
 3666 R. Kelly                                  Throw This Money On You (Explicit)    Sony Music Entertainment   SR0000737848
 3667 R. Kelly                                  You Deserve Better                    Sony Music Entertainment   SR0000737848
 3668 R. Kelly & Usher                          Same Girl                             Sony Music Entertainment   SR0000726953
 3669 R. Kelly feat. 2 Chainz                   My Story                              Sony Music Entertainment   SR0000737848
 3670 R. Kelly feat. 2 Chainz                   My Story (Explicit)                   Sony Music Entertainment   SR0000737848
 3671 R. Kelly feat. Future                     Tear It Up                            Sony Music Entertainment   SR0000737848
 3672 R. Kelly feat. Future                     Tear It Up (Explicit)                 Sony Music Entertainment   SR0000737848
 3673 R. Kelly feat. Kelly Rowland              All The Way (Explicit)                Sony Music Entertainment   SR0000737848
 3674 R. Kelly feat. Ludacris                   Legs Shakin'                          Sony Music Entertainment   SR0000737848
 3675 R. Kelly feat. Migos & Juicy J            Show Ya P***y                         Sony Music Entertainment   SR0000737848
 3676 Raphael Saadiq                            100 Yard Dash                         Sony Music Entertainment   SR0000619872
 3677 Raphael Saadiq                            Calling                               Sony Music Entertainment   SR0000619872
 3678 Raphael Saadiq                            Day Dreams                            Sony Music Entertainment   SR0000677734
 3679 Raphael Saadiq                            Go To Hell                            Sony Music Entertainment   SR0000677734
 3680 Raphael Saadiq                            Good Man                              Sony Music Entertainment   SR0000677734
 3681 Raphael Saadiq                            Heart Attack                          Sony Music Entertainment   SR0000677734
 3682 Raphael Saadiq                            Keep Marchin'                         Sony Music Entertainment   SR0000619872
 3683 Raphael Saadiq                            Let's Take a Walk                     Sony Music Entertainment   SR0000619872
 3684 Raphael Saadiq                            Love That Girl                        Sony Music Entertainment   SR0000619872
 3685 Raphael Saadiq                            Movin' Down the Line                  Sony Music Entertainment   SR0000677734
 3686 Raphael Saadiq                            Oh Girl                               Sony Music Entertainment   SR0000619872
 3687 Raphael Saadiq                            Over You                              Sony Music Entertainment   SR0000677734
 3688 Raphael Saadiq                            Radio                                 Sony Music Entertainment   SR0000677734
 3689 Raphael Saadiq                            Sometimes                             Sony Music Entertainment   SR0000619872
 3690 Raphael Saadiq                            Staying In Love                       Sony Music Entertainment   SR0000619872
 3691 Raphael Saadiq                            Stone Rollin                          Sony Music Entertainment   SR0000677734
 3692 Raphael Saadiq                            Sure Hope You Mean It                 Sony Music Entertainment   SR0000619872
 3693 Raphael Saadiq                            The Answer                            Sony Music Entertainment   SR0000677734
 3694 Raphael Saadiq feat. Joss Stone           Just One Kiss                         Sony Music Entertainment   SR0000619872

      Raphael Saadiq feat. The Infamous
 3695 Young Spodie and the Rebirth Brass Band Big Easy                                Sony Music Entertainment   SR0000619872
 3696 Raphael Saadiq feat. Yukimi Nakano      Just Don't                              Sony Music Entertainment   SR0000677734
 3697 Ray Charles                             Crazy Old Soldier                       Sony Music Entertainment   SR0000058443
 3698 Sade                                    Bulletproof Soul                        Sony Music Entertainment   SR0000183731
 3699 Santana                                 All I Ever Wanted                       Sony Music Entertainment   SR0000013645
 3700 Santana                                 Aqua Marine                             Sony Music Entertainment   SR0000013645
 3701 Santana                                 Blues for Salvador                      Sony Music Entertainment   SR0000086429
 3702 Santana                                 Brightest Star                          Sony Music Entertainment   SR0000028839
 3703 Santana                                 Carnaval                                Sony Music Entertainment   N40322
 3704 Santana                                 Dance Sister Dance (Baila Mi Hermana)   Sony Music Entertainment   N33113
 3705 Santana                                 Europa (Earth's Cry Heaven's Smile)     Sony Music Entertainment   N33113
 3706 Santana                                 Flor D'Luna (Moonflower)                Sony Music Entertainment   RE0000927177
 3707 Santana                                 Full Moon                               Sony Music Entertainment   SR0000118423
 3708 Santana                                 Gypsy Woman                             Sony Music Entertainment   SR0000118423
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 3709 Santana                           Hannibal                                 Sony Music Entertainment   SR0000086429
 3710 Santana                           Hold On                                  Sony Music Entertainment   SR0000039658
 3711 Santana                           How Long                                 Sony Music Entertainment   SR0000065770
 3712 Santana                           I Love You Much Too Much                 Sony Music Entertainment   SR0000028774
 3713 Santana                           I'll Be Waiting                          Sony Music Entertainment   N40322
                                                                                                            N3383
 3714 Santana                           La Fuente del Ritmo                      Sony Music Entertainment   N5328
 3715 Santana                           Let the Children Play                    Sony Music Entertainment   N40322
 3716 Santana                           Mirage                                   Sony Music Entertainment   RE0000872000
 3717 Santana                           Nowhere to Run                           Sony Music Entertainment   SR0000039763
 3718 Santana                           ONE CHAIN (DON'T MAKE NO PRISON)         Sony Music Entertainment   SR0000004781
 3719 Santana                           REVELATIONS                              Sony Music Entertainment   N40322
 3720 Santana                           Say It Again                             Sony Music Entertainment   PA0000254926
 3721 Santana                           The Sensitive Kind                       Sony Music Entertainment   SR0000028774
 3722 Santana                           Well All Right                           Sony Music Entertainment   SR0000004781
 3723 Santana                           Winning                                  Sony Music Entertainment   SR0000028839
 3724 Santana                           You Know That I Love You                 Sony Music Entertainment   SR0000013645
 3725 Sara Bareilles                    1000 Times                               Sony Music Entertainment   SR0000727195
 3726 Sara Bareilles                    Brave                                    Sony Music Entertainment   SR0000727192
 3727 Sara Bareilles                    Cassiopeia                               Sony Music Entertainment   SR0000727195
 3728 Sara Bareilles                    Chasing The Sun                          Sony Music Entertainment   SR0000727195
 3729 Sara Bareilles                    December                                 Sony Music Entertainment   SR0000727195
 3730 Sara Bareilles                    Eden                                     Sony Music Entertainment   SR0000727195
 3731 Sara Bareilles                    Hercules                                 Sony Music Entertainment   SR0000727195
 3732 Sara Bareilles                    I Choose You                             Sony Music Entertainment   SR0000727195
 3733 Sara Bareilles                    Islands                                  Sony Music Entertainment   SR0000727195
 3734 Sara Bareilles                    Little Black Dress                       Sony Music Entertainment   SR0000727195
 3735 Sara Bareilles                    Manhattan                                Sony Music Entertainment   SR0000727193
 3736 Sara Bareilles                    Satellite Call                           Sony Music Entertainment   SR0000727195
 3737 Sarah McLachlan                   Don't Give Up On Us                      Sony Music Entertainment   SR0000661978
 3738 Sarah McLachlan                   U Want Me 2                              Sony Music Entertainment   SR0000661978
 3739 Savage Garden                     A Thousand Words                         Sony Music Entertainment   SR0000299097
 3740 Savage Garden                     Affirmation                              Sony Music Entertainment   SR0000276120
 3741 Savage Garden                     Carry On Dancing                         Sony Music Entertainment   SR0000299097
 3742 Savage Garden                     Crash And Burn                           Sony Music Entertainment   SR0000276120
 3743 Savage Garden                     Hold Me                                  Sony Music Entertainment   SR0000276120
 3744 Savage Garden                     Promises                                 Sony Music Entertainment   SR0000299097
 3745 Savage Garden                     Tears Of Pearls                          Sony Music Entertainment   SR0000299097
 3746 Savage Garden                     The Animal Song                          Sony Music Entertainment   SR0000276120
 3747 Savage Garden                     Universe                                 Sony Music Entertainment   SR0000299097
 3748 Savage Garden                     Violet                                   Sony Music Entertainment   SR0000299097
 3749 Sean Kingston and Justin Bieber   Eenie Meenie                             Sony Music Entertainment   SR0000730824
 3750 Shakira                           Años Luz                                 Sony Music Entertainment   SR0000644417
 3751 Shakira                           Devoción                                 Sony Music Entertainment   SR0000669191
 3752 Shakira                           Did It Again                             Sony Music Entertainment   SR0000644417
 3753 Shakira                           Gitana                                   Sony Music Entertainment   SR0000644417
 3754 Shakira                           Give It Up To Me                         Sony Music Entertainment   SR0000644417
 3755 Shakira                           Good Stuff                               Sony Music Entertainment   SR0000644417
 3756 Shakira                           Gordita (Featuring Residente Calle 13)   Sony Music Entertainment   SR0000669191
 3757 Shakira                           Lo Hecho Está Hecho                      Sony Music Entertainment   SR0000644417
 3758 Shakira                           Lo Que Más                               Sony Music Entertainment   SR0000669191
 3759 Shakira                           Loba                                     Sony Music Entertainment   SR0000644417
 3760 Shakira                           Loca (Featuring Dizzee Rascal)           Sony Music Entertainment   SR0000669191
 3761 Shakira                           Loca (Featuring El Cata)                 Sony Music Entertainment   SR0000669191
 3762 Shakira                           Long Time                                Sony Music Entertainment   SR0000644417
 3763 Shakira                           Men in This Town                         Sony Music Entertainment   SR0000644417
 3764 Shakira                           Mon Amour                                Sony Music Entertainment   SR0000644417
 3765 Shakira                           She Wolf                                 Sony Music Entertainment   SR0000644417
 3766 Shakira                           Waka Waka (This Time For Africa)         Sony Music Entertainment   SR0000669191
 3767 Shakira                           Why Wait                                 Sony Music Entertainment   SR0000644417
 3768 Shakira Feat. Pitbull             Rabiosa                                  Sony Music Entertainment   SR0000669191
 3769 Shakira feat. Wyclef Jean         Spy                                      Sony Music Entertainment   SR0000644417
 3770 Sia                               Be Good To Me                            Sony Music Entertainment   SR0000655573
 3771 Sia                               Big Girl Little Girl                     Sony Music Entertainment   SR0000655573
 3772 Sia                               Chandelier                               Sony Music Entertainment   SR0000756331
 3773 Sia                               Cloud                                    Sony Music Entertainment   SR0000655573
 3774 Sia                               Hurting Me Now                           Sony Music Entertainment   SR0000655573
 3775 Sia                               I'm in Here                              Sony Music Entertainment   SR0000655573
 3776 Sia                               Never Gonna Leave Me                     Sony Music Entertainment   SR0000655573
 3777 Sia                               Oh Father                                Sony Music Entertainment   SR0000655573
 3778 Sia                               Stop Trying                              Sony Music Entertainment   SR0000655573
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 3779 Sia                                   The Co-Dependent                                   Sony Music Entertainment   SR0000655573
 3780 Social Distortion                     Ball And Chain                                     Sony Music Entertainment   SR0000115085
 3781 Social Distortion                     Ring Of Fire                                       Sony Music Entertainment   SR0000115085
 3782 Social Distortion                     Story Of My Life                                   Sony Music Entertainment   SR0000115085
 3783 Stevie Ray Vaughan & Double Trouble   Boot Hill                                          Sony Music Entertainment   SR0000138313
 3784 Stevie Ray Vaughan & Double Trouble   Chitlins Con Carne                                 Sony Music Entertainment   SR0000138313
 3785 Stevie Ray Vaughan & Double Trouble   Close to You                                       Sony Music Entertainment   SR0000138313
 3786 Stevie Ray Vaughan & Double Trouble   Empty Arms                                         Sony Music Entertainment   SR0000138313
 3787 Stevie Ray Vaughan & Double Trouble   Life By The Drop                                   Sony Music Entertainment   SR0000138313
 3788 Stevie Ray Vaughan & Double Trouble   Little Wing                                        Sony Music Entertainment   SR0000138313
 3789 Stevie Ray Vaughan & Double Trouble   May I Have a Talk with You                         Sony Music Entertainment   SR0000138313
 3790 Stevie Ray Vaughan & Double Trouble   So Excited                                         Sony Music Entertainment   SR0000138313
 3791 Stevie Ray Vaughan & Double Trouble   The Sky Is Crying                                  Sony Music Entertainment   SR0000138313
 3792 Stevie Ray Vaughan & Double Trouble   Wham                                               Sony Music Entertainment   SR0000138313
 3793 Suicide Silence                       Bludgeoned to Death                                Sony Music Entertainment   SR0000623967
 3794 Suicide Silence                       Cancerous Skies                                    Sony Music Entertainment   SR0000697040
 3795 Suicide Silence                       Cross-Eyed Catastrophe                             Sony Music Entertainment   SR0000697040
 3796 Suicide Silence                       Destruction of a Statue (Bonus Track)              Sony Music Entertainment   SR0000623967
 3797 Suicide Silence                       Disengage                                          Sony Music Entertainment   SR0000643826
 3798 Suicide Silence                       Eyes Sewn Shut                                     Sony Music Entertainment   SR0000623967
 3799 Suicide Silence                       Fuck Everything                                    Sony Music Entertainment   SR0000697040
 3800 Suicide Silence                       Genocide                                           Sony Music Entertainment   SR0000643826
 3801 Suicide Silence                       Girl of Glass                                      Sony Music Entertainment   SR0000623967
 3802 Suicide Silence                       Green Monster                                      Sony Music Entertainment   SR0000623967
 3803 Suicide Silence                       Hands of a Killer                                  Sony Music Entertainment   SR0000623967
 3804 Suicide Silence                       Human Violence                                     Sony Music Entertainment   SR0000697040
 3805 Suicide Silence                       In a Photograph                                    Sony Music Entertainment   SR0000623967
 3806 Suicide Silence                       March To The Black Crown                           Sony Music Entertainment   SR0000697040
 3807 Suicide Silence                       No Pity For a Coward                               Sony Music Entertainment   SR0000623967
 3808 Suicide Silence                       No Time To Bleed                                   Sony Music Entertainment   SR0000643826
 3809 Suicide Silence                       O.C.D.                                             Sony Music Entertainment   SR0000697040
 3810 Suicide Silence                       Slaves to Substance                                Sony Music Entertainment   SR0000697040
 3811 Suicide Silence                       Smashed                                            Sony Music Entertainment   SR0000697040
 3812 Suicide Silence                       The Disease                                        Sony Music Entertainment   SR0000623967
 3813 Suicide Silence                       The Fallen                                         Sony Music Entertainment   SR0000623967
 3814 Suicide Silence                       The Only Thing That Sets Us Apart                  Sony Music Entertainment   SR0000697040
 3815 Suicide Silence                       The Price of Beauty                                Sony Music Entertainment   SR0000623967
 3816 Suicide Silence                       Unanswered                                         Sony Music Entertainment   SR0000623967
 3817 Suicide Silence                       Witness the Addiction                              Sony Music Entertainment   SR0000697040
 3818 Suicide Silence                       You Only Live Once                                 Sony Music Entertainment   SR0000697040
 3819 Switchfoot                            Adding To The Noise                                Sony Music Entertainment   SR0000347967
 3820 Switchfoot                            Ammunition                                         Sony Music Entertainment   SR0000347967
 3821 Switchfoot                            Gone                                               Sony Music Entertainment   SR0000347967
 3822 Switchfoot                            Meant To Live                                      Sony Music Entertainment   SR0000347967
 3823 Switchfoot                            More Than Fine                                     Sony Music Entertainment   SR0000347967
 3824 Switchfoot                            On Fire                                            Sony Music Entertainment   SR0000347967
 3825 Switchfoot                            Redemption                                         Sony Music Entertainment   SR0000347967
 3826 Switchfoot                            The Beautiful Letdown                              Sony Music Entertainment   SR0000347967
 3827 Switchfoot                            Twenty-four                                        Sony Music Entertainment   SR0000347967
 3828 System Of A Down                      Attack                                             Sony Music Entertainment   SR0000388170
 3829 System Of A Down                      B.Y.O.B.                                           Sony Music Entertainment   SR0000718994
 3830 System Of A Down                      Cigaro                                             Sony Music Entertainment   SR0000372792
 3831 System of a Down                      Dreaming                                           Sony Music Entertainment   SR0000388170
 3832 System Of A Down                      Holy Mountains                                     Sony Music Entertainment   SR0000388170
 3833 System Of A Down                      Hypnotize                                          Sony Music Entertainment   SR0000748788
 3834 System of a Down                      Kill Rock 'n Roll                                  Sony Music Entertainment   SR0000388170
 3835 System Of A Down                      Lonely Day                                         Sony Music Entertainment   SR0000388170
 3836 System of a Down                      Lost In Hollywood                                  Sony Music Entertainment   SR0000372792
 3837 System Of A Down                      Old School Hollywood                               Sony Music Entertainment   SR0000372792
 3838 System Of A Down                      Question!                                          Sony Music Entertainment   SR0000372792
 3839 System Of A Down                      Radio/Video                                        Sony Music Entertainment   SR0000372792
 3840 System Of A Down                      Revenga                                            Sony Music Entertainment   SR0000372792
 3841 System Of A Down                      Sad Statue                                         Sony Music Entertainment   SR0000372792
 3842 System Of A Down                      She's Like Heroin                                  Sony Music Entertainment   SR0000388170
 3843 System of a Down                      Soldier Side                                       Sony Music Entertainment   SR0000388170
 3844 System Of A Down                      Soldier Side - Intro                               Sony Music Entertainment   SR0000372792
 3845 System Of A Down                      Stealing Society                                   Sony Music Entertainment   SR0000388170
 3846 System Of A Down                      Tentative                                          Sony Music Entertainment   SR0000388170
 3847 System Of A Down                      This Cocaine Makes Me Feel Like I'm On This Song   Sony Music Entertainment   SR0000372792
 3848 System Of A Down                      U-Fig                                              Sony Music Entertainment   SR0000388170
 3849 System Of A Down                      Vicinity Of Obscenity                              Sony Music Entertainment   SR0000388170
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 3850 System Of A Down                      Violent Pornography                       Sony Music Entertainment   SR0000372792
 3851 T-Pain feat. B.o.B                    Up Down (Do This All Day)                 Sony Music Entertainment   SR0000766922
 3852 Teddy Pendergrass                     All I Need Is You                         Sony Music Entertainment   SR0000012942
 3853 Teddy Pendergrass                     And If I Had                              Sony Music Entertainment   RE0000926587
 3854 Teddy Pendergrass                     Be Sure                                   Sony Music Entertainment   RE0000926587
 3855 Teddy Pendergrass                     Cold, Cold World                          Sony Music Entertainment   SR0000002510
 3856 Teddy Pendergrass                     Do Me                                     Sony Music Entertainment   SR0000012942
 3857 Teddy Pendergrass                     Easy, Easy, Got To Take It Easy           Sony Music Entertainment   RE0000926587
 3858 Teddy Pendergrass                     Get Up, Get Down, Get Funky, Get Loose    Sony Music Entertainment   SR0000002555
 3859 Teddy Pendergrass                     Girl You Know                             Sony Music Entertainment   SR0000019849
 3860 Teddy Pendergrass                     I Just Called to Say                      Sony Music Entertainment   SR0000019849
 3861 Teddy Pendergrass                     I'll Never See Heaven Again               Sony Music Entertainment   SR0000012942
 3862 Teddy Pendergrass                     If You Know Like I Know                   Sony Music Entertainment   SR0000009608
 3863 Teddy Pendergrass                     Is It Still Good To Ya?                   Sony Music Entertainment   SR0000019849
 3864 Teddy Pendergrass                     It Don't Hurt Now                         Sony Music Entertainment   SR0000002510
 3865 Teddy Pendergrass                     Let Me Love You                           Sony Music Entertainment   SR0000019849
 3866 Teddy Pendergrass                     Life Is A Circle                          Sony Music Entertainment   SR0000012942
 3867 Teddy Pendergrass                     Life Is A Song Worth Singing              Sony Music Entertainment   SR0000002510
 3868 Teddy Pendergrass                     Set Me Free                               Sony Music Entertainment   SR0000012942
 3869 Teddy Pendergrass                     Somebody Told Me                          Sony Music Entertainment   RE0000926587
 3870 Teddy Pendergrass                     When Somebody Loves You Back              Sony Music Entertainment   SR0000002510
 3871 Teddy Pendergrass                     You Can't Hide From Yourself              Sony Music Entertainment   RE0000926587
 3872 Teddy Pendergrass & Stephanie Mills   Feel the Fire                             Sony Music Entertainment   SR0000019849
 3873 Teddy Pendergrass & Stephanie Mills   Take Me In Your Arms Tonight              Sony Music Entertainment   SR0000019849
 3874 Teena Marie                           Call Me (I Got Yo Number)                 Sony Music Entertainment   SR0000090900
 3875 Teena Marie                           Cassanova Brown                           Sony Music Entertainment   SR0000050515
 3876 Teena Marie                           Dear Lover                                Sony Music Entertainment   SR0000050515
 3877 Teena Marie                           Here's Looking At You                     Sony Music Entertainment   SR0000134764
 3878 Teena Marie                           If I Were a Bell                          Sony Music Entertainment   SR0000134764
 3879 Teena Marie                           Lovergirl                                 Sony Music Entertainment   SR0000061732
 3880 Teena Marie                           My Dear Mr. Gaye                          Sony Music Entertainment   SR0000062234
 3881 Teena Marie                           Out On A Limb                             Sony Music Entertainment   SR0000062234
 3882 Teena Marie                           Work It                                   Sony Music Entertainment   SR0000090900
 3883 The Clash                             Bankrobber                                Sony Music Entertainment   SR0000030054
 3884 The Clash                             Brand New Cadillac                        Sony Music Entertainment   SR0000016270
 3885 The Clash                             Capital Radio One                         Sony Music Entertainment   SR0000030054
 3886 The Clash                             Career Opportunities                      Sony Music Entertainment   SR0000293426
 3887 The Clash                             Cheat                                     Sony Music Entertainment   SR0000030054
 3888 The Clash                             Clampdown                                 Sony Music Entertainment   SR0000016270
 3889 The Clash                             Complete Control                          Sony Music Entertainment   SR0000293426
 3890 The Clash                             Death Or Glory                            Sony Music Entertainment   SR0000016270
 3891 The Clash                             English Civil War                         Sony Music Entertainment   SR0000006482
 3892 The Clash                             Four Horsemen                             Sony Music Entertainment   SR0000016270
 3893 The Clash                             Ghetto Defendant                          Sony Music Entertainment   SR0000034959
 3894 The Clash                             Groovy Times                              Sony Music Entertainment   SR0000013444
 3895 The Clash                             Hateful                                   Sony Music Entertainment   SR0000016270
 3896 The Clash                             I Fought The Law                          Sony Music Entertainment   SR0000013444
 3897 The Clash                             I'm Not Down                              Sony Music Entertainment   SR0000016270
 3898 The Clash                             Ivan Meets G.I. Joe                       Sony Music Entertainment   SR0000024334
 3899 The Clash                             Jimmy Jazz                                Sony Music Entertainment   SR0000016270
 3900 The Clash                             Julie's Been Working for the Drug Squad   Sony Music Entertainment   SR0000006482
 3901 The Clash                             Koka Kola                                 Sony Music Entertainment   SR0000016270
 3902 The Clash                             London Calling                            Sony Music Entertainment   SR0000016270
 3903 The Clash                             Lost In The Supermarket                   Sony Music Entertainment   SR0000016270
 3904 The Clash                             Lover's Rock                              Sony Music Entertainment   SR0000016270
 3905 The Clash                             Police on my Back                         Sony Music Entertainment   SR0000024334
 3906 The Clash                             Revolution Rock                           Sony Music Entertainment   SR0000016270
 3907 The Clash                             Rock the Casbah                           Sony Music Entertainment   SR0000034959
 3908 The Clash                             Rudie Can't Fail                          Sony Music Entertainment   SR0000016270
 3909 The Clash                             Safe European Home                        Sony Music Entertainment   SR0000006482
 3910 The Clash                             Should I Stay Or Should I Go              Sony Music Entertainment   SR0000034959
 3911 The Clash                             Somebody Got Murdered                     Sony Music Entertainment   SR0000024334
 3912 The Clash                             Spanish Bombs                             Sony Music Entertainment   SR0000016270
 3913 The Clash                             Stay Free                                 Sony Music Entertainment   SR0000006482
 3914 The Clash                             Straight to Hell                          Sony Music Entertainment   SR0000034959
 3915 The Clash                             The Card Cheat                            Sony Music Entertainment   SR0000016270
 3916 The Clash                             The Guns Of Brixton                       Sony Music Entertainment   SR0000016270
 3917 The Clash                             The Right Profile                         Sony Music Entertainment   SR0000016270
 3918 The Clash                             The Street Parade                         Sony Music Entertainment   SR0000024334
 3919 The Clash                             This is England                           Sony Music Entertainment   SR0000070039
 3920 The Clash                             This Is Radio Clash                       Sony Music Entertainment   SR0000033898
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 3921 The Clash                      Tommy Gun                         Sony Music Entertainment   SR0000006482
 3922 The Clash                      Train In Vain                     Sony Music Entertainment   SR0000293426
 3923 The Clash                      Wrong 'Em Boyo                    Sony Music Entertainment   SR0000016270
 3924 The Fabulous Thunderbirds      Look at That, Look at That        Sony Music Entertainment   SR0000076616
 3925 The Fabulous Thunderbirds      Two Time My Lovin                 Sony Music Entertainment   SR0000076616
 3926 The Fabulous Thunderbirds      Why Get Up                        Sony Music Entertainment   SR0000076616
 3927 The Fabulous Thunderbirds      Wrap It Up                        Sony Music Entertainment   SR0000076616
 3928 The Fugees                     Cowboys                           Sony Music Entertainment   SR0000222005
 3929 The Fugees                     Family Business                   Sony Music Entertainment   SR0000222005
 3930 The Fugees                     Killing Me Softly With His Song   Sony Music Entertainment   SR0000222005
 3931 The Fugees                     The Beast                         Sony Music Entertainment   SR0000222005
 3932 The Neighbourhood              Sweater Weather                   Sony Music Entertainment   SR0000728982
 3933 Three 6 Mafia                  Stay Fly                          Sony Music Entertainment   PA0001305910
 3934 Three Days Grace               Animal I Have Become              Sony Music Entertainment   SR0000719115
 3935 Three Days Grace               Bitter Taste                      Sony Music Entertainment   SR0000641798
 3936 Three Days Grace               Break                             Sony Music Entertainment   SR0000641798
 3937 Three Days Grace               Goin' Down                        Sony Music Entertainment   SR0000641798
 3938 Three Days Grace               Last To Know                      Sony Music Entertainment   SR0000641798
 3939 Three Days Grace               Life Starts Now                   Sony Music Entertainment   SR0000641798
 3940 Three Days Grace               Lost In You                       Sony Music Entertainment   SR0000641798
 3941 Three Days Grace               No More                           Sony Music Entertainment   SR0000641798
 3942 Three Days Grace               Someone Who Cares                 Sony Music Entertainment   SR0000641798
 3943 Three Days Grace               The Good Life                     Sony Music Entertainment   SR0000641798
 3944 Three Days Grace               Without You                       Sony Music Entertainment   SR0000641798
 3945 Three Days Grace               World So Cold                     Sony Music Entertainment   SR0000641798
 3946 Tinashe feat. Schoolboy Q      2 On                              Sony Music Entertainment   SR0000763606
 3947 Tony Bennett & Amy Winehouse   Body And Soul                     Sony Music Entertainment   SR0000701447
 3948 Train                          50 Ways To Say Goodbye            Sony Music Entertainment   SR0000700152
 3949 Train                          Drive By                          Sony Music Entertainment   SR0000700152
 3950 Tyler Farr                     Ain't Even Drinkin'               Sony Music Entertainment   SR0000735228
 3951 Tyler Farr                     Cowgirl                           Sony Music Entertainment   SR0000735228
 3952 Tyler Farr                     Dirty                             Sony Music Entertainment   SR0000735228
 3953 Tyler Farr                     Hello Goodbye                     Sony Music Entertainment   SR0000729158
 3954 Tyler Farr                     Living With the Blues             Sony Music Entertainment   SR0000735228
 3955 Tyler Farr                     Makes You Wanna Drink             Sony Music Entertainment   SR0000729124
 3956 Tyler Farr                     Redneck Crazy                     Sony Music Entertainment   SR0000729105
 3957 Tyler Farr                     Whiskey in My Water               Sony Music Entertainment   SR0000735228
 3958 Tyler Farr                     Wish I Had a Boat                 Sony Music Entertainment   SR0000735228
 3959 Tyler Farr feat. Colt Ford     Chicks, Trucks, and Beer          Sony Music Entertainment   SR0000735228
 3960 Usher                          2nd Round                         Sony Music Entertainment   SR0000731104
 3961 Usher                          Can't Stop Won't Stop             Sony Music Entertainment   SR0000731104
 3962 Usher                          Climax                            Sony Music Entertainment   SR0000731104
 3963 Usher                          Dive                              Sony Music Entertainment   SR0000731104
 3964 Usher                          Euphoria                          Sony Music Entertainment   SR0000731104
 3965 Usher                          Hey Daddy (Daddy's Home)          Sony Music Entertainment   SR0000652023
 3966 Usher                          I Care For U                      Sony Music Entertainment   SR0000731104
 3967 Usher                          I.F.U.                            Sony Music Entertainment   SR0000731104
 3968 Usher                          Lemme See                         Sony Music Entertainment   SR0000731104
 3969 Usher                          Lessons For The Lover             Sony Music Entertainment   SR0000731104
 3970 Usher                          Love In This Club                 Sony Music Entertainment   SR0000742199
 3971 Usher                          Love In This Club (Clean)         Sony Music Entertainment   SR0000742199
 3972 Usher                          More                              Sony Music Entertainment   SR0000652023
 3973 Usher                          Numb                              Sony Music Entertainment   SR0000731104
 3974 Usher                          Papers                            Sony Music Entertainment   SR0000652023
 3975 Usher                          Say The Words                     Sony Music Entertainment   SR0000731104
 3976 Usher                          Show Me                           Sony Music Entertainment   SR0000731104
 3977 Usher                          Sins Of My Father                 Sony Music Entertainment   SR0000731104
 3978 Usher                          There Goes My Baby                Sony Music Entertainment   SR0000652023
 3979 Usher                          What Happened To U                Sony Music Entertainment   SR0000731104
 3980 Usher feat. Nicki Minaj        Lil Freak                         Sony Music Entertainment   SR0000652023
 3981 Usher feat. T.I.               Guilty                            Sony Music Entertainment   SR0000652023
 3982 Usher feat. will.i.am          OMG                               Sony Music Entertainment   PA0001700214
 3983 Usher featuring A$AP Rocky     Hot Thing                         Sony Music Entertainment   SR0000731104
 3984 Usher featuring Luke Steele    Looking 4 Myself                  Sony Music Entertainment   SR0000731104
 3985 Walk The Moon                  Anna Sun                          Sony Music Entertainment   SR0000709118
 3986 WALK THE MOON                  Next In Line                      Sony Music Entertainment   SR0000709118
 3987 WALK THE MOON                  Tightrope                         Sony Music Entertainment   SR0000709118
 3988 Warrant                        32 Pennies                        Sony Music Entertainment   SR0000103108
 3989 Warrant                        Bed Of Roses                      Sony Music Entertainment   SR0000122785
 3990 Warrant                        Big Talk                          Sony Music Entertainment   SR0000103108
 3991 Warrant                        Cherry Pie                        Sony Music Entertainment   SR0000122785
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 3992 Warrant             D.R.F.S.R.                                                Sony Music Entertainment    SR0000103108
 3993 Warrant             Down Boys                                                 Sony Music Entertainment    SR0000103108
 3994 Warrant             Heaven                                                    Sony Music Entertainment    SR0000103108
 3995 Warrant             I Saw Red                                                 Sony Music Entertainment    SR0000122785
 3996 Warrant             Mr. Rainmaker                                             Sony Music Entertainment    SR0000122785
 3997 Warrant             Sometimes She Cries                                       Sony Music Entertainment    SR0000103108
 3998 Warrant             Sure Feels Good to Me                                     Sony Music Entertainment    SR0000122785
 3999 Warrant             The Hole In My Wall                                       Sony Music Entertainment    SR0000146976
 4000 Warrant             Train, Train                                              Sony Music Entertainment    SR0000122785
 4001 Warrant             Uncle Tom's Cabin                                         Sony Music Entertainment    SR0000122785
 4002 Weird Al Yankovic   (This Song's Just) Six Words Long                         Sony Music Entertainment    SR0000088931
 4003 Weird Al Yankovic   Alimony                                                   Sony Music Entertainment    SR0000088931
 4004 Weird Al Yankovic   Another One Rides The Bus                                 Sony Music Entertainment    SR0000046144

 4005 Weird Al Yankovic   Attack Of The Radioactive Hamsters From A Planet Near Mars Sony Music Entertainment   SR0000108100
 4006 Weird Al Yankovic   Buckingham Blues                                           Sony Music Entertainment   SR0000046320
 4007 Weird Al Yankovic   Buy Me A Condo                                             Sony Music Entertainment   SR0000054056
 4008 Weird Al Yankovic   Cable TV                                                   Sony Music Entertainment   SR0000068020
 4009 Weird Al Yankovic   Christmas At Ground Zero                                   Sony Music Entertainment   SR0000078099
 4010 Weird Al Yankovic   Dare To Be Stupid                                          Sony Music Entertainment   SR0000068020
 4011 Weird Al Yankovic   Dog Eat Dog                                                Sony Music Entertainment   SR0000078099
 4012 Weird Al Yankovic   Eat It                                                     Sony Music Entertainment   SR0000054439
 4013 Weird Al Yankovic   Fat                                                        Sony Music Entertainment   SR0000088931
 4014 Weird Al Yankovic   Fun Zone                                                   Sony Music Entertainment   SR0000108100
 4015 Weird Al Yankovic   Gandhi II                                                  Sony Music Entertainment   SR0000108100
 4016 Weird Al Yankovic   Generic Blues                                              Sony Music Entertainment   SR0000108100
 4017 Weird Al Yankovic   George Of The Jungle                                       Sony Music Entertainment   SR0000068020
 4018 Weird Al Yankovic   Girls Just Want To Have Lunch                              Sony Music Entertainment   SR0000068020
 4019 Weird Al Yankovic   Good Enough For Now                                        Sony Music Entertainment   SR0000078099
 4020 Weird Al Yankovic   Good Old Days                                              Sony Music Entertainment   SR0000088931
 4021 Weird Al Yankovic   Gotta Boogie                                               Sony Music Entertainment   SR0000046144
 4022 Weird Al Yankovic   Happy Birthday                                             Sony Music Entertainment   SR0000046144
 4023 Weird Al Yankovic   Here's Johnny                                              Sony Music Entertainment   SR0000078099
 4024 Weird Al Yankovic   Hooked On Polkas                                           Sony Music Entertainment   SR0000068020
 4025 Weird Al Yankovic   I Lost On Jeopardy                                         Sony Music Entertainment   SR0000054056
 4026 Weird Al Yankovic   I Love Rocky Road                                          Sony Music Entertainment   SR0000046144
 4027 Weird Al Yankovic   I Want A New Duck                                          Sony Music Entertainment   SR0000068020
 4028 Weird Al Yankovic   I'll Be Mellow When I'm Dead                               Sony Music Entertainment   SR0000046144
 4029 Weird Al Yankovic   Isle Thing                                                 Sony Music Entertainment   SR0000108100
 4030 Weird Al Yankovic   King Of Suede                                              Sony Music Entertainment   SR0000054056
 4031 Weird Al Yankovic   Lasagna                                                    Sony Music Entertainment   SR0000088931
 4032 Weird Al Yankovic   Like A Surgeon                                             Sony Music Entertainment   PA0000254936
 4033 Weird Al Yankovic   Melanie                                                    Sony Music Entertainment   SR0000088931
 4034 Weird Al Yankovic   Midnight Star                                              Sony Music Entertainment   SR0000054056
 4035 Weird Al Yankovic   Money for Nothing/Beverly Hillbillies                      Sony Music Entertainment   SR0000108100
 4036 Weird Al Yankovic   Mr. Frump In The Iron Lung                                 Sony Music Entertainment   SR0000046144
 4037 Weird Al Yankovic   Mr. Popeil                                                 Sony Music Entertainment   SR0000054056
 4038 Weird Al Yankovic   Nature Trail To Hell                                       Sony Music Entertainment   SR0000054056
 4039 Weird Al Yankovic   One More Minute                                            Sony Music Entertainment   SR0000068020
 4040 Weird Al Yankovic   One Of Those Days                                          Sony Music Entertainment   SR0000078099
 4041 Weird Al Yankovic   Polka Party                                                Sony Music Entertainment   SR0000078099
 4042 Weird Al Yankovic   Polkas On 45                                               Sony Music Entertainment   SR0000054056
 4043 Weird Al Yankovic   Ricky                                                      Sony Music Entertainment   SR0000046320
 4044 Weird Al Yankovic   She Drives Like Crazy                                      Sony Music Entertainment   SR0000108100
 4045 Weird Al Yankovic   Spam                                                       Sony Music Entertainment   SR0000108100
 4046 Weird Al Yankovic   Spatula City                                               Sony Music Entertainment   SR0000108100
 4047 Weird Al Yankovic   Stop Draggin' My Car Around                                Sony Music Entertainment   SR0000046144
 4048 Weird Al Yankovic   Such A Groovy Guy                                          Sony Music Entertainment   SR0000046144
 4049 Weird Al Yankovic   That Boy Could Dance                                       Sony Music Entertainment   SR0000054439
 4050 Weird Al Yankovic   The Biggest Ball Of Twine In Minnesota                     Sony Music Entertainment   SR0000108100
 4051 Weird Al Yankovic   The Brady Bunch                                            Sony Music Entertainment   SR0000054056
 4052 Weird Al Yankovic   The Check's In The Mail                                    Sony Music Entertainment   SR0000046144
 4053 Weird Al Yankovic   The Hot Rocks Polka                                        Sony Music Entertainment   SR0000108100
 4054 Weird Al Yankovic   Theme From Rocky XIII                                      Sony Music Entertainment   SR0000054056
 4055 Weird Al Yankovic   This Is The Life                                           Sony Music Entertainment   SR0000068020
 4056 Weird Al Yankovic   Toothless People                                           Sony Music Entertainment   SR0000078099
 4057 Weird Al Yankovic   Twister                                                    Sony Music Entertainment   SR0000088931
 4058 Weird Al Yankovic   Uhf                                                        Sony Music Entertainment   SR0000108100
 4059 Weird Al Yankovic   Velvet Elvis                                               Sony Music Entertainment   SR0000088931
 4060 Weird Al Yankovic   Yoda                                                       Sony Music Entertainment   SR0000068020
 4061 Weird Al Yankovic   You Make Me                                                Sony Music Entertainment   SR0000088931
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 4062 Will Smith                       Just The Two Of Us                             Sony Music Entertainment         SR0000249123
 4063 Willie Nelson                    Always On My Mind                              Sony Music Entertainment         SR0000034836
 4064 Willie Nelson                    Angel Flying Too Close To The Ground           Sony Music Entertainment         SR0000033917
 4065 Willie Nelson                    City Of New Orleans                            Sony Music Entertainment         SR0000055605
 4066 Willie Nelson                    Forgiving You Was Easy                         Sony Music Entertainment         SR0000064588
 4067 Willie Nelson                    Good Hearted Woman                             Sony Music Entertainment         SR0000004979
 4068 Willie Nelson                    Graceland                                      Sony Music Entertainment         SR0000153066
 4069 Willie Nelson                    Last Thing I Needed First Thing This Morning   Sony Music Entertainment         SR0000034842
 4070 Willie Nelson                    My Heroes Have Always Been Cowboys             Sony Music Entertainment         SR0000015871
 4071 Willie Nelson                    On The Road Again                              Sony Music Entertainment         SR0000034019
 4072 Willie Nelson with Ray Charles   Seven Spanish Angels                           Sony Music Entertainment         SR0000058443
 4073 Willie Nelson with Ray Price     Faded Love                                     Sony Music Entertainment         SR0000019676
 4074 Electric Light Orchestra         Confusion                                      Sony Music Entertainment         SR0000012943
 4075 Electric Light Orchestra         Don't Bring Me Down                            Sony Music Entertainment         SR0000012943
 4076 Electric Light Orchestra         Last Train to London                           Sony Music Entertainment         SR0000012943
 4077 Electric Light Orchestra         The Diary Of Horace Wimp                       Sony Music Entertainment         SR0000012943
 4078 Marc Anthony                     A Quién Quiero Mentirle                        Sony Music Entertainment US LatinSR0000654928
                                                                                                                        LLC
 4079 Marc Anthony                     Amada Amante                                   Sony Music Entertainment US LatinSR0000654928
                                                                                                                        LLC
 4080 Marc Anthony                     Te Lo Pido Por Favor                           Sony Music Entertainment US LatinSR0000654928
                                                                                                                        LLC
 4081 Marc Anthony                     Y Cómo Es El                                   Sony Music Entertainment US LatinSR0000654928
                                                                                                                        LLC
 4082 Shakira                          La Tortura                                     Latin LLC                        SR0000711081
 4083 2 Chainz                         Feds Watching                                  UMG Recordings, Inc.             SR0000724645
 4084 2 Chainz                         Ghetto Dreams                                  UMG Recordings, Inc.             SR0000706415
 4085 2 Chainz                         No Lie                                         UMG Recordings, Inc.             SR0000700831
 4086 2 Chainz                         Wut We Doin?                                   UMG Recordings, Inc.             SR0000706415
 4087 2Pac                             2 Of Amerikaz Most Wanted (Explicit)           UMG Recordings, Inc.             SR0000628433
 4088 2Pac                             Brenda's Got A Baby                            UMG Recordings, Inc.             SR0000172261
 4089 2Pac                             California Love                                UMG Recordings, Inc.             SR0000628433
 4090 2Pac                             Can U Get Away (Explicit)                      UMG Recordings, Inc.             SR0000198774
 4091 2Pac                             Changes                                        UMG Recordings, Inc.             SR0000246223
 4092 2Pac                             Dear Mama                                      UMG Recordings, Inc.             SR0000198941
 4093 2Pac                             Death Around The Corner                        UMG Recordings, Inc.             SR0000198774
 4094 2Pac                             Definition Of A Thug N***a                     UMG Recordings, Inc.             SR0000627960
 4095 2Pac                             Dopefiend's Diner                              UMG Recordings, Inc.             SR0000627960
 4096 2Pac                             Fuck The World (Explicit)                      UMG Recordings, Inc.             SR0000198774
 4097 2Pac                             Ghetto Gospel (Explicit)                       UMG Recordings, Inc.             SR0000366107
 4098 2Pac                             Hail Mary                                      UMG Recordings, Inc.             SR0000628433
 4099 2Pac                             Heavy In The Game (Explicit)                   UMG Recordings, Inc.             SR0000198774
 4100 2Pac                             How Do U Want It                               UMG Recordings, Inc.             SR0000628433
 4101 2Pac                             I Ain't Mad At Cha                             UMG Recordings, Inc.             SR0000628433
 4102 2Pac                             If I Die 2Nite                                 UMG Recordings, Inc.             SR0000198774
 4103 2Pac                             It Ain't Easy (Explicit)                       UMG Recordings, Inc.             SR0000198774
 4104 2Pac                             Keep Ya Head Up                                UMG Recordings, Inc.             SR0000152641
 4105 2Pac                             Lord Knows                                     UMG Recordings, Inc.             SR0000198774
 4106 2Pac                             Me Against The World                           UMG Recordings, Inc.             SR0000198774
 4107 2Pac                             Never Call U B**** Again                       UMG Recordings, Inc.             SR0000323532
 4108 2Pac                             Old School (Explicit)                          UMG Recordings, Inc.             SR0000198774
 4109 2Pac                             Resist The Temptation                          UMG Recordings, Inc.             SR0000628433
 4110 2Pac                             So Many Tears                                  UMG Recordings, Inc.             SR0000198774
 4111 2Pac                             Still Ballin' (Explicit)                       UMG Recordings, Inc.             SR0000323532
 4112 2Pac                             Temptations (Explicit)                         UMG Recordings, Inc.             SR0000198774
 4113 2Pac                             They Don't Give A F**** About Us               UMG Recordings, Inc.             SR0000323532
 4114 2Pac                             Thugz Mansion (Explicit)                       UMG Recordings, Inc.             SR0000323532
 4115 2Pac                             Trapped                                        UMG Recordings, Inc.             SR0000172261
 4116 2Pac                             Unconditional Love                             UMG Recordings, Inc.             SR0000246223
 4117 2Pac                             Until The End Of Time                          UMG Recordings, Inc.             SR0000295873
 4118 2Pac                             When I Get Free (Explicit)                     UMG Recordings, Inc.             SR0000627960
 4119 2Pac                             Young Niggaz (Explicit)                        UMG Recordings, Inc.             SR0000198774
 4120 50 Cent                          A Baltimore Love Thing                         UMG Recordings, Inc.             SR0000366051
 4121 50 Cent                          Build You Up                                   UMG Recordings, Inc.             SR0000366051
 4122 50 Cent                          Candy Shop                                     UMG Recordings, Inc.             SR0000366051
 4123 50 Cent                          Come & Go                                      UMG Recordings, Inc.             SR0000611234
 4124 50 Cent                          Disco Inferno                                  UMG Recordings, Inc.             SR0000366950
 4125 50 Cent                          GATman And Robbin                              UMG Recordings, Inc.             SR0000366051
 4126 50 Cent                          Get In My Car                                  UMG Recordings, Inc.             SR0000366051
 4127 50 Cent                          God Gave Me Style                              UMG Recordings, Inc.             SR0000366051
 4128 50 Cent                          Gunz Come Out                                  UMG Recordings, Inc.             SR0000366051
 4129 50 Cent                          Hate It Or Love It                             UMG Recordings, Inc.             SR0000366051
 4130 50 Cent                          Hustler's Ambition                             UMG Recordings, Inc.             SR0000382030
 4131 50 Cent                          I Don't Need 'Em                               UMG Recordings, Inc.             SR0000366051
 4132 50 Cent                          I'm Supposed To Die Tonight                    UMG Recordings, Inc.             SR0000366051
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 4133 50 Cent            Intro/ 50 Cent/ The Massacre   UMG Recordings, Inc.   SR0000366051
 4134 50 Cent            Just A Lil Bit                 UMG Recordings, Inc.   SR0000366051
 4135 50 Cent            My Toy Soldier                 UMG Recordings, Inc.   SR0000366051
 4136 50 Cent            Outta Control                  UMG Recordings, Inc.   SR0000366051
 4137 50 Cent            Piggy Bank                     UMG Recordings, Inc.   SR0000366051
 4138 50 Cent            Position Of Power              UMG Recordings, Inc.   SR0000366051
 4139 50 Cent            Ryder Music                    UMG Recordings, Inc.   SR0000366051
 4140 50 Cent            Ski Mask Way                   UMG Recordings, Inc.   SR0000366051
 4141 50 Cent            So Amazing                     UMG Recordings, Inc.   SR0000366051
 4142 50 Cent            This Is 50                     UMG Recordings, Inc.   SR0000366051
 4143 A Perfect Circle   A Stranger                     UMG Recordings, Inc.   SR0000341312
 4144 A Perfect Circle   Crimes                         UMG Recordings, Inc.   SR0000341312
 4145 A Perfect Circle   Gravity                        UMG Recordings, Inc.   SR0000341312
 4146 A Perfect Circle   Lullaby                        UMG Recordings, Inc.   SR0000341312
 4147 A Perfect Circle   Pet                            UMG Recordings, Inc.   SR0000341312
 4148 A Perfect Circle   The Noose                      UMG Recordings, Inc.   SR0000341312
 4149 A Perfect Circle   The Nurse Who Loved Me         UMG Recordings, Inc.   SR0000341312
 4150 A Perfect Circle   Vanishing                      UMG Recordings, Inc.   SR0000341312
 4151 A Perfect Circle   Weak And Powerless             UMG Recordings, Inc.   SR0000341312
 4152 Ace Hood           Hustle Hard                    UMG Recordings, Inc.   SR0000681567
 4153 Aerosmith          Amazing                        UMG Recordings, Inc.   SR0000200298
 4154 Aerosmith          Angel                          UMG Recordings, Inc.   SR0000085369
 4155 Aerosmith          Crazy                          UMG Recordings, Inc.   SR0000153061
 4156 Aerosmith          Cryin'                         UMG Recordings, Inc.   SR0000153061
 4157 Aerosmith          Deuces Are Wild                UMG Recordings, Inc.   SR0000200298
 4158 Aerosmith          Dude (Looks Like A Lady)       UMG Recordings, Inc.   SR0000087670
 4159 Aerosmith          Livin' On The Edge             UMG Recordings, Inc.   SR0000678414
 4160 Aerosmith          Love In An Elevator            UMG Recordings, Inc.   SRu000161912
 4161 Aerosmith          Rag Doll                       UMG Recordings, Inc.   SR0000085369
 4162 Aerosmith          What It Takes                  UMG Recordings, Inc.   SRu000161912
 4163 Akon               Blown Away                     UMG Recordings, Inc.   SR0000610156
 4164 Akon               Gangsta Bop                    UMG Recordings, Inc.   SR0000610156
 4165 Akon               I Can't Wait                   UMG Recordings, Inc.   SR0000610156
 4166 Akon               Mama Africa                    UMG Recordings, Inc.   SR0000610156
 4167 Akon               Never Took The Time            UMG Recordings, Inc.   SR0000610156
 4168 Akon               Once In A While                UMG Recordings, Inc.   SR0000610156
 4169 Akon               Shake Down                     UMG Recordings, Inc.   SR0000610156
 4170 Akon               The Rain                       UMG Recordings, Inc.   SR0000610156
 4171 Akon               Tired Of Runnin'               UMG Recordings, Inc.   SR0000610156
 4172 Alex Clare         Hands Are Clever               UMG Recordings, Inc.   SR0000700527
 4173 Alex Clare         Humming Bird                   UMG Recordings, Inc.   SR0000700527
 4174 Alex Clare         I Won't Let You Down           UMG Recordings, Inc.   SR0000700527
 4175 Alex Clare         Love You                       UMG Recordings, Inc.   SR0000700527
 4176 Alex Clare         Relax My Beloved               UMG Recordings, Inc.   SR0000700527
 4177 Alex Clare         Sanctuary                      UMG Recordings, Inc.   SR0000700527
 4178 Alex Clare         Treading Water                 UMG Recordings, Inc.   SR0000700527
 4179 Alex Clare         Up All Night                   UMG Recordings, Inc.   SR0000700527
 4180 Alex Clare         When Doves Cry                 UMG Recordings, Inc.   SR0000700527
 4181 Alex Clare         Whispering                     UMG Recordings, Inc.   SR0000700527
 4182 Amy Winehouse      (There Is) No Greater Love     UMG Recordings, Inc.   SR0000614121
 4183 Amy Winehouse      A Song For You                 UMG Recordings, Inc.   SR0000695755
 4184 Amy Winehouse      Addicted                       UMG Recordings, Inc.   SR0000407451
 4185 Amy Winehouse      Amy Amy Amy                    UMG Recordings, Inc.   SR0000614121
 4186 Amy Winehouse      Back To Black                  UMG Recordings, Inc.   SR0000407451
 4187 Amy Winehouse      Best Friends, Right?           UMG Recordings, Inc.   SR0000695755
 4188 Amy Winehouse      Between The Cheats             UMG Recordings, Inc.   SR0000695755
 4189 Amy Winehouse      Cupid                          UMG Recordings, Inc.   SR0000636832
 4190 Amy Winehouse      Fuck Me Pumps                  UMG Recordings, Inc.   SR0000614121
 4191 Amy Winehouse      Half Time                      UMG Recordings, Inc.   SR0000695755
 4192 Amy Winehouse      He Can Only Hold Her           UMG Recordings, Inc.   SR0000407451
 4193 Amy Winehouse      Hey Little Rich Girl           UMG Recordings, Inc.   SR0000636832
 4194 Amy Winehouse      I Heard Love Is Blind          UMG Recordings, Inc.   SR0000614121
 4195 Amy Winehouse      In My Bed                      UMG Recordings, Inc.   SR0000614121
 4196 Amy Winehouse      Intro / Stronger Than Me       UMG Recordings, Inc.   SR0000614121
 4197 Amy Winehouse      Just Friends                   UMG Recordings, Inc.   SR0000407451
 4198 Amy Winehouse      Know You Now                   UMG Recordings, Inc.   SR0000614121
 4199 Amy Winehouse      Like Smoke                     UMG Recordings, Inc.   SR0000695755
 4200 Amy Winehouse      Love Is A Losing Game          UMG Recordings, Inc.   SR0000407451
 4201 Amy Winehouse      Love Is A Losing Game (Demo)   UMG Recordings, Inc.   SR0000636832
 4202 Amy Winehouse      Me & Mr Jones                  UMG Recordings, Inc.   SR0000407451
 4203 Amy Winehouse      Monkey Man                     UMG Recordings, Inc.   SR0000636832
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 4204 Amy Winehouse     Moody's Mood For Love                               UMG Recordings, Inc.   SR0000614121

 4205 Amy Winehouse     Mr Magic (Through The Smoke)(Janice Long Session)   UMG Recordings, Inc.   SR0000614121
 4206 Amy Winehouse     October Song                                        UMG Recordings, Inc.   SR0000614121
 4207 Amy Winehouse     Our Day Will Come                                   UMG Recordings, Inc.   SR0000695755
 4208 Amy Winehouse     Rehab                                               UMG Recordings, Inc.   SR0000407451
 4209 Amy Winehouse     Rehab (Remix)                                       UMG Recordings, Inc.   SR0000407451
 4210 Amy Winehouse     Round Midnight                                      UMG Recordings, Inc.   SR0000289898
 4211 Amy Winehouse     Some Unholy War                                     UMG Recordings, Inc.   SR0000407451
 4212 Amy Winehouse     Some Unholy War (Down Tempo)                        UMG Recordings, Inc.   SR0000636832
 4213 Amy Winehouse     Someone To Watch Over Me                            UMG Recordings, Inc.   SR0000614121
 4214 Amy Winehouse     Stronger Than Me                                    UMG Recordings, Inc.   SR0000614121
 4215 Amy Winehouse     Stronger Than Me (Harmonic 33 Remix)                UMG Recordings, Inc.   SR0000614121
 4216 Amy Winehouse     Take The Box                                        UMG Recordings, Inc.   SR0000614121
 4217 Amy Winehouse     Tears Dry                                           UMG Recordings, Inc.   SR0000695755
 4218 Amy Winehouse     Tears Dry On Their Own                              UMG Recordings, Inc.   SR0000407451
 4219 Amy Winehouse     The Girl From Ipanema                               UMG Recordings, Inc.   SR0000695755
 4220 Amy Winehouse     To Know Him Is To Love Him (Live)                   UMG Recordings, Inc.   SR0000636832
 4221 Amy Winehouse     Valerie                                             UMG Recordings, Inc.   SR0000636832
 4222 Amy Winehouse     Wake Up Alone                                       UMG Recordings, Inc.   SR0000407451
 4223 Amy Winehouse     What Is It About Men                                UMG Recordings, Inc.   SR0000614121
 4224 Amy Winehouse     Will You Still Love Me Tomorrow?                    UMG Recordings, Inc.   SR0000695755
 4225 Amy Winehouse     You Know I'm No Good                                UMG Recordings, Inc.   SR0000407451
 4226 Amy Winehouse     You Sent Me Flying                                  UMG Recordings, Inc.   SR0000614121
 4227 Amy Winehouse     You're Wondering Now                                UMG Recordings, Inc.   SR0000636832
 4228 Andrea Bocelli    The Prayer                                          UMG Recordings, Inc.   SR0000772235
 4229 Ariana Grande     The Way                                             UMG Recordings, Inc.   SR0000722427
 4230 Avant             AV                                                  UMG Recordings, Inc.   SR0000339561
 4231 Avant             Call On Me                                          UMG Recordings, Inc.   SR0000308368
 4232 Avant             Destiny                                             UMG Recordings, Inc.   SR0000281220
 4233 Avant             Director                                            UMG Recordings, Inc.   SR0000396388
 4234 Avant             Don't Say No, Just Say Yes                          UMG Recordings, Inc.   SR0000341102
 4235 Avant             Don't Take Your Love Away                           UMG Recordings, Inc.   SR0000339561
 4236 Avant             Everything About You                                UMG Recordings, Inc.   SR0000339561
 4237 Avant             Exclusive                                           UMG Recordings, Inc.   SR0000396388
 4238 Avant             Feast                                               UMG Recordings, Inc.   SR0000339561
 4239 Avant             Flickin'                                            UMG Recordings, Inc.   SR0000339561
 4240 Avant             Get Away                                            UMG Recordings, Inc.   SR0000281220
 4241 Avant             GPSA (Ghetto Public Service Announcement)           UMG Recordings, Inc.   SR0000396388
 4242 Avant             Grown Ass Man                                       UMG Recordings, Inc.   SR0000396388
 4243 Avant             Happy                                               UMG Recordings, Inc.   SR0000281220
 4244 Avant             Have Some Fun                                       UMG Recordings, Inc.   SR0000339561
 4245 Avant             Heaven                                              UMG Recordings, Inc.   SR0000339561
 4246 Avant             Hooked                                              UMG Recordings, Inc.   SR0000339561
 4247 Avant             I Wanna Know                                        UMG Recordings, Inc.   SR0000281220
 4248 Avant             Imagination                                         UMG Recordings, Inc.   SR0000396388
 4249 Avant             Jack & Jill                                         UMG Recordings, Inc.   SR0000308368
 4250 Avant             Let's Make a Deal                                   UMG Recordings, Inc.   SR0000281220
 4251 Avant             Lie About Us                                        UMG Recordings, Inc.   SR0000396388
 4252 Avant             Love School                                         UMG Recordings, Inc.   SR0000308368
 4253 Avant             Makin' Good Love                                    UMG Recordings, Inc.   SR0000308368
 4254 Avant             Mr. Dream                                           UMG Recordings, Inc.   SR0000396388
 4255 Avant             My First Love                                       UMG Recordings, Inc.   SR0000281220
 4256 Avant             No Limit                                            UMG Recordings, Inc.   SR0000308368
 4257 Avant             Now You Got Someone                                 UMG Recordings, Inc.   SR0000396388
 4258 Avant             One Way Street                                      UMG Recordings, Inc.   SR0000308368
 4259 Avant             Ooh Aah                                             UMG Recordings, Inc.   SR0000281220
 4260 Avant             Phone Sex (That's What's Up)                        UMG Recordings, Inc.   SR0000339561
 4261 Avant             Private Room Intro                                  UMG Recordings, Inc.   SR0000339561
 4262 Avant             Reaction                                            UMG Recordings, Inc.   SR0000281220
 4263 Avant             Read Your Mind                                      UMG Recordings, Inc.   SR0000344351
 4264 Avant             Right Place, Wrong Time                             UMG Recordings, Inc.   SR0000396388
 4265 Avant             Seems To Be                                         UMG Recordings, Inc.   SR0000339561
 4266 Avant             Separated                                           UMG Recordings, Inc.   SR0000281220
 4267 Avant             Serious                                             UMG Recordings, Inc.   SR0000281220
 4268 Avant             Six In Da Morning                                   UMG Recordings, Inc.   SR0000308368
 4269 Avant             So Many Ways                                        UMG Recordings, Inc.   SR0000396388
 4270 Avant             Sorry                                               UMG Recordings, Inc.   SR0000308368
 4271 Avant             Suicide                                             UMG Recordings, Inc.   SR0000308368
 4272 Avant             Thinkin' About You                                  UMG Recordings, Inc.   SR0000308368
 4273 Avant             This Is Your Night                                  UMG Recordings, Inc.   SR0000396388
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 4274 Avant              This Time                                          UMG Recordings, Inc.   SR0000281220
 4275 Avant              Wanna Be Close                                     UMG Recordings, Inc.   SR0000339561
 4276 Avant              What Do You Want                                   UMG Recordings, Inc.   SR0000308368
 4277 Avant              Why                                                UMG Recordings, Inc.   SR0000281220
 4278 Avant              With You                                           UMG Recordings, Inc.   SR0000396388
 4279 Avant              You                                                UMG Recordings, Inc.   SR0000339561
 4280 Avant              You Ain't Right                                    UMG Recordings, Inc.   SR0000308368
 4281 Avant              You Got Me                                         UMG Recordings, Inc.   SR0000339561
 4282 Avant              You Know What                                      UMG Recordings, Inc.   SR0000378385
 4283 Avicii             Levels                                             UMG Recordings, Inc.   SR0000698465
 4284 Bad Meets Evil     A Kiss                                             UMG Recordings, Inc.   SR0000678636
 4285 Bad Meets Evil     Above The Law                                      UMG Recordings, Inc.   SR0000678636
 4286 Bad Meets Evil     Above The Law (Explicit)                           UMG Recordings, Inc.   SR0000678636
 4287 Bad Meets Evil     Echo                                               UMG Recordings, Inc.   SR0000678636
 4288 Bad Meets Evil     Fast Lane                                          UMG Recordings, Inc.   SR0000678637
 4289 Bad Meets Evil     I'm On Everything                                  UMG Recordings, Inc.   SR0000678636
 4290 Bad Meets Evil     I'm On Everything (Explicit)                       UMG Recordings, Inc.   SR0000678636
 4291 Bad Meets Evil     Lighters                                           UMG Recordings, Inc.   SR0000678636
 4292 Bad Meets Evil     Living Proof                                       UMG Recordings, Inc.   SR0000678636
 4293 Bad Meets Evil     Loud Noises                                        UMG Recordings, Inc.   SR0000678636
 4294 Bad Meets Evil     Loud Noises (Explicit)                             UMG Recordings, Inc.   SR0000678636
 4295 Bad Meets Evil     Take From Me                                       UMG Recordings, Inc.   SR0000678636
 4296 Bad Meets Evil     The Reunion                                        UMG Recordings, Inc.   SR0000678636
 4297 Bad Meets Evil     The Reunion (Explicit)                             UMG Recordings, Inc.   SR0000678636
 4298 Bad Meets Evil     Welcome 2 Hell                                     UMG Recordings, Inc.   SR0000678636
 4299 Bad Meets Evil     Welcome 2 Hell (Explicit)                          UMG Recordings, Inc.   SR0000678636
 4300 Bastille           Bad Blood                                          UMG Recordings, Inc.   SR0000753441
 4301 Bastille           Bad Blood (Live Piano Version)                     UMG Recordings, Inc.   SR0000753441
 4302 Bastille           Daniel in the Den                                  UMG Recordings, Inc.   SR0000753441
 4303 Bastille           Durban Skies                                       UMG Recordings, Inc.   SR0000748676
 4304 Bastille           Flaws                                              UMG Recordings, Inc.   SR0000753441
 4305 Bastille           Get Home                                           UMG Recordings, Inc.   SR0000753441
 4306 Bastille           Haunt                                              UMG Recordings, Inc.   SR0000728185
 4307 Bastille           Haunt (Demo)                                       UMG Recordings, Inc.   SR0000728185
 4308 Bastille           Icarus                                             UMG Recordings, Inc.   SR0000753441
 4309 Bastille           Laughter Lines                                     UMG Recordings, Inc.   SR0000748676
 4310 Bastille           Laura Palmer                                       UMG Recordings, Inc.   SR0000753441
 4311 Bastille           Laura Palmer (Abbey Road Sessions)                 UMG Recordings, Inc.   SR0000753441
 4312 Bastille           Oblivion                                           UMG Recordings, Inc.   SR0000753441
 4313 Bastille           Of The Night                                       UMG Recordings, Inc.   SR0000748676
 4314 Bastille           Overjoyed                                          UMG Recordings, Inc.   SR0000728185
 4315 Bastille           Poet                                               UMG Recordings, Inc.   SR0000748676
 4316 Bastille           Pompeii                                            UMG Recordings, Inc.   SR0000753441
 4317 Bastille           Previously On Other People's Heartache...          UMG Recordings, Inc.   SR0000748676
 4318 Bastille           Skulls                                             UMG Recordings, Inc.   SR0000748676
 4319 Bastille           Sleepsong                                          UMG Recordings, Inc.   SR0000748676
 4320 Bastille           The Draw                                           UMG Recordings, Inc.   SR0000748676
 4321 Bastille           The Silence                                        UMG Recordings, Inc.   SR0000748676
 4322 Bastille           These Streets                                      UMG Recordings, Inc.   SR0000753441
 4323 Bastille           Things We Lost in the Fire                         UMG Recordings, Inc.   SR0000753441
 4324 Bastille           Things We Lost in the Fire (Abbey Road Sessions)   UMG Recordings, Inc.   SR0000753441
 4325 Bastille           Tuning Out...                                      UMG Recordings, Inc.   SR0000748676
 4326 Bastille           Weight of Living, Pt. I                            UMG Recordings, Inc.   SR0000753441
 4327 Bastille           Weight Of Living, Pt. II                           UMG Recordings, Inc.   SR0000748676
 4328 Bastille           What Would You Do                                  UMG Recordings, Inc.   SR0000748676
 4329 Big Sean           Beware                                             UMG Recordings, Inc.   SR0000730543
 4330 Big Sean           Celebrity                                          UMG Recordings, Inc.   SR0000678630
 4331 Big Sean           Dance (Ass)                                        UMG Recordings, Inc.   SR0000678630
 4332 Big Sean           Don't Tell Me You Love Me                          UMG Recordings, Inc.   SR0000678630
 4333 Big Sean           Get It                                             UMG Recordings, Inc.   SR0000678630
 4334 Big Sean           High                                               UMG Recordings, Inc.   SR0000678630
 4335 Big Sean           Intro                                              UMG Recordings, Inc.   SR0000678630
 4336 Big Sean           Live This Life                                     UMG Recordings, Inc.   SR0000678630
 4337 Big Sean           Marvin & Chardonnay                                UMG Recordings, Inc.   SR0000678630
 4338 Big Sean           Memories Pt 2                                      UMG Recordings, Inc.   SR0000678630
 4339 Big Sean           My House                                           UMG Recordings, Inc.   SR0000678630
 4340 Big Sean           So Much More                                       UMG Recordings, Inc.   SR0000678630
 4341 Big Sean           Wait For Me                                        UMG Recordings, Inc.   SR0000678630
 4342 Big Sean           What Goes Around                                   UMG Recordings, Inc.   SR0000678630
 4343 Billy Currington   23 Degrees And South                               UMG Recordings, Inc.   SR0000730540
 4344 Billy Currington   Another Day Without You                            UMG Recordings, Inc.   SR0000730540
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 4345 Billy Currington           Banana Pancakes                   UMG Recordings, Inc.   SR0000730540
 4346 Billy Currington           Closer Tonight                    UMG Recordings, Inc.   SR0000730540
 4347 Billy Currington           Don't                             UMG Recordings, Inc.   SR0000617590
 4348 Billy Currington           Every Reason Not To Go            UMG Recordings, Inc.   SR0000617590
 4349 Billy Currington           Everything                        UMG Recordings, Inc.   SR0000617590
 4350 Billy Currington           Hallelujah                        UMG Recordings, Inc.   SR0000730540
 4351 Billy Currington           Hard To Be A Hippie               UMG Recordings, Inc.   SR0000730540
 4352 Billy Currington           Heal Me                           UMG Recordings, Inc.   SR0000617590
 4353 Billy Currington           Hey Girl                          UMG Recordings, Inc.   SR0000730540
 4354 Billy Currington           I Shall Return                    UMG Recordings, Inc.   SR0000617590
 4355 Billy Currington           Let Me Down Easy                  UMG Recordings, Inc.   SR0000664523
 4356 Billy Currington           Life, Love And The Meaning Of     UMG Recordings, Inc.   SR0000617590
 4357 Billy Currington           No One Has Eyes Like You          UMG Recordings, Inc.   SR0000617590
 4358 Billy Currington           One Way Ticket                    UMG Recordings, Inc.   SR0000730540
 4359 Billy Currington           People Are Crazy                  UMG Recordings, Inc.   SR0000617590
 4360 Billy Currington           Swimmin' In Sunshine              UMG Recordings, Inc.   SR0000617590
 4361 Billy Currington           That's How Country Boys Roll      UMG Recordings, Inc.   SR0000617590
 4362 Billy Currington           Walk On                           UMG Recordings, Inc.   SR0000617590
 4363 Billy Currington           We Are Tonight                    UMG Recordings, Inc.   SR0000730540
 4364 Billy Currington           Wingman                           UMG Recordings, Inc.   SR0000730540
 4365 Black Eyed Peas            Alive                             UMG Recordings, Inc.   SR0000633584
 4366 Black Eyed Peas            Another Weekend                   UMG Recordings, Inc.   SR0000633584
 4367 Black Eyed Peas            Boom Boom Pow                     UMG Recordings, Inc.   SR0000633584
 4368 Black Eyed Peas            Do It Like This                   UMG Recordings, Inc.   SR0000670148
 4369 Black Eyed Peas            Don't Bring Me Down               UMG Recordings, Inc.   SR0000633584
 4370 Black Eyed Peas            Don't Phunk Around                UMG Recordings, Inc.   SR0000633584
 4371 Black Eyed Peas            Don't Stop The Party              UMG Recordings, Inc.   SR0000670148
 4372 Black Eyed Peas            Electric City                     UMG Recordings, Inc.   SR0000633584
 4373 Black Eyed Peas            I Gotta Feeling                   UMG Recordings, Inc.   SR0000633584
 4374 Black Eyed Peas            Imma Be                           UMG Recordings, Inc.   SR0000633584
 4375 Black Eyed Peas            Let's Get Re-Started              UMG Recordings, Inc.   SR0000633584
 4376 Black Eyed Peas            Light Up The Night                UMG Recordings, Inc.   SR0000670148
 4377 Black Eyed Peas            Mare                              UMG Recordings, Inc.   SR0000633584
 4378 Black Eyed Peas            Meet Me Halfway                   UMG Recordings, Inc.   SR0000633584
 4379 Black Eyed Peas            Missing You                       UMG Recordings, Inc.   SR0000633584
 4380 Black Eyed Peas            Now Generation                    UMG Recordings, Inc.   SR0000633584
 4381 Black Eyed Peas            One Tribe                         UMG Recordings, Inc.   SR0000633584
 4382 Black Eyed Peas            Out Of My Head                    UMG Recordings, Inc.   SR0000633584
 4383 Black Eyed Peas            Party All The Time                UMG Recordings, Inc.   SR0000633584
 4384 Black Eyed Peas            Pump It Harder                    UMG Recordings, Inc.   SR0000633584
 4385 Black Eyed Peas            Ring-A-Ling                       UMG Recordings, Inc.   SR0000633584
 4386 Black Eyed Peas            Rock That Body                    UMG Recordings, Inc.   SR0000633584
 4387 Black Eyed Peas            Rockin To The Beat                UMG Recordings, Inc.   SR0000633584
 4388 Black Eyed Peas            Showdown                          UMG Recordings, Inc.   SR0000633584
 4389 Black Eyed Peas            Shut Up                           UMG Recordings, Inc.   SR0000347870
 4390 Black Eyed Peas            Simple Little Melody              UMG Recordings, Inc.   SR0000633584
 4391 Black Eyed Peas            That's The Joint                  UMG Recordings, Inc.   SR0000633584
 4392 Black Eyed Peas            The Time (Dirty Bit)              UMG Recordings, Inc.   SR0000670148
 4393 Black Eyed Peas            Where Ya Wanna Go                 UMG Recordings, Inc.   SR0000633584
 4394 Blue October               18th Floor Balcony                UMG Recordings, Inc.   SR0000388117
 4395 Blue October               Congratulations                   UMG Recordings, Inc.   SR0000388117
 4396 Blue October               Drilled A Wire Through My Cheek   UMG Recordings, Inc.   SR0000388117
 4397 Blue October               Everlasting Friend                UMG Recordings, Inc.   SR0000388117
 4398 Blue October               Hate Me                           UMG Recordings, Inc.   SR0000388117
 4399 Blue October               Into The Ocean                    UMG Recordings, Inc.   SR0000388117
 4400 Blue October               Let It Go                         UMG Recordings, Inc.   SR0000388117
 4401 Blue October               Overweight (Explicit)             UMG Recordings, Inc.   SR0000388117
 4402 Blue October               She's My Ride Home                UMG Recordings, Inc.   SR0000388117
 4403 Blue October               Sound Of Pulling Heaven Down      UMG Recordings, Inc.   SR0000388117
 4404 Blue October               What If We Could                  UMG Recordings, Inc.   SR0000388117
 4405 Blue October               X-Amount Of Words                 UMG Recordings, Inc.   SR0000388117
 4406 Blue October               You Make Me Smile                 UMG Recordings, Inc.   SR0000615154
 4407 Bob Marley                 Buffalo Soldier                   UMG Recordings, Inc.   SR0000045126
 4408 Bob Marley                 Could You Be Loved                UMG Recordings, Inc.   SR0000020594
 4409 Bob Marley                 Mr Brown                          UMG Recordings, Inc.   SR0000152585
 4410 Bob Marley                 One Love                          UMG Recordings, Inc.   RE0000926868
                                                                                          N48538
 4411 Bob Marley                 Three Little Birds                UMG Recordings, Inc.   RE0000926868
                                                                                          N48538
 4412 Bob Marley & The Wailers   Exodus                            UMG Recordings, Inc.   RE0000926868
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                                                                                            NF137
 4413 Bob Marley & The Wailers   Get Up, Stand Up                    UMG Recordings, Inc.   RE0000931699
                                                                                            N48538
 4414 Bob Marley & The Wailers   Jamming                             UMG Recordings, Inc.   RE0000926868
 4415 Bob Marley & The Wailers   Misty Morning                       UMG Recordings, Inc.   SR0000001122
                                                                                            NF2048
 4416 Bob Marley & The Wailers   No Woman, No Cry                    UMG Recordings, Inc.   RE0000906116
 4417 Bob Marley & The Wailers   Rebel Music (3 O'Clock Roadblock)   UMG Recordings, Inc.   RE0000906116
 4418 Bob Marley & The Wailers   Redemption Song                     UMG Recordings, Inc.   SR0000019502
 4419 Bob Marley & The Wailers   Satisfy My Soul                     UMG Recordings, Inc.   SR0000001122
                                                                                            N48538
 4420 Bob Marley & the Wailers   So Much Things To Say               UMG Recordings, Inc.   RE0000926868
                                                                                            N8793
 4421 Bob Marley & the Wailers   Stir It Up                          UMG Recordings, Inc.   RE0000860333
 4422 Bob Marley & The Wailers   Time Will Tell                      UMG Recordings, Inc.   SR0000001122
                                                                                            N48538
 4423 Bob Marley & The Wailers   Waiting In Vain                     UMG Recordings, Inc.   RE0000926868
 4424 Bob Marley & The Wailers   Who The Cap Fit                     UMG Recordings, Inc.   SR0000323536
 4425 Brand New                  At The Bottom                       UMG Recordings, Inc.   SR0000642061
 4426 Brand New                  Be Gone                             UMG Recordings, Inc.   SR0000642060
 4427 Brand New                  Bed                                 UMG Recordings, Inc.   SR0000642060
 4428 Brand New                  Bought A Bride                      UMG Recordings, Inc.   SR0000642060
 4429 Brand New                  Daisy                               UMG Recordings, Inc.   SR0000642060
 4430 Brand New                  Gasoline                            UMG Recordings, Inc.   SR0000642060
 4431 Brand New                  In A Jar                            UMG Recordings, Inc.   SR0000642060
 4432 Brand New                  Noro                                UMG Recordings, Inc.   SR0000642060
 4433 Brand New                  Sink                                UMG Recordings, Inc.   SR0000642060
 4434 Brand New                  Vices                               UMG Recordings, Inc.   SR0000642060
 4435 Brand New                  You Stole                           UMG Recordings, Inc.   SR0000642060
 4436 Carly Rae Jepsen           Beautiful                           UMG Recordings, Inc.   SR0000738473
 4437 Carly Rae Jepsen           Curiosity                           UMG Recordings, Inc.   SR0000738473
 4438 Carly Rae Jepsen           Drive                               UMG Recordings, Inc.   SR0000738473
 4439 Carly Rae Jepsen           Guitar String / Wedding Ring        UMG Recordings, Inc.   SR0000738473
 4440 Carly Rae Jepsen           Hurt So Good                        UMG Recordings, Inc.   SR0000738473
 4441 Carly Rae Jepsen           I Know You Have A Girlfriend        UMG Recordings, Inc.   SR0000738473
 4442 Carly Rae Jepsen           More Than A Memory                  UMG Recordings, Inc.   SR0000738473
 4443 Carly Rae Jepsen           Sweetie                             UMG Recordings, Inc.   SR0000738473
 4444 Carly Rae Jepsen           This Kiss                           UMG Recordings, Inc.   SR0000738473
 4445 Carly Rae Jepsen           Tiny Little Bows                    UMG Recordings, Inc.   SR0000738473
 4446 Carly Rae Jepsen           Tonight I'm Getting Over You        UMG Recordings, Inc.   SR0000738473
 4447 Carly Rae Jepsen           Turn Me Up                          UMG Recordings, Inc.   SR0000738473
 4448 Carly Rae Jepsen           Wrong Feels So Right                UMG Recordings, Inc.   SR0000738473
 4449 Carly Rae Jepsen           Your Heart Is A Muscle              UMG Recordings, Inc.   SR0000738473
 4450 Chamillionaire             Fly As The Sky                      UMG Recordings, Inc.   SR0000381901
 4451 Chamillionaire             Frontin'                            UMG Recordings, Inc.   SR0000381901
 4452 Chamillionaire             Grown and Sexy                      UMG Recordings, Inc.   SR0000381901
 4453 Chamillionaire             In The Trunk                        UMG Recordings, Inc.   SR0000381901
 4454 Chamillionaire             No Snitchin'                        UMG Recordings, Inc.   SR0000381901
 4455 Chamillionaire             Outro                               UMG Recordings, Inc.   SR0000381901
 4456 Chamillionaire             Peepin' Me                          UMG Recordings, Inc.   SR0000381901
 4457 Chamillionaire             Picture Perfect                     UMG Recordings, Inc.   SR0000381901
 4458 Chamillionaire             Radio Interruption                  UMG Recordings, Inc.   SR0000381901
 4459 Chamillionaire             Rain                                UMG Recordings, Inc.   SR0000381901
 4460 Chamillionaire             Ridin' (Explicit)                   UMG Recordings, Inc.   SR0000381901
 4461 Chamillionaire             Southern Takeover                   UMG Recordings, Inc.   SR0000381901
 4462 Chamillionaire             Think I'm Crazy                     UMG Recordings, Inc.   SR0000381901
 4463 Chamillionaire             Turn It Up                          UMG Recordings, Inc.   SR0000381901
 4464 Chamillionaire             Void In My Life                     UMG Recordings, Inc.   SR0000381901
 4465 Colbie Caillat             Battle                              UMG Recordings, Inc.   SR0000619237
 4466 Colbie Caillat             Bubbly                              UMG Recordings, Inc.   SR0000619237
 4467 Colbie Caillat             Capri                               UMG Recordings, Inc.   SR0000619237
 4468 Colbie Caillat             Circles                             UMG Recordings, Inc.   SR0000619237
 4469 Colbie Caillat             Feelings Show                       UMG Recordings, Inc.   SR0000619237
 4470 Colbie Caillat             Magic                               UMG Recordings, Inc.   SR0000619237
 4471 Colbie Caillat             Midnight Bottle                     UMG Recordings, Inc.   SR0000619237
 4472 Colbie Caillat             One Fine Wire                       UMG Recordings, Inc.   SR0000619237
 4473 Colbie Caillat             Oxygen                              UMG Recordings, Inc.   SR0000619237
 4474 Colbie Caillat             Realize                             UMG Recordings, Inc.   SR0000619237
 4475 Colbie Caillat             Somethin' Special                   UMG Recordings, Inc.   SR0000619237
 4476 Colbie Caillat             Tailor Made                         UMG Recordings, Inc.   SR0000619237
 4477 Colbie Caillat             Tell Him                            UMG Recordings, Inc.   SR0000619237
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 4478 Colbie Caillat       The Little Things                   UMG Recordings, Inc.   SR0000619237
 4479 Colbie Caillat       Tied Down                           UMG Recordings, Inc.   SR0000619237
 4480 Colbie Caillat       Turn Your Lights Down Low           UMG Recordings, Inc.   SR0000619237
 4481 Common               Announcement                        UMG Recordings, Inc.   SR0000619987
 4482 Common               Be (Intro)                          UMG Recordings, Inc.   SR0000377106
 4483 Common               Changes                             UMG Recordings, Inc.   SR0000619987
 4484 Common               Chi-City                            UMG Recordings, Inc.   SR0000377106
 4485 Common               Everywhere                          UMG Recordings, Inc.   SR0000619987
 4486 Common               Faithful                            UMG Recordings, Inc.   SR0000377106
 4487 Common               Gladiator                           UMG Recordings, Inc.   SR0000619987
 4488 Common               Go (Explicit Album Version)         UMG Recordings, Inc.   SR0000377106
 4489 Common               Inhale                              UMG Recordings, Inc.   SR0000619987
 4490 Common               It's Your World                     UMG Recordings, Inc.   SR0000377106
 4491 Common               Love is...                          UMG Recordings, Inc.   SR0000377106
 4492 Common               Make My Day                         UMG Recordings, Inc.   SR0000619987
 4493 Common               Punch Drunk Love                    UMG Recordings, Inc.   SR0000619987
 4494 Common               Real People                         UMG Recordings, Inc.   SR0000377106
 4495 Common               Sex 4 Suga                          UMG Recordings, Inc.   SR0000619987
 4496 Common               Testify                             UMG Recordings, Inc.   SR0000377106
 4497 Common               The Bitch In Yoo (Explicit)         UMG Recordings, Inc.   SR0000656100
 4498 Common               The Corner                          UMG Recordings, Inc.   SR0000369647
 4499 Common               The Food                            UMG Recordings, Inc.   SR0000377106
 4500 Common               They Say                            UMG Recordings, Inc.   SR0000377106
 4501 Common               Universal Mind Control (UMC)        UMG Recordings, Inc.   SR0000617027
 4502 Common               What A World                        UMG Recordings, Inc.   SR0000619987
 4503 Counting Crows       A Murder Of One                     UMG Recordings, Inc.   SR0000172267
 4504 Counting Crows       Anna Begins                         UMG Recordings, Inc.   SR0000345378
 4505 Counting Crows       Ghost Train                         UMG Recordings, Inc.   SR0000172267
 4506 Counting Crows       Mr. Jones                           UMG Recordings, Inc.   SR0000172267
 4507 Counting Crows       Omaha                               UMG Recordings, Inc.   SR0000172267
 4508 Counting Crows       Perfect Blue Buildings              UMG Recordings, Inc.   SR0000172267
 4509 Counting Crows       Rain King                           UMG Recordings, Inc.   SR0000345378
 4510 Counting Crows       Raining In Baltimore                UMG Recordings, Inc.   SR0000172267
 4511 Counting Crows       Round Here                          UMG Recordings, Inc.   SR0000172267
 4512 Counting Crows       Sullivan Street                     UMG Recordings, Inc.   SR0000172267
 4513 Counting Crows       Time And Time Again                 UMG Recordings, Inc.   SR0000172267
 4514 Daniel Bedingfield   Blown It Again                      UMG Recordings, Inc.   SR0000321977
 4515 Daniel Bedingfield   Friday                              UMG Recordings, Inc.   SR0000321977
 4516 Daniel Bedingfield   Girlfriend                          UMG Recordings, Inc.   SR0000321977
 4517 Daniel Bedingfield   He Don't Love You Like I Love You   UMG Recordings, Inc.   SR0000321977
 4518 Daniel Bedingfield   Honest Questions                    UMG Recordings, Inc.   SR0000321977
 4519 Daniel Bedingfield   Inflate My Ego                      UMG Recordings, Inc.   SR0000321977
 4520 Daniel Bedingfield   James Dean (I Wanna Know)           UMG Recordings, Inc.   SR0000321977
 4521 Daniel Bedingfield   Without The Girl                    UMG Recordings, Inc.   SR0000321977
 4522 Delta Spirit         California                          UMG Recordings, Inc.   SR0000709678
 4523 Delta Spirit         Empty House                         UMG Recordings, Inc.   SR0000709678
 4524 Delta Spirit         Home                                UMG Recordings, Inc.   SR0000709678
 4525 Delta Spirit         Idaho                               UMG Recordings, Inc.   SR0000709678
 4526 Delta Spirit         Into The Darkness                   UMG Recordings, Inc.   SR0000709678
 4527 Delta Spirit         Money Saves                         UMG Recordings, Inc.   SR0000709678
 4528 Delta Spirit         Otherside                           UMG Recordings, Inc.   SR0000709678
 4529 Delta Spirit         Tear It Up                          UMG Recordings, Inc.   SR0000709678
 4530 Delta Spirit         Tellin' The Mind                    UMG Recordings, Inc.   SR0000709678
 4531 Delta Spirit         Time Bomb                           UMG Recordings, Inc.   SR0000709678
 4532 Delta Spirit         Yamaha                              UMG Recordings, Inc.   SR0000709678
 4533 Disclosure           Latch                               UMG Recordings, Inc.   SR0000724303
 4534 Dr. Dre              I Need A Doctor                     UMG Recordings, Inc.   SR0000674469
 4535 Duffy                Delayed Devotion                    UMG Recordings, Inc.   SR0000613340
 4536 Duffy                Distant Dreamer                     UMG Recordings, Inc.   SR0000613340
 4537 Duffy                Hanging On Too Long                 UMG Recordings, Inc.   SR0000613340
 4538 Duffy                I'm Scared                          UMG Recordings, Inc.   SR0000613340
 4539 Duffy                Mercy                               UMG Recordings, Inc.   SR0000613340
 4540 Duffy                Rockferry                           UMG Recordings, Inc.   SR0000613340
 4541 Duffy                Serious                             UMG Recordings, Inc.   SR0000613340
 4542 Duffy                Stepping Stone                      UMG Recordings, Inc.   SR0000613340
 4543 Duffy                Syrup & Honey                       UMG Recordings, Inc.   SR0000613340
 4544 Duffy                Warwick Avenue                      UMG Recordings, Inc.   SR0000613340
 4545 Easton Corbin        A Thing For You                     UMG Recordings, Inc.   SR0000709974
 4546 Easton Corbin        All Over The Road                   UMG Recordings, Inc.   SR0000709974
 4547 Easton Corbin        Are You With Me                     UMG Recordings, Inc.   SR0000709974
 4548 Easton Corbin        Dance Real Slow                     UMG Recordings, Inc.   SR0000709974
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 4549 Easton Corbin     Hearts Drawn In The Sand                       UMG Recordings, Inc.   SR0000709972
 4550 Easton Corbin     I Think Of You                                 UMG Recordings, Inc.   SR0000709974
 4551 Easton Corbin     Lovin' You Is Fun                              UMG Recordings, Inc.   SR0000699451
 4552 Easton Corbin     Only A Girl                                    UMG Recordings, Inc.   SR0000710243
 4553 Easton Corbin     That's Gonna Leave A Memory                    UMG Recordings, Inc.   SR0000709974
 4554 Easton Corbin     This Feels A Lot Like Love                     UMG Recordings, Inc.   SR0000709974
 4555 Easton Corbin     Tulsa Texas                                    UMG Recordings, Inc.   SR0000709974
 4556 Eli Young Band    Every Other Memory                             UMG Recordings, Inc.   SR0000684024
 4557 Eli Young Band    How Quickly You Forget                         UMG Recordings, Inc.   SR0000684024
 4558 Eli Young Band    Life At Best                                   UMG Recordings, Inc.   SR0000684024
 4559 Eli Young Band    My Old Man's Son                               UMG Recordings, Inc.   SR0000684024
 4560 Eli Young Band    On My Way                                      UMG Recordings, Inc.   SR0000684024
 4561 Eli Young Band    Recover                                        UMG Recordings, Inc.   SR0000684024
 4562 Eli Young Band    Say Goodnight                                  UMG Recordings, Inc.   SR0000684024
 4563 Eli Young Band    The Falling                                    UMG Recordings, Inc.   SR0000684024
 4564 Eli Young Band    War On A Desperate Man                         UMG Recordings, Inc.   SR0000684024
 4565 Ellie Goulding    Animal                                         UMG Recordings, Inc.   SR0000752677
 4566 Ellie Goulding    Anything Could Happen                          UMG Recordings, Inc.   SR0000709961
 4567 Ellie Goulding    Atlantis                                       UMG Recordings, Inc.   SR0000709960
 4568 Ellie Goulding    Believe Me                                     UMG Recordings, Inc.   SR0000752677
 4569 Ellie Goulding    Dead In The Water                              UMG Recordings, Inc.   SR0000709960
 4570 Ellie Goulding    Don't Say A Word                               UMG Recordings, Inc.   SR0000709960
 4571 Ellie Goulding    Every Time You Go                              UMG Recordings, Inc.   SR0000752677
 4572 Ellie Goulding    Explosions                                     UMG Recordings, Inc.   SR0000709960
 4573 Ellie Goulding    Figure 8                                       UMG Recordings, Inc.   SR0000709960
 4574 Ellie Goulding    Guns And Horses                                UMG Recordings, Inc.   SR0000752677
 4575 Ellie Goulding    Halcyon                                        UMG Recordings, Inc.   SR0000709960
 4576 Ellie Goulding    Hanging On                                     UMG Recordings, Inc.   SR0000709960
 4577 Ellie Goulding    Home                                           UMG Recordings, Inc.   SR0000752677
 4578 Ellie Goulding    Human                                          UMG Recordings, Inc.   SR0000752677
 4579 Ellie Goulding    I Know You Care                                UMG Recordings, Inc.   SR0000709960
 4580 Ellie Goulding    In My City                                     UMG Recordings, Inc.   SR0000709960
 4581 Ellie Goulding    Joy                                            UMG Recordings, Inc.   SR0000709960
 4582 Ellie Goulding    Lights                                         UMG Recordings, Inc.   SR0000671828
 4583 Ellie Goulding    Little Dreams                                  UMG Recordings, Inc.   SR0000752677
 4584 Ellie Goulding    My Blood                                       UMG Recordings, Inc.   SR0000709960
 4585 Ellie Goulding    Only You                                       UMG Recordings, Inc.   SR0000709960
 4586 Ellie Goulding    Ritual                                         UMG Recordings, Inc.   SR0000709960
 4587 Ellie Goulding    Roscoe                                         UMG Recordings, Inc.   SR0000752677
 4588 Ellie Goulding    Salt Skin                                      UMG Recordings, Inc.   SR0000752677
 4589 Ellie Goulding    Starry Eyed                                    UMG Recordings, Inc.   SR0000664533
 4590 Ellie Goulding    The End                                        UMG Recordings, Inc.   SR0000752677
 4591 Ellie Goulding    This Love (Will Be Your Downfall)              UMG Recordings, Inc.   SR0000752677
 4592 Ellie Goulding    Under The Sheets                               UMG Recordings, Inc.   SR0000752677
 4593 Ellie Goulding    Wish I Stayed                                  UMG Recordings, Inc.   SR0000752677
 4594 Ellie Goulding    Without Your Love                              UMG Recordings, Inc.   SR0000709960
 4595 Ellie Goulding    Your Biggest Mistake                           UMG Recordings, Inc.   SR0000752677
 4596 Ellie Goulding    Your Song                                      UMG Recordings, Inc.   SR0000752677
 4597 Elliott Smith     A Question Mark                                UMG Recordings, Inc.   SR0000241677
 4598 Elliott Smith     Amity                                          UMG Recordings, Inc.   SR0000241677
 4599 Elliott Smith     Baby Britain                                   UMG Recordings, Inc.   SR0000241677
 4600 Elliott Smith     Bled White                                     UMG Recordings, Inc.   SR0000241677
 4601 Elliott Smith     Bottle Up And Explode!                         UMG Recordings, Inc.   SR0000241677
 4602 Elliott Smith     Bye                                            UMG Recordings, Inc.   SR0000280584
 4603 Elliott Smith     Can't Make A Sound                             UMG Recordings, Inc.   SR0000280584
 4604 Elliott Smith     Colorbars                                      UMG Recordings, Inc.   SR0000280584
 4605 Elliott Smith     Easy Way Out                                   UMG Recordings, Inc.   SR0000280584
 4606 Elliott Smith     Everybody Cares, Everybody Understands         UMG Recordings, Inc.   SR0000241677
 4607 Elliott Smith     Everything Reminds Me Of Her                   UMG Recordings, Inc.   SR0000280584
 4608 Elliott Smith     I Better Be Quiet Now                          UMG Recordings, Inc.   SR0000280584
 4609 Elliott Smith     I Didn't Understand                            UMG Recordings, Inc.   SR0000241677
 4610 Elliott Smith     In The Lost And Found (Honky Bach)/The Roost   UMG Recordings, Inc.   SR0000280584
 4611 Elliott Smith     Independence Day                               UMG Recordings, Inc.   SR0000241677
 4612 Elliott Smith     Junk Bond Trader                               UMG Recordings, Inc.   SR0000280584
 4613 Elliott Smith     Oh Well, okay                                  UMG Recordings, Inc.   SR0000241677
 4614 Elliott Smith     Pitseleh                                       UMG Recordings, Inc.   SR0000241677
 4615 Elliott Smith     Pretty Mary K                                  UMG Recordings, Inc.   SR0000280584
 4616 Elliott Smith     Somebody That I Used To Know                   UMG Recordings, Inc.   SR0000280584
 4617 Elliott Smith     Stupidity Tries                                UMG Recordings, Inc.   SR0000280584
 4618 Elliott Smith     Sweet Adeline                                  UMG Recordings, Inc.   SR0000241677
 4619 Elliott Smith     Tomorrow Tomorrow                              UMG Recordings, Inc.   SR0000241677
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 4620 Elliott Smith     Waltz #1                            UMG Recordings, Inc.   SR0000241677
 4621 Elliott Smith     Wouldn't Mama Be Proud?             UMG Recordings, Inc.   SR0000280584
 4622 Elton John        I Want Love                         UMG Recordings, Inc.   SR0000303795
 4623 Eminem            (Curtains Up - Encore version)      UMG Recordings, Inc.   SR0000364769
 4624 Eminem            25 To Life                          UMG Recordings, Inc.   SR0000653572
 4625 Eminem            3 a.m.                              UMG Recordings, Inc.   SR0000633152
 4626 Eminem            8 Mile                              UMG Recordings, Inc.   SR0000322706
 4627 Eminem            Almost Famous                       UMG Recordings, Inc.   SR0000653572
 4628 Eminem            Ass Like That                       UMG Recordings, Inc.   SR0000364769
 4629 Eminem            Bagpipes From Baghdad               UMG Recordings, Inc.   SR0000633152
 4630 Eminem            Beautiful                           UMG Recordings, Inc.   SR0000633152
 4631 Eminem            Berzerk                             UMG Recordings, Inc.   SR0000729822
 4632 Eminem            Big Weenie                          UMG Recordings, Inc.   SR0000364769
 4633 Eminem            Business                            UMG Recordings, Inc.   SR0000317924
 4634 Eminem            Business (Explicit)                 UMG Recordings, Inc.   SR0000317924
 4635 Eminem            Cinderella Man                      UMG Recordings, Inc.   SR0000653572
 4636 Eminem            Cleanin' Out My Closet              UMG Recordings, Inc.   SR0000317924
 4637 Eminem            Cold Wind Blows                     UMG Recordings, Inc.   SR0000653572
 4638 Eminem            Crack A Bottle                      UMG Recordings, Inc.   SR0000642488
 4639 Eminem            Crazy In Love                       UMG Recordings, Inc.   SR0000364769
 4640 Eminem            Curtains Close (Skit)               UMG Recordings, Inc.   SR0000317924
 4641 Eminem            Curtains Up                         UMG Recordings, Inc.   SR0000364769
 4642 Eminem            Deja Vu                             UMG Recordings, Inc.   SR0000633152
 4643 Eminem            Deja Vu (Explicit)                  UMG Recordings, Inc.   SR0000630739
 4644 Eminem            Dr. West                            UMG Recordings, Inc.   SR0000633152
 4645 Eminem            Drips                               UMG Recordings, Inc.   SR0000317924
 4646 Eminem            Em Calls Paul                       UMG Recordings, Inc.   SR0000364769
 4647 Eminem            Encore / Curtains Up                UMG Recordings, Inc.   SR0000364769
 4648 Eminem            Encore/Curtains Down                UMG Recordings, Inc.   SR0000364769
 4649 Eminem            Evil Deeds                          UMG Recordings, Inc.   SR0000364769
 4650 Eminem            FACK                                UMG Recordings, Inc.   SR0000382840
 4651 Eminem            FACK (Explicit)                     UMG Recordings, Inc.   SR0000382840
 4652 Eminem            Final Thought (Skit)                UMG Recordings, Inc.   SR0000364769
 4653 Eminem            Get You Mad                         UMG Recordings, Inc.   SR0000265774
 4654 Eminem            Go To Sleep (Explicit)              UMG Recordings, Inc.   SR0000327127
 4655 Eminem            Going Through Changes               UMG Recordings, Inc.   SR0000653572
 4656 Eminem            Guilty Conscience                   UMG Recordings, Inc.   SR0000262686
 4657 Eminem            Hailie's Song                       UMG Recordings, Inc.   SR0000317924
 4658 Eminem            Hello                               UMG Recordings, Inc.   SR0000633152
 4659 Eminem            Insane                              UMG Recordings, Inc.   SR0000633152
 4660 Eminem            Intro                               UMG Recordings, Inc.   SR0000382840
 4661 Eminem            Jimmy Crack Corn                    UMG Recordings, Inc.   SR0000405877
 4662 Eminem            Just Don't Give A Fuck (Explicit)   UMG Recordings, Inc.   SR0000262686
 4663 Eminem            Just Lose It                        UMG Recordings, Inc.   SR0000362082
 4664 Eminem            Like Toy Soldiers                   UMG Recordings, Inc.   SR0000364769
 4665 Eminem            Lose Yourself                       UMG Recordings, Inc.   SR0000322706
 4666 Eminem            Love The Way You Lie                UMG Recordings, Inc.   SR0000653572
 4667 Eminem            Love You More                       UMG Recordings, Inc.   SR0000364769
 4668 Eminem            Medicine Ball                       UMG Recordings, Inc.   SR0000633152
 4669 Eminem            Mockingbird                         UMG Recordings, Inc.   SR0000364769
 4670 Eminem            Mosh                                UMG Recordings, Inc.   SR0000364769
 4671 Eminem            Mr. Mathers                         UMG Recordings, Inc.   SR0000633152
 4672 Eminem            Must Be The Ganja                   UMG Recordings, Inc.   SR0000633152
 4673 Eminem            Must Be The Ganja (Explicit)        UMG Recordings, Inc.   SR0000642488
 4674 Eminem            My 1st Single                       UMG Recordings, Inc.   SR0000364769
 4675 Eminem            My Dad's Gone Crazy                 UMG Recordings, Inc.   SR0000317924
 4676 Eminem            My Fault                            UMG Recordings, Inc.   SR0000262686
 4677 Eminem            My Mom                              UMG Recordings, Inc.   SR0000633152
 4678 Eminem            My Name Is                          UMG Recordings, Inc.   SR0000262686
 4679 Eminem            Never Enough                        UMG Recordings, Inc.   SR0000364769
 4680 Eminem            No Apologies                        UMG Recordings, Inc.   SR0000401289
 4681 Eminem            No Love                             UMG Recordings, Inc.   SR0000653572
 4682 Eminem            Not Afraid                          UMG Recordings, Inc.   SR0000653571
 4683 Eminem            Old Time's Sake                     UMG Recordings, Inc.   SR0000633157
 4684 Eminem            Old Time's Sake (Explicit)          UMG Recordings, Inc.   SR0000642488
 4685 Eminem            On Fire                             UMG Recordings, Inc.   SR0000653572
 4686 Eminem            One Shot 2 Shot                     UMG Recordings, Inc.   SR0000364769
 4687 Eminem            Paul                                UMG Recordings, Inc.   SR0000364769
 4688 Eminem            Paul (Skit)                         UMG Recordings, Inc.   SR0000364769
 4689 Eminem            Public Enemy #1                     UMG Recordings, Inc.   SR0000401289
 4690 Eminem            Puke                                UMG Recordings, Inc.   SR0000364769
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 4691 Eminem               Rabbit Run                       UMG Recordings, Inc.   SR0000322706
 4692 Eminem               Rain Man                         UMG Recordings, Inc.   SR0000364769
 4693 Eminem               Rap God                          UMG Recordings, Inc.   SR0000735449
 4694 Eminem               Ricky Ticky Toc                  UMG Recordings, Inc.   SR0000364769
 4695 Eminem               Ridaz                            UMG Recordings, Inc.   SR0000659181
 4696 Eminem               Same Song & Dance                UMG Recordings, Inc.   SR0000633152
 4697 Eminem               Say Goodbye Hollywood            UMG Recordings, Inc.   SR0000317924
 4698 Eminem               Say What You Say                 UMG Recordings, Inc.   SR0000317924
 4699 Eminem               Seduction                        UMG Recordings, Inc.   SR0000653572
 4700 Eminem               Shake That                       UMG Recordings, Inc.   SR0000382840
 4701 Eminem               Sing For The Moment              UMG Recordings, Inc.   SR0000317924
 4702 Eminem               So Bad                           UMG Recordings, Inc.   SR0000653572
 4703 Eminem               Soldier                          UMG Recordings, Inc.   SR0000317924
 4704 Eminem               Space Bound                      UMG Recordings, Inc.   SR0000653572
 4705 Eminem               Spend Some Time                  UMG Recordings, Inc.   SR0000262686
 4706 Eminem               Square Dance                     UMG Recordings, Inc.   SR0000317924
 4707 Eminem               Stay Wide Awake                  UMG Recordings, Inc.   SR0000642488
 4708 Eminem               Still Don't Give A Fuck          UMG Recordings, Inc.   SR0000262686
 4709 Eminem               Superman                         UMG Recordings, Inc.   SR0000317924
 4710 Eminem               Survival                         UMG Recordings, Inc.   SR0000735449
 4711 Eminem               Talkin' 2 Myself                 UMG Recordings, Inc.   SR0000653572
 4712 Eminem               Talkin' 2 Myself (Explicit)      UMG Recordings, Inc.   SR0000653572
 4713 Eminem               The Kiss (Skit)                  UMG Recordings, Inc.   SR0000317924
 4714 Eminem               The Monster                      UMG Recordings, Inc.   SR0000735449
 4715 Eminem               The Re-Up                        UMG Recordings, Inc.   SR0000401289
 4716 Eminem               The Real Slim Shady              UMG Recordings, Inc.   SR0000293541
 4717 Eminem               The Way I Am                     UMG Recordings, Inc.   SR0000287944
 4718 Eminem               Till I Collapse                  UMG Recordings, Inc.   SR0000317924
 4719 Eminem               Tonya                            UMG Recordings, Inc.   SR0000633152
 4720 Eminem               Underground                      UMG Recordings, Inc.   SR0000633152
 4721 Eminem               Untitled                         UMG Recordings, Inc.   SR0000653572
 4722 Eminem               W.T.P.                           UMG Recordings, Inc.   SR0000653572
 4723 Eminem               We As Americans                  UMG Recordings, Inc.   SR0000364769
 4724 Eminem               We Made You                      UMG Recordings, Inc.   SR0000642488
 4725 Eminem               When I'm Gone                    UMG Recordings, Inc.   SR0000382840
 4726 Eminem               When The Music Stops             UMG Recordings, Inc.   SR0000317924
 4727 Eminem               White America                    UMG Recordings, Inc.   SR0000317924
 4728 Eminem               Without Me                       UMG Recordings, Inc.   SR0000317924
 4729 Eminem               Won't Back Down                  UMG Recordings, Inc.   SR0000653572
 4730 Eminem               Won't Back Down (Explicit)       UMG Recordings, Inc.   SR0000653572
 4731 Eminem               Yellow Brick Road                UMG Recordings, Inc.   SR0000364769
 4732 Eminem               You Don't Know                   UMG Recordings, Inc.   SR0000400225
 4733 Eminem               You're Never Over                UMG Recordings, Inc.   SR0000653572
 4734 Eminem               You're Never Over (Explicit)     UMG Recordings, Inc.   SR0000653572
 4735 Eric Church          Give Me Back My Hometown         UMG Recordings, Inc.   SR0000741485
 4736 Eric Clapton         Cocaine                          UMG Recordings, Inc.   SR0000001112
 4737 Eric Clapton         I Can't Stand It                 UMG Recordings, Inc.   SR0000025214
 4738 Eric Clapton         I Shot The Sheriff               UMG Recordings, Inc.   SR0000742060
 4739 Eric Clapton         Knockin' On Heaven's Door        UMG Recordings, Inc.   SR0000742060
 4740 Eric Clapton         Lay Down Sally                   UMG Recordings, Inc.   SR0000018550
 4741 Eric Clapton         Lay Down Sally (Album Version)   UMG Recordings, Inc.   SR0000630877
                                                                                   N16809
 4742 Eric Clapton         Let It Grow                      UMG Recordings, Inc.   RE0000866829
 4743 Eric Clapton         Promises (Album Version)         UMG Recordings, Inc.   SR0000630877
 4744 Eric Clapton         Wonderful Tonight                UMG Recordings, Inc.   SR0000018550
 4745 Esperanza Spalding   Cinnamon Tree                    UMG Recordings, Inc.   SR0000700060
 4746 Esperanza Spalding   City Of Roses                    UMG Recordings, Inc.   SR0000700060
 4747 Esperanza Spalding   Crowned & Kissed                 UMG Recordings, Inc.   SR0000700060
 4748 Esperanza Spalding   Endangered Species               UMG Recordings, Inc.   SR0000700060
 4749 Esperanza Spalding   Hold On Me                       UMG Recordings, Inc.   SR0000700060
 4750 Esperanza Spalding   I Can't Help It                  UMG Recordings, Inc.   SR0000700060
 4751 Esperanza Spalding   Land Of The Free                 UMG Recordings, Inc.   SR0000700060
 4752 Esperanza Spalding   Let Her                          UMG Recordings, Inc.   SR0000700060
 4753 Esperanza Spalding   Radio Song                       UMG Recordings, Inc.   SR0000700060
 4754 Esperanza Spalding   Smile Like That                  UMG Recordings, Inc.   SR0000700060
 4755 Esperanza Spalding   Vague Suspicions                 UMG Recordings, Inc.   SR0000700060
 4756 Fall Out Boy         27                               UMG Recordings, Inc.   SR0000620008
 4757 Fall Out Boy         (Coffee's For Closers)           UMG Recordings, Inc.   SR0000620008
 4758 Fall Out Boy         20 Dollar Nose Bleed             UMG Recordings, Inc.   SR0000620008
 4759 Fall Out Boy         Alone Together                   UMG Recordings, Inc.   SR0000720423
 4760 Fall Out Boy         America's Suitehearts            UMG Recordings, Inc.   SR0000620002
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 4761 Fall Out Boy             Beat It                                                UMG Recordings, Inc.   SR0000612454
 4762 Fall Out Boy             Death Valley                                           UMG Recordings, Inc.   SR0000720423
 4763 Fall Out Boy             Disloyal Order Of Water Buffaloes                      UMG Recordings, Inc.   SR0000620008
 4764 Fall Out Boy             Headfirst Slide Into Cooperstown On A Bad Bet          UMG Recordings, Inc.   SR0000620008
 4765 Fall Out Boy             Just One Yesterday                                     UMG Recordings, Inc.   SR0000720423
 4766 Fall Out Boy             Miss Missing You                                       UMG Recordings, Inc.   SR0000720423
 4767 Fall Out Boy             My Songs Know What You Did In The Dark (Light Em Up)   UMG Recordings, Inc.   SR0000720423
 4768 Fall Out Boy             Pavlove                                                UMG Recordings, Inc.   SR0000620008
 4769 Fall Out Boy             Rat A Tat                                              UMG Recordings, Inc.   SR0000720423
 4770 Fall Out Boy             Save Rock And Roll                                     UMG Recordings, Inc.   SR0000720423
 4771 Fall Out Boy             She's My Winona                                        UMG Recordings, Inc.   SR0000620008
 4772 Fall Out Boy             The (Shipped) Gold Standard                            UMG Recordings, Inc.   SR0000620008
 4773 Fall Out Boy             The Mighty Fall                                        UMG Recordings, Inc.   SR0000720423
 4774 Fall Out Boy             The Phoenix                                            UMG Recordings, Inc.   SR0000720423
 4775 Fall Out Boy             Tiffany Blews                                          UMG Recordings, Inc.   SR0000620008
 4776 Fall Out Boy             w.a.m.s.                                               UMG Recordings, Inc.   SR0000620008
 4777 Fall Out Boy             West Coast Smoker                                      UMG Recordings, Inc.   SR0000620008
 4778 Fall Out Boy             What A Catch, Donnie                                   UMG Recordings, Inc.   SR0000620003
 4779 Fall Out Boy             Where Did The Party Go                                 UMG Recordings, Inc.   SR0000720423
 4780 Fall Out Boy             Young Volcanoes                                        UMG Recordings, Inc.   SR0000720423
 4781 Far East Movement        Like A G6                                              UMG Recordings, Inc.   SR0000658290
 4782 Far East Movement        Rocketeer                                              UMG Recordings, Inc.   SR0000664587
 4783 Feist                    1234                                                   UMG Recordings, Inc.   SR0000406935
 4784 Feist                    Brandy Alexander                                       UMG Recordings, Inc.   SR0000406936
 4785 Feist                    Gatekeeper                                             UMG Recordings, Inc.   SR0000374394
 4786 Feist                    Honey Honey                                            UMG Recordings, Inc.   SR0000406936
 4787 Feist                    How My Heart Behaves                                   UMG Recordings, Inc.   SR0000406936
 4788 Feist                    I Feel It All                                          UMG Recordings, Inc.   SR0000406936
 4789 Feist                    Inside And Out                                         UMG Recordings, Inc.   SR0000374394
 4790 Feist                    Intuition                                              UMG Recordings, Inc.   SR0000406936
 4791 Feist                    Leisure Suite                                          UMG Recordings, Inc.   SR0000374394
 4792 Feist                    Let It Die                                             UMG Recordings, Inc.   SR0000374394
 4793 Feist                    Lonely Lonely                                          UMG Recordings, Inc.   SR0000374394
 4794 Feist                    Mushaboom                                              UMG Recordings, Inc.   SR0000388836
 4795 Feist                    My Moon My Man                                         UMG Recordings, Inc.   SR0000620089
 4796 Feist                    Now At Last                                            UMG Recordings, Inc.   SR0000374394
 4797 Feist                    One Evening                                            UMG Recordings, Inc.   SR0000374394
 4798 Feist                    Past In Present                                        UMG Recordings, Inc.   SR0000406936
 4799 Feist                    Sealion                                                UMG Recordings, Inc.   SR0000406936
 4800 Feist                    Secret Heart                                           UMG Recordings, Inc.   SR0000374394
 4801 Feist                    So Sorry                                               UMG Recordings, Inc.   SR0000406936
 4802 Feist                    The Limit To Your Love                                 UMG Recordings, Inc.   SR0000406936
 4803 Feist                    The Park                                               UMG Recordings, Inc.   SR0000406936
 4804 Feist                    The Water                                              UMG Recordings, Inc.   SR0000406936
 4805 Feist                    Tout Doucement                                         UMG Recordings, Inc.   SR0000374394
 4806 Feist                    When I Was A Young Girl                                UMG Recordings, Inc.   SR0000374394
 4807 Fergie                   All That I Got (The Make Up Song)                      UMG Recordings, Inc.   SR0000393675
 4808 Fergie                   Barracuda                                              UMG Recordings, Inc.   SR0000613597
 4809 Fergie                   Big Girls Don't Cry (Personal)                         UMG Recordings, Inc.   SR0000393675
 4810 Fergie                   Clumsy                                                 UMG Recordings, Inc.   SR0000393675
 4811 Fergie                   Fergalicious                                           UMG Recordings, Inc.   SR0000393675
 4812 Fergie                   Finally                                                UMG Recordings, Inc.   SR0000393675
 4813 Fergie                   Glamorous                                              UMG Recordings, Inc.   SR0000393675
 4814 Fergie                   Here I Come                                            UMG Recordings, Inc.   SR0000393675
 4815 Fergie                   Labels Or Love                                         UMG Recordings, Inc.   SR0000613598
 4816 Fergie                   London Bridge                                          UMG Recordings, Inc.   SR0000399946
 4817 Fergie                   Losing My Ground                                       UMG Recordings, Inc.   SR0000393675
 4818 Fergie                   Mary Jane Shoes                                        UMG Recordings, Inc.   SR0000393675
 4819 Fergie                   Pedestal                                               UMG Recordings, Inc.   SR0000393675
 4820 Fergie                   Velvet                                                 UMG Recordings, Inc.   SR0000393675
 4821 Fergie                   Voodoo Doll                                            UMG Recordings, Inc.   SR0000393675
 4822 Florence + The Machine   Between Two Lungs                                      UMG Recordings, Inc.   SR0000645045
 4823 Florence + The Machine   Blinding                                               UMG Recordings, Inc.   SR0000645045
 4824 Florence + The Machine   Cosmic Love                                            UMG Recordings, Inc.   SR0000645045
 4825 Florence + The Machine   Dog Days Are Over                                      UMG Recordings, Inc.   SR0000645045
 4826 Florence + The Machine   Girl With One Eye                                      UMG Recordings, Inc.   SR0000645045
 4827 Florence + The Machine   Howl                                                   UMG Recordings, Inc.   SR0000645045
 4828 Florence + The Machine   Hurricane Drunk                                        UMG Recordings, Inc.   SR0000645045
 4829 Florence + The Machine   I'm Not Calling You A Liar                             UMG Recordings, Inc.   SR0000645045
 4830 Florence + The Machine   My Boy Builds Coffins                                  UMG Recordings, Inc.   SR0000645045
 4831 Florence + The Machine   Rabbit Heart (Raise It Up)                             UMG Recordings, Inc.   SR0000645045
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 4832 Florence + The Machine   You've Got The Love                                          UMG Recordings, Inc.   SR0000645045
 4833 Frank Ocean              Bad Religion                                                 UMG Recordings, Inc.   SR0000704928
 4834 Frank Ocean              Crack Rock                                                   UMG Recordings, Inc.   SR0000704928
 4835 Frank Ocean              End                                                          UMG Recordings, Inc.   SR0000704928
 4836 Frank Ocean              Fertilizer                                                   UMG Recordings, Inc.   SR0000704928
 4837 Frank Ocean              Forrest Gump                                                 UMG Recordings, Inc.   SR0000704928
 4838 Frank Ocean              Lost                                                         UMG Recordings, Inc.   SR0000704928
 4839 Frank Ocean              Lost (Explicit)                                              UMG Recordings, Inc.   SR0000704928
 4840 Frank Ocean              Monks                                                        UMG Recordings, Inc.   SR0000704928
 4841 Frank Ocean              Not Just Money                                               UMG Recordings, Inc.   SR0000704928
 4842 Frank Ocean              Pilot Jones                                                  UMG Recordings, Inc.   SR0000704928
 4843 Frank Ocean              Pink Matter                                                  UMG Recordings, Inc.   SR0000704928
 4844 Frank Ocean              Pyramids                                                     UMG Recordings, Inc.   SR0000704928
 4845 Frank Ocean              Sierra Leone                                                 UMG Recordings, Inc.   SR0000704928
 4846 Frank Ocean              Start                                                        UMG Recordings, Inc.   SR0000704928
 4847 Frank Ocean              Super Rich Kids                                              UMG Recordings, Inc.   SR0000704928
 4848 Frank Ocean              Sweet Life                                                   UMG Recordings, Inc.   SR0000704928
 4849 Frank Ocean              Thinkin Bout You                                             UMG Recordings, Inc.   SR0000699626
 4850 Frank Ocean              White                                                        UMG Recordings, Inc.   SR0000704928
 4851 French Montana           Pop That                                                     UMG Recordings, Inc.   SR0000702917
 4852 Gary Allan               As Long As You're Looking Back                               UMG Recordings, Inc.   SR0000613393
 4853 Gary Allan               Half Of My Mistakes                                          UMG Recordings, Inc.   SR0000613393
 4854 Gary Allan               Like It's A Bad Thing                                        UMG Recordings, Inc.   SR0000613393
 4855 Gary Allan               Living Hard                                                  UMG Recordings, Inc.   SR0000613393
 4856 Gary Allan               She's So California                                          UMG Recordings, Inc.   SR0000613393
 4857 Gary Allan               Trying To Matter                                             UMG Recordings, Inc.   SR0000613393
 4858 Gary Allan               Watching Airplanes                                           UMG Recordings, Inc.   SR0000613393
 4859 Gary Allan               We Touched The Sun                                           UMG Recordings, Inc.   SR0000613393
 4860 Gary Allan               Wrecking Ball                                                UMG Recordings, Inc.   SR0000613393
 4861 Gary Allan               Yesterday's Rain                                             UMG Recordings, Inc.   SR0000613393
 4862 George Strait            A Fire I Can't Put Out                                       UMG Recordings, Inc.   SR0000213745
 4863 George Strait            Ace In The Hole                                              UMG Recordings, Inc.   SR0000100975
 4864 George Strait            Adalida                                                      UMG Recordings, Inc.   SR0000278184
 4865 George Strait            All My Ex's Live In Texas                                    UMG Recordings, Inc.   SR0000358502
 4866 George Strait            Am I Blue (Yes I'm Blue)                                     UMG Recordings, Inc.   SR0000213745
 4867 George Strait            Amarillo By Morning                                          UMG Recordings, Inc.   SR0000213745
 4868 George Strait            Baby Blue                                                    UMG Recordings, Inc.   SR0000358502
 4869 George Strait            Baby's Gotten Good At Goodbye                                UMG Recordings, Inc.   SR0000100975
 4870 George Strait            Blue Clear Sky                                               UMG Recordings, Inc.   SR0000358502
 4871 George Strait            Carried Away                                                 UMG Recordings, Inc.   SR0000358502
 4872 George Strait            Carrying Your Love With Me                                   UMG Recordings, Inc.   SR0000358502
 4873 George Strait            Check Yes Or No                                              UMG Recordings, Inc.   SR0000213745
 4874 George Strait            Chill Of An Early Fall                                       UMG Recordings, Inc.   SR0000128640
 4875 George Strait            Cowboys Like Us                                              UMG Recordings, Inc.   SR0000333733
 4876 George Strait            Desperately                                                  UMG Recordings, Inc.   SR0000334394
 4877 George Strait            Does Fort Worth Ever Cross Your Mind                         UMG Recordings, Inc.   SR0000213745
 4878 George Strait            Don't Make Me Come Over There And Love You                   UMG Recordings, Inc.   SR0000270094
 4879 George Strait            Down And Out                                                 UMG Recordings, Inc.   SR0000030829
 4880 George Strait            Drinking Champagne                                           UMG Recordings, Inc.   SR0000213745
 4881 George Strait            Easy Come, Easy Go                                           UMG Recordings, Inc.   SR0000213745
 4882 George Strait            Famous Last Words Of A Fool                                  UMG Recordings, Inc.   SR0000358502
 4883 George Strait            Fool Hearted Memory                                          UMG Recordings, Inc.   SR0000213745
 4884 George Strait            Go On                                                        UMG Recordings, Inc.   SR0000270094
 4885 George Strait            Gone As A Girl Can Get                                       UMG Recordings, Inc.   SR0000141229
 4886 George Strait            Good News, Bad News                                          UMG Recordings, Inc.   SR0000372131
 4887 George Strait            Heartland                                                    UMG Recordings, Inc.   SR0000213745
 4888 George Strait            How 'Bout Them Cowgirls                                      UMG Recordings, Inc.   SR0000398524
 4889 George Strait            I Can Still Make Cheyenne                                    UMG Recordings, Inc.   SR0000358502
 4890 George Strait            I Cross My Heart                                             UMG Recordings, Inc.   SR0000213745
 4891 George Strait            I Hate Everything                                            UMG Recordings, Inc.   SR0000358502
 4892 George Strait            I Just Want To Dance With You                                UMG Recordings, Inc.   SR0000252101
 4893 George Strait            I Know She Still Loves Me                                    UMG Recordings, Inc.   SR0000358502
 4894 George Strait            I'd Like To Have That One Back                               UMG Recordings, Inc.   SR0000178495
 4895 George Strait            I've Come To Expect It From You                              UMG Recordings, Inc.   SR0000358502
 4896 George Strait            If I Know Me                                                 UMG Recordings, Inc.   SR0000358502
 4897 George Strait            If You Ain't Lovin' (You Ain't Livin')                       UMG Recordings, Inc.   SR0000213745
 4898 George Strait            If You Can Do Anything Else                                  UMG Recordings, Inc.   SR0000270094
                               If You're Thinking You Want A Stranger (There's One Coming
 4899 George Strait            Home)                                                        UMG Recordings, Inc.   SR0000030829
 4900 George Strait            It Ain't Cool To Be Crazy About You                          UMG Recordings, Inc.   SR0000358502
 4901 George Strait            Lead On                                                      UMG Recordings, Inc.   SR0000358502
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 4902 George Strait     Let's Fall To Pieces Together                UMG Recordings, Inc.   SR0000358502
 4903 George Strait     Living And Living Well                       UMG Recordings, Inc.   SR0000309691
 4904 George Strait     Love Without End, Amen                       UMG Recordings, Inc.   SR0000358502
 4905 George Strait     Marina Del Rey                               UMG Recordings, Inc.   SR0000066434
 4906 George Strait     Meanwhile                                    UMG Recordings, Inc.   SR0000263154
 4907 George Strait     Nobody In His Right Mind Would've Left Her   UMG Recordings, Inc.   SR0000077926
 4908 George Strait     Ocean Front Property                         UMG Recordings, Inc.   SR0000079124
 4909 George Strait     One Night At A Time                          UMG Recordings, Inc.   SR0000358502
 4910 George Strait     Overnight Success                            UMG Recordings, Inc.   SR0000100975
 4911 George Strait     Right Or Wrong                               UMG Recordings, Inc.   SR0000358502
 4912 George Strait     Round About Way                              UMG Recordings, Inc.   SR0000358502
 4913 George Strait     Run                                          UMG Recordings, Inc.   SR0000358502
 4914 George Strait     She Let Herself Go                           UMG Recordings, Inc.   SR0000801476
 4915 George Strait     She'll Leave You With A Smile                UMG Recordings, Inc.   SR0000358502
 4916 George Strait     So Much Like My Dad                          UMG Recordings, Inc.   SR0000358502
 4917 George Strait     The Best Day                                 UMG Recordings, Inc.   SR0000278800
 4918 George Strait     The Big One                                  UMG Recordings, Inc.   SR0000358502
 4919 George Strait     The Chair                                    UMG Recordings, Inc.   SR0000073980
 4920 George Strait     The Cowboy Rides Away                        UMG Recordings, Inc.   SR0000213745
 4921 George Strait     The Fireman                                  UMG Recordings, Inc.   SR0000213745
 4922 George Strait     The Love Bug                                 UMG Recordings, Inc.   SR0000178495
 4923 George Strait     The Man In Love With You                     UMG Recordings, Inc.   SR0000178495
 4924 George Strait     The Seashores Of Old Mexico                  UMG Recordings, Inc.   SR0000801476
 4925 George Strait     Today My World Slipped Away                  UMG Recordings, Inc.   SR0000278184
 4926 George Strait     TRUE                                         UMG Recordings, Inc.   SR0000801476
 4927 George Strait     Unwound                                      UMG Recordings, Inc.   SR0000030829
 4928 George Strait     We Really Shouldn't Be Doing This            UMG Recordings, Inc.   SR0000278184
 4929 George Strait     What Do You Say To That                      UMG Recordings, Inc.   SR0000263154
 4930 George Strait     What's Going On In Your World                UMG Recordings, Inc.   SR0000100975
 4931 George Strait     When Did You Stop Loving Me                  UMG Recordings, Inc.   SR0000146421
 4932 George Strait     Write This Down                              UMG Recordings, Inc.   SR0000801476
 4933 George Strait     You Can't Make A Heart Love Somebody         UMG Recordings, Inc.   SR0000358502
 4934 George Strait     You Know Me Better Than That                 UMG Recordings, Inc.   SR0000213745
 4935 George Strait     You Look So Good In Love                     UMG Recordings, Inc.   SR0000213745
 4936 George Strait     You'll Be There                              UMG Recordings, Inc.   SR0000376078
 4937 George Strait     You're Something Special To Me               UMG Recordings, Inc.   SR0000073980
 4938 Gotye             Bronte                                       UMG Recordings, Inc.   SR0000692982
 4939 Gotye             Don't Worry, We'll Be Watching You           UMG Recordings, Inc.   SR0000692982
 4940 Gotye             Easy Way Out                                 UMG Recordings, Inc.   SR0000692982
 4941 Gotye             Eyes Wide Open                               UMG Recordings, Inc.   SR0000692982
 4942 Gotye             Giving Me A Chance                           UMG Recordings, Inc.   SR0000692982
 4943 Gotye             I Feel Better                                UMG Recordings, Inc.   SR0000692982
 4944 Gotye             In Your Light                                UMG Recordings, Inc.   SR0000692982
 4945 Gotye             Making Mirrors                               UMG Recordings, Inc.   SR0000692982
 4946 Gotye             Save Me                                      UMG Recordings, Inc.   SR0000692982
 4947 Gotye             Smoke And Mirrors                            UMG Recordings, Inc.   SR0000692982
 4948 Gotye             Somebody That I Used To Know                 UMG Recordings, Inc.   SR0000692982
 4949 Gotye             State Of The Art                             UMG Recordings, Inc.   SR0000692982
 4950 Gwen Stefani      4 In The Morning                             UMG Recordings, Inc.   SR0000400614
 4951 Gwen Stefani      Breakin' Up                                  UMG Recordings, Inc.   SR0000400614
 4952 Gwen Stefani      Bubble Pop Electric                          UMG Recordings, Inc.   SR0000364759
 4953 Gwen Stefani      Cool                                         UMG Recordings, Inc.   SR0000364759
 4954 Gwen Stefani      Crash                                        UMG Recordings, Inc.   SR0000364759
 4955 Gwen Stefani      Danger Zone                                  UMG Recordings, Inc.   SR0000364759
 4956 Gwen Stefani      Don't Get It Twisted (Explicit)              UMG Recordings, Inc.   SR0000400614
 4957 Gwen Stefani      Early Winter                                 UMG Recordings, Inc.   SR0000400614
 4958 Gwen Stefani      Fluorescent                                  UMG Recordings, Inc.   SR0000400614
 4959 Gwen Stefani      Harajuku Girls                               UMG Recordings, Inc.   SR0000364759
 4960 Gwen Stefani      Hollaback Girl                               UMG Recordings, Inc.   SR0000364759
 4961 Gwen Stefani      Long Way To Go                               UMG Recordings, Inc.   SR0000364759
 4962 Gwen Stefani      Luxurious                                    UMG Recordings, Inc.   SR0000364759
 4963 Gwen Stefani      Now That You Got It                          UMG Recordings, Inc.   SR0000400614
 4964 Gwen Stefani      Orange County Girl                           UMG Recordings, Inc.   SR0000400614
 4965 Gwen Stefani      Rich Girl                                    UMG Recordings, Inc.   SR0000364759
 4966 Gwen Stefani      Serious                                      UMG Recordings, Inc.   SR0000364759
 4967 Gwen Stefani      The Real Thing                               UMG Recordings, Inc.   SR0000364759
 4968 Gwen Stefani      The Sweet Escape                             UMG Recordings, Inc.   SR0000400614
 4969 Gwen Stefani      U Started It                                 UMG Recordings, Inc.   SR0000400614
 4970 Gwen Stefani      What You Waiting For?                        UMG Recordings, Inc.   SR0000364759
 4971 Gwen Stefani      Wind It Up                                   UMG Recordings, Inc.   SR0000400613
 4972 Gwen Stefani      Yummy                                        UMG Recordings, Inc.   SR0000400614
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 4973 Hinder            Bed Of Roses                                        UMG Recordings, Inc.   SR0000617110
 4974 Hinder            Better Than Me                                      UMG Recordings, Inc.   SR0000379192
 4975 Hinder            Bliss (I Don't Wanna Know)                          UMG Recordings, Inc.   SR0000379192
 4976 Hinder            Born To Be Wild                                     UMG Recordings, Inc.   SR0000617110
 4977 Hinder            By The Way                                          UMG Recordings, Inc.   SR0000379192
 4978 Hinder            Far From Home                                       UMG Recordings, Inc.   SR0000622802
 4979 Hinder            Get Stoned                                          UMG Recordings, Inc.   SR0000379192
 4980 Hinder            Heartless                                           UMG Recordings, Inc.   SR0000619828
 4981 Hinder            Heaven Sent                                         UMG Recordings, Inc.   SR0000622802
 4982 Hinder            Homecoming Queen                                    UMG Recordings, Inc.   SR0000379192
 4983 Hinder            How Long                                            UMG Recordings, Inc.   SR0000379192
 4984 Hinder            Last Kiss Goodbye                                   UMG Recordings, Inc.   SR0000622802
 4985 Hinder            Lips Of An Angel                                    UMG Recordings, Inc.   SR0000379192
 4986 Hinder            Live For Today                                      UMG Recordings, Inc.   SR0000622802
 4987 Hinder            Loaded and Alone                                    UMG Recordings, Inc.   SR0000622802
 4988 Hinder            Lost In The Sun                                     UMG Recordings, Inc.   SR0000622802
 4989 Hinder            Nothin' Good About Goodbye                          UMG Recordings, Inc.   SR0000379192
 4990 Hinder            One Night Stand                                     UMG Recordings, Inc.   SR0000619828
 4991 Hinder            Room 21                                             UMG Recordings, Inc.   SR0000379192
 4992 Hinder            Running In The Rain                                 UMG Recordings, Inc.   SR0000622802
 4993 Hinder            Shoulda                                             UMG Recordings, Inc.   SR0000379192
 4994 Hinder            Take It To The Limit                                UMG Recordings, Inc.   SR0000622802
 4995 Hinder            Take Me Home Tonight                                UMG Recordings, Inc.   SR0000617110
 4996 Hinder            The Best is Yet to Come                             UMG Recordings, Inc.   SR0000622802
 4997 Hinder            Thing For You                                       UMG Recordings, Inc.   SR0000622802
 4998 Hinder            Thunderstruck                                       UMG Recordings, Inc.   SR0000622802
 4999 Hinder            Up All Night                                        UMG Recordings, Inc.   SR0000379192
 5000 Hinder            Use Me                                              UMG Recordings, Inc.   SR0000614599
 5001 Hinder            Without You                                         UMG Recordings, Inc.   SR0000619215
 5002 Iggy Azalea       Work                                                UMG Recordings, Inc.   SR0000748652
 5003 Imagine Dragons   America                                             UMG Recordings, Inc.   SR0000717800
 5004 Imagine Dragons   Amsterdam                                           UMG Recordings, Inc.   SR0000707482
 5005 Imagine Dragons   Bleeding Out                                        UMG Recordings, Inc.   SR0000707482
 5006 Imagine Dragons   Every Night                                         UMG Recordings, Inc.   SR0000707482
 5007 Imagine Dragons   Fallen                                              UMG Recordings, Inc.   SR0000706680
 5008 Imagine Dragons   Hear Me                                             UMG Recordings, Inc.   SR0000707482
 5009 Imagine Dragons   It's Time                                           UMG Recordings, Inc.   SR0000695196
 5010 Imagine Dragons   My Fault                                            UMG Recordings, Inc.   SR0000695196
 5011 Imagine Dragons   Nothing Left To Say / Rocks                         UMG Recordings, Inc.   SR0000707482
 5012 Imagine Dragons   On Top of the World                                 UMG Recordings, Inc.   SR0000707482
 5013 Imagine Dragons   Radioactive                                         UMG Recordings, Inc.   SR0000695196
 5014 Imagine Dragons   Round and Round                                     UMG Recordings, Inc.   SR0000695196
 5015 Imagine Dragons   Selene                                              UMG Recordings, Inc.   SR0000707482
 5016 Imagine Dragons   The River                                           UMG Recordings, Inc.   SR0000707482
 5017 Imagine Dragons   Tiptoe                                              UMG Recordings, Inc.   SR0000707482
 5018 Imagine Dragons   Underdog                                            UMG Recordings, Inc.   SR0000707482
 5019 Imagine Dragons   Working Man                                         UMG Recordings, Inc.   SR0000706680
 5020 Isaac Hayes       Ain't That Loving You (For More Reasons Than One)   UMG Recordings, Inc.   SR0000378270
 5021 Isaac Hayes       Let's Stay Together                                 UMG Recordings, Inc.   SR0000378270
 5022 Isaac Hayes       Never Can Say Goodbye                               UMG Recordings, Inc.   SR0000378270
 5023 Isaac Hayes       Soulsville                                          UMG Recordings, Inc.   SR0000378270
 5024 Isaac Hayes       Theme From "The Men"                                UMG Recordings, Inc.   SR0000378270
 5025 Isaac Hayes       Wonderful                                           UMG Recordings, Inc.   SR0000378270
 5026 Jack Johnson      A Pirate Looks At Forty                             UMG Recordings, Inc.   SR0000699030
 5027 Jack Johnson      Adrift                                              UMG Recordings, Inc.   SR0000653690
 5028 Jack Johnson      All At Once                                         UMG Recordings, Inc.   SR0000653690
 5029 Jack Johnson      Angel                                               UMG Recordings, Inc.   SR0000653690
 5030 Jack Johnson      Banana Pancakes                                     UMG Recordings, Inc.   SR0000373729
 5031 Jack Johnson      Belle                                               UMG Recordings, Inc.   SR0000373729
 5032 Jack Johnson      Better Together                                     UMG Recordings, Inc.   SR0000373729
 5033 Jack Johnson      Breakdown                                           UMG Recordings, Inc.   SR0000373729
 5034 Jack Johnson      Constellations                                      UMG Recordings, Inc.   SR0000373729
 5035 Jack Johnson      Crying Shame                                        UMG Recordings, Inc.   SR0000373729
 5036 Jack Johnson      Do You Remember                                     UMG Recordings, Inc.   SR0000373729
 5037 Jack Johnson      Enemy                                               UMG Recordings, Inc.   SR0000653690
 5038 Jack Johnson      Go On                                               UMG Recordings, Inc.   SR0000653690
 5039 Jack Johnson      Good People                                         UMG Recordings, Inc.   SR0000373729
 5040 Jack Johnson      Hope                                                UMG Recordings, Inc.   SR0000653690
 5041 Jack Johnson      If I Could                                          UMG Recordings, Inc.   SR0000373729
 5042 Jack Johnson      If I Had Eyes                                       UMG Recordings, Inc.   SR0000636840
 5043 Jack Johnson      Losing Keys                                         UMG Recordings, Inc.   SR0000653690
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 5044 Jack Johnson      Monsoon                       UMG Recordings, Inc.   SR0000653690
 5045 Jack Johnson      Mudfootball                   UMG Recordings, Inc.   SR0000699030
 5046 Jack Johnson      Never Know                    UMG Recordings, Inc.   SR0000373729
 5047 Jack Johnson      No Other Way                  UMG Recordings, Inc.   SR0000373729
 5048 Jack Johnson      Same Girl                     UMG Recordings, Inc.   SR0000653690
 5049 Jack Johnson      Situations                    UMG Recordings, Inc.   SR0000373729
 5050 Jack Johnson      Sleep Through The Static      UMG Recordings, Inc.   SR0000653690
 5051 Jack Johnson      Staple It Together            UMG Recordings, Inc.   SR0000373729
 5052 Jack Johnson      They Do, They Don't           UMG Recordings, Inc.   SR0000653690
 5053 Jack Johnson      What You Thought You Need     UMG Recordings, Inc.   SR0000653690
 5054 Jack Johnson      While We Wait                 UMG Recordings, Inc.   SR0000653690
 5055 Jadakiss          Air It Out                    UMG Recordings, Inc.   SR0000356267
 5056 Jadakiss          Bring You Down                UMG Recordings, Inc.   SR0000356267
 5057 Jadakiss          Hot Sauce To Go               UMG Recordings, Inc.   SR0000356267
 5058 Jadakiss          I'm Goin Back                 UMG Recordings, Inc.   SR0000356267
 5059 Jadakiss          Real Hip Hop                  UMG Recordings, Inc.   SR0000356267
 5060 Jadakiss          Shine                         UMG Recordings, Inc.   SR0000356267
 5061 Jadakiss          Still Feel Me                 UMG Recordings, Inc.   SR0000356267
 5062 Jadakiss          Welcome To D-Block            UMG Recordings, Inc.   SR0000356267
 5063 James Blake       Give Me My Month              UMG Recordings, Inc.   SR0000673339
 5064 James Blake       I Mind                        UMG Recordings, Inc.   SR0000673339
 5065 James Blake       I Never Learnt To Share       UMG Recordings, Inc.   SR0000673339
 5066 James Blake       Limit To Your Love            UMG Recordings, Inc.   SR0000673339
 5067 James Blake       Lindisfarne II                UMG Recordings, Inc.   SR0000673339
 5068 James Blake       Measurements                  UMG Recordings, Inc.   SR0000673339
 5069 James Blake       To Care (Like You)            UMG Recordings, Inc.   SR0000673339
 5070 James Blake       Unluck                        UMG Recordings, Inc.   SR0000673339
 5071 James Blake       Why Don't You Call Me?        UMG Recordings, Inc.   SR0000673339
 5072 James Morrison    Broken Strings                UMG Recordings, Inc.   SR0000629431
 5073 JAY-Z             03' Bonnie & Clyde            UMG Recordings, Inc.   SR0000322448
 5074 JAY-Z             Gotta Have It                 UMG Recordings, Inc.   SR0000683714
 5075 JAY-Z             Made In America               UMG Recordings, Inc.   SR0000683714
 5076 JAY-Z             Murder To Excellence          UMG Recordings, Inc.   SR0000683714
 5077 JAY-Z             No Church In The Wild         UMG Recordings, Inc.   SR0000683714
 5078 JAY-Z             Otis                          UMG Recordings, Inc.   SR0000683714
 5079 JAY-Z             Renegade (Explicit)           UMG Recordings, Inc.   SR0000305948
 5080 JAY-Z             That's My Bitch               UMG Recordings, Inc.   SR0000683714
 5081 JAY-Z             Welcome To The Jungle         UMG Recordings, Inc.   SR0000683714
 5082 JAY-Z             Who Gon Stop Me               UMG Recordings, Inc.   SR0000683714
 5083 Jennifer Lopez    I'm Into You                  UMG Recordings, Inc.   SR0000751797
 5084 Jeremih           Down On Me                    UMG Recordings, Inc.   SR0000664544
 5085 Jessie J          Abracadabra                   UMG Recordings, Inc.   SR0000674861
 5086 Jessie J          Big White Room                UMG Recordings, Inc.   SR0000674861
 5087 Jessie J          Casualty Of Love              UMG Recordings, Inc.   SR0000674861
 5088 Jessie J          Do It Like A Dude             UMG Recordings, Inc.   SR0000674861
 5089 Jessie J          I Need This                   UMG Recordings, Inc.   SR0000674861
 5090 Jessie J          L.O.V.E.                      UMG Recordings, Inc.   SR0000674861
 5091 Jessie J          LaserLight                    UMG Recordings, Inc.   SR0000689415
 5092 Jessie J          Mamma Knows Best              UMG Recordings, Inc.   SR0000674861
 5093 Jessie J          My Shadow                     UMG Recordings, Inc.   SR0000689415
 5094 Jessie J          Nobody's Perfect              UMG Recordings, Inc.   SR0000674861
 5095 Jessie J          Price Tag                     UMG Recordings, Inc.   SR0000674861
 5096 Jessie J          Rainbow                       UMG Recordings, Inc.   SR0000674861
 5097 Jessie J          Stand Up                      UMG Recordings, Inc.   SR0000674861
 5098 Jessie J          Who You Are                   UMG Recordings, Inc.   SR0000674861
 5099 Jessie J          Who's Laughing Now            UMG Recordings, Inc.   SR0000674861
 5100 Jimmy Eat World   Drugs Or Me                   UMG Recordings, Inc.   SR0000366508
 5101 Jimmy Eat World   Futures                       UMG Recordings, Inc.   SR0000366508
 5102 Jimmy Eat World   Just Tonight                  UMG Recordings, Inc.   SR0000366508
 5103 Jimmy Eat World   Kill                          UMG Recordings, Inc.   SR0000366508
 5104 Jimmy Eat World   Night Drive                   UMG Recordings, Inc.   SR0000366508
 5105 Jimmy Eat World   Nothing Wrong                 UMG Recordings, Inc.   SR0000366508
 5106 Jimmy Eat World   Polaris                       UMG Recordings, Inc.   SR0000366508
 5107 Jimmy Eat World   The World You Love            UMG Recordings, Inc.   SR0000366508
 5108 Josh Turner       All Over Me                   UMG Recordings, Inc.   SR0000645586
 5109 Josh Turner       Angels Fall Sometimes         UMG Recordings, Inc.   SR0000386947
 5110 Josh Turner       Another Try                   UMG Recordings, Inc.   SR0000615283
 5111 Josh Turner       As Fast As I Could            UMG Recordings, Inc.   SR0000645586
 5112 Josh Turner       Baby, I Go Crazy              UMG Recordings, Inc.   SR0000621056
 5113 Josh Turner       Baby's Gone Home To Mama      UMG Recordings, Inc.   SR0000386947
 5114 Josh Turner       Backwoods Boy                 UMG Recordings, Inc.   SR0000344336
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 5115 Josh Turner       Everything Is Fine                                          UMG Recordings, Inc.   SR0000621055
 5116 Josh Turner       Eye Candy                                                   UMG Recordings, Inc.   SR0000645586
 5117 Josh Turner       Firecracker                                                 UMG Recordings, Inc.   SR0000621055
 5118 Josh Turner       Friday Paycheck                                             UMG Recordings, Inc.   SR0000645586
 5119 Josh Turner       Good Woman Bad                                              UMG Recordings, Inc.   SR0000344336
 5120 Josh Turner       Gravity                                                     UMG Recordings, Inc.   SR0000381628
 5121 Josh Turner       Haywire                                                     UMG Recordings, Inc.   SR0000645586
 5122 Josh Turner       I Had One One Time                                          UMG Recordings, Inc.   SR0000344336
 5123 Josh Turner       I Wouldn't Be A Man                                         UMG Recordings, Inc.   SR0000645586
 5124 Josh Turner       I'll Be There                                               UMG Recordings, Inc.   SR0000645586
 5125 Josh Turner       In My Dreams                                                UMG Recordings, Inc.   SR0000344336
 5126 Josh Turner       Jacksonville                                                UMG Recordings, Inc.   SR0000344336
 5127 Josh Turner       Let's Find A Church                                         UMG Recordings, Inc.   SR0000645586
 5128 Josh Turner       Long Black Train                                            UMG Recordings, Inc.   SR0000344336
 5129 Josh Turner       Lord Have Mercy On A Country Boy                            UMG Recordings, Inc.   SR0000386947
 5130 Josh Turner       Loretta Lynn's Lincoln                                      UMG Recordings, Inc.   SR0000386947
 5131 Josh Turner       Lovin' You On My Mind                                       UMG Recordings, Inc.   SR0000645586
 5132 Josh Turner       Me And God                                                  UMG Recordings, Inc.   SR0000386947
 5133 Josh Turner       No Rush                                                     UMG Recordings, Inc.   SR0000386947
 5134 Josh Turner       Nowhere Fast                                                UMG Recordings, Inc.   SR0000621055
 5135 Josh Turner       One Woman Man                                               UMG Recordings, Inc.   SR0000621055
 5136 Josh Turner       She'll Go On You                                            UMG Recordings, Inc.   SR0000344336
 5137 Josh Turner       So Not My Baby                                              UMG Recordings, Inc.   SR0000621055
 5138 Josh Turner       Soulmate                                                    UMG Recordings, Inc.   SR0000621055
 5139 Josh Turner       South Carolina Low Country                                  UMG Recordings, Inc.   SR0000621055
 5140 Josh Turner       The Answer                                                  UMG Recordings, Inc.   SR0000645586
 5141 Josh Turner       The Difference Between A Woman And A Man                    UMG Recordings, Inc.   SR0000344336
 5142 Josh Turner       The Longer The Waiting                                      UMG Recordings, Inc.   SR0000621055
 5143 Josh Turner       The Way He Was Raised                                       UMG Recordings, Inc.   SR0000621055
 5144 Josh Turner       This Kind Of Love                                           UMG Recordings, Inc.   SR0000645586
 5145 Josh Turner       Trailerhood                                                 UMG Recordings, Inc.   SR0000621055
 5146 Josh Turner       Unburn All Our Bridges                                      UMG Recordings, Inc.   SR0000344336
 5147 Josh Turner       Way Down South                                              UMG Recordings, Inc.   SR0000386947
 5148 Josh Turner       What It Ain't                                               UMG Recordings, Inc.   SR0000344336
 5149 Josh Turner       White Noise                                                 UMG Recordings, Inc.   SR0000386947
 5150 Josh Turner       Why Don't We Just Dance                                     UMG Recordings, Inc.   SR0000635058
 5151 Josh Turner       Would You Go With Me                                        UMG Recordings, Inc.   SR0000615305
 5152 Josh Turner       You Don't Mess Around With Jim                              UMG Recordings, Inc.   SR0000344336
 5153 Josh Turner       Your Man                                                    UMG Recordings, Inc.   SR0000386947
 5154 Josh Turner       Your Smile                                                  UMG Recordings, Inc.   SR0000645586
 5155 Justin Bieber     All Around The World                                        UMG Recordings, Inc.   SR0000710074
                        All I Want For Christmas Is You (SuperFestive!) Duet with
 5156 Justin Bieber     Mariah Carey                                                UMG Recordings, Inc.   SR0000704701
 5157 Justin Bieber     All I Want Is You                                           UMG Recordings, Inc.   SR0000704701
 5158 Justin Bieber     As Long As You Love Me                                      UMG Recordings, Inc.   SR0000710074
 5159 Justin Bieber     Be Alright                                                  UMG Recordings, Inc.   SR0000710074
 5160 Justin Bieber     Beauty And A Beat                                           UMG Recordings, Inc.   SR0000710074
 5161 Justin Bieber     Believe                                                     UMG Recordings, Inc.   SR0000704844
 5162 Justin Bieber     Boyfriend (Album Version)                                   UMG Recordings, Inc.   SR0000710074
 5163 Justin Bieber     Catching Feelings                                           UMG Recordings, Inc.   SR0000710074
 5164 Justin Bieber     Christmas Eve                                               UMG Recordings, Inc.   SR0000704701
 5165 Justin Bieber     Christmas Love                                              UMG Recordings, Inc.   SR0000704701
 5166 Justin Bieber     Common Denominator (Bonus Track)                            UMG Recordings, Inc.   SR0000634194
 5167 Justin Bieber     Die In Your Arms                                            UMG Recordings, Inc.   SR0000705165
 5168 Justin Bieber     Drummer Boy                                                 UMG Recordings, Inc.   SR0000704701
 5169 Justin Bieber     Fa La La                                                    UMG Recordings, Inc.   SR0000704701
 5170 Justin Bieber     Fall                                                        UMG Recordings, Inc.   SR0000710074
 5171 Justin Bieber     Home This Christmas                                         UMG Recordings, Inc.   SR0000704701
 5172 Justin Bieber     Maria                                                       UMG Recordings, Inc.   SR0000710074
 5173 Justin Bieber     Mistletoe                                                   UMG Recordings, Inc.   SR0000704701
 5174 Justin Bieber     Never Say Never                                             UMG Recordings, Inc.   SR0000659942
 5175 Justin Bieber     One Love                                                    UMG Recordings, Inc.   SR0000710074
 5176 Justin Bieber     Only Thing I Ever Get For Christmas                         UMG Recordings, Inc.   SR0000704701
 5177 Justin Bieber     Out Of Town Girl                                            UMG Recordings, Inc.   SR0000710074
 5178 Justin Bieber     Right Here                                                  UMG Recordings, Inc.   SR0000710074
 5179 Justin Bieber     Santa Claus Is Coming To Town                               UMG Recordings, Inc.   SR0000704701
 5180 Justin Bieber     She Don't Like The Lights                                   UMG Recordings, Inc.   SR0000710074
 5181 Justin Bieber     Silent Night                                                UMG Recordings, Inc.   SR0000704701
 5182 Justin Bieber     Someday At Christmas                                        UMG Recordings, Inc.   SR0000704701
 5183 Justin Bieber     Take You                                                    UMG Recordings, Inc.   SR0000710074
 5184 Justin Bieber     The Christmas Song (Chestnuts Roasting On An Open Fire)     UMG Recordings, Inc.   SR0000704701
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 5185 Justin Bieber     Thought Of You                                    UMG Recordings, Inc.   SR0000710074
 5186 Kanye West        All Falls Down                                    UMG Recordings, Inc.   SR0000347391
 5187 Kanye West        All Of The Lights                                 UMG Recordings, Inc.   SR0000683430
 5188 Kanye West        All Of The Lights (Interlude)                     UMG Recordings, Inc.   SR0000683430
 5189 Kanye West        Amazing                                           UMG Recordings, Inc.   SR0000620203
 5190 Kanye West        Bad News                                          UMG Recordings, Inc.   SR0000620203
 5191 Kanye West        Barry Bonds                                       UMG Recordings, Inc.   SR0000615020
 5192 Kanye West        Big Brother                                       UMG Recordings, Inc.   SR0000615020
 5193 Kanye West        Bittersweet Poetry                                UMG Recordings, Inc.   SR0000615020
 5194 Kanye West        Black Skinhead                                    UMG Recordings, Inc.   SR0000724178
 5195 Kanye West        Blame Game                                        UMG Recordings, Inc.   SR0000683430
 5196 Kanye West        Blood On The Leaves                               UMG Recordings, Inc.   SR0000724178
 5197 Kanye West        Bound 2                                           UMG Recordings, Inc.   SR0000724178
 5198 Kanye West        Breathe In Breathe Out                            UMG Recordings, Inc.   SR0000347391
 5199 Kanye West        Can't Tell Me Nothing                             UMG Recordings, Inc.   SR0000615020
 5200 Kanye West        Champion                                          UMG Recordings, Inc.   SR0000615020
 5201 Kanye West        Clique                                            UMG Recordings, Inc.   SR0000763373
 5202 Kanye West        Clique (Explicit)                                 UMG Recordings, Inc.   SR0000763373
 5203 Kanye West        Cold                                              UMG Recordings, Inc.   SR0000699415
 5204 Kanye West        Coldest Winter                                    UMG Recordings, Inc.   SR0000620203
 5205 Kanye West        Devil In A New Dress                              UMG Recordings, Inc.   SR0000683430
 5206 Kanye West        Diamonds From Sierra Leone                        UMG Recordings, Inc.   SR0000372867
 5207 Kanye West        Don't Like.1                                      UMG Recordings, Inc.   SR0000683430
 5208 Kanye West        Drive Slow (Explicit)                             UMG Recordings, Inc.   SR0000372867
 5209 Kanye West        Drunk And Hot Girls                               UMG Recordings, Inc.   SR0000615020
 5210 Kanye West        Everything I Am                                   UMG Recordings, Inc.   SR0000615020
 5211 Kanye West        Flashing Lights                                   UMG Recordings, Inc.   SR0000615020
 5212 Kanye West        Get Em High                                       UMG Recordings, Inc.   SR0000347391
 5213 Kanye West        Gold Digger                                       UMG Recordings, Inc.   SR0000372867
 5214 Kanye West        Good Life                                         UMG Recordings, Inc.   SR0000615020
 5215 Kanye West        Good Morning                                      UMG Recordings, Inc.   SR0000615020
 5216 Kanye West        Gorgeous                                          UMG Recordings, Inc.   SR0000683430
 5217 Kanye West        Graduation Day                                    UMG Recordings, Inc.   SR0000347391
 5218 Kanye West        Guilt Trip                                        UMG Recordings, Inc.   SR0000724178
 5219 Kanye West        Heard 'Em Say                                     UMG Recordings, Inc.   SR0000372867
 5220 Kanye West        Heartless                                         UMG Recordings, Inc.   SR0000620203
 5221 Kanye West        Hell Of A Life                                    UMG Recordings, Inc.   SR0000683430
 5222 Kanye West        Hold My Liquor                                    UMG Recordings, Inc.   SR0000724178
 5223 Kanye West        Homecoming                                        UMG Recordings, Inc.   SR0000615020
 5224 Kanye West        I Am A God                                        UMG Recordings, Inc.   SR0000724178
 5225 Kanye West        I Wonder                                          UMG Recordings, Inc.   SR0000615020
 5226 Kanye West        I'll Fly Away                                     UMG Recordings, Inc.   SR0000347391
 5227 Kanye West        I'm In It                                         UMG Recordings, Inc.   SR0000724178
 5228 Kanye West        Jesus Walks                                       UMG Recordings, Inc.   SR0000347391
 5229 Kanye West        Last Call                                         UMG Recordings, Inc.   SR0000347391
 5230 Kanye West        Lil Jimmy Skit                                    UMG Recordings, Inc.   SR0000347391
 5231 Kanye West        Lost In The World                                 UMG Recordings, Inc.   SR0000683430
 5232 Kanye West        Love Lockdown                                     UMG Recordings, Inc.   SR0000618708
 5233 Kanye West        Mercy.1                                           UMG Recordings, Inc.   SR0000763373
 5234 Kanye West        Monster                                           UMG Recordings, Inc.   SR0000683430
 5235 Kanye West        Never Let Me Down                                 UMG Recordings, Inc.   SR0000347391
 5236 Kanye West        New God Flow.1                                    UMG Recordings, Inc.   SR0000683430
 5237 Kanye West        New Slaves                                        UMG Recordings, Inc.   SR0000724178
 5238 Kanye West        On Sight                                          UMG Recordings, Inc.   SR0000724178
 5239 Kanye West        Paranoid                                          UMG Recordings, Inc.   SR0000620203
 5240 Kanye West        Pinocchio Story (Freestyle Live From Singapore)   UMG Recordings, Inc.   SR0000620203
 5241 Kanye West        POWER                                             UMG Recordings, Inc.   SR0000683430
 5242 Kanye West        RoboCop                                           UMG Recordings, Inc.   SR0000620203
 5243 Kanye West        Runaway                                           UMG Recordings, Inc.   SR0000683430
 5244 Kanye West        Say You Will                                      UMG Recordings, Inc.   SR0000620203
 5245 Kanye West        School Spirit                                     UMG Recordings, Inc.   SR0000347391
 5246 Kanye West        School Spirit Skit 1                              UMG Recordings, Inc.   SR0000347391
 5247 Kanye West        See Me Now                                        UMG Recordings, Inc.   SR0000667365
 5248 Kanye West        See You In My Nightmares                          UMG Recordings, Inc.   SR0000620203
 5249 Kanye West        Send It Up                                        UMG Recordings, Inc.   SR0000724178
 5250 Kanye West        Slow Jamz                                         UMG Recordings, Inc.   SR0000347391
 5251 Kanye West        So Appalled                                       UMG Recordings, Inc.   SR0000683430
 5252 Kanye West        Spaceship                                         UMG Recordings, Inc.   SR0000347391
 5253 Kanye West        Street Lights                                     UMG Recordings, Inc.   SR0000620203
 5254 Kanye West        Stronger                                          UMG Recordings, Inc.   SR0000615019
 5255 Kanye West        The Glory                                         UMG Recordings, Inc.   SR0000615020
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 5256 Kanye West        The New Workout Plan                      UMG Recordings, Inc.   SR0000347391
 5257 Kanye West        The One (Explicit)                        UMG Recordings, Inc.   SR0000763373
 5258 Kanye West        Through The Wire                          UMG Recordings, Inc.   SR0000347391
 5259 Kanye West        To The World                              UMG Recordings, Inc.   SR0000763373
 5260 Kanye West        Touch The Sky                             UMG Recordings, Inc.   SR0000372867
 5261 Kanye West        Two Words                                 UMG Recordings, Inc.   SR0000347391
 5262 Kanye West        We Don't Care                             UMG Recordings, Inc.   SR0000347391
 5263 Kanye West        Welcome To Heartbreak                     UMG Recordings, Inc.   SR0000620203
 5264 Kanye West        Who Will Survive In America               UMG Recordings, Inc.   SR0000683430
 5265 Kanye West        Workout Plan                              UMG Recordings, Inc.   SR0000347391
 5266 Kanye West        Dark Fantasy                              UMG Recordings, Inc.   SR0000683430
 5267 Keane             Snowed Under                              UMG Recordings, Inc.   SR0000637459
 5268 Keane             Somewhere Only We Know                    UMG Recordings, Inc.   SR0000355429
 5269 Keane             Walnut Tree                               UMG Recordings, Inc.   SR0000737377
 5270 Kelly Rowland     Commander                                 UMG Recordings, Inc.   SR0000658307
 5271 Kelly Rowland     Each Other                                UMG Recordings, Inc.   SR0000681564
 5272 Kelly Rowland     Heaven & Earth                            UMG Recordings, Inc.   SR0000681564
 5273 Kelly Rowland     Motivation                                UMG Recordings, Inc.   SR0000677261
 5274 Keri Hilson       Alienated                                 UMG Recordings, Inc.   SR0000629123
 5275 Keri Hilson       Change Me                                 UMG Recordings, Inc.   SR0000629123
 5276 Keri Hilson       Energy                                    UMG Recordings, Inc.   SR0000612858
 5277 Keri Hilson       Get Your Money Up                         UMG Recordings, Inc.   SR0000629123
 5278 Keri Hilson       How Does It Feel                          UMG Recordings, Inc.   SR0000629123
 5279 Keri Hilson       Intro                                     UMG Recordings, Inc.   SR0000629123
 5280 Keri Hilson       Intuition                                 UMG Recordings, Inc.   SR0000629123
 5281 Keri Hilson       Knock You Down                            UMG Recordings, Inc.   SR0000629123
 5282 Keri Hilson       Make Love                                 UMG Recordings, Inc.   SR0000629123
 5283 Keri Hilson       Pretty Girl Rock                          UMG Recordings, Inc.   SR0000668316
 5284 Keri Hilson       Return The Favor                          UMG Recordings, Inc.   SR0000619820
 5285 Keri Hilson       Slow Dance                                UMG Recordings, Inc.   SR0000629123
 5286 Keri Hilson       Tell Him The Truth                        UMG Recordings, Inc.   SR0000629123
 5287 Keri Hilson       Turnin Me On                              UMG Recordings, Inc.   SR0000621818
 5288 Keri Hilson       Where Did He Go                           UMG Recordings, Inc.   SR0000629123
 5289 Keyshia Cole      Didn't I Tell You                         UMG Recordings, Inc.   SR0000615233
 5290 Keyshia Cole      Enough Of No Love                         UMG Recordings, Inc.   SR0000704034
 5291 Keyshia Cole      Fallin' Out                               UMG Recordings, Inc.   SR0000615233
 5292 Keyshia Cole      Give Me More                              UMG Recordings, Inc.   SR0000615233
 5293 Keyshia Cole      Got To Get My Heart Back                  UMG Recordings, Inc.   SR0000615233
 5294 Keyshia Cole      Heaven Sent                               UMG Recordings, Inc.   SR0000615233
 5295 Keyshia Cole      I Ain't Thru                              UMG Recordings, Inc.   SR0000670139
 5296 Keyshia Cole      I Remember                                UMG Recordings, Inc.   SR0000615233
 5297 Keyshia Cole      Just Like You                             UMG Recordings, Inc.   SR0000615233
 5298 Keyshia Cole      Last Night                                UMG Recordings, Inc.   SR0000615233
 5299 Keyshia Cole      Losing You                                UMG Recordings, Inc.   SR0000615233
 5300 Keyshia Cole      Same Thing                                UMG Recordings, Inc.   SR0000615233
 5301 Keyshia Cole      Shoulda Let You Go                        UMG Recordings, Inc.   SR0000615233
 5302 Keyshia Cole      Was It Worth It?                          UMG Recordings, Inc.   SR0000615233
 5303 Keyshia Cole      Work It Out                               UMG Recordings, Inc.   SR0000615233
 5304 Kid Cudi          Alive (nightmare)                         UMG Recordings, Inc.   SR0000637865
 5305 Kid Cudi          All Along                                 UMG Recordings, Inc.   SR0000696989
 5306 Kid Cudi          Ashin' Kusher                             UMG Recordings, Inc.   SR0000696989
 5307 Kid Cudi          Creepers (Explicit)                       UMG Recordings, Inc.   SR0000763373
 5308 Kid Cudi          Cudi Zone                                 UMG Recordings, Inc.   SR0000637865
 5309 Kid Cudi          Day 'N' Nite                              UMG Recordings, Inc.   SR0000641952
 5310 Kid Cudi          Day 'N' Nite (nightmare)                  UMG Recordings, Inc.   SR0000637865
 5311 Kid Cudi          Don't Play This Song                      UMG Recordings, Inc.   SR0000696989
 5312 Kid Cudi          Enter Galactic (Love Connection Part I)   UMG Recordings, Inc.   SR0000637865
 5313 Kid Cudi          GHOST!                                    UMG Recordings, Inc.   SR0000696989
 5314 Kid Cudi          Heart Of A Lion (Kid Cudi Theme Music)    UMG Recordings, Inc.   SR0000637865
 5315 Kid Cudi          Hyyerr                                    UMG Recordings, Inc.   SR0000637865
 5316 Kid Cudi          In My Dreams (Cudder Anthem)              UMG Recordings, Inc.   SR0000637865
 5317 Kid Cudi          Make Her Say                              UMG Recordings, Inc.   SR0000641951
 5318 Kid Cudi          MANIAC                                    UMG Recordings, Inc.   SR0000696989
 5319 Kid Cudi          Marijuana                                 UMG Recordings, Inc.   SR0000696989
 5320 Kid Cudi          Mojo So Dope                              UMG Recordings, Inc.   SR0000696989
 5321 Kid Cudi          Mr. Rager                                 UMG Recordings, Inc.   SR0000695775
 5322 Kid Cudi          My World                                  UMG Recordings, Inc.   SR0000637865
 5323 Kid Cudi          Pursuit Of Happiness                      UMG Recordings, Inc.   SR0000637865
 5324 Kid Cudi          REVOFEV                                   UMG Recordings, Inc.   SR0000696989
 5325 Kid Cudi          Scott Mescudi Vs. The World               UMG Recordings, Inc.   SR0000696989
 5326 Kid Cudi          Simple As...                              UMG Recordings, Inc.   SR0000637865
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 5327 Kid Cudi          Sky Might Fall                                UMG Recordings, Inc.   SR0000637865
 5328 Kid Cudi          Solo Dolo (nightmare)                         UMG Recordings, Inc.   SR0000637865
 5329 Kid Cudi          Soundtrack 2 My Life                          UMG Recordings, Inc.   SR0000637865
 5330 Kid Cudi          The End                                       UMG Recordings, Inc.   SR0000696989
 5331 Kid Cudi          The Mood                                      UMG Recordings, Inc.   SR0000696989
 5332 Kid Cudi          These Worries                                 UMG Recordings, Inc.   SR0000696989
 5333 Kid Cudi          Trapped In My Mind                            UMG Recordings, Inc.   SR0000696989
 5334 Kid Cudi          Up Up & Away                                  UMG Recordings, Inc.   SR0000637865
 5335 Kid Cudi          We Aite (Wake Your Mind Up)                   UMG Recordings, Inc.   SR0000696989
 5336 Kid Cudi          Wild'n Cuz I'm Young                          UMG Recordings, Inc.   SR0000696989
 5337 La Roux           Bulletproof                                   UMG Recordings, Inc.   SR0000628226
 5338 Lady Antebellum   Bartender                                     UMG Recordings, Inc.   SR0000770305
 5339 Lady Gaga         Alejandro                                     UMG Recordings, Inc.   SR0000642917
 5340 Lady Gaga         Alejandro (Radio Edit)                        UMG Recordings, Inc.   SR0000642917
 5341 Lady Gaga         Americano                                     UMG Recordings, Inc.   SR0000678406
 5342 Lady Gaga         Applause                                      UMG Recordings, Inc.   SR0000729225
 5343 Lady Gaga         ARTPOP                                        UMG Recordings, Inc.   SR0000737557
 5344 Lady Gaga         Aura                                          UMG Recordings, Inc.   SR0000737557
 5345 Lady Gaga         Bad Kids                                      UMG Recordings, Inc.   SR0000678406
 5346 Lady Gaga         Bad Romance                                   UMG Recordings, Inc.   SR0000642919
 5347 Lady GaGa         Beautiful, Dirty, Rich                        UMG Recordings, Inc.   SR0000617842
 5348 Lady Gaga         Black Jesus (Amen Fashion)                    UMG Recordings, Inc.   SR0000678406
 5349 Lady Gaga         Bloody Mary                                   UMG Recordings, Inc.   SR0000678406
 5350 Lady Gaga         Born This Way                                 UMG Recordings, Inc.   SR0000678406
 5351 Lady GaGa         Boys Boys Boys                                UMG Recordings, Inc.   SR0000617841
 5352 Lady GaGa         Brown Eyes                                    UMG Recordings, Inc.   SR0000617841
 5353 Lady Gaga         Christmas Tree                                UMG Recordings, Inc.   SR0000621816
 5354 Lady Gaga         Dance In The Dark                             UMG Recordings, Inc.   SR0000642917
 5355 Lady GaGa         Disco Heaven                                  UMG Recordings, Inc.   SR0000642917
 5356 Lady Gaga         Do What U Want                                UMG Recordings, Inc.   SR0000737557
 5357 Lady Gaga         Donatella                                     UMG Recordings, Inc.   SR0000737557
 5358 Lady Gaga         Dope                                          UMG Recordings, Inc.   SR0000737557
 5359 Lady Gaga         Eh, Eh (Nothing Else I Can Say)               UMG Recordings, Inc.   SR0000617841
 5360 Lady Gaga         Electric Chapel                               UMG Recordings, Inc.   SR0000678406
 5361 Lady Gaga         Fashion                                       UMG Recordings, Inc.   SR0000737557
 5362 Lady Gaga         Fashion Of His Love                           UMG Recordings, Inc.   SR0000678406
 5363 Lady Gaga         Fashion!                                      UMG Recordings, Inc.   SR0000737557
 5364 Lady Gaga         Fasion Of His Love (Fernando Garibay Remix)   UMG Recordings, Inc.   SR0000678406
 5365 Lady Gaga         G.U.Y.                                        UMG Recordings, Inc.   SR0000737557
 5366 Lady Gaga         Government Hooker                             UMG Recordings, Inc.   SR0000678406
 5367 Lady Gaga         Gypsy                                         UMG Recordings, Inc.   SR0000737557
 5368 Lady Gaga         Hair                                          UMG Recordings, Inc.   SR0000678406
 5369 Lady Gaga         Heavy Metal Lover                             UMG Recordings, Inc.   SR0000678406
 5370 Lady Gaga         Highway Unicorn (Road To Love)                UMG Recordings, Inc.   SR0000678406
 5371 Lady GaGa         I Like It Rough                               UMG Recordings, Inc.   SR0000617841
 5372 Lady Gaga         Jewels N' Drugs                               UMG Recordings, Inc.   SR0000737557
 5373 Lady Gaga         Judas                                         UMG Recordings, Inc.   SR0000678406
 5374 Lady Gaga         Judas (DJ White Shadow Remix)                 UMG Recordings, Inc.   SR0000678406
 5375 Lady GaGa         Just Dance                                    UMG Recordings, Inc.   SR0000613221
 5376 Lady GaGa         LoveGame                                      UMG Recordings, Inc.   SR0000617841
 5377 Lady Gaga         MANiCURE                                      UMG Recordings, Inc.   SR0000737557
 5378 Lady Gaga         Marry The Night                               UMG Recordings, Inc.   SR0000678406
 5379 Lady Gaga         Marry The Night (Fernando Garibay Remix)      UMG Recordings, Inc.   SR0000678406
 5380 Lady Gaga         Mary Jane Holland                             UMG Recordings, Inc.   SR0000737557
 5381 Lady GaGa         Money Honey                                   UMG Recordings, Inc.   SR0000617841
 5382 Lady Gaga         Monster                                       UMG Recordings, Inc.   SR0000642917
 5383 Lady Gaga         Paparazzi                                     UMG Recordings, Inc.   SR0000617841
 5384 Lady GaGa         Paper Gangsta                                 UMG Recordings, Inc.   SR0000617841
 5385 Lady GaGa         Poker Face                                    UMG Recordings, Inc.   SR0000617843
 5386 Lady Gaga         Retro, Dance, Freak                           UMG Recordings, Inc.   SR0000642917
 5387 Lady Gaga         Scheiße                                       UMG Recordings, Inc.   SR0000678406
 5388 Lady Gaga         Scheiße (DJ White Shadow Remix)               UMG Recordings, Inc.   SR0000678406
 5389 Lady Gaga         Sexxx Dreams                                  UMG Recordings, Inc.   SR0000737557
 5390 Lady Gaga         So Happy I Could Die                          UMG Recordings, Inc.   SR0000642917
 5391 Lady Gaga         Speechless                                    UMG Recordings, Inc.   SR0000642917
 5392 Lady GaGa         Starstruck                                    UMG Recordings, Inc.   SR0000617841
 5393 Lady GaGa         Summerboy                                     UMG Recordings, Inc.   SR0000617841
 5394 Lady Gaga         Swine                                         UMG Recordings, Inc.   SR0000737557
 5395 Lady Gaga         Teeth                                         UMG Recordings, Inc.   SR0000642917
 5396 Lady Gaga         Telephone                                     UMG Recordings, Inc.   SR0000642917
 5397 Lady Gaga         The Edge Of Glory                             UMG Recordings, Inc.   SR0000678409
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 5398 Lady GaGa         The Fame                               UMG Recordings, Inc.   SR0000617841
 5399 Lady Gaga         The Queen                              UMG Recordings, Inc.   SR0000678406
 5400 Lady Gaga         Venus                                  UMG Recordings, Inc.   SR0000737557
 5401 Lady Gaga         You & I                                UMG Recordings, Inc.   SR0000678406
 5402 Lady Gaga         You And I                              UMG Recordings, Inc.   SR0000678406
 5403 Lana Del Rey      American                               UMG Recordings, Inc.   SR0000712342
 5404 Lana Del Rey      Bel Air                                UMG Recordings, Inc.   SR0000712342
 5405 Lana Del Rey      Blue Jeans                             UMG Recordings, Inc.   SR0000412524
 5406 Lana Del Rey      Blue Velvet                            UMG Recordings, Inc.   SR0000712342
 5407 Lana Del Rey      Body Electric                          UMG Recordings, Inc.   SR0000712342
 5408 Lana Del Rey      Born To Die                            UMG Recordings, Inc.   SR0000692991
                                                                                      SR0000711860
 5409 Lana Del Rey      Burning Desire                         UMG Recordings, Inc.   SR0000412526
 5410 Lana Del Rey      Carmen                                 UMG Recordings, Inc.   SR0000692991
 5411 Lana Del Rey      Cola                                   UMG Recordings, Inc.   SR0000712342
 5412 Lana Del Rey      Dark Paradise                          UMG Recordings, Inc.   SR0000712345
 5413 Lana Del Rey      Diet Mountain Dew                      UMG Recordings, Inc.   SR0000729848
 5414 Lana Del Rey      Gods & Monsters                        UMG Recordings, Inc.   SR0000712342
 5415 Lana Del Rey      Lolita                                 UMG Recordings, Inc.   SR0000692991
 5416 Lana Del Rey      Lucky Ones                             UMG Recordings, Inc.   SR0000692991
 5417 Lana Del Rey      Million Dollar Man                     UMG Recordings, Inc.   SR0000692991
 5418 Lana Del Rey      National Anthem                        UMG Recordings, Inc.   SR0000692991
 5419 Lana Del Rey      Off To The Races                       UMG Recordings, Inc.   SR0000412524
                                                                                      SR0000712346
 5420 Lana Del Rey      Ride                                   UMG Recordings, Inc.   SR0000412527
 5421 Lana Del Rey      Summertime Sadness                     UMG Recordings, Inc.   SR0000729848
 5422 Lana Del Rey      This Is What Makes Us Girls            UMG Recordings, Inc.   SR0000692991
 5423 Lana Del Rey      Video Games                            UMG Recordings, Inc.   SR0000693409
 5424 Lana Del Rey      Without You                            UMG Recordings, Inc.   SR0000711860
 5425 Lana Del Rey      Yayo                                   UMG Recordings, Inc.   SR0000712342
 5426 Ledisi            BGTY                                   UMG Recordings, Inc.   SR0000611046
 5427 Ledisi            Bravo                                  UMG Recordings, Inc.   SR0000611046
 5428 Ledisi            Coffee                                 UMG Recordings, Inc.   SR0000611046
 5429 Ledisi            Hate Me                                UMG Recordings, Inc.   SR0000611046
 5430 Ledisi            I Gotta Get To You                     UMG Recordings, Inc.   SR0000611046
 5431 Ledisi            I Miss You Now                         UMG Recordings, Inc.   SR0000611046
 5432 Ledisi            Pieces Of Me                           UMG Recordings, Inc.   SR0000611046
 5433 Ledisi            Raise Up                               UMG Recordings, Inc.   SR0000678487
 5434 Ledisi            Shine                                  UMG Recordings, Inc.   SR0000678487
 5435 Ledisi            Shut Up                                UMG Recordings, Inc.   SR0000611046
 5436 Ledisi            So Into You                            UMG Recordings, Inc.   SR0000611046
 5437 Ledisi            Stay Together                          UMG Recordings, Inc.   SR0000678487
 5438 Lee Ann Womack    After I Fall                           UMG Recordings, Inc.   SR0000281198
 5439 Lee Ann Womack    Ashes By Now                           UMG Recordings, Inc.   SR0000281198
 5440 Lee Ann Womack    Does My Ring Burn Your Finger          UMG Recordings, Inc.   SR0000281198
 5441 Lee Ann Womack    I Feel Like I'm Forgetting Something   UMG Recordings, Inc.   SR0000281198
 5442 Lee Ann Womack    I Hope You Dance                       UMG Recordings, Inc.   SR0000281261
 5443 Lee Ann Womack    I Know Why The River Runs              UMG Recordings, Inc.   SR0000281261
 5444 Lee Ann Womack    Lonely Too                             UMG Recordings, Inc.   SR0000281198
 5445 Lee Ann Womack    Lord I Hope This Day Is Good           UMG Recordings, Inc.   SR0000281198
 5446 Lee Ann Womack    Stronger Than I Am                     UMG Recordings, Inc.   SR0000281198
 5447 Lee Ann Womack    The Healing Kind                       UMG Recordings, Inc.   SR0000281261
 5448 Lee Ann Womack    Thinkin' With My Heart Again           UMG Recordings, Inc.   SR0000281198
 5449 Lee Ann Womack    Why They Call It Falling               UMG Recordings, Inc.   SR0000281198
 5450 Lifehouse         All In All                             UMG Recordings, Inc.   SR0000370643
 5451 Lifehouse         Am I Ever Gonna Find Out               UMG Recordings, Inc.   SR0000321812
 5452 Lifehouse         Anchor                                 UMG Recordings, Inc.   SR0000321812
 5453 Lifehouse         Better Luck Next Time                  UMG Recordings, Inc.   SR0000370643
 5454 Lifehouse         Breathing                              UMG Recordings, Inc.   SR0000289389
 5455 Lifehouse         Bridges                                UMG Recordings, Inc.   SR0000409087
 5456 Lifehouse         Broken                                 UMG Recordings, Inc.   SR0000409087
 5457 Lifehouse         Chapter One                            UMG Recordings, Inc.   SR0000370643
 5458 Lifehouse         Cling And Clatter                      UMG Recordings, Inc.   SR0000289389
 5459 Lifehouse         Come Back Down                         UMG Recordings, Inc.   SR0000370643
 5460 Lifehouse         Days Go By                             UMG Recordings, Inc.   SR0000615314
 5461 Lifehouse         Easier To Be                           UMG Recordings, Inc.   SR0000409087
 5462 Lifehouse         Empty Space                            UMG Recordings, Inc.   SR0000321812
 5463 Lifehouse         Everything                             UMG Recordings, Inc.   SR0000321812
 5464 Lifehouse         From Where You Are                     UMG Recordings, Inc.   SR0000615314
 5465 Lifehouse         How Long                               UMG Recordings, Inc.   SR0000321812
 5466 Lifehouse         Into The Sun                           UMG Recordings, Inc.   SR0000370643
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 5467 Lifehouse         Just Another Name                                    UMG Recordings, Inc.   SR0000321812
 5468 Lifehouse         Learn You Inside Out                                 UMG Recordings, Inc.   SR0000409087
 5469 Lifehouse         Make Me Over                                         UMG Recordings, Inc.   SR0000409087
 5470 Lifehouse         Mesmerized                                           UMG Recordings, Inc.   SR0000409087
 5471 Lifehouse         My Precious                                          UMG Recordings, Inc.   SR0000321812
 5472 Lifehouse         Only One                                             UMG Recordings, Inc.   SR0000289389
 5473 Lifehouse         Out Of Breath                                        UMG Recordings, Inc.   SR0000321812
 5474 Lifehouse         Quasimodo                                            UMG Recordings, Inc.   SR0000289389
 5475 Lifehouse         Sick Cycle Carousel                                  UMG Recordings, Inc.   SR0000289389
 5476 Lifehouse         Simon                                                UMG Recordings, Inc.   SR0000289389
 5477 Lifehouse         Sky Is Falling                                       UMG Recordings, Inc.   SR0000321812
 5478 Lifehouse         Someone Else's Song                                  UMG Recordings, Inc.   SR0000289389
 5479 Lifehouse         Somewhere In Between                                 UMG Recordings, Inc.   SR0000289389
 5480 Lifehouse         Spin                                                 UMG Recordings, Inc.   SR0000321812
 5481 Lifehouse         Stanley Climbfall                                    UMG Recordings, Inc.   SR0000321812
 5482 Lifehouse         Storm                                                UMG Recordings, Inc.   SR0000409087
 5483 Lifehouse         Take Me Away                                         UMG Recordings, Inc.   SR0000321812
 5484 Lifehouse         The Beginning                                        UMG Recordings, Inc.   SR0000321812
 5485 Lifehouse         The End Has Only Begun                               UMG Recordings, Inc.   SR0000370643
 5486 Lifehouse         The Joke                                             UMG Recordings, Inc.   SR0000409087
 5487 Lifehouse         Trying                                               UMG Recordings, Inc.   SR0000289389
 5488 Lifehouse         Undone                                               UMG Recordings, Inc.   SR0000370643
 5489 Lifehouse         Unknown                                              UMG Recordings, Inc.   SR0000289389
 5490 Lifehouse         Walking Away                                         UMG Recordings, Inc.   SR0000370643
 5491 Lifehouse         Wash                                                 UMG Recordings, Inc.   SR0000321812
 5492 Lifehouse         We'll Never Know                                     UMG Recordings, Inc.   SR0000370643
 5493 Lifehouse         Whatever It Takes                                    UMG Recordings, Inc.   SR0000409087
 5494 Lifehouse         Who We Are                                           UMG Recordings, Inc.   SR0000409087
 5495 Lifehouse         You And Me                                           UMG Recordings, Inc.   SR0000370643
 5496 Little Big Town   Pontoon                                              UMG Recordings, Inc.   SR0000709014
 5497 Lloyd             Certified                                            UMG Recordings, Inc.   SR0000391940
 5498 Lloyd             Get It Shawty                                        UMG Recordings, Inc.   SR0000391940
 5499 Lloyd             Girls Around The World                               UMG Recordings, Inc.   SR0000615838
 5500 Lloyd             Hazel                                                UMG Recordings, Inc.   SR0000391940
 5501 Lloyd             I Don't Mind                                         UMG Recordings, Inc.   SR0000391940
 5502 Lloyd             I Want You (Remix)                                   UMG Recordings, Inc.   SR0000391940
 5503 Lloyd             Incredible                                           UMG Recordings, Inc.   SR0000391940
 5504 Lloyd             Killing Me                                           UMG Recordings, Inc.   SR0000391940
 5505 Lloyd             Lloyd (Intro)                                        UMG Recordings, Inc.   SR0000391940
 5506 Lloyd             One For Me                                           UMG Recordings, Inc.   SR0000391940
 5507 Lloyd             Player's Prayer                                      UMG Recordings, Inc.   SR0000391940
 5508 Lloyd             StreetLove                                           UMG Recordings, Inc.   SR0000391940
 5509 Lloyd             Take You Home                                        UMG Recordings, Inc.   SR0000391940
 5510 Lloyd             Valentine                                            UMG Recordings, Inc.   SR0000391940
 5511 Lloyd             What You Wanna Do                                    UMG Recordings, Inc.   SR0000391940
 5512 Lloyd             You (Edited)                                         UMG Recordings, Inc.   SR0000391940
 5513 LMFAO             All Night Long                                       UMG Recordings, Inc.   SR0000678646
 5514 LMFAO             Bounce                                               UMG Recordings, Inc.   SR0000641967
 5515 LMFAO             Champagne Showers                                    UMG Recordings, Inc.   SR0000678646
 5516 LMFAO             Get Crazy                                            UMG Recordings, Inc.   SR0000641967
 5517 LMFAO             Hot Dog                                              UMG Recordings, Inc.   SR0000678646
 5518 LMFAO             I Am Not A Whore                                     UMG Recordings, Inc.   SR0000641967
 5519 LMFAO             I Don't Wanna Be                                     UMG Recordings, Inc.   SR0000641967
 5520 LMFAO             I Shake, I Move                                      UMG Recordings, Inc.   SR0000641967
 5521 LMFAO             I Shake, I Move (Explicit)                           UMG Recordings, Inc.   SR0000641967
 5522 LMFAO             I'm In Miami Bitch                                   UMG Recordings, Inc.   SR0000621810
 5523 LMFAO             I'm In Miami Bitch (Explicit)                        UMG Recordings, Inc.   SR0000621810
 5524 LMFAO             La La La                                             UMG Recordings, Inc.   SR0000641967
 5525 LMFAO             Leaving U 4 The Groove                               UMG Recordings, Inc.   SR0000641967
 5526 LMFAO             Lil' Hipster Girl                                    UMG Recordings, Inc.   SR0000641967
 5527 LMFAO             One Day                                              UMG Recordings, Inc.   SR0000678646

 5528 LMFAO             Party Rock Anthem (Benny Benassi Radio Remix Edit)   UMG Recordings, Inc.   SR0000671268
 5529 LMFAO             Put That A$$ To Work                                 UMG Recordings, Inc.   SR0000678646
 5530 LMFAO             Reminds Me Of You                                    UMG Recordings, Inc.   SR0000678646
 5531 LMFAO             Reminds Me Of You (Explicit)                         UMG Recordings, Inc.   SR0000678646
 5532 LMFAO             Rock The BeaT                                        UMG Recordings, Inc.   SR0000641967
 5533 LMFAO             Rock The Beat II                                     UMG Recordings, Inc.   SR0000678646
 5534 LMFAO             Scream My Name                                       UMG Recordings, Inc.   SR0000641967
 5535 LMFAO             Sexy And I Know It                                   UMG Recordings, Inc.   SR0000678646
 5536 LMFAO             Shots                                                UMG Recordings, Inc.   SR0000641967
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 5537 LMFAO             Sorry For Party Rocking               UMG Recordings, Inc.   SR0000678646
 5538 LMFAO             Take It To The Hole                   UMG Recordings, Inc.   SR0000678646
 5539 LMFAO             Take It To The Hole (Explicit)        UMG Recordings, Inc.   SR0000678646
 5540 LMFAO             We Came Here To Party                 UMG Recordings, Inc.   SR0000678646
 5541 LMFAO             We Came Here To Party (Explicit)      UMG Recordings, Inc.   SR0000678646
 5542 LMFAO             What Happens At The Party             UMG Recordings, Inc.   SR0000641967
 5543 LMFAO             With You                              UMG Recordings, Inc.   SR0000678646
 5544 LMFAO             Yes                                   UMG Recordings, Inc.   SR0000641967
 5545 Lorde             400 Lux                               UMG Recordings, Inc.   SR0000732619
 5546 Lorde             Biting Down                           UMG Recordings, Inc.   SR0000724529
 5547 Lorde             Bravado                               UMG Recordings, Inc.   SR0000724529
 5548 Lorde             Glory And Gore                        UMG Recordings, Inc.   SR0000732619
 5549 Lorde             Million Dollar Bills                  UMG Recordings, Inc.   SR0000724529
 5550 Lorde             No Better                             UMG Recordings, Inc.   SR0000736121
 5551 Lorde             Ribs                                  UMG Recordings, Inc.   SR0000732619
 5552 Lorde             Royals                                UMG Recordings, Inc.   SR0000724529
 5553 Lorde             Still Sane                            UMG Recordings, Inc.   SR0000732619
 5554 Lorde             Swingin Party                         UMG Recordings, Inc.   SR0000726964
 5555 Lorde             Tennis Court                          UMG Recordings, Inc.   SR0000726964
 5556 Lorde             The Love Club                         UMG Recordings, Inc.   SR0000724529
 5557 Lorde             White Teeth Teens                     UMG Recordings, Inc.   SR0000732619
 5558 Lorde             Buzzcut Season                        UMG Recordings, Inc.   SR0000733267
 5559 Ludacris          One More Drink (co-starring T-Pain)   UMG Recordings, Inc.   SR0000620047
 5560 Ludacris          Undisputed                            UMG Recordings, Inc.   SR0000620048
 5561 Ludacris          What Them Girls Like                  UMG Recordings, Inc.   SR0000617041
 5562 Luke Bryan        Roller Coaster                        UMG Recordings, Inc.   SR0000728445
 5563 M.I.A.            Bad Girls                             UMG Recordings, Inc.   SR0000698452
 5564 M.I.A.            Boom Skit                             UMG Recordings, Inc.   SR0000736308
 5565 M.I.A.            Bring The Noize                       UMG Recordings, Inc.   SR0000736308
 5566 M.I.A.            Come Walk With Me                     UMG Recordings, Inc.   SR0000736307
 5567 M.I.A.            Double Bubble Trouble                 UMG Recordings, Inc.   SR0000736308
 5568 M.I.A.            Karmageddon                           UMG Recordings, Inc.   SR0000736308
 5569 M.I.A.            Know It Ain't Right                   UMG Recordings, Inc.   SR0000736308
 5570 M.I.A.            Lights                                UMG Recordings, Inc.   SR0000736308
 5571 M.I.A.            MATANGI                               UMG Recordings, Inc.   SR0000736308
 5572 M.I.A.            Only 1                                UMG Recordings, Inc.   SR0000736308
 5573 M.I.A.            Refugee-In-Tent                       UMG Recordings, Inc.   SR0000736308
 5574 M.I.A.            Sexodus                               UMG Recordings, Inc.   SR0000736308
 5575 M.I.A.            Warriors                              UMG Recordings, Inc.   SR0000736308
 5576 M.I.A.            Y.A.L.A.                              UMG Recordings, Inc.   SR0000736309
 5577 Macy Gray         Everybody                             UMG Recordings, Inc.   SR0000395382
 5578 Macy Gray         Get Out                               UMG Recordings, Inc.   SR0000395382
 5579 Macy Gray         Glad You're Here                      UMG Recordings, Inc.   SR0000395382
 5580 Macy Gray         Help Me                               UMG Recordings, Inc.   SR0000657731
 5581 Macy Gray         Kissed It                             UMG Recordings, Inc.   SR0000657731
 5582 Macy Gray         Lately                                UMG Recordings, Inc.   SR0000657731
 5583 Macy Gray         Let You Win                           UMG Recordings, Inc.   SR0000657731
 5584 Macy Gray         Lost                                  UMG Recordings, Inc.   SR0000715841
 5585 Macy Gray         Okay                                  UMG Recordings, Inc.   SR0000395382
 5586 Macy Gray         On & On                               UMG Recordings, Inc.   SR0000657731
 5587 Macy Gray         One For Me                            UMG Recordings, Inc.   SR0000395382
 5588 Macy Gray         Real Love                             UMG Recordings, Inc.   SR0000657731
 5589 Macy Gray         Slowly                                UMG Recordings, Inc.   SR0000395382
 5590 Macy Gray         Stalker                               UMG Recordings, Inc.   SR0000657731
 5591 Macy Gray         Still Hurts                           UMG Recordings, Inc.   SR0000657731
 5592 Macy Gray         Strange Behavior                      UMG Recordings, Inc.   SR0000395382
 5593 Macy Gray         That Man                              UMG Recordings, Inc.   SR0000657731
 5594 Macy Gray         The Comeback                          UMG Recordings, Inc.   SR0000657731
 5595 Macy Gray         The Sellout                           UMG Recordings, Inc.   SR0000657731
 5596 Macy Gray         Treat Me Like Your Money              UMG Recordings, Inc.   SR0000395382
 5597 Macy Gray         What I Gotta Do                       UMG Recordings, Inc.   SR0000395382
 5598 Mariah Carey      #Beautiful                            UMG Recordings, Inc.   SR0000750755
 5599 Mariah Carey      Touch My Body                         UMG Recordings, Inc.   SR0000612879
 5600 Mariah Carey      Up Out My Face                        UMG Recordings, Inc.   SR0000633779
 5601 Maroon 5          Beautiful Goodbye                     UMG Recordings, Inc.   SR0000705167
 5602 Maroon 5          Crazy Little Thing Called Love        UMG Recordings, Inc.   SR0000664531
 5603 Maroon 5          Daylight                              UMG Recordings, Inc.   SR0000705167
 5604 Maroon 5          Doin' Dirt                            UMG Recordings, Inc.   SR0000705167
 5605 Maroon 5          Figure It Out                         UMG Recordings, Inc.   SR0000627938
 5606 Maroon 5          Fortune Teller                        UMG Recordings, Inc.   SR0000705167
 5607 Maroon 5          Get Back In My Life                   UMG Recordings, Inc.   SR0000664531
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 5608 Maroon 5          Give A Little More                                  UMG Recordings, Inc.   SR0000664529
 5609 Maroon 5          Hands All Over                                      UMG Recordings, Inc.   SR0000664531
 5610 Maroon 5          Harder To Breathe                                   UMG Recordings, Inc.   SR0000702833
 5611 Maroon 5          Hello                                               UMG Recordings, Inc.   SR0000393024
 5612 Maroon 5          How                                                 UMG Recordings, Inc.   SR0000664531
 5613 Maroon 5          I Can't Lie                                         UMG Recordings, Inc.   SR0000664531
 5614 Maroon 5          If I Ain't Got You                                  UMG Recordings, Inc.   SR0000664531
 5615 Maroon 5          Just A Feeling                                      UMG Recordings, Inc.   SR0000664531
 5616 Maroon 5          Kiss                                                UMG Recordings, Inc.   SR0000705167
 5617 Maroon 5          Ladykiller                                          UMG Recordings, Inc.   SR0000705167
 5618 Maroon 5          Last Chance                                         UMG Recordings, Inc.   SR0000664531
 5619 Maroon 5          Let's Stay Together                                 UMG Recordings, Inc.   SR0000705167
 5620 Maroon 5          Love Somebody                                       UMG Recordings, Inc.   SR0000705167
 5621 Maroon 5          Lucky Strike                                        UMG Recordings, Inc.   SR0000705167
 5622 Maroon 5          Misery                                              UMG Recordings, Inc.   SR0000659947
 5623 Maroon 5          Miss You Love You                                   UMG Recordings, Inc.   SR0000627938
 5624 Maroon 5          Must Get Out                                        UMG Recordings, Inc.   SR0000702833
 5625 Maroon 5          Never Gonna Leave This Bed                          UMG Recordings, Inc.   SR0000664531
 5626 Maroon 5          No Curtain Call                                     UMG Recordings, Inc.   SR0000664531
 5627 Maroon 5          Not Coming Home                                     UMG Recordings, Inc.   SR0000702833
 5628 Maroon 5          One More Night                                      UMG Recordings, Inc.   SR0000705170
 5629 Maroon 5          One More Night (Sticky K Remix)                     UMG Recordings, Inc.   SR0000705167
 5630 Maroon 5          Out Of Goodbyes                                     UMG Recordings, Inc.   SR0000664531
 5631 Maroon 5          Payphone                                            UMG Recordings, Inc.   SR0000705168
 5632 Maroon 5          Rag Doll                                            UMG Recordings, Inc.   SR0000702833
 5633 Maroon 5          Runaway                                             UMG Recordings, Inc.   SR0000664531
 5634 Maroon 5          Sad                                                 UMG Recordings, Inc.   SR0000705167
 5635 Maroon 5          Secret                                              UMG Recordings, Inc.   SR0000702833
 5636 Maroon 5          Secret/Ain't No Sunshine                            UMG Recordings, Inc.   SR0000393024
 5637 Maroon 5          She Will Be Loved                                   UMG Recordings, Inc.   SR0000674174
 5638 Maroon 5          Shiver                                              UMG Recordings, Inc.   SR0000702833
 5639 Maroon 5          Stutter                                             UMG Recordings, Inc.   SR0000664531
 5640 Maroon 5          Sunday Morning                                      UMG Recordings, Inc.   SR0000702833
 5641 Maroon 5          Sweetest Goodbye                                    UMG Recordings, Inc.   SR0000664148
 5642 Maroon 5          Tangled                                             UMG Recordings, Inc.   SR0000702833
 5643 Maroon 5          The Man Who Never Lied                              UMG Recordings, Inc.   SR0000705167
 5644 Maroon 5          The Sun                                             UMG Recordings, Inc.   SR0000702833
 5645 Maroon 5          This Love                                           UMG Recordings, Inc.   SR0000348508
 5646 Maroon 5          Through With You                                    UMG Recordings, Inc.   SR0000702833
 5647 Maroon 5          Tickets                                             UMG Recordings, Inc.   SR0000705167
 5648 Maroon 5          Wasted Years                                        UMG Recordings, Inc.   SR0000705167
 5649 Maroon 5          Wipe Your Eyes                                      UMG Recordings, Inc.   SR0000705167
 5650 Marvin Gaye       Anger                                               UMG Recordings, Inc.   SR0000005020
 5651 Marvin Gaye       Ego Tripping Out                                    UMG Recordings, Inc.   SR0000012844
 5652 Marvin Gaye       Got To Give It Up                                   UMG Recordings, Inc.   N42204
                                                                                                   N00000030657
 5653 Marvin Gaye       I Want You                                          UMG Recordings, Inc.   RE0000908401
 5654 Marvin Gaye       Praise                                              UMG Recordings, Inc.   SR0000024441
 5655 Mary J. Blige     Someone To Love Me (Naked)                          UMG Recordings, Inc.   SR0000676435
 5656 Meat Loaf         Alive                                               UMG Recordings, Inc.   SR0000407287
 5657 Meat Loaf         Back Into Hell                                      UMG Recordings, Inc.   SR0000316425
 5658 Meat Loaf         Bad For Good                                        UMG Recordings, Inc.   SR0000407287
 5659 Meat Loaf         Blind As A Bat                                      UMG Recordings, Inc.   SR0000407287
 5660 Meat Loaf         Cry To Heaven                                       UMG Recordings, Inc.   SR0000407287
 5661 Meat Loaf         Everything Louder Than Everything Else              UMG Recordings, Inc.   SR0000316425
 5662 Meat Loaf         Good Girls Go To Heaven (Bad Girls Go Everywhere)   UMG Recordings, Inc.   SR0000316425
 5663 Meat Loaf         I'd Do Anything For Love (But I Won't Do That)      UMG Recordings, Inc.   SR0000316425
 5664 Meat Loaf         If God Could Talk                                   UMG Recordings, Inc.   SR0000407287
 5665 Meat Loaf         If It Aint Broke Break It                           UMG Recordings, Inc.   SR0000407287
 5666 Meat Loaf         In The Land Of The Pig, The Butcher is King         UMG Recordings, Inc.   SR0000407287
 5667 Meat Loaf         Life Is A Lemon And I Want My Money Back            UMG Recordings, Inc.   SR0000316425
 5668 Meat Loaf         Monstro                                             UMG Recordings, Inc.   SR0000407287
 5669 Meat Loaf         Seize The Night                                     UMG Recordings, Inc.   SR0000407287
 5670 Meat Loaf         The Future Ain't What It Used To Be                 UMG Recordings, Inc.   SR0000407287
 5671 Meat Loaf         The Monster Is Loose                                UMG Recordings, Inc.   SR0000407287
 5672 Meat Loaf         Wasted Youth                                        UMG Recordings, Inc.   SR0000316425
 5673 Meat Loaf         What About Love                                     UMG Recordings, Inc.   SR0000407287
 5674 Meiko             Good Looking Loser                                  UMG Recordings, Inc.   SR0000707544
 5675 Meiko             I Wonder                                            UMG Recordings, Inc.   SR0000707544
 5676 Meiko             I'm In Love                                         UMG Recordings, Inc.   SR0000707544
 5677 Meiko             I'm Not Sorry                                       UMG Recordings, Inc.   SR0000707544
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 5678 Meiko                 Leave The Lights On                                  UMG Recordings, Inc.   SR0000713523
 5679 Meiko                 Let It Go                                            UMG Recordings, Inc.   SR0000707544
 5680 Meiko                 Lie To Me                                            UMG Recordings, Inc.   SR0000707544
 5681 Meiko                 Real Real Sweet                                      UMG Recordings, Inc.   SR0000707544
 5682 Meiko                 Stuck On You                                         UMG Recordings, Inc.   SR0000707544
 5683 Meiko                 Thinking Too Much                                    UMG Recordings, Inc.   SR0000707544
 5684 Meiko                 When The Doors Close                                 UMG Recordings, Inc.   SR0000707544
 5685 Nas                   America                                              UMG Recordings, Inc.   SR0000614072
 5686 Nas                   Black President                                      UMG Recordings, Inc.   SR0000614072
 5687 Nas                   Breathe                                              UMG Recordings, Inc.   SR0000614072
 5688 Nas                   Fried Chicken                                        UMG Recordings, Inc.   SR0000614072
 5689 Nas                   Hero                                                 UMG Recordings, Inc.   SR0000614073
 5690 Nas                   Make The World Go Round                              UMG Recordings, Inc.   SR0000614072
 5691 Nas                   N.I.*.*.E.R. (The Slave and the Master)              UMG Recordings, Inc.   SR0000614072
 5692 Nas                   Project Roach                                        UMG Recordings, Inc.   SR0000614072
 5693 Nas                   Queens Get The Money                                 UMG Recordings, Inc.   SR0000614072
 5694 Nas                   Sly Fox                                              UMG Recordings, Inc.   SR0000614072
 5695 Nas                   Testify                                              UMG Recordings, Inc.   SR0000614072
 5696 Nas                   Untitled                                             UMG Recordings, Inc.   SR0000614072
 5697 Nas                   We're Not Alone                                      UMG Recordings, Inc.   SR0000614072
 5698 Nas                   Y'all My Ni**as                                      UMG Recordings, Inc.   SR0000614072
 5699 Nas                   You Can't Stop Us Now                                UMG Recordings, Inc.   SR0000614072
 5700 Ne-Yo                 Let Me Love You (Until You Learn To Love Yourself)   UMG Recordings, Inc.   SR0000705073
 5701 Nelly                 Dilemma                                              UMG Recordings, Inc.   SR0000339724
 5702 Nelly                 Just A Dream                                         UMG Recordings, Inc.   SR0000662586
 5703 Nelly Furtado         **** On The Radio (Remember The Days)                UMG Recordings, Inc.   SR0000729667
 5704 Nelly Furtado         Crazy (Radio 1 Live Lounge Session)                  UMG Recordings, Inc.   SR0000400012
 5705 Nelly Furtado         Forca                                                UMG Recordings, Inc.   SR0000729667
 5706 Nelly Furtado         Fotografía                                           UMG Recordings, Inc.   SR0000729667
 5707 Nelly Furtado         Girlfriend In The City                               UMG Recordings, Inc.   SR0000729667
 5708 Nelly Furtado         I'm Like A Bird                                      UMG Recordings, Inc.   SR0000729667
 5709 Nelly Furtado         In God's Hands                                       UMG Recordings, Inc.   SR0000612217
 5710 Nelly Furtado         Island Of Wonder                                     UMG Recordings, Inc.   SR0000347749
 5711 Nelly Furtado         Manos Al Aire                                        UMG Recordings, Inc.   SR0000641955
 5712 Nelly Furtado         Night Is Young                                       UMG Recordings, Inc.   SR0000756992
 5713 Nelly Furtado         Powerless (Say What You Want)                        UMG Recordings, Inc.   SR0000729667
 5714 Nelly Furtado         Stars                                                UMG Recordings, Inc.   SR0000729667
 5715 Nelly Furtado         Try                                                  UMG Recordings, Inc.   SR0000347749
 5716 Nelly Furtado         Turn Off The Light                                   UMG Recordings, Inc.   SR0000729667
 5717 Nine Inch Nails       Closer                                               UMG Recordings, Inc.   SR0000190381
 5718 Nine Inch Nails       Heresy (Blind)                                       UMG Recordings, Inc.   SR0000190381
 5719 Nirvana               About A Girl                                         UMG Recordings, Inc.   SR0000320325
 5720 Nirvana               All Apologies                                        UMG Recordings, Inc.   SR0000178690
 5721 Nirvana               Been A Son                                           UMG Recordings, Inc.   SR0000320325
 5722 Nirvana               Come As You Are                                      UMG Recordings, Inc.   SR0000178690
 5723 Nirvana               Dumb                                                 UMG Recordings, Inc.   SR0000172276
 5724 Nirvana               Heart Shaped Box                                     UMG Recordings, Inc.   SR0000172276
 5725 Nirvana               In Bloom                                             UMG Recordings, Inc.   SR0000135335
 5726 Nirvana               Lithium                                              UMG Recordings, Inc.   SR0000135335
 5727 Nirvana               Pennyroyal Tea                                       UMG Recordings, Inc.   SR0000172276
 5728 Nirvana               Rape Me                                              UMG Recordings, Inc.   SR0000172276
 5729 Nirvana               Sliver                                               UMG Recordings, Inc.   SR0000320325
 5730 Nirvana               Smells Like Teen Spirit                              UMG Recordings, Inc.   SR0000134601
 5731 Nirvana               The Man Who Sold The World (Live, MTV Unplugged)     UMG Recordings, Inc.   SR0000178690
 5732 Nirvana               You Know You're Right                                UMG Recordings, Inc.   SR0000320325
 5733 No Doubt              Settle Down                                          UMG Recordings, Inc.   SR0000708747
 5734 Obie Trice            Adrenaline Rush (Explicit)                           UMG Recordings, Inc.   SR0000322706
 5735 Obie Trice            Cheers                                               UMG Recordings, Inc.   SR0000341637
 5736 Obie Trice            Got Some Teeth (Explicit)                            UMG Recordings, Inc.   SR0000341637
 5737 Obie Trice            Never Forget Ya                                      UMG Recordings, Inc.   SR0000341637
 5738 Obie Trice            Outro (Obie Trice/ Cheers)                           UMG Recordings, Inc.   SR0000341637
 5739 Obie Trice            Rap Name (Explicit)                                  UMG Recordings, Inc.   SR0000322706
 5740 Obie Trice            Shit Hits The Fan                                    UMG Recordings, Inc.   SR0000341637
 5741 Of Monsters and Men   Little Talks                                         UMG Recordings, Inc.   SR0000694984
 5742 Of Monsters and Men   Your Bones                                           UMG Recordings, Inc.   SR0000698589
 5743 OneRepublic           All Fall Down                                        UMG Recordings, Inc.   SR0000614111
 5744 OneRepublic           All We Are                                           UMG Recordings, Inc.   SR0000614111
 5745 OneRepublic           Come Home                                            UMG Recordings, Inc.   SR0000632435
 5746 OneRepublic           Goodbye, Apathy                                      UMG Recordings, Inc.   SR0000614111
 5747 OneRepublic           Prodigal                                             UMG Recordings, Inc.   SR0000614111
 5748 OneRepublic           Someone To Save You                                  UMG Recordings, Inc.   SR0000614111
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 5749 OneRepublic        Stop And Stare                        UMG Recordings, Inc.   SR0000614111
 5750 OneRepublic        Won't Stop                            UMG Recordings, Inc.   SR0000614111
 5751 Papa Roach         ...To Be Loved                        UMG Recordings, Inc.   SR0000680576
 5752 Papa Roach         Be Free                               UMG Recordings, Inc.   SR0000360567
 5753 Papa Roach         Between Angels And Insects            UMG Recordings, Inc.   SR0000279777
 5754 Papa Roach         Blood Brothers                        UMG Recordings, Inc.   SR0000279777
 5755 Papa Roach         Broken Home                           UMG Recordings, Inc.   SR0000279777
 5756 Papa Roach         Forever                               UMG Recordings, Inc.   SR0000609702
 5757 Papa Roach         Getting Away With Murder              UMG Recordings, Inc.   SR0000360567
 5758 Papa Roach         Had Enough                            UMG Recordings, Inc.   SR0000632009
 5759 Papa Roach         Hollywood Whore                       UMG Recordings, Inc.   SR0000620780
 5760 Papa Roach         Just Go (Never Look Back)             UMG Recordings, Inc.   SR0000680576
 5761 Papa Roach         Last Resort                           UMG Recordings, Inc.   SR0000279777
 5762 Papa Roach         Lifeline                              UMG Recordings, Inc.   SR0000627411
 5763 Papa Roach         Not Listening                         UMG Recordings, Inc.   SR0000360567
 5764 Papa Roach         Reckless                              UMG Recordings, Inc.   SR0000609702
 5765 Papa Roach         Scars                                 UMG Recordings, Inc.   SR0000661588
 5766 Papa Roach         She Loves Me Not                      UMG Recordings, Inc.   SR0000318150
 5767 Papa Roach         Sometimes                             UMG Recordings, Inc.   SR0000360567
 5768 Papa Roach         Take Me                               UMG Recordings, Inc.   SR0000360567
 5769 Papa Roach         Time And Time Again                   UMG Recordings, Inc.   SR0000318150
 5770 Phillip Phillips   A Fool's Dance                        UMG Recordings, Inc.   SR0000712841
 5771 Phillip Phillips   Can't Go Wrong                        UMG Recordings, Inc.   SR0000712841
 5772 Phillip Phillips   Drive Me                              UMG Recordings, Inc.   SR0000712841
 5773 Phillip Phillips   Get Up Get Down                       UMG Recordings, Inc.   SR0000712841
 5774 Phillip Phillips   Gone, Gone, Gone                      UMG Recordings, Inc.   SR0000712841
 5775 Phillip Phillips   Hazel                                 UMG Recordings, Inc.   SR0000712841
 5776 Phillip Phillips   Hold On                               UMG Recordings, Inc.   SR0000712841
 5777 Phillip Phillips   Home                                  UMG Recordings, Inc.   SR0000712859
 5778 Phillip Phillips   Man On The Moon                       UMG Recordings, Inc.   SR0000712841
 5779 Phillip Phillips   So Easy                               UMG Recordings, Inc.   SR0000712841
 5780 Phillip Phillips   Tell Me A Story                       UMG Recordings, Inc.   SR0000712841
 5781 Phillip Phillips   Wanted Is Love                        UMG Recordings, Inc.   SR0000712841
 5782 Phillip Phillips   Where We Came From                    UMG Recordings, Inc.   SR0000712841
 5783 Phillip Phillips   Wicked Game                           UMG Recordings, Inc.   SR0000712841
 5784 Puddle Of Mudd     Already Gone                          UMG Recordings, Inc.   SR0000347741
 5785 Puddle Of Mudd     Basement                              UMG Recordings, Inc.   SR0000301465
 5786 Puddle Of Mudd     Bottom                                UMG Recordings, Inc.   SR0000347741
 5787 Puddle Of Mudd     Bring Me Down                         UMG Recordings, Inc.   SR0000301465
 5788 Puddle Of Mudd     Change My Mind                        UMG Recordings, Inc.   SR0000347741
 5789 Puddle Of Mudd     Cloud 9                               UMG Recordings, Inc.   SR0000347741
 5790 Puddle Of Mudd     Drift And Die                         UMG Recordings, Inc.   SR0000301465
 5791 Puddle Of Mudd     Freak Of The World                    UMG Recordings, Inc.   SR0000347741
 5792 Puddle Of Mudd     I'm So Sure                           UMG Recordings, Inc.   SR0000618742
 5793 Puddle Of Mudd     If I Could Love You                   UMG Recordings, Inc.   SR0000618742
 5794 Puddle Of Mudd     It Was Faith                          UMG Recordings, Inc.   SR0000618742
 5795 Puddle Of Mudd     Merry Go Round                        UMG Recordings, Inc.   SR0000618742
 5796 Puddle Of Mudd     Moonshine                             UMG Recordings, Inc.   SR0000618742
 5797 Puddle Of Mudd     Never Change                          UMG Recordings, Inc.   SR0000301465
 5798 Puddle Of Mudd     Nobody Told Me                        UMG Recordings, Inc.   SR0000301465
 5799 Puddle Of Mudd     Nothing Left To Lose                  UMG Recordings, Inc.   SR0000347741
 5800 Puddle Of Mudd     Out Of My Head                        UMG Recordings, Inc.   SR0000301465
 5801 Puddle Of Mudd     Piss It All Away                      UMG Recordings, Inc.   SR0000301465
 5802 Puddle Of Mudd     Radiate                               UMG Recordings, Inc.   SR0000618742
 5803 Puddle Of Mudd     Said                                  UMG Recordings, Inc.   SR0000301465
 5804 Puddle Of Mudd     Spin You Around                       UMG Recordings, Inc.   SR0000347741
 5805 Puddle Of Mudd     Sydney                                UMG Recordings, Inc.   SR0000347741
 5806 Puddle Of Mudd     Think                                 UMG Recordings, Inc.   SR0000347741
 5807 Puddle Of Mudd     Thinking About You                    UMG Recordings, Inc.   SR0000618742
 5808 Puddle Of Mudd     Time Flies                            UMG Recordings, Inc.   SR0000347741
 5809 Puddle Of Mudd     We Don't Have To Look Back Now        UMG Recordings, Inc.   SR0000618749
 5810 Pusha T            New God Flow                          UMG Recordings, Inc.   SR0000703870
 5811 Pussycat Dolls     When I Grow Up                        UMG Recordings, Inc.   SR0000612860
 5812 Quincy Jones       It's My Party (Feat. Amy Winehouse)   UMG Recordings, Inc.   SR0000669281
 5813 Raffi              (Let's Do) The Numbers Rumba          UMG Recordings, Inc.   SR0000133436
 5814 Raffi              Aikendrum                             UMG Recordings, Inc.   SR0000133292
 5815 Raffi              Anansi                                UMG Recordings, Inc.   SR0000133411
 5816 Raffi              Baa Baa Black Sheep                   UMG Recordings, Inc.   SR0000133292
 5817 Raffi              Bathtime                              UMG Recordings, Inc.   SR0000132457
 5818 Raffi              Big Beautiful Planet                  UMG Recordings, Inc.   SR0000133436
 5819 Raffi              Boom Boom                             UMG Recordings, Inc.   SR0000133411
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 5820 Raffi             Brown Girl in the Ring                    UMG Recordings, Inc.   SR0000132457
 5821 Raffi             Brush Your Teeth                          UMG Recordings, Inc.   SR0000133292
 5822 Raffi             Bumping Up and Down                       UMG Recordings, Inc.   SR0000133292
 5823 Raffi             Cluck, Cluck, Red Hen                     UMG Recordings, Inc.   SR0000133411
 5824 Raffi             Daniel                                    UMG Recordings, Inc.   SR0000133436
 5825 Raffi             Day O                                     UMG Recordings, Inc.   SR0000132447
 5826 Raffi             Down By the Bay                           UMG Recordings, Inc.   SR0000133292
 5827 Raffi             Ducks Like Rain                           UMG Recordings, Inc.   SR0000133436
 5828 Raffi             Eight Piggies in a Row                    UMG Recordings, Inc.   SR0000132457
 5829 Raffi             Everything Grows                          UMG Recordings, Inc.   SR0000132457
 5830 Raffi             Five Little Ducks                         UMG Recordings, Inc.   SR0000133436
 5831 Raffi             Five Little Frogs                         UMG Recordings, Inc.   SR0000133292
 5832 Raffi             Frere Jacques                             UMG Recordings, Inc.   SR0000133411
 5833 Raffi             Goin' To The Zoo                          UMG Recordings, Inc.   SR0000133292
 5834 Raffi             Going on a Picnic                         UMG Recordings, Inc.   SR0000133411
 5835 Raffi             Goodnight, Irene                          UMG Recordings, Inc.   SR0000133411
 5836 Raffi             Ha Ha Thisaway                            UMG Recordings, Inc.   SR0000132457
 5837 Raffi             Haru Ga Kita                              UMG Recordings, Inc.   SR0000132457
 5838 Raffi             He's Got the Whole World                  UMG Recordings, Inc.   SR0000133436
 5839 Raffi             Here Sits a Monkey                        UMG Recordings, Inc.   SR0000133411
 5840 Raffi             I Wonder if I'm Growing                   UMG Recordings, Inc.   SR0000133292
 5841 Raffi             I'm in the Mood                           UMG Recordings, Inc.   SR0000133436
 5842 Raffi             Jig Along Home                            UMG Recordings, Inc.   SR0000133411
 5843 Raffi             Just Like the Sun                         UMG Recordings, Inc.   SR0000132457
 5844 Raffi             Les Zombies et Les Loups-Garous           UMG Recordings, Inc.   SR0000133411
 5845 Raffi             Let's Make Some Noise                     UMG Recordings, Inc.   SR0000132457
 5846 Raffi             Little White Duck                         UMG Recordings, Inc.   SR0000132457
 5847 Raffi             Mary Wore Her Red Dress                   UMG Recordings, Inc.   SR0000132457
 5848 Raffi             Michaud                                   UMG Recordings, Inc.   SR0000133436
 5849 Raffi             Mr. Sun                                   UMG Recordings, Inc.   SR0000133292
 5850 Raffi             Must Be Santa                             UMG Recordings, Inc.   SR0000133292
 5851 Raffi             My Dreydel                                UMG Recordings, Inc.   SR0000133292
 5852 Raffi             My Way Home                               UMG Recordings, Inc.   SR0000133411
 5853 Raffi             Nursery Rhyme Instrumental                UMG Recordings, Inc.   SR0000133436
 5854 Raffi             Old MacDonald had a Band                  UMG Recordings, Inc.   SR0000133292
 5855 Raffi             Peanut Butter Sandwich                    UMG Recordings, Inc.   SR0000133292
 5856 Raffi             Pick a Bale O'Cotton                      UMG Recordings, Inc.   SR0000133411
 5857 Raffi             Rise and Shine                            UMG Recordings, Inc.   SR0000133436
 5858 Raffi             Robin in the Rain                         UMG Recordings, Inc.   SR0000133292
 5859 Raffi             Rock-A-Bye Baby                           UMG Recordings, Inc.   SR0000133411
 5860 Raffi             Row, Row, Row                             UMG Recordings, Inc.   SR0000133436
 5861 Raffi             Saturday Morning                          UMG Recordings, Inc.   SR0000132457
 5862 Raffi             Savez-vous Planter Des Choux              UMG Recordings, Inc.   SR0000132457
 5863 Raffi             Something in My Shoe                      UMG Recordings, Inc.   SR0000133436
 5864 Raffi             Spider on the Floor                       UMG Recordings, Inc.   SR0000133292
 5865 Raffi             Swing Low Sweet Chariot                   UMG Recordings, Inc.   SR0000133411
 5866 Raffi             Teddy Bear Hug                            UMG Recordings, Inc.   SR0000132457
 5867 Raffi             Tete, Epaules                             UMG Recordings, Inc.   SR0000133436
 5868 Raffi             The Corner Grocery Store                  UMG Recordings, Inc.   SR0000133411
 5869 Raffi             The Little House                          UMG Recordings, Inc.   SR0000132457
 5870 Raffi             The More We Get Together                  UMG Recordings, Inc.   SR0000133292
 5871 Raffi             The Mountain Polka                        UMG Recordings, Inc.   SR0000132457
 5872 Raffi             The Sharing Song                          UMG Recordings, Inc.   SR0000133292
 5873 Raffi             There Came a Girl from France             UMG Recordings, Inc.   SR0000133411
 5874 Raffi             This Little Light of Mine                 UMG Recordings, Inc.   SR0000133436
 5875 Raffi             Thumbelina                                UMG Recordings, Inc.   SR0000133436
 5876 Raffi             Walk, Walk, Walk                          UMG Recordings, Inc.   SR0000133436
 5877 Raffi             Wheels on the Bus                         UMG Recordings, Inc.   SR0000133436
 5878 Raffi             Willoughby Wallaby Woo                    UMG Recordings, Inc.   SR0000133292
 5879 Raffi             Y A Un Rat / Sur Le Pont D'Avignon        UMG Recordings, Inc.   SR0000133411
 5880 Raffi             You'll Sing a Song and I'll Sing a Song   UMG Recordings, Inc.   SR0000133411
 5881 Rascal Flatts     A Little Home                             UMG Recordings, Inc.   SR0000723112
 5882 Rascal Flatts     All Night To Get There                    UMG Recordings, Inc.   SR0000723113
 5883 Rascal Flatts     Banjo                                     UMG Recordings, Inc.   SR0000723112
 5884 Rascal Flatts     Changed                                   UMG Recordings, Inc.   SR0000723112
 5885 Rascal Flatts     Come Wake Me Up                           UMG Recordings, Inc.   SR0000723112
 5886 Rascal Flatts     Easy                                      UMG Recordings, Inc.   SR0000723113
 5887 Rascal Flatts     Fall Here                                 UMG Recordings, Inc.   SR0000723112
 5888 Rascal Flatts     Friday                                    UMG Recordings, Inc.   SR0000723112
 5889 Rascal Flatts     Great Big Love                            UMG Recordings, Inc.   SR0000723112
 5890 Rascal Flatts     Hot In Here                               UMG Recordings, Inc.   SR0000723112
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 5891 Rascal Flatts     Hurry Baby                               UMG Recordings, Inc.   SR0000723112
 5892 Rascal Flatts     I Won't Let Go                           UMG Recordings, Inc.   SR0000723113
 5893 Rascal Flatts     Let It Hurt                              UMG Recordings, Inc.   SR0000723112
 5894 Rascal Flatts     Lovin' Me                                UMG Recordings, Inc.   SR0000723112
 5895 Rascal Flatts     Next To You, Next To Me                  UMG Recordings, Inc.   SR0000723112
 5896 Rascal Flatts     Nothing Like This                        UMG Recordings, Inc.   SR0000723113
 5897 Rascal Flatts     Play                                     UMG Recordings, Inc.   SR0000723113
 5898 Rascal Flatts     Red Camaro                               UMG Recordings, Inc.   SR0000723113
 5899 Rascal Flatts     Rewind                                   UMG Recordings, Inc.   SR0000754397
 5900 Rascal Flatts     Right One Time                           UMG Recordings, Inc.   SR0000723112
 5901 Rascal Flatts     She's Leaving                            UMG Recordings, Inc.   SR0000723112
 5902 Rascal Flatts     Summer Young                             UMG Recordings, Inc.   SR0000723113
 5903 Rascal Flatts     Sunday Afternoon                         UMG Recordings, Inc.   SR0000723113
 5904 Rascal Flatts     Sunrise                                  UMG Recordings, Inc.   SR0000723112
 5905 Rascal Flatts     They Try                                 UMG Recordings, Inc.   SR0000723113
 5906 Rascal Flatts     Tonight Tonight                          UMG Recordings, Inc.   SR0000723113
 5907 Rascal Flatts     Why Wait                                 UMG Recordings, Inc.   SR0000723113
 5908 Rick Ross         9 Piece                                  UMG Recordings, Inc.   SR0000677844
 5909 Rick Ross         All I Have In This World                 UMG Recordings, Inc.   SR0000642144
 5910 Rick Ross         All I Really Want (Explicit)             UMG Recordings, Inc.   SR0000631749
 5911 Rick Ross         All The Money In The World               UMG Recordings, Inc.   SR0000656701
 5912 Rick Ross         Aston Martin Music                       UMG Recordings, Inc.   SR0000656701
 5913 Rick Ross         B.M.F. (Blowin' Money Fast) (Explicit)   UMG Recordings, Inc.   SR0000656701
 5914 Rick Ross         Billionaire                              UMG Recordings, Inc.   SR0000642144
 5915 Rick Ross         Blowin Money Fast                        UMG Recordings, Inc.   SR0000656701
 5916 Rick Ross         Cross That Line                          UMG Recordings, Inc.   SR0000394154
 5917 Rick Ross         DJ Khaled Interlude                      UMG Recordings, Inc.   SR0000642144
 5918 Rick Ross         Free Mason                               UMG Recordings, Inc.   SR0000656701
 5919 Rick Ross         Here I Am                                UMG Recordings, Inc.   SR0000627325
 5920 Rick Ross         Hustlin' (Explicit)                      UMG Recordings, Inc.   SR0000387156
 5921 Rick Ross         I'm Not A Star                           UMG Recordings, Inc.   SR0000656701
 5922 Rick Ross         I'm Only Human                           UMG Recordings, Inc.   SR0000642144
 5923 Rick Ross         Ice Cold (Explicit)                      UMG Recordings, Inc.   SR0000706411
 5924 Rick Ross         Live Fast, Die Young                     UMG Recordings, Inc.   SR0000656701
 5925 Rick Ross         Mafia Music (Explicit)                   UMG Recordings, Inc.   SR0000631749
 5926 Rick Ross         Magnificent                              UMG Recordings, Inc.   SR0000631749
 5927 Rick Ross         Maybach Music                            UMG Recordings, Inc.   SR0000642144
 5928 Rick Ross         Maybach Music III                        UMG Recordings, Inc.   SR0000656701
 5929 Rick Ross         MC Hammer                                UMG Recordings, Inc.   SR0000656701
 5930 Rick Ross         Money Make Me Come                       UMG Recordings, Inc.   SR0000642144
 5931 Rick Ross         No. 1                                    UMG Recordings, Inc.   SR0000656701
 5932 Rick Ross         Push It                                  UMG Recordings, Inc.   SR0000394154
 5933 Rick Ross         Reppin My City                           UMG Recordings, Inc.   SR0000642144
 5934 Rick Ross         Speedin'                                 UMG Recordings, Inc.   SR0000627979
 5935 Rick Ross         Street Life (Explicit)                   UMG Recordings, Inc.   SR0000394154
 5936 Rick Ross         Super High                               UMG Recordings, Inc.   SR0000656701
 5937 Rick Ross         Tears Of Joy                             UMG Recordings, Inc.   SR0000656701
 5938 Rick Ross         The Boss                                 UMG Recordings, Inc.   SR0000642192
 5939 Rick Ross         This Is The Life                         UMG Recordings, Inc.   SR0000642144
 5940 Rick Ross         This Me                                  UMG Recordings, Inc.   SR0000642144
 5941 Rick Ross         Trilla Intro                             UMG Recordings, Inc.   SR0000642144
 5942 Rick Ross         Triple Beam Dream                        UMG Recordings, Inc.   SR0000706411
 5943 Rick Ross         We Shinin'                               UMG Recordings, Inc.   SR0000642144
 5944 Rick Ross         You The Boss                             UMG Recordings, Inc.   SR0000689369
 5945 Rihanna           A Girl Like Me                           UMG Recordings, Inc.   SR0000387137
 5946 Rihanna           A Million Miles Away                     UMG Recordings, Inc.   SR0000387137
 5947 Rihanna           Birthday Cake                            UMG Recordings, Inc.   SR0000689431
 5948 Rihanna           Break It Off                             UMG Recordings, Inc.   SR0000387137
 5949 Rihanna           Breakin' Dishes                          UMG Recordings, Inc.   SR0000616718
 5950 Rihanna           California King Bed                      UMG Recordings, Inc.   SR0000684805
 5951 Rihanna           Cheers (Drink To That)                   UMG Recordings, Inc.   SR0000684805
 5952 Rihanna           Cockiness (Love It)                      UMG Recordings, Inc.   SR0000689431
 5953 Rihanna           Cold Case Love                           UMG Recordings, Inc.   SR0000644571
 5954 Rihanna           Complicated                              UMG Recordings, Inc.   SR0000684805
 5955 Rihanna           Crazy Little Thing Called Love           UMG Recordings, Inc.   SR0000387137
 5956 Rihanna           Cry                                      UMG Recordings, Inc.   SR0000629434
 5957 Rihanna           Dem Haters                               UMG Recordings, Inc.   SR0000387137
 5958 Rihanna           Disturbia                                UMG Recordings, Inc.   SR0000616718
 5959 Rihanna           Do Ya Thang                              UMG Recordings, Inc.   SR0000689431
 5960 Rihanna           Don't Stop The Music                     UMG Recordings, Inc.   SR0000615178
 5961 Rihanna           Drunk On Love                            UMG Recordings, Inc.   SR0000689431
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 5962 Rihanna           Fading                                  UMG Recordings, Inc.   SR0000684805
 5963 Rihanna           Farewell                                UMG Recordings, Inc.   SR0000689431
 5964 Rihanna           Final Goodbye                           UMG Recordings, Inc.   SR0000387137
 5965 Rihanna           Fire Bomb                               UMG Recordings, Inc.   SR0000644571
 5966 Rihanna           Fool In Love                            UMG Recordings, Inc.   SR0000689431
 5967 Rihanna           G4L                                     UMG Recordings, Inc.   SR0000644571
 5968 Rihanna           Hard                                    UMG Recordings, Inc.   SR0000644571
 5969 Rihanna           Haunted                                 UMG Recordings, Inc.   SR0000629434
 5970 Rihanna           Here I Go Again                         UMG Recordings, Inc.   SR0000372611
 5971 Rihanna           If It's Lovin' That You Want            UMG Recordings, Inc.   SR0000377878
 5972 Rihanna           If It's Lovin' That You Want - Part 2   UMG Recordings, Inc.   SR0000387137
 5973 Rihanna           Kisses Don't Lie                        UMG Recordings, Inc.   SR0000387137
 5974 Rihanna           Let Me                                  UMG Recordings, Inc.   SR0000372611
 5975 Rihanna           Love The Way You Lie (Part II)          UMG Recordings, Inc.   SR0000684805
 5976 Rihanna           Love The Way You Lie (Piano Version)    UMG Recordings, Inc.   SR0000672173
 5977 Rihanna           Mad House                               UMG Recordings, Inc.   SR0000644571
 5978 Rihanna           Man Down                                UMG Recordings, Inc.   SR0000684805
 5979 Rihanna           Music Of The Sun                        UMG Recordings, Inc.   SR0000372611
 5980 Rihanna           Now I Know                              UMG Recordings, Inc.   SR0000372611
 5981 Rihanna           Only Girl (In The World)                UMG Recordings, Inc.   SR0000669316
 5982 Rihanna           P.S. (I'm Still Not Over You)           UMG Recordings, Inc.   SR0000387137
 5983 Rihanna           Photographs                             UMG Recordings, Inc.   SR0000644571
 5984 Rihanna           Pon de Replay                           UMG Recordings, Inc.   SR0000378134
 5985 Rihanna           Raining Men                             UMG Recordings, Inc.   SR0000684805
 5986 Rihanna           Red Lipstick                            UMG Recordings, Inc.   SR0000689431
 5987 Rihanna           Rehab                                   UMG Recordings, Inc.   SR0000635072
 5988 Rihanna           Roc Me Out                              UMG Recordings, Inc.   SR0000689431
 5989 Rihanna           ROCKSTAR 101                            UMG Recordings, Inc.   SR0000644571
 5990 Rihanna           Rude Boy                                UMG Recordings, Inc.   SR0000644571
 5991 Rihanna           Rush                                    UMG Recordings, Inc.   SR0000372611
 5992 Rihanna           Russian Roulette                        UMG Recordings, Inc.   SR0000644571
 5993 Rihanna           S&M                                     UMG Recordings, Inc.   SR0000684805
 5994 Rihanna           Selfish Girl                            UMG Recordings, Inc.   SR0000387137
 5995 Rihanna           Sell Me Candy                           UMG Recordings, Inc.   SR0000616718
 5996 Rihanna           Shut Up and Drive                       UMG Recordings, Inc.   SR0000616718
 5997 Rihanna           Skin                                    UMG Recordings, Inc.   SR0000684805
 5998 Rihanna           SOS                                     UMG Recordings, Inc.   SR0000385674
 5999 Rihanna           Stupid In Love                          UMG Recordings, Inc.   SR0000644571
 6000 Rihanna           Take A Bow                              UMG Recordings, Inc.   SR0000616718
 6001 Rihanna           Talk That Talk                          UMG Recordings, Inc.   SR0000689431
 6002 Rihanna           Te Amo                                  UMG Recordings, Inc.   SR0000644571
 6003 Rihanna           That La, La, La                         UMG Recordings, Inc.   SR0000372611
 6004 Rihanna           The Last Song                           UMG Recordings, Inc.   SR0000644571
 6005 Rihanna           The Last Time                           UMG Recordings, Inc.   SR0000372611
 6006 Rihanna           There's A Thug In My Life               UMG Recordings, Inc.   SR0000372611
 6007 Rihanna           Umbrella                                UMG Recordings, Inc.   SR0000615487
 6008 Rihanna           Wait Your Turn                          UMG Recordings, Inc.   SR0000644571
 6009 Rihanna           Watch N Learn                           UMG Recordings, Inc.   SR0000689431
 6010 Rihanna           We All Want Love                        UMG Recordings, Inc.   SR0000689431
 6011 Rihanna           We Found Love (feat. Calvin Harris)     UMG Recordings, Inc.   SR0000685290
 6012 Rihanna           We Ride                                 UMG Recordings, Inc.   SR0000387137
 6013 Rihanna           What's My Name?                         UMG Recordings, Inc.   SR0000669319
 6014 Rihanna           Where Have You Been                     UMG Recordings, Inc.   SR0000689431
 6015 Rihanna           Willing To Wait                         UMG Recordings, Inc.   SR0000372611
 6016 Rihanna           You Da One                              UMG Recordings, Inc.   SR0000689433
 6017 Rihanna           You Don't Love Me (No, No, No)          UMG Recordings, Inc.   SR0000372611
 6018 Rise Against      Architects                              UMG Recordings, Inc.   SR0000671826
 6019 Rise Against      Broken Mirrors                          UMG Recordings, Inc.   SR0000671827
 6020 Rise Against      Disparity By Design                     UMG Recordings, Inc.   SR0000671827
 6021 Rise Against      Endgame                                 UMG Recordings, Inc.   SR0000671827
 6022 Rise Against      Help Is On The Way                      UMG Recordings, Inc.   SR0000671825
 6023 Rise Against      Lanterns                                UMG Recordings, Inc.   SR0000674467
 6024 Rise Against      Make It Stop (September's Children)     UMG Recordings, Inc.   SR0000671827
 6025 Rise Against      Midnight Hands                          UMG Recordings, Inc.   SR0000671827
 6026 Rise Against      Satellite                               UMG Recordings, Inc.   SR0000671827
 6027 Rise Against      Survivor Guilt                          UMG Recordings, Inc.   SR0000671827
 6028 Rise Against      This Is Letting Go                      UMG Recordings, Inc.   SR0000671827
 6029 Rise Against      Wait For Me                             UMG Recordings, Inc.   SR0000671827
 6030 Robin Thicke      Cry No More                             UMG Recordings, Inc.   SR0000617389
 6031 Robin Thicke      Dreamworld                              UMG Recordings, Inc.   SR0000617389
 6032 Robin Thicke      Ebb and Flow                            UMG Recordings, Inc.   SR0000618754
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 6033 Robin Thicke      Everybody's A Star             UMG Recordings, Inc.   SR0000618754
 6034 Robin Thicke      Hard On My Love                UMG Recordings, Inc.   SR0000617389
 6035 Robin Thicke      I'm Coming Home                UMG Recordings, Inc.   SR0000618754
 6036 Robin Thicke      Lost Without U                 UMG Recordings, Inc.   SR0000398513
 6037 Robin Thicke      Loverman                       UMG Recordings, Inc.   SR0000617389
 6038 Robin Thicke      Magic                          UMG Recordings, Inc.   SR0000622566
 6039 Robin Thicke      Magic Touch                    UMG Recordings, Inc.   SR0000618707
 6040 Robin Thicke      Ms. Harmony                    UMG Recordings, Inc.   SR0000617389
 6041 Robin Thicke      Sex Therapy                    UMG Recordings, Inc.   SR0000644567
 6042 Robin Thicke      Shadow of Doubt                UMG Recordings, Inc.   SR0000617389
                                                                              SR0000617389
 6043 Robin Thicke      Sidestep                       UMG Recordings, Inc.   SR0000412743
                                                                              SR0000617389
 6044 Robin Thicke      Something Else                 UMG Recordings, Inc.   SR0000412743
 6045 Robin Thicke      The Sweetest Love              UMG Recordings, Inc.   SR0000617386
                                                                              SR0000617389
 6046 Robin Thicke      Tie My Hands                   UMG Recordings, Inc.   SR0000412743
                                                                              SR0000617389
 6047 Robin Thicke      You're My Baby                 UMG Recordings, Inc.   SR0000412743
 6048 Saving Abel       18 Days                        UMG Recordings, Inc.   SR0000639174
 6049 Saving Abel       Addicted                       UMG Recordings, Inc.   SR0000639174
 6050 Saving Abel       Beautiful Day                  UMG Recordings, Inc.   SR0000639174
 6051 Saving Abel       Beautiful You                  UMG Recordings, Inc.   SR0000639174
 6052 Saving Abel       Drowning (Face Down)           UMG Recordings, Inc.   SR0000639174
 6053 Saving Abel       In God's Eyes                  UMG Recordings, Inc.   SR0000639174
 6054 Saving Abel       New Tatoo                      UMG Recordings, Inc.   SR0000639174
 6055 Saving Abel       Out Of My Face                 UMG Recordings, Inc.   SR0000639174
 6056 Saving Abel       Running From You               UMG Recordings, Inc.   SR0000639174
 6057 Saving Abel       Sailed Away                    UMG Recordings, Inc.   SR0000639174
 6058 Saving Abel       She Got Over Me                UMG Recordings, Inc.   SR0000639174
 6059 Scarface          Fixed (Explicit)               UMG Recordings, Inc.   SR0000362246
 6060 Scarface          Guess Who's Back (Explicit)    UMG Recordings, Inc.   SR0000311881
 6061 Scarface          Heaven (Explicit)              UMG Recordings, Inc.   SR0000362246
 6062 Scarface          I Ain't The One (Explicit)     UMG Recordings, Inc.   SR0000362246
 6063 Scarface          In Between Us (Explicit)       UMG Recordings, Inc.   SR0000362246
 6064 Scarface          In Cold Blood (Explicit)       UMG Recordings, Inc.   SR0000362246
 6065 Scarface          Keep Me Down (Explicit)        UMG Recordings, Inc.   SR0000362246
 6066 Scarface          Safe (Explicit)                UMG Recordings, Inc.   SR0000362246
 6067 Scarface          Sell Out (Explicit)            UMG Recordings, Inc.   SR0000362246
 6068 Scarface          Someday (Explicit)             UMG Recordings, Inc.   SR0000362246
 6069 Scarface          The Fix (Explicit)             UMG Recordings, Inc.   SR0000362246
 6070 Scarface          What Can I Do? (Explicit)      UMG Recordings, Inc.   SR0000362246
 6071 ScHoolboy Q       Man Of The Year                UMG Recordings, Inc.   SR0000733738
 6072 Scissor Sisters   Better Luck Next Time          UMG Recordings, Inc.   SR0000355220
 6073 Scissor Sisters   Filthy/Gorgeous                UMG Recordings, Inc.   SR0000355220
 6074 Scissor Sisters   Get It Get It                  UMG Recordings, Inc.   SR0000355220
 6075 Scissor Sisters   It Can't Come Quickly Enough   UMG Recordings, Inc.   SR0000355220
 6076 Scissor Sisters   Laura                          UMG Recordings, Inc.   SR0000355220
 6077 Scissor Sisters   Lovers In The Backseat         UMG Recordings, Inc.   SR0000355220
 6078 Scissor Sisters   Mary                           UMG Recordings, Inc.   SR0000355220
 6079 Scissor Sisters   Music Is The Victim            UMG Recordings, Inc.   SR0000355220
 6080 Scissor Sisters   Return To Oz                   UMG Recordings, Inc.   SR0000355220
 6081 Scissor Sisters   Take Your Mama                 UMG Recordings, Inc.   SR0000355220
 6082 Scissor Sisters   Tits On The Radio              UMG Recordings, Inc.   SR0000355220
 6083 Selena Gomez      Come & Get It                  UMG Recordings, Inc.   SR0000739772
 6084 Snow Patrol       Chasing Cars                   UMG Recordings, Inc.   SR0000633869
 6085 Taio Cruz         Break Your Heart               UMG Recordings, Inc.   SR0000655287
 6086 Taio Cruz         Higher                         UMG Recordings, Inc.   SR0000670254
 6087 Taio Cruz         Higher (feat Kylie Minogue)    UMG Recordings, Inc.   SR0000656945
 6088 Taylor Swift      All Too Well                   UMG Recordings, Inc.   SR0000719963
 6089 Taylor Swift      Back To December               UMG Recordings, Inc.   SR0000719833
 6090 Taylor Swift      Begin Again                    UMG Recordings, Inc.   SR0000719963
 6091 Taylor Swift      Better Than Revenge            UMG Recordings, Inc.   SR0000719833
 6092 Taylor Swift      Breathe                        UMG Recordings, Inc.   SR0000722878
 6093 Taylor Swift      Change                         UMG Recordings, Inc.   SR0000722878
 6094 Taylor Swift      Dear John                      UMG Recordings, Inc.   SR0000719833
 6095 Taylor Swift      Enchanted                      UMG Recordings, Inc.   SR0000719833
 6096 Taylor Swift      Fearless                       UMG Recordings, Inc.   SR0000722878
 6097 Taylor Swift      Forever & Always               UMG Recordings, Inc.   SR0000722878
 6098 Taylor Swift      Haunted                        UMG Recordings, Inc.   SR0000719833
 6099 Taylor Swift      Haunted - Acoustic             UMG Recordings, Inc.   SR0000719833
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 6100 Taylor Swift          Hey Stephen                         UMG Recordings, Inc.   SR0000722878
 6101 Taylor Swift          Holy Ground                         UMG Recordings, Inc.   SR0000719963
 6102 Taylor Swift          I Almost Do                         UMG Recordings, Inc.   SR0000719963
 6103 Taylor Swift          Innocent                            UMG Recordings, Inc.   SR0000719833
 6104 Taylor Swift          Last Kiss                           UMG Recordings, Inc.   SR0000719833
 6105 Taylor Swift          Long Live                           UMG Recordings, Inc.   SR0000719833
 6106 Taylor Swift          Mine                                UMG Recordings, Inc.   SR0000719833
 6107 Taylor Swift          Never Grow Up                       UMG Recordings, Inc.   SR0000719833
 6108 Taylor Swift          Ours                                UMG Recordings, Inc.   SR0000719833
 6109 Taylor Swift          Red                                 UMG Recordings, Inc.   SR0000719963
 6110 Taylor Swift          Sad Beautiful Tragic                UMG Recordings, Inc.   SR0000719963
 6111 Taylor Swift          Should've Said No                   UMG Recordings, Inc.   SR0000722875
 6112 Taylor Swift          Sparks Fly                          UMG Recordings, Inc.   SR0000719833
 6113 Taylor Swift          Speak Now                           UMG Recordings, Inc.   SR0000719833
 6114 Taylor Swift          Starlight                           UMG Recordings, Inc.   SR0000719963
 6115 Taylor Swift          State Of Grace                      UMG Recordings, Inc.   SR0000719963
 6116 Taylor Swift          Stay Stay Stay                      UMG Recordings, Inc.   SR0000719963
 6117 Taylor Swift          Story of Us                         UMG Recordings, Inc.   SR0000719833
 6118 Taylor Swift          Teardrops On My Guitar              UMG Recordings, Inc.   SR0000722875
 6119 Taylor Swift          Tell Me Why                         UMG Recordings, Inc.   SR0000722878
 6120 Taylor Swift          The Best Day                        UMG Recordings, Inc.   SR0000722878
 6121 Taylor Swift          The Last Time                       UMG Recordings, Inc.   SR0000719963
 6122 Taylor Swift          The Lucky One                       UMG Recordings, Inc.   SR0000719963
 6123 Taylor Swift          The Story Of Us                     UMG Recordings, Inc.   SR0000719833
 6124 Taylor Swift          The Way I Loved You                 UMG Recordings, Inc.   SR0000722878
 6125 Taylor Swift          Treacherous                         UMG Recordings, Inc.   SR0000719963
 6126 Taylor Swift          White Horse                         UMG Recordings, Inc.   SR0000722878
 6127 Taylor Swift          You're Not Sorry                    UMG Recordings, Inc.   SR0000722878
 6128 Tears For Fears       Advice For The Young At Heart       UMG Recordings, Inc.   SR0000144549
 6129 Tears For Fears       Change                              UMG Recordings, Inc.   SR0000144549
 6130 Tears For Fears       Everybody Wants To Rule The World   UMG Recordings, Inc.   SR0000144549
 6131 Tears For Fears       Head Over Heels                     UMG Recordings, Inc.   SR0000144549
 6132 Tears For Fears       I Believe                           UMG Recordings, Inc.   SR0000144549
 6133 Tears For Fears       Laid So Low (Tears Roll Down)       UMG Recordings, Inc.   SR0000144549
 6134 Tears For Fears       Mad World                           UMG Recordings, Inc.   SR0000045985
 6135 Tears For Fears       Mothers Talk                        UMG Recordings, Inc.   SR0000144549
 6136 Tears For Fears       Pale Shelter                        UMG Recordings, Inc.   SR0000144549
 6137 Tears For Fears       Shout                               UMG Recordings, Inc.   SR0000144549
 6138 Tears For Fears       Sowing The Seeds Of Love            UMG Recordings, Inc.   SR0000144549
 6139 The Animals           Baby Let Me Take You Home           UMG Recordings, Inc.   SR0000704230
 6140 The Animals           Boom Boom                           UMG Recordings, Inc.   SR0000704230
 6141 The Animals           Bring It On Home To Me              UMG Recordings, Inc.   SR0000704230
 6142 The Animals           Don't Let Me Be Misunderstood       UMG Recordings, Inc.   SR0000704230
 6143 The Animals           It's My Life                        UMG Recordings, Inc.   SR0000704230
 6144 The Animals           Talkin' About You                   UMG Recordings, Inc.   SR0000704230
 6145 The Band Perry        All Your Life                       UMG Recordings, Inc.   SR0000653353
 6146 The Band Perry        Double Heart                        UMG Recordings, Inc.   SR0000664551
 6147 The Band Perry        Hip To My Heart                     UMG Recordings, Inc.   SR0000637103
 6148 The Band Perry        If I Die Young                      UMG Recordings, Inc.   SR0000653353
 6149 The Band Perry        Independence                        UMG Recordings, Inc.   SR0000664551
 6150 The Band Perry        Lasso                               UMG Recordings, Inc.   SR0000664551
 6151 The Band Perry        Miss You Being Gone                 UMG Recordings, Inc.   SR0000664551
 6152 The Band Perry        Postcard From Paris                 UMG Recordings, Inc.   SR0000653353
 6153 The Band Perry        Quittin' You                        UMG Recordings, Inc.   SR0000653353
 6154 The Band Perry        Walk Me Down the Middle             UMG Recordings, Inc.   SR0000664551
 6155 The Band Perry        You Lie                             UMG Recordings, Inc.   SR0000664551
 6156 The Black Eyed Peas   Fashion Beats                       UMG Recordings, Inc.   SR0000670148
 6157 The Black Eyed Peas   Just Can't Get Enough               UMG Recordings, Inc.   SR0000670148
 6158 The Black Eyed Peas   Love You Long Time                  UMG Recordings, Inc.   SR0000670148
 6159 The Black Eyed Peas   Own It                              UMG Recordings, Inc.   SR0000670148
 6160 The Black Eyed Peas   Play It Loud                        UMG Recordings, Inc.   SR0000670148
 6161 The Black Eyed Peas   Someday                             UMG Recordings, Inc.   SR0000670148
 6162 The Black Eyed Peas   The Best One Yet (The Boy)          UMG Recordings, Inc.   SR0000670148
 6163 The Black Eyed Peas   The Coming                          UMG Recordings, Inc.   SR0000670148
 6164 The Black Eyed Peas   The Situation                       UMG Recordings, Inc.   SR0000670148
 6165 The Black Eyed Peas   Whenever                            UMG Recordings, Inc.   SR0000670148
 6166 The Black Eyed Peas   XOXOXO                              UMG Recordings, Inc.   SR0000670148
 6167 The Cranberries       Animal Instinct                     UMG Recordings, Inc.   SR0000264395
 6168 The Cranberries       Daffodil Lament                     UMG Recordings, Inc.   SR0000218047
 6169 The Cranberries       Free To Decide                      UMG Recordings, Inc.   SR0000228075
 6170 The Cranberries       Hollywood                           UMG Recordings, Inc.   SR0000217619
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 6171 The Cranberries       I Can't Be With You                                        UMG Recordings, Inc.    SR0000218047
 6172 The Cranberries       New New York                                               UMG Recordings, Inc.    SR0000324975
 6173 The Cranberries       Promises                                                   UMG Recordings, Inc.    SR0000264395
 6174 The Cranberries       Ridiculous Thoughts                                        UMG Recordings, Inc.    SR0000218047
 6175 The Cranberries       This Is The Day                                            UMG Recordings, Inc.    SR0000303013
 6176 The Cranberries       Time Is Ticking Out                                        UMG Recordings, Inc.    SR0000303013
 6177 The Cranberries       You And Me                                                 UMG Recordings, Inc.    SR0000264395
 6178 The Gabe Dixon Band   All Will Be Well                                           UMG Recordings, Inc.    SR0000618294
 6179 The Gabe Dixon Band   And The World Turned                                       UMG Recordings, Inc.    SR0000618294
 6180 The Gabe Dixon Band   Baby Doll                                                  UMG Recordings, Inc.    SR0000618294
 6181 The Gabe Dixon Band   Disappear                                                  UMG Recordings, Inc.    SR0000618294
 6182 The Gabe Dixon Band   Ever After You                                             UMG Recordings, Inc.    SR0000618294
 6183 The Gabe Dixon Band   Far From Home                                              UMG Recordings, Inc.    SR0000618294
 6184 The Gabe Dixon Band   Find My Way                                                UMG Recordings, Inc.    SR0000618294
 6185 The Gabe Dixon Band   Five More Hours                                            UMG Recordings, Inc.    SR0000618294
 6186 The Gabe Dixon Band   Further The Sky                                            UMG Recordings, Inc.    SR0000618294
 6187 The Gabe Dixon Band   Sirens                                                     UMG Recordings, Inc.    SR0000618294
 6188 The Gabe Dixon Band   Till You're Gone                                           UMG Recordings, Inc.    SR0000618294
 6189 The Mowgli's          San Francisco                                              UMG Recordings, Inc.    SR0000712405
 6190 The Police            Don't Stand So Close To Me '86                             UMG Recordings, Inc.    SR0000028383
 6191 The Police            Invisible Sun                                              UMG Recordings, Inc.    SR0000030222
 6192 The Police            Spirits In The Material World                              UMG Recordings, Inc.    SR0000030222
 6193 The Police            Wrapped Around Your Finger                                 UMG Recordings, Inc.    SR0000044862
 6194 The Rolling Stones    Angie                                                      UMG Recordings, Inc.    SR0000054736
 6195 The Rolling Stones    Anybody Seen My Baby?                                      UMG Recordings, Inc.    SR0000261515
 6196 The Rolling Stones    Beast Of Burden                                            UMG Recordings, Inc.    SR0000054736
 6197 The Rolling Stones    Crazy Mama                                                 UMG Recordings, Inc.    SR0000025203
 6198 The Rolling Stones    Doo Doo Doo Doo (Heartbreaker)                             UMG Recordings, Inc.    SR0000056814
 6199 The Rolling Stones    Emotional Rescue                                           UMG Recordings, Inc.    SR0000054736
 6200 The Rolling Stones    Far Away Eyes                                              UMG Recordings, Inc.    SR0000001522
 6201 The Rolling Stones    Fool To Cry                                                UMG Recordings, Inc.    SR0000025203
 6202 The Rolling Stones    Hang Fire                                                  UMG Recordings, Inc.    SR0000029150
 6203 The Rolling Stones    Heaven                                                     UMG Recordings, Inc.    SR0000778091
 6204 The Rolling Stones    Hot Stuff                                                  UMG Recordings, Inc.    SR0000025203
 6205 The Rolling Stones    It's Only Rock 'n' Roll (But I Like It)                    UMG Recordings, Inc.    SR0000056814
 6206 The Rolling Stones    Let Me Go                                                  UMG Recordings, Inc.    SR0000018973
 6207 The Rolling Stones    Might As Well Get Juiced                                   UMG Recordings, Inc.    SR0000261515
 6208 The Rolling Stones    Miss You                                                   UMG Recordings, Inc.    SR0000001522
 6209 The Rolling Stones    Miss You (Dance Version)                                   UMG Recordings, Inc.    SR0000056814
 6210 The Rolling Stones    Neighbours                                                 UMG Recordings, Inc.    SR0000029150
 6211 The Rolling Stones    Respectable                                                UMG Recordings, Inc.    SR0000001522
 6212 The Rolling Stones    Shattered                                                  UMG Recordings, Inc.    SR0000001522
 6213 The Rolling Stones    She Was Hot                                                UMG Recordings, Inc.    SR0000050568
 6214 The Rolling Stones    She's So Cold                                              UMG Recordings, Inc.    SR0000018973
 6215 The Rolling Stones    Start Me Up                                                UMG Recordings, Inc.    SR0000054736
 6216 The Rolling Stones    Time Waits For No One                                      UMG Recordings, Inc.    SR0000025203
 6217 The Rolling Stones    Too Tough                                                  UMG Recordings, Inc.    SR0000050568
 6218 The Rolling Stones    Tops                                                       UMG Recordings, Inc.    SR0000029150
 6219 The Rolling Stones    Undercover (Of The Night)                                  UMG Recordings, Inc.    SR0000050568
 6220 The Rolling Stones    Winning Ugly                                               UMG Recordings, Inc.    SR0000071259
 6221 The Rolling Stones    You Got Me Rocking                                         UMG Recordings, Inc.    SR0000262974
 6222 Timbaland             Apologize                                                  UMG Recordings, Inc.    SR0000623039
 6223 Timbaland             Can You Feel It (Featuring Esthero & Sebastian)            UMG Recordings, Inc.    SR0000636223
 6224 Timbaland             Carry Out                                                  UMG Recordings, Inc.    SR0000636223
 6225 Timbaland             Ease Off The Liquor                                        UMG Recordings, Inc.    SR0000636223
 6226 Timbaland             If We Ever Meet Again                                      UMG Recordings, Inc.    SR0000636223
 6227 Timbaland             Intro By DJ Felli Fel                                      UMG Recordings, Inc.    SR0000636223
 6228 Timbaland             Long Way Down (Featuring Daughtry)                         UMG Recordings, Inc.    SR0000636223
 6229 Timbaland             Lose Control (Featuring JoJo)                              UMG Recordings, Inc.    SR0000636223
 6230 Timbaland             Meet In Tha Middle (Featuring Bran' Nu)                    UMG Recordings, Inc.    SR0000636223

 6231 Timbaland             Morning After Dark (Featuring Nelly Furtado & SoShy)       UMG Recordings, Inc.    SR0000636223
 6232 Timbaland             Say Something (Featuring Drake)                            UMG Recordings, Inc.    SR0000636223
 6233 Timbaland             Symphony (Featuring Attitude, Bran' Nu & D.O.E.)           UMG Recordings, Inc.    SR0000636223
 6234 Timbaland             The One I Love (Featuring Keri Hilson & D.O.E.)            UMG Recordings, Inc.    SR0000636223
 6235 Timbaland             Timothy Where You Been (Featuring Jet)                     UMG Recordings, Inc.    SR0000636223

 6236 Timbaland             Tomorrow In The Bottle (Featuring Chad Kroeger & Sebastian) UMG Recordings, Inc.   SR0000636223
 6237 Timbaland             Undertow (Featuring The Fray & Esthero)                     UMG Recordings, Inc.   SR0000636223
 6238 Timbaland             We Belong To The Music (Featuring Miley Cyrus)              UMG Recordings, Inc.   SR0000636223
 6239 Toby Keith            Beer For My Horses                                          UMG Recordings, Inc.   SR0000808555
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 6240 Toby Keith        Beers Ago                                                  UMG Recordings, Inc.   SR0000687038
 6241 Toby Keith        Chill-axin'                                                UMG Recordings, Inc.   SR0000687038
 6242 Toby Keith        Clancy's Tavern                                            UMG Recordings, Inc.   SR0000687038
 6243 Toby Keith        Club Zydeco Moon                                           UMG Recordings, Inc.   SR0000687038
 6244 Toby Keith        Country Comes To Town                                      UMG Recordings, Inc.   SR0000613330

 6245 Toby Keith        Courtesy Of The Red, White And Blue (The Angry American)   UMG Recordings, Inc.   SR0000613330
 6246 Toby Keith        Go With Her                                                UMG Recordings, Inc.   SR0000363112
 6247 Toby Keith        How Do You Like Me Now?!                                   UMG Recordings, Inc.   SR0000768442
 6248 Toby Keith        I Need To Hear A Country Song                              UMG Recordings, Inc.   SR0000687038
 6249 Toby Keith        I Wanna Talk About Me                                      UMG Recordings, Inc.   SR0000301479
 6250 Toby Keith        I Won't Let You Down                                       UMG Recordings, Inc.   SR0000687038
 6251 Toby Keith        I'm Just Talkin' About Tonight                             UMG Recordings, Inc.   SR0000613330
 6252 Toby Keith        Just Another Sundown                                       UMG Recordings, Inc.   SR0000687038
 6253 Toby Keith        Made In America                                            UMG Recordings, Inc.   SR0000687038
 6254 Toby Keith        Mockingbird                                                UMG Recordings, Inc.   SR0000613330
 6255 Toby Keith        Red Solo Cup                                               UMG Recordings, Inc.   SR0000712025
 6256 Toby Keith        Should've Been A Cowboy                                    UMG Recordings, Inc.   SR0000363112
 6257 Toby Keith        South Of You                                               UMG Recordings, Inc.   SR0000687038
 6258 Toby Keith        Stays In Mexico                                            UMG Recordings, Inc.   SR0000613330
 6259 Toby Keith        Tryin' To Fall In Love                                     UMG Recordings, Inc.   SR0000687038
 6260 Toby Keith        Who's Your Daddy?                                          UMG Recordings, Inc.   SR0000613330
 6261 Toby Keith        You Ain't Much Fun                                         UMG Recordings, Inc.   SR0000363112
 6262 Toby Keith        You Shouldn't Kiss Me Like This                            UMG Recordings, Inc.   SR0000613330
 6263 U2                Breathe                                                    UMG Recordings, Inc.   SR0000636812
 6264 U2                Cedars Of Lebanon                                          UMG Recordings, Inc.   SR0000636812
 6265 U2                FEZ/Being Born                                             UMG Recordings, Inc.   SR0000636812
 6266 U2                Get On Your Boots                                          UMG Recordings, Inc.   SR0000636812
 6267 U2                I'll Go Crazy If I Don't Go Crazy Tonight                  UMG Recordings, Inc.   SR0000636812
 6268 U2                Magnificent                                                UMG Recordings, Inc.   SR0000636812
 6269 U2                Moment Of Surrender                                        UMG Recordings, Inc.   SR0000636812
 6270 U2                Stand Up Comedy                                            UMG Recordings, Inc.   SR0000636812
 6271 U2                Unknown Caller                                             UMG Recordings, Inc.   SR0000636812
 6272 U2                White As Snow                                              UMG Recordings, Inc.   SR0000636812
 6273 UB40              (I Can't Help) Falling In Love With You                    UMG Recordings, Inc.   SR0000205179
 6274 UB40              Breakfast In Bed                                           UMG Recordings, Inc.   SR0000205152
 6275 UB40              Cherry Oh Baby                                             UMG Recordings, Inc.   SR0000049244
 6276 UB40              Come Back Darling                                          UMG Recordings, Inc.   SR0000178976
 6277 UB40              Don't Break My Heart                                       UMG Recordings, Inc.   SR0000205152
 6278 UB40              Groovin' (Out On Life)                                     UMG Recordings, Inc.   SR0000112173
 6279 UB40              Here I Am (Come And Take Me)                               UMG Recordings, Inc.   SR0000205179
 6280 UB40              Higher Ground                                              UMG Recordings, Inc.   SR0000205179
 6281 UB40              Homely Girl                                                UMG Recordings, Inc.   SR0000112173
 6282 UB40              I Got You Babe                                             UMG Recordings, Inc.   SR0000205152
 6283 UB40              If It Happens Again                                        UMG Recordings, Inc.   SR0000205152
 6284 UB40              Kingston Town                                              UMG Recordings, Inc.   SR0000205179
 6285 UB40              One In Ten                                                 UMG Recordings, Inc.   SR0000205152
 6286 UB40              Please Don't Make Me Cry                                   UMG Recordings, Inc.   SR0000205152
 6287 UB40              Rat In Mi Kitchen                                          UMG Recordings, Inc.   SR0000205152
 6288 UB40              Red Red Wine                                               UMG Recordings, Inc.   SR0000205152
 6289 UB40              Sing Our Own Song (Edit)                                   UMG Recordings, Inc.   SR0000205152
 6290 UB40              The Way You Do The Things You Do                           UMG Recordings, Inc.   SR0000205179
 6291 UB40              Until My Dying Day                                         UMG Recordings, Inc.   SR0000205179
 6292 Warren G          Do You See (Explicit)                                      UMG Recordings, Inc.   SR0000629800
 6293 Warren G          Gangsta Sermon (Explicit)                                  UMG Recordings, Inc.   SR0000629800
 6294 Warren G          Recognize (Explicit)                                       UMG Recordings, Inc.   SR0000629800
 6295 Warren G          Regulate                                                   UMG Recordings, Inc.   SR0000629797
 6296 Warren G          Super Soul Sis (Explicit)                                  UMG Recordings, Inc.   SR0000629800
 6297 Warren G          This D.J.                                                  UMG Recordings, Inc.   SR0000765079
 6298 Warren G          What's Next (Explicit)                                     UMG Recordings, Inc.   SR0000629800
 6299 Yeah Yeah Yeahs   Black Tongue                                               UMG Recordings, Inc.   SR0000332650
 6300 Yeah Yeah Yeahs   Cold Light                                                 UMG Recordings, Inc.   SR0000332650
 6301 Yeah Yeah Yeahs   Date With The Night                                        UMG Recordings, Inc.   SR0000332650
 6302 Yeah Yeah Yeahs   Man                                                        UMG Recordings, Inc.   SR0000332650
 6303 Yeah Yeah Yeahs   No No No                                                   UMG Recordings, Inc.   SR0000332650
 6304 Yeah Yeah Yeahs   Rich                                                       UMG Recordings, Inc.   SR0000332650
 6305 Yeah Yeah Yeahs   Tick                                                       UMG Recordings, Inc.   SR0000332650
 6306 YG                Who Do You Love?                                           UMG Recordings, Inc.   SR0000745799
 6307 Young Jeezy       Amazin'                                                    UMG Recordings, Inc.   SR0000616586
 6308 Young Jeezy       By The Way                                                 UMG Recordings, Inc.   SR0000616586
 6309 Young Jeezy       Circulate                                                  UMG Recordings, Inc.   SR0000616586
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 6310 Young Jeezy         Crazy World                                                      UMG Recordings, Inc.             SR0000616586
 6311 Young Jeezy         Don't Do It                                                      UMG Recordings, Inc.             SR0000616586
 6312 Young Jeezy         Don't You Know                                                   UMG Recordings, Inc.             SR0000616586
 6313 Young Jeezy         Everything                                                       UMG Recordings, Inc.             SR0000616586
 6314 Young Jeezy         Get Allot                                                        UMG Recordings, Inc.             SR0000616586
 6315 Young Jeezy         Hustlaz Ambition                                                 UMG Recordings, Inc.             SR0000616586
 6316 Young Jeezy         My President                                                     UMG Recordings, Inc.             SR0000616586
 6317 Young Jeezy         Put On                                                           UMG Recordings, Inc.             SR0000615616
 6318 Young Jeezy         Takin' It There                                                  UMG Recordings, Inc.             SR0000616586
 6319 Young Jeezy         The Recession                                                    UMG Recordings, Inc.             SR0000616586
 6320 Young Jeezy         Vacation                                                         UMG Recordings, Inc.             SR0000616586
 6321 Young Jeezy         Welcome Back                                                     UMG Recordings, Inc.             SR0000616586
 6322 Young Jeezy         What They Want                                                   UMG Recordings, Inc.             SR0000616586
 6323 Young Jeezy         Who Dat                                                          UMG Recordings, Inc.             SR0000616586
 6324 Young Jeezy         Word Play                                                        UMG Recordings, Inc.             SR0000616586
 6325 Zedd                Clarity                                                          UMG Recordings, Inc.             SR0000736147
 6326 Zedd                Epos                                                             UMG Recordings, Inc.             SR0000745858
 6327 Zedd                Fall Into The Sky                                                UMG Recordings, Inc.             SR0000745858
 6328 Zedd                Follow You Down                                                  UMG Recordings, Inc.             SR0000709927
 6329 Zedd                Hourglass                                                        UMG Recordings, Inc.             SR0000736147
 6330 Zedd                Lost At Sea                                                      UMG Recordings, Inc.             SR0000744174
 6331 Zedd                Shave It Up                                                      UMG Recordings, Inc.             SR0000709927
 6332 Zedd                Spectrum                                                         UMG Recordings, Inc.             SR0000736147
 6333 Zedd                Stache                                                           UMG Recordings, Inc.             SR0000745858
 6334 Zedd                Stay The Night                                                   UMG Recordings, Inc.             SR0000736147
                          A Complicated Song (Parody of "Complicated" by Avril
 6335 Weird Al Yankovic   Lavigne)                                                         Volcano Entertainment III, LLC   SR0000331347
 6336 Weird Al Yankovic   Achy Breaky Song                                                 Volcano Entertainment III, LLC   SR0000184456
 6337 Weird Al Yankovic   Airline Amy                                                      Volcano Entertainment III, LLC   SR0000251666
 6338 Weird Al Yankovic   Amish Paradise                                                   Volcano Entertainment III, LLC   SR0000225008
 6339 Weird Al Yankovic   Angry White Boy Polka                                            Volcano Entertainment III, LLC   SR0000331347
 6340 Weird Al Yankovic   Bedrock Anthem                                                   Volcano Entertainment III, LLC   SR0000184456
 6341 Weird Al Yankovic   Bob                                                              Volcano Entertainment III, LLC   SR0000331347
 6342 Weird Al Yankovic   Bohemian Polka                                                   Volcano Entertainment III, LLC   SR0000184456
 6343 Weird Al Yankovic   Callin' In Sick                                                  Volcano Entertainment III, LLC   SR0000225008
                          Cavity Search (Paody of "Hold Me, Thrill Me, Kiss Me, Kill Me"
 6344 Weird Al Yankovic   by U2)                                                           Volcano Entertainment III, LLC   SR0000225008
 6345 Weird Al Yankovic   Couch Potato (Parody of "Lose Yourself" by Eminem)               Volcano Entertainment III, LLC   SR0000331347

 6346 Weird Al Yankovic   Ebay (Parody of "I Want It That Way" by the Backstreet Boys)     Volcano Entertainment III, LLC   SR0000331347
 6347 Weird Al Yankovic   Everything You Know Is Wrong                                     Volcano Entertainment III, LLC   SR0000225008
 6348 Weird Al Yankovic   Frank's 2000" TV                                                 Volcano Entertainment III, LLC   SR0000184456
 6349 Weird Al Yankovic   Genius In France                                                 Volcano Entertainment III, LLC   SR0000331347
                          Gump (Parody of "Lump" by The Presidents Of The United
 6350 Weird Al Yankovic   States)                                                          Volcano Entertainment III, LLC   SR0000225008
 6351 Weird Al Yankovic   Hardware Store                                                   Volcano Entertainment III, LLC   SR0000331347
 6352 Weird Al Yankovic   I Can't Watch This                                               Volcano Entertainment III, LLC   SR0000251666
 6353 Weird Al Yankovic   I Remember Larry                                                 Volcano Entertainment III, LLC   SR0000225008
 6354 Weird Al Yankovic   I Was Only Kidding                                               Volcano Entertainment III, LLC   SR0000251666
 6355 Weird Al Yankovic   I'm So Sick Of You                                               Volcano Entertainment III, LLC   SR0000225008
 6356 Weird Al Yankovic   Jurassic Park                                                    Volcano Entertainment III, LLC   SR0000184456
 6357 Weird Al Yankovic   Livin' In The Fridge                                             Volcano Entertainment III, LLC   SR0000184456
 6358 Weird Al Yankovic   Ode To A Superhero (Parody of "Piano Man" by Billy Joel)         Volcano Entertainment III, LLC   SR0000331347
 6359 Weird Al Yankovic   Party At The Leper Colony                                        Volcano Entertainment III, LLC   SR0000331347
 6360 Weird Al Yankovic   Phony Calls (Parody of "Waterfalls" by TLC)                      Volcano Entertainment III, LLC   SR0000225008
 6361 Weird Al Yankovic   Polka Your Eyes Out                                              Volcano Entertainment III, LLC   SR0000251666
 6362 Weird Al Yankovic   She Never Told Me She Was A Mime                                 Volcano Entertainment III, LLC   SR0000184456
 6363 Weird Al Yankovic   Smells Like Nirvana                                              Volcano Entertainment III, LLC   SR0000251666
 6364 Weird Al Yankovic   Spy Hard                                                         Volcano Entertainment III, LLC   SR0000251798
 6365 Weird Al Yankovic   Syndicated Inc. (Parody of "Misery" by Soul Asylum)              Volcano Entertainment III, LLC   SR0000225008
 6366 Weird Al Yankovic   Taco Grande                                                      Volcano Entertainment III, LLC   SR0000251666
 6367 Weird Al Yankovic   Talk Soup                                                        Volcano Entertainment III, LLC   SR0000184456
 6368 Weird Al Yankovic   The Alternative Polka                                            Volcano Entertainment III, LLC   SR0000225008
 6369 Weird Al Yankovic   The Night Santa Went Crazy                                       Volcano Entertainment III, LLC   SR0000225008
 6370 Weird Al Yankovic   The Plumbing Song                                                Volcano Entertainment III, LLC   SR0000251666
 6371 Weird Al Yankovic   The White Stuff                                                  Volcano Entertainment III, LLC   SR0000251666
 6372 Weird Al Yankovic   Traffic Jam                                                      Volcano Entertainment III, LLC   SR0000184456
 6373 Weird Al Yankovic   Trash Day (Parody of "Hot In Herre" by Nelly)                    Volcano Entertainment III, LLC   SR0000331347
 6374 Weird Al Yankovic   Trigger Happy                                                    Volcano Entertainment III, LLC   SR0000251666
 6375 Weird Al Yankovic   Waffle King                                                      Volcano Entertainment III, LLC   SR0000184456
 6376 Weird Al Yankovic   Wanna B Ur Lovr                                                  Volcano Entertainment III, LLC   SR0000331347
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 6377 Weird Al Yankovic   Why Does This Always Happen To Me?                 Volcano Entertainment III, LLC   SR0000331347
 6378 Weird Al Yankovic   You Don't Love Me Anymore                          Volcano Entertainment III, LLC   SR0000251666
 6379 Weird Al Yankovic   Young, Dumb & Ugly                                 Volcano Entertainment III, LLC   SR0000184456
 6380 Avenged Sevenfold   Bat Country                                        Warner Bros. Records Inc.        SR0000374368
 6381 Avenged Sevenfold   Beast And The Harlot                               Warner Bros. Records Inc.        SR0000374368
 6382 Avenged Sevenfold   Betrayed                                           Warner Bros. Records Inc.        SR0000374368
 6383 Avenged Sevenfold   Blinded In Chains                                  Warner Bros. Records Inc.        SR0000374368
 6384 Avenged Sevenfold   Burn It Down                                       Warner Bros. Records Inc.        SR0000374368
 6385 Avenged Sevenfold   M.I.A.                                             Warner Bros. Records Inc.        SR0000374368
 6386 Avenged Sevenfold   Seize The Day                                      Warner Bros. Records Inc.        SR0000374368
 6387 Avenged Sevenfold   Sidewinder                                         Warner Bros. Records Inc.        SR0000374368
 6388 Avenged Sevenfold   Strength Of The World                              Warner Bros. Records Inc.        SR0000374368
 6389 Avenged Sevenfold   The Wicked End                                     Warner Bros. Records Inc.        SR0000374368
 6390 Avenged Sevenfold   Trashed And Scattered                              Warner Bros. Records Inc.        SR0000374368
 6391 Black Sabbath       Electric Funeral                                   Warner Bros. Records Inc.        N20213
 6392 Black Sabbath       Hand Of Doom                                       Warner Bros. Records Inc.        N20213
 6393 Black Sabbath       Iron Man                                           Warner Bros. Records Inc.        N20213
 6394 Black Sabbath       Jack The Stripper/Fairies Wear Boots               Warner Bros. Records Inc.        N20213
 6395 Black Sabbath       Paranoid                                           Warner Bros. Records Inc.        N20213
 6396 Black Sabbath       Planet Caravan                                     Warner Bros. Records Inc.        N20213
 6397 Black Sabbath       Rat Salad                                          Warner Bros. Records Inc.        N20213
 6398 Black Sabbath       War Pigs                                           Warner Bros. Records Inc.        SR0000042886
 6399 Blake Shelton       All About Tonight                                  Warner Bros. Records Inc.        SR0000668677
 6400 Blake Shelton       Austin                                             Warner Bros. Records Inc.        SR0000299678
 6401 Blake Shelton       Boys 'Round Here (feat. Pistol Annies & Friends)   Warner Bros. Records Inc.        SR0000721082
 6402 Blake Shelton       Country On The Radio                               Warner Bros. Records Inc.        SR0000721082
 6403 Blake Shelton       Do You Remember                                    Warner Bros. Records Inc.        SR0000721082
 6404 Blake Shelton       Doin' What She Likes                               Warner Bros. Records Inc.        SR0000721082
 6405 Blake Shelton       Don't Make Me                                      Warner Bros. Records Inc.        SR0000406834
 6406 Blake Shelton       Drink On It                                        Warner Bros. Records Inc.        SR0000693085
 6407 Blake Shelton       Get Some                                           Warner Bros. Records Inc.        SR0000693085
 6408 Blake Shelton       God Gave Me You                                    Warner Bros. Records Inc.        SR0000693085
 6409 Blake Shelton       Good Ole Boys                                      Warner Bros. Records Inc.        SR0000693085
 6410 Blake Shelton       Goodbye Time                                       Warner Bros. Records Inc.        SR0000359309
 6411 Blake Shelton       Granddaddy's Gun                                   Warner Bros. Records Inc.        SR0000721082
 6412 Blake Shelton       Hey                                                Warner Bros. Records Inc.        SR0000693085
 6413 Blake Shelton       Hillbilly Bone (feat. Trace Adkins)                Warner Bros. Records Inc.        SR0000685229
 6414 Blake Shelton       Honey Bee                                          Warner Bros. Records Inc.        SR0000693085
 6415 Blake Shelton       I Still Got A Finger                               Warner Bros. Records Inc.        SR0000721082
 6416 Blake Shelton       I'm Sorry                                          Warner Bros. Records Inc.        SR0000693085
 6417 Blake Shelton       Kiss My Country Ass                                Warner Bros. Records Inc.        SR0000685229
 6418 Blake Shelton       Lay Low                                            Warner Bros. Records Inc.        SR0000721082
 6419 Blake Shelton       Mine Would Be You                                  Warner Bros. Records Inc.        SR0000721082
 6420 Blake Shelton       My Eyes (feat. Gwen Sebastian)                     Warner Bros. Records Inc.        SR0000721082
 6421 Blake Shelton       Nobody But Me                                      Warner Bros. Records Inc.        SR0000359309
 6422 Blake Shelton       Ol' Red                                            Warner Bros. Records Inc.        SR0000300565
 6423 Blake Shelton       Over                                               Warner Bros. Records Inc.        SR0000693085
 6424 Blake Shelton       Playboys Of The Southwestern World                 Warner Bros. Records Inc.        SR0000331177
 6425 Blake Shelton       Ready To Roll                                      Warner Bros. Records Inc.        SR0000693085
 6426 Blake Shelton       Red River Blue                                     Warner Bros. Records Inc.        SR0000693085
 6427 Blake Shelton       She Wouldn't Be Gone                               Warner Bros. Records Inc.        SR0000659650
 6428 Blake Shelton       Small Town Big Time                                Warner Bros. Records Inc.        SR0000721082
 6429 Blake Shelton       Some Beach                                         Warner Bros. Records Inc.        SR0000359307
 6430 Blake Shelton       Sunny In Seattle                                   Warner Bros. Records Inc.        SR0000693085
 6431 Blake Shelton       Sure Be Cool If You Did                            Warner Bros. Records Inc.        SR0000721082
 6432 Blake Shelton       Ten Times Crazier                                  Warner Bros. Records Inc.        SR0000721082
 6433 Blake Shelton       The More I Drink                                   Warner Bros. Records Inc.        SR0000406834
 6434 Blake Shelton       Who Are You When I'm Not Looking                   Warner Bros. Records Inc.        SR0000668677
 6435 Daniel Powter       Bad Day                                            Warner Bros. Records Inc.        SR0000384148
 6436 David Draiman       Forsaken                                           Warner Bros. Records Inc.        SR0000308602
 6437 Deftones            Back To School (Mini Maggit)                       Warner Bros. Records Inc.        SR0000288286
 6438 Deftones            Battle-axe                                         Warner Bros. Records Inc.        SR0000335169
 6439 Deftones            Be Quiet And Drive (Far Away)                      Warner Bros. Records Inc.        SR0000244493
 6440 Deftones            Birthmark                                          Warner Bros. Records Inc.        SR0000171111
 6441 Deftones            Black Moon                                         Warner Bros. Records Inc.        SR0000390931
 6442 Deftones            Bored                                              Warner Bros. Records Inc.        SR0000171111
 6443 Deftones            Change (In The House Of Flies)                     Warner Bros. Records Inc.        SR0000284862
 6444 Deftones            Change (In The House Of Flies) (Acoustic)          Warner Bros. Records Inc.        SR0000390931
 6445 Deftones            Crenshaw Punch / I'll Throw Rocks At You           Warner Bros. Records Inc.        SR0000390931
 6446 Deftones            Dai The Flu                                        Warner Bros. Records Inc.        SR0000244493
 6447 Deftones            Deathblow                                          Warner Bros. Records Inc.        SR0000335169
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 6448 Deftones          Digital Bath                                  Warner Bros. Records Inc.   SR0000284862
 6449 Deftones          Digital Bath (Acoustic)                       Warner Bros. Records Inc.   SR0000390931
 6450 Deftones          Entombed                                      Warner Bros. Records Inc.   SR0000719493
 6451 Deftones          Fireal                                        Warner Bros. Records Inc.   SR0000171111
 6452 Deftones          Gauze                                         Warner Bros. Records Inc.   SR0000719493
 6453 Deftones          Goon Squad                                    Warner Bros. Records Inc.   SR0000719493
 6454 Deftones          Graphic Nature                                Warner Bros. Records Inc.   SR0000719493
 6455 Deftones          Headup                                        Warner Bros. Records Inc.   SR0000244493
 6456 Deftones          Hexagram                                      Warner Bros. Records Inc.   SR0000335169
 6457 Deftones          If Only Tonight We Could Sleep                Warner Bros. Records Inc.   SR0000390931
 6458 Deftones          Knife Prty                                    Warner Bros. Records Inc.   SR0000284862
 6459 Deftones          Leathers                                      Warner Bros. Records Inc.   SR0000719493
 6460 Deftones          Lhabia                                        Warner Bros. Records Inc.   SR0000244493
 6461 Deftones          Lifter                                        Warner Bros. Records Inc.   SR0000171111
 6462 Deftones          Lucky You                                     Warner Bros. Records Inc.   SR0000335169
 6463 Deftones          Minerva                                       Warner Bros. Records Inc.   SR0000335169
 6464 Deftones          Minus Blindfold                               Warner Bros. Records Inc.   SR0000171111
 6465 Deftones          Moana                                         Warner Bros. Records Inc.   SR0000335169
 6466 Deftones          MX                                            Warner Bros. Records Inc.   SR0000244493
 6467 Deftones          No Ordinary Love                              Warner Bros. Records Inc.   SR0000390931
 6468 Deftones          Nosebleed                                     Warner Bros. Records Inc.   SR0000171111
 6469 Deftones          One Weak                                      Warner Bros. Records Inc.   SR0000171111
 6470 Deftones          Passenger                                     Warner Bros. Records Inc.   SR0000284862
 6471 Deftones          Pink Maggit                                   Warner Bros. Records Inc.   SR0000284862
 6472 Deftones          Please Please Please Let Me Get What I Want   Warner Bros. Records Inc.   SR0000390931
 6473 Deftones          Poltergeist                                   Warner Bros. Records Inc.   SR0000719493
 6474 Deftones          Romantic Dreams                               Warner Bros. Records Inc.   SR0000719493
 6475 Deftones          Rosemary                                      Warner Bros. Records Inc.   SR0000719493
 6476 Deftones          Rx Queen                                      Warner Bros. Records Inc.   SR0000284862
 6477 Deftones          Savory                                        Warner Bros. Records Inc.   SR0000390931
 6478 Deftones          Simple Man                                    Warner Bros. Records Inc.   SR0000390931
 6479 Deftones          Sinatra                                       Warner Bros. Records Inc.   SR0000390931
 6480 Deftones          Swerve City                                   Warner Bros. Records Inc.   SR0000719493
 6481 Deftones          Tempest                                       Warner Bros. Records Inc.   SR0000719493
 6482 Deftones          The Chauffeur                                 Warner Bros. Records Inc.   SR0000390931
 6483 Deftones          Wax And Wane                                  Warner Bros. Records Inc.   SR0000390931
 6484 Deftones          What Happened To You?                         Warner Bros. Records Inc.   SR0000719493
 6485 Deftones          When Girls Telephone Boys                     Warner Bros. Records Inc.   SR0000335169
 6486 Disturbed         A Welcome Burden                              Warner Bros. Records Inc.   SR0000685183
 6487 Disturbed         Avarice                                       Warner Bros. Records Inc.   SR0000380289
 6488 Disturbed         Awaken                                        Warner Bros. Records Inc.   SR0000316958
 6489 Disturbed         Believe                                       Warner Bros. Records Inc.   SR0000316958
 6490 Disturbed         Bound                                         Warner Bros. Records Inc.   SR0000316958
 6491 Disturbed         Breathe                                       Warner Bros. Records Inc.   SR0000316958
 6492 Disturbed         Conflict                                      Warner Bros. Records Inc.   SR0000288344
 6493 Disturbed         Criminal                                      Warner Bros. Records Inc.   SR0000647297
 6494 Disturbed         Decadence                                     Warner Bros. Records Inc.   SR0000380289
 6495 Disturbed         Deceiver                                      Warner Bros. Records Inc.   SR0000647297
 6496 Disturbed         Dehumanized                                   Warner Bros. Records Inc.   SR0000695381
 6497 Disturbed         Deify                                         Warner Bros. Records Inc.   SR0000380289
 6498 Disturbed         Devour                                        Warner Bros. Records Inc.   SR0000316958
 6499 Disturbed         Divide                                        Warner Bros. Records Inc.   SR0000647297
 6500 Disturbed         Down With The Sickness                        Warner Bros. Records Inc.   SR0000280324
 6501 Disturbed         Droppin' Plates                               Warner Bros. Records Inc.   SR0000280324
 6502 Disturbed         Enough                                        Warner Bros. Records Inc.   SR0000647297
 6503 Disturbed         Facade                                        Warner Bros. Records Inc.   SR0000647297
 6504 Disturbed         Fear                                          Warner Bros. Records Inc.   SR0000280324
 6505 Disturbed         Forgiven                                      Warner Bros. Records Inc.   SR0000380289
 6506 Disturbed         God Of The Mind                               Warner Bros. Records Inc.   SR0000695381
 6507 Disturbed         Guarded                                       Warner Bros. Records Inc.   SR0000374276
 6508 Disturbed         Haunted                                       Warner Bros. Records Inc.   SR0000647297
 6509 Disturbed         Hell                                          Warner Bros. Records Inc.   SR0000695381
 6510 Disturbed         I'm Alive                                     Warner Bros. Records Inc.   SR0000380289
 6511 Disturbed         Indestructible                                Warner Bros. Records Inc.   SR0000647297
 6512 Disturbed         Inside The Fire                               Warner Bros. Records Inc.   SR0000647297
 6513 Disturbed         Intoxication                                  Warner Bros. Records Inc.   SR0000316958
 6514 Disturbed         Just Stop                                     Warner Bros. Records Inc.   SR0000380289
 6515 Disturbed         Land Of Confusion                             Warner Bros. Records Inc.   SR0000380289
 6516 Disturbed         Liberate                                      Warner Bros. Records Inc.   SR0000316958
 6517 Disturbed         Meaning Of Life                               Warner Bros. Records Inc.   SR0000280324
 6518 Disturbed         Mistress                                      Warner Bros. Records Inc.   SR0000316958
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 6519 Disturbed         Monster                                                   Warner Bros. Records Inc.   SR0000695381
 6520 Disturbed         Numb                                                      Warner Bros. Records Inc.   SR0000685183
 6521 Disturbed         Overburdened                                              Warner Bros. Records Inc.   SR0000380289
 6522 Disturbed         Pain Redefined                                            Warner Bros. Records Inc.   SR0000380289
 6523 Disturbed         Parasite                                                  Warner Bros. Records Inc.   SR0000695381
 6524 Disturbed         Perfect Insanity                                          Warner Bros. Records Inc.   SR0000647297
 6525 Disturbed         Prayer                                                    Warner Bros. Records Inc.   SR0000316958
 6526 Disturbed         Remember                                                  Warner Bros. Records Inc.   SR0000316958
 6527 Disturbed         Rise                                                      Warner Bros. Records Inc.   SR0000316958
 6528 Disturbed         Run                                                       Warner Bros. Records Inc.   SR0000695381
 6529 Disturbed         Sacred Lie                                                Warner Bros. Records Inc.   SR0000380289
 6530 Disturbed         Shout 2000                                                Warner Bros. Records Inc.   SR0000280324
 6531 Disturbed         Sickened                                                  Warner Bros. Records Inc.   SR0000695381
 6532 Disturbed         Sons Of Plunder                                           Warner Bros. Records Inc.   SR0000380289
 6533 Disturbed         Stricken                                                  Warner Bros. Records Inc.   SR0000380288
 6534 Disturbed         Stupify                                                   Warner Bros. Records Inc.   SR0000280324
 6535 Disturbed         Ten Thousand Fists                                        Warner Bros. Records Inc.   SR0000380289
 6536 Disturbed         The Curse                                                 Warner Bros. Records Inc.   SR0000647297
 6537 Disturbed         The Game                                                  Warner Bros. Records Inc.   SR0000280324
 6538 Disturbed         The Night                                                 Warner Bros. Records Inc.   SR0000647297
 6539 Disturbed         This Moment                                               Warner Bros. Records Inc.   SR0000695381
 6540 Disturbed         Torn                                                      Warner Bros. Records Inc.   SR0000647297
 6541 Disturbed         Two Worlds                                                Warner Bros. Records Inc.   SR0000695381
 6542 Disturbed         Violence Fetish                                           Warner Bros. Records Inc.   SR0000280324
 6543 Disturbed         Voices                                                    Warner Bros. Records Inc.   SR0000280324
 6544 Disturbed         Want                                                      Warner Bros. Records Inc.   SR0000280324
 6545 Eric Clapton      (I) Get Lost                                              Warner Bros. Records Inc.   SR0000276566
 6546 Eric Clapton      Riding With The King                                      Warner Bros. Records Inc.   SR0000285808
 6547 Faith Hill        A Man's Home Is His Castle                                Warner Bros. Records Inc.   SR0000169102
 6548 Faith Hill        A Room In My Heart                                        Warner Bros. Records Inc.   SR0000169102
 6549 Faith Hill        Baby You Belong                                           Warner Bros. Records Inc.   SR0000321377
 6550 Faith Hill        Back To You                                               Warner Bros. Records Inc.   SR0000321377
 6551 Faith Hill        Beautiful                                                 Warner Bros. Records Inc.   SR0000321377
 6552 Faith Hill        Bed Of Roses                                              Warner Bros. Records Inc.   SR0000169102
 6553 Faith Hill        Better Days                                               Warner Bros. Records Inc.   SR0000253752
 6554 Faith Hill        Breathe                                                   Warner Bros. Records Inc.   SR0000276629
 6555 Faith Hill        Bringing Out The Elvis                                    Warner Bros. Records Inc.   SR0000276629
 6556 Faith Hill        But I Will                                                Warner Bros. Records Inc.   SR0000182853
 6557 Faith Hill        Cry                                                       Warner Bros. Records Inc.   SR0000321377
 6558 Faith Hill        Dearly Beloved                                            Warner Bros. Records Inc.   SR0000374377
 6559 Faith Hill        Fireflies                                                 Warner Bros. Records Inc.   SR0000374377
 6560 Faith Hill        Go The Distance                                           Warner Bros. Records Inc.   SR0000182853
 6561 Faith Hill        I Can't Do That Anymore                                   Warner Bros. Records Inc.   SR0000169102
 6562 Faith Hill        I Got My Baby                                             Warner Bros. Records Inc.   SR0000276629
 6563 Faith Hill        I Love You                                                Warner Bros. Records Inc.   SR0000253752
 6564 Faith Hill        I Think I Will                                            Warner Bros. Records Inc.   SR0000321377
 6565 Faith Hill        I Want You                                                Warner Bros. Records Inc.   SR0000374377
 6566 Faith Hill        I Would Be Stronger Than That                             Warner Bros. Records Inc.   SR0000182853
 6567 Faith Hill        I've Got This Friend (With Larry Stewart)                 Warner Bros. Records Inc.   SR0000182853
 6568 Faith Hill        If I Should Fall Behind                                   Warner Bros. Records Inc.   SR0000276629
 6569 Faith Hill        If I'm Not In Love                                        Warner Bros. Records Inc.   SR0000276629
 6570 Faith Hill        If My Heart Had Wings                                     Warner Bros. Records Inc.   SR0000276629
 6571 Faith Hill        If This Is The End                                        Warner Bros. Records Inc.   SR0000321377
 6572 Faith Hill        If You Ask                                                Warner Bros. Records Inc.   SR0000374377
 6573 Faith Hill        If You're Gonna Fly Away                                  Warner Bros. Records Inc.   SR0000321377
 6574 Faith Hill        It Matters To Me                                          Warner Bros. Records Inc.   SR0000169102
 6575 Faith Hill        It Will Be Me                                             Warner Bros. Records Inc.   SR0000276629
 6576 Faith Hill        Just About Now                                            Warner Bros. Records Inc.   SR0000182853
 6577 Faith Hill        Just Around The Eyes                                      Warner Bros. Records Inc.   SR0000182853
 6578 Faith Hill        Just To Hear You Say That You Love Me (with Tim McGraw)   Warner Bros. Records Inc.   SR0000253752
 6579 Faith Hill        Keep Walkin' On (with Shelby Lynne)                       Warner Bros. Records Inc.   SR0000169102
 6580 Faith Hill        Let Me Let Go                                             Warner Bros. Records Inc.   SR0000253752
 6581 Faith Hill        Let's Go To Vegas                                         Warner Bros. Records Inc.   SR0000169102
 6582 Faith Hill        Life's Too Short To Love Like That                        Warner Bros. Records Inc.   SR0000182853
 6583 Faith Hill        Like We Never Loved At All                                Warner Bros. Records Inc.   SR0000374377
 6584 Faith Hill        Love Ain't Like That                                      Warner Bros. Records Inc.   SR0000253752
 6585 Faith Hill        Love Is A Sweet Thing                                     Warner Bros. Records Inc.   SR0000276629
 6586 Faith Hill        Me                                                        Warner Bros. Records Inc.   SR0000253752
 6587 Faith Hill        Mississippi Girl                                          Warner Bros. Records Inc.   SR0000374378
 6588 Faith Hill        My Wild Frontier                                          Warner Bros. Records Inc.   SR0000253752
 6589 Faith Hill        One                                                       Warner Bros. Records Inc.   SR0000321377
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 6590 Faith Hill                Piece Of My Heart                               Warner Bros. Records Inc.   SR0000182853
 6591 Faith Hill                Somebody Stand By Me                            Warner Bros. Records Inc.   SR0000253752
 6592 Faith Hill                Someone Else's Dream                            Warner Bros. Records Inc.   SR0000169102
 6593 Faith Hill                Stealing Kisses                                 Warner Bros. Records Inc.   SR0000374377
 6594 Faith Hill                Stronger                                        Warner Bros. Records Inc.   SR0000321377
 6595 Faith Hill                Sunshine & Summertime                           Warner Bros. Records Inc.   SR0000374377
 6596 Faith Hill                Take Me As I Am                                 Warner Bros. Records Inc.   SR0000182853
 6597 Faith Hill                That's How Love Moves                           Warner Bros. Records Inc.   SR0000276629
 6598 Faith Hill                The Hard Way                                    Warner Bros. Records Inc.   SR0000253752
 6599 Faith Hill                The Lucky One                                   Warner Bros. Records Inc.   SR0000374377
 6600 Faith Hill                The Secret Of Life                              Warner Bros. Records Inc.   SR0000253752
 6601 Faith Hill                The Way You Love Me                             Warner Bros. Records Inc.   SR0000276629
 6602 Faith Hill                There Will Come A Day                           Warner Bros. Records Inc.   SR0000276629
 6603 Faith Hill                This Is Me                                      Warner Bros. Records Inc.   SR0000321377
 6604 Faith Hill                This Kiss (Pop Remix a.k.a. Radio Version)      Warner Bros. Records Inc.   SR0000253752
 6605 Faith Hill                Unsaveable                                      Warner Bros. Records Inc.   SR0000321377
 6606 Faith Hill                We've Got Nothing But Love To Prove             Warner Bros. Records Inc.   SR0000374377
 6607 Faith Hill                What's In It For Me                             Warner Bros. Records Inc.   SR0000276629
 6608 Faith Hill                When The Lights Go Down                         Warner Bros. Records Inc.   SR0000321377
 6609 Faith Hill                Wild One                                        Warner Bros. Records Inc.   SR0000182853
 6610 Faith Hill                Wish For You                                    Warner Bros. Records Inc.   SR0000374377
 6611 Faith Hill                You Can't Lose Me                               Warner Bros. Records Inc.   SR0000169102
 6612 Faith Hill                You Give Me Love                                Warner Bros. Records Inc.   SR0000253752
 6613 Faith Hill                You Stay With Me                                Warner Bros. Records Inc.   SR0000374377
 6614 Faith Hill                You Will Be Mine                                Warner Bros. Records Inc.   SR0000169102
 6615 Faith Hill                You're Still Here                               Warner Bros. Records Inc.   SR0000321377
 6616 Faith Hill & Tim McGraw   Let's Make Love                                 Warner Bros. Records Inc.   SR0000276629
 6617 Gloriana                  (Kissed You) Good Night                         Warner Bros. Records Inc.   SR0000719998
 6618 Green Day                 ¡Viva La Gloria!                                Warner Bros. Records Inc.   SR0000762131
 6619 Green Day                 21 Guns                                         Warner Bros. Records Inc.   SR0000762131
 6620 Green Day                 All The Time                                    Warner Bros. Records Inc.   SR0000244558
 6621 Green Day                 American Eulogy: Mass Hysteria / Modern World   Warner Bros. Records Inc.   SR0000762131
 6622 Green Day                 American Idiot                                  Warner Bros. Records Inc.   SR0000362126
 6623 Green Day                 Armatage Shanks                                 Warner Bros. Records Inc.   SR0000188562
 6624 Green Day                 Bab's Uvula Who?                                Warner Bros. Records Inc.   SR0000188562
 6625 Green Day                 Basket Case                                     Warner Bros. Records Inc.   SR0000185457
 6626 Green Day                 Before The Lobotomy                             Warner Bros. Records Inc.   SR0000762131
 6627 Green Day                 Blood, Sex And Booze                            Warner Bros. Records Inc.   SR0000288352
 6628 Green Day                 Boulevard Of Broken Dreams                      Warner Bros. Records Inc.   SR0000362126
 6629 Green Day                 Brat                                            Warner Bros. Records Inc.   SR0000188562
 6630 Green Day                 Burnout                                         Warner Bros. Records Inc.   SR0000185457
 6631 Green Day                 Christian's Inferno                             Warner Bros. Records Inc.   SR0000762131
 6632 Green Day                 Chump                                           Warner Bros. Records Inc.   SR0000185457
 6633 Green Day                 Church On Sunday                                Warner Bros. Records Inc.   SR0000288352
 6634 Green Day                 Coming Clean                                    Warner Bros. Records Inc.   SR0000185457
 6635 Green Day                 Desensitized                                    Warner Bros. Records Inc.   SR0000315909
 6636 Green Day                 East Jesus Nowhere                              Warner Bros. Records Inc.   SR0000762131
 6637 Green Day                 Emenius Sleepus                                 Warner Bros. Records Inc.   SR0000185457
 6638 Green Day                 Fashion Victim                                  Warner Bros. Records Inc.   SR0000288352
 6639 Green Day                 Geek Stink Breath                               Warner Bros. Records Inc.   SR0000188562
 6640 Green Day                 Good Riddance (Time Of Your Life)               Warner Bros. Records Inc.   SR0000244558
 6641 Green Day                 Hitchin' A Ride                                 Warner Bros. Records Inc.   SR0000244558
 6642 Green Day                 Holiday                                         Warner Bros. Records Inc.   SR0000362126
 6643 Green Day                 Horseshoes and Handgrenades                     Warner Bros. Records Inc.   SR0000762131
 6644 Green Day                 In The End                                      Warner Bros. Records Inc.   SR0000185457
 6645 Green Day                 J.A.R. (Jason Andrew Relva)                     Warner Bros. Records Inc.   SR0000169250
 6646 Green Day                 Jaded                                           Warner Bros. Records Inc.   SR0000188562
 6647 Green Day                 Jesus Of Suburbia                               Warner Bros. Records Inc.   SR0000362126
 6648 Green Day                 King For A Day                                  Warner Bros. Records Inc.   SR0000244558
 6649 Green Day                 Know Your Enemy                                 Warner Bros. Records Inc.   SR0000762131
 6650 Green Day                 Last Night On Earth                             Warner Bros. Records Inc.   SR0000762131
 6651 Green Day                 Last Of The American Girls                      Warner Bros. Records Inc.   SR0000762131
 6652 Green Day                 Longview                                        Warner Bros. Records Inc.   SR0000185457
 6653 Green Day                 Maria                                           Warner Bros. Records Inc.   SR0000306999
 6654 Green Day                 Minority                                        Warner Bros. Records Inc.   SR0000288352
 6655 Green Day                 Murder City                                     Warner Bros. Records Inc.   SR0000762131
 6656 Green Day                 Nice Guys Finish Last                           Warner Bros. Records Inc.   SR0000244558
 6657 Green Day                 Peacemaker                                      Warner Bros. Records Inc.   SR0000762131
 6658 Green Day                 Poprocks & Coke                                 Warner Bros. Records Inc.   SR0000306999
 6659 Green Day                 Redundant                                       Warner Bros. Records Inc.   SR0000244558
 6660 Green Day                 Restless Heart Syndrome                         Warner Bros. Records Inc.   SR0000762131
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 6661 Green Day         Scumbag                                Warner Bros. Records Inc.   SR0000315909
 6662 Green Day         See The Light                          Warner Bros. Records Inc.   SR0000762131
 6663 Green Day         She                                    Warner Bros. Records Inc.   SR0000185457
 6664 Green Day         She's A Rebel                          Warner Bros. Records Inc.   SR0000362126
 6665 Green Day         Song Of The Century                    Warner Bros. Records Inc.   SR0000762131
 6666 Green Day         St. Jimmy                              Warner Bros. Records Inc.   SR0000362126
 6667 Green Day         Stuck With Me                          Warner Bros. Records Inc.   SR0000188562
 6668 Green Day         Suffocate                              Warner Bros. Records Inc.   SR0000315909
 6669 Green Day         The Grouch                             Warner Bros. Records Inc.   SR0000244558
 6670 Green Day         The Static Age                         Warner Bros. Records Inc.   SR0000762131
 6671 Green Day         Waiting                                Warner Bros. Records Inc.   SR0000288352
 6672 Green Day         Wake Me Up When September Ends         Warner Bros. Records Inc.   SR0000362126
 6673 Green Day         Walking Alone                          Warner Bros. Records Inc.   SR0000244558
 6674 Green Day         Walking Contradiction                  Warner Bros. Records Inc.   SR0000188562
 6675 Green Day         Warning                                Warner Bros. Records Inc.   SR0000288352
 6676 Green Day         Welcome To Paradise                    Warner Bros. Records Inc.   SR0000185457
 6677 Green Day         Working Class Hero                     Warner Bros. Records Inc.   SR0000630900
 6678 James Taylor      Carolina In My Mind                    Warner Bros. Records Inc.   N38974
 6679 James Taylor      Don't Let Me Be Lonely Tonight         Warner Bros. Records Inc.   N3810
 6680 James Taylor      Golden Moments                         Warner Bros. Records Inc.   N35786
 6681 James Taylor      How Sweet It Is (To Be Loved By You)   Warner Bros. Records Inc.   N24380
 6682 James Taylor      Mexico                                 Warner Bros. Records Inc.   N24380
 6683 James Taylor      Shower The People                      Warner Bros. Records Inc.   N35786
 6684 James Taylor      Something In The Way She Moves         Warner Bros. Records Inc.   N38974
 6685 James Taylor      Steamroller (Live)                     Warner Bros. Records Inc.   N38974
 6686 James Taylor      Walking Man                            Warner Bros. Records Inc.   N18843
 6687 Jason Derulo      Blind                                  Warner Bros. Records Inc.   SR0000685175
 6688 Jason Derulo      Encore                                 Warner Bros. Records Inc.   SR0000685175
 6689 Jason Derulo      Fallen                                 Warner Bros. Records Inc.   SR0000685175
 6690 Jason Derulo      In My Head                             Warner Bros. Records Inc.   SR0000685175
 6691 Jason Derulo      Love Hangover                          Warner Bros. Records Inc.   SR0000685175
 6692 Jason Derulo      Marry Me                               Warner Bros. Records Inc.   SR0000763207
 6693 Jason Derulo      Ridin' Solo                            Warner Bros. Records Inc.   SR0000685175
 6694 Jason Derulo      Strobelight (Bonus Track)              Warner Bros. Records Inc.   SR0000685175
 6695 Jason Derulo      Stupid Love                            Warner Bros. Records Inc.   SR0000763207
 6696 Jason Derulo      Talk Dirty (feat. 2 Chainz)            Warner Bros. Records Inc.   SR0000763207
 6697 Jason Derulo      The Sky's The Limit                    Warner Bros. Records Inc.   SR0000685175
 6698 Jason Derulo      Vertigo (feat. Jordin Sparks)          Warner Bros. Records Inc.   SR0000763207
 6699 Jason Derulo      What If                                Warner Bros. Records Inc.   SR0000685175
 6700 Jason Derulo      Whatcha Say                            Warner Bros. Records Inc.   SR0000685175
 6701 Jason Derulo      With The Lights On                     Warner Bros. Records Inc.   SR0000763207
 6702 John Williams     Theme from Superman (Main Title)       Warner Bros. Records Inc.   SR0000006230
 6703 Linkin Park       1stp Klosr                             Warner Bros. Records Inc.   SR0000316952
 6704 Linkin Park       A Place For My Head                    Warner Bros. Records Inc.   SR0000288402
 6705 Linkin Park       BURN IT DOWN                           Warner Bros. Records Inc.   SR0000708311
 6706 Linkin Park       By Myself                              Warner Bros. Records Inc.   SR0000288402
 6707 Linkin Park       By_Myslf                               Warner Bros. Records Inc.   SR0000316952
 6708 Linkin Park       Castle of Glass                        Warner Bros. Records Inc.   SR0000708311
 6709 Linkin Park       Crawling (Live In Texas)               Warner Bros. Records Inc.   SR0000350998
 6710 Linkin Park       Cure For The Itch                      Warner Bros. Records Inc.   SR0000288402
 6711 Linkin Park       Don't Stay                             Warner Bros. Records Inc.   SR0000346247
 6712 Linkin Park       Easier To Run                          Warner Bros. Records Inc.   SR0000346247
 6713 Linkin Park       Enth E Nd                              Warner Bros. Records Inc.   SR0000316952
 6714 Linkin Park       Faint                                  Warner Bros. Records Inc.   SR0000346247
 6715 Linkin Park       Figure.09                              Warner Bros. Records Inc.   SR0000346247
 6716 Linkin Park       Forgotten                              Warner Bros. Records Inc.   SR0000288402
 6717 Linkin Park       Frgt/10                                Warner Bros. Records Inc.   SR0000316952
 6718 Linkin Park       H! Vltg3                               Warner Bros. Records Inc.   SR0000316952
 6719 Linkin Park       Hit The Floor                          Warner Bros. Records Inc.   SR0000346247
 6720 Linkin Park       I'LL BE GONE                           Warner Bros. Records Inc.   SR0000708311
 6721 Linkin Park       In Between                             Warner Bros. Records Inc.   SR0000406841
 6722 Linkin Park       IN MY REMAINS                          Warner Bros. Records Inc.   SR0000708311
 6723 Linkin Park       In Pieces                              Warner Bros. Records Inc.   SR0000406841
 6724 Linkin Park       In The End (Live In Texas)             Warner Bros. Records Inc.   SR0000350998
 6725 Linkin Park       Krwlng                                 Warner Bros. Records Inc.   SR0000316952
 6726 Linkin Park       Kyur4 Th Ich                           Warner Bros. Records Inc.   SR0000316952
 6727 Linkin Park       Leave Out All The Rest                 Warner Bros. Records Inc.   SR0000406841
 6728 Linkin Park       Lies Greed Misery                      Warner Bros. Records Inc.   SR0000708311
 6729 Linkin Park       Lost In The Echo                       Warner Bros. Records Inc.   SR0000708311
 6730 Linkin Park       My<Dsmbr                               Warner Bros. Records Inc.   SR0000316952
 6731 Linkin Park       Nobody's Listening                     Warner Bros. Records Inc.   SR0000346247
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 6732 Linkin Park                      One Step Closer (Live In Texas)                   Warner Bros. Records Inc.   SR0000350998
 6733 Linkin Park                      P5hng Me A*wy (Live in Texas)                     Warner Bros. Records Inc.   SR0000350998
 6734 Linkin Park                      Papercut                                          Warner Bros. Records Inc.   SR0000288402
 6735 Linkin Park                      Plc.4 Mie Haed                                    Warner Bros. Records Inc.   SR0000316952
 6736 Linkin Park                      Points Of Authority                               Warner Bros. Records Inc.   SR0000288402
 6737 Linkin Park                      POWERLESS                                         Warner Bros. Records Inc.   SR0000708311
 6738 Linkin Park                      PPr:Kut                                           Warner Bros. Records Inc.   SR0000316952
 6739 Linkin Park                      Pts.OF.Athrty                                     Warner Bros. Records Inc.   SR0000316952
 6740 Linkin Park                      Rnw@y                                             Warner Bros. Records Inc.   SR0000316952
 6741 Linkin Park                      ROADS UNTRAVELED                                  Warner Bros. Records Inc.   SR0000708311
 6742 Linkin Park                      Runaway                                           Warner Bros. Records Inc.   SR0000288402
 6743 Linkin Park                      Session                                           Warner Bros. Records Inc.   SR0000346247
 6744 Linkin Park                      SKIN TO BONE                                      Warner Bros. Records Inc.   SR0000708311
 6745 Linkin Park                      Somewhere I Belong                                Warner Bros. Records Inc.   SR0000346247
 6746 Linkin Park                      TINFOIL                                           Warner Bros. Records Inc.   SR0000708311
 6747 Linkin Park                      UNTIL IT BREAKS                                   Warner Bros. Records Inc.   SR0000708311
 6748 Linkin Park                      Valentine's Day                                   Warner Bros. Records Inc.   SR0000406841
 6749 Linkin Park                      VICTIMIZED                                        Warner Bros. Records Inc.   SR0000708311
 6750 Linkin Park                      Wake                                              Warner Bros. Records Inc.   SR0000406841
 6751 Linkin Park                      With You                                          Warner Bros. Records Inc.   SR0000288402
 6752 Linkin Park                      Wth>You                                           Warner Bros. Records Inc.   SR0000316952
 6753 Linkin Park                      X-Ecutioner Style                                 Warner Bros. Records Inc.   SR0000316952
 6754 Linkin Park & Jay-Z              Dirt Off Your Shoulder / Lying From You           Warner Bros. Records Inc.   SR0000362315
 6755 Linkin Park & Jay-Z              Numb / Encore                                     Warner Bros. Records Inc.   SR0000362316
 6756 Madonna                          Revolver                                          Warner Bros. Records Inc.   SR0000662296
 6757 Maze featuring Frankie Beverly   Africa                                            Warner Bros. Records Inc.   SR0000107982
 6758 Maze featuring Frankie Beverly   All Night Long                                    Warner Bros. Records Inc.   SR0000171913
 6759 Maze featuring Frankie Beverly   Can't Get Over You                                Warner Bros. Records Inc.   SR0000107982
 6760 Maze featuring Frankie Beverly   Change Our Ways                                   Warner Bros. Records Inc.   SR0000107982
 6761 Maze featuring Frankie Beverly   Don't Wanna Lose Your Love                        Warner Bros. Records Inc.   SR0000171913
 6762 Maze featuring Frankie Beverly   In Time                                           Warner Bros. Records Inc.   SR0000171913
 6763 Maze featuring Frankie Beverly   Just Us                                           Warner Bros. Records Inc.   SR0000107982
 6764 Maze featuring Frankie Beverly   Laid Back Girl                                    Warner Bros. Records Inc.   SR0000171913
 6765 Maze featuring Frankie Beverly   Love Is                                           Warner Bros. Records Inc.   SR0000171913
 6766 Maze featuring Frankie Beverly   Love's On The Run                                 Warner Bros. Records Inc.   SR0000107982
 6767 Maze featuring Frankie Beverly   Mandela                                           Warner Bros. Records Inc.   SR0000107982
 6768 Maze featuring Frankie Beverly   Midnight                                          Warner Bros. Records Inc.   SR0000107982
 6769 Maze featuring Frankie Beverly   Nobody Knows What You Feel Inside                 Warner Bros. Records Inc.   SR0000171913
 6770 Maze featuring Frankie Beverly   Silky Soul                                        Warner Bros. Records Inc.   SR0000107982
 6771 Maze featuring Frankie Beverly   Somebody Else's Arms                              Warner Bros. Records Inc.   SR0000107982
 6772 Maze featuring Frankie Beverly   Songs Of Love                                     Warner Bros. Records Inc.   SR0000107982
 6773 Maze featuring Frankie Beverly   The Morning After                                 Warner Bros. Records Inc.   SR0000171913
 6774 Maze featuring Frankie Beverly   Twilight                                          Warner Bros. Records Inc.   SR0000171913
 6775 Maze featuring Frankie Beverly   What Goes Up                                      Warner Bros. Records Inc.   SR0000171913
 6776 Michael Bublé                    Everything                                        Warner Bros. Records Inc.   SR0000406982
 6777 Michael Bublé                    Quando, Quando, Quando (with Nelly Furtado)       Warner Bros. Records Inc.   SR0000370205
 6778 Muse                             Cave                                              Warner Bros. Records Inc.   SR0000273528
 6779 Muse                             Muscle Museum                                     Warner Bros. Records Inc.   SR0000273528
 6780 Muse                             Sunburn                                           Warner Bros. Records Inc.   SR0000273528
 6781 Muse                             Unintended                                        Warner Bros. Records Inc.   SR0000273528
 6782 Muse                             Uno                                               Warner Bros. Records Inc.   SR0000273528
 6783 My Chemical Romance              Blood                                             Warner Bros. Records Inc.   SR0000651990
 6784 My Chemical Romance              Bulletproof Heart                                 Warner Bros. Records Inc.   SR0000681139
 6785 My Chemical Romance              Bury Me In Black (Demo)                           Warner Bros. Records Inc.   SR0000360198
 6786 My Chemical Romance              Cancer                                            Warner Bros. Records Inc.   SR0000399985
 6787 My Chemical Romance              Cancer (Live In Mexico)                           Warner Bros. Records Inc.   SR0000651990
 6788 My Chemical Romance              Cemetery Drive                                    Warner Bros. Records Inc.   SR0000360197
 6789 My Chemical Romance              Cemetery Drive (Live Version) (MTV2 2$Bill)       Warner Bros. Records Inc.   SR0000400291
 6790 My Chemical Romance              Dead!                                             Warner Bros. Records Inc.   SR0000399985
 6791 My Chemical Romance              Dead! (Live In Mexico)                            Warner Bros. Records Inc.   SR0000651990
 6792 My Chemical Romance              Desert Song                                       Warner Bros. Records Inc.   SR0000400291
 6793 My Chemical Romance              Disenchanted                                      Warner Bros. Records Inc.   SR0000399985
 6794 My Chemical Romance              Disenchanted (Live In Mexico)                     Warner Bros. Records Inc.   SR0000651990
 6795 My Chemical Romance              Famous Last Words                                 Warner Bros. Records Inc.   SR0000399985
 6796 My Chemical Romance              Famous Last Words (Live In Mexico)                Warner Bros. Records Inc.   SR0000651990
 6797 My Chemical Romance              Give 'Em Hell, Kid                                Warner Bros. Records Inc.   SR0000360197
 6798 My Chemical Romance              Give 'Em Hell, Kid (Live Version) (MTV2 2$Bill)   Warner Bros. Records Inc.   SR0000400291
 6799 My Chemical Romance              Hang 'Em High                                     Warner Bros. Records Inc.   SR0000360197
 6800 My Chemical Romance              Headfirst For Halos (Live Version) (Starland)     Warner Bros. Records Inc.   SR0000400291
 6801 My Chemical Romance              Helena                                            Warner Bros. Records Inc.   SR0000360197
 6802 My Chemical Romance              House Of Wolves                                   Warner Bros. Records Inc.   SR0000399985
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 6803 My Chemical Romance         House Of Wolves (Live In Mexico)                       Warner Bros. Records Inc.   SR0000651990
 6804 My Chemical Romance         I Don't Love You                                       Warner Bros. Records Inc.   SR0000399985
 6805 My Chemical Romance         I Don't Love You (Live In Mexico)                      Warner Bros. Records Inc.   SR0000651990
 6806 My Chemical Romance         I Never Told You What I Do For A Living                Warner Bros. Records Inc.   SR0000360197
 6807 My Chemical Romance         I Never Told You What I Do For A Living (Demo)         Warner Bros. Records Inc.   SR0000400291
 6808 My Chemical Romance         I'm Not Okay                                           Warner Bros. Records Inc.   SR0000360197
 6809 My Chemical Romance         Interlude                                              Warner Bros. Records Inc.   SR0000360197
 6810 My Chemical Romance         Interlude (Live In Mexico)                             Warner Bros. Records Inc.   SR0000651990
 6811 My Chemical Romance         It's Not A Fashion Statement, It's A Deathwish         Warner Bros. Records Inc.   SR0000360197
 6812 My Chemical Romance         Mama                                                   Warner Bros. Records Inc.   SR0000399985
 6813 My Chemical Romance         Mama (Live In Mexico)                                  Warner Bros. Records Inc.   SR0000651990
 6814 My Chemical Romance         Na Na Na (Na Na Na Na Na Na Na Na Na)                  Warner Bros. Records Inc.   SR0000681139
 6815 My Chemical Romance         Planetary (GO!)                                        Warner Bros. Records Inc.   SR0000681139
 6816 My Chemical Romance         Save Yourself, I'll Hold Them Back                     Warner Bros. Records Inc.   SR0000681139
 6817 My Chemical Romance         Sleep                                                  Warner Bros. Records Inc.   SR0000399985
 6818 My Chemical Romance         Sleep (Live In Mexico)                                 Warner Bros. Records Inc.   SR0000651990
 6819 My Chemical Romance         Teenagers                                              Warner Bros. Records Inc.   SR0000399985
 6820 My Chemical Romance         Teenagers (Live In Mexico)                             Warner Bros. Records Inc.   SR0000651990
 6821 My Chemical Romance         Thank You For The Venom                                Warner Bros. Records Inc.   SR0000360197
 6822 My Chemical Romance         Thank You For The Venom (Live Version) (MTV2 2$Bill)   Warner Bros. Records Inc.   SR0000400291
 6823 My Chemical Romance         The Black Parade Is Dead (Live In Mexico)              Warner Bros. Records Inc.   SR0000651990
 6824 My Chemical Romance         The End.                                               Warner Bros. Records Inc.   SR0000399985
 6825 My Chemical Romance         The End. (Live In Mexico)                              Warner Bros. Records Inc.   SR0000651990
 6826 My Chemical Romance         The Ghost Of You                                       Warner Bros. Records Inc.   SR0000360197
 6827 My Chemical Romance         The Jetset Life Is Gonna Kill You                      Warner Bros. Records Inc.   SR0000360197
 6828 My Chemical Romance         The Kids From Yesterday                                Warner Bros. Records Inc.   SR0000681139
 6829 My Chemical Romance         The Only Hope For Me Is You                            Warner Bros. Records Inc.   SR0000681139
 6830 My Chemical Romance         The Sharpest Lives                                     Warner Bros. Records Inc.   SR0000399985
 6831 My Chemical Romance         The Sharpest Lives (Live In Mexico)                    Warner Bros. Records Inc.   SR0000651990
 6832 My Chemical Romance         This Is How I Disappear                                Warner Bros. Records Inc.   SR0000399985
 6833 My Chemical Romance         This Is How I Disappear (Live In Mexico)               Warner Bros. Records Inc.   SR0000651990
 6834 My Chemical Romance         To The End                                             Warner Bros. Records Inc.   SR0000360197
 6835 My Chemical Romance         Vampire Money                                          Warner Bros. Records Inc.   SR0000681139
 6836 My Chemical Romance         Welcome To The Black Parade                            Warner Bros. Records Inc.   SR0000399985
 6837 My Chemical Romance         Welcome To The Black Parade (Live In Mexico)           Warner Bros. Records Inc.   SR0000651990
 6838 My Chemical Romance         You Know What They Do To Guys Like Us In Prison        Warner Bros. Records Inc.   SR0000360197
 6839 Prince                      I Wanna Be Your Lover                                  Warner Bros. Records Inc.   SR0000012043
 6840 Prince                      Little Red Corvette                                    Warner Bros. Records Inc.   SR0000041035
 6841 Prince                      Thieves In The Temple (Remix Version)                  Warner Bros. Records Inc.   SR0000139907
 6842 Prince                      U Got The Look                                         Warner Bros. Records Inc.   SR0000082403
 6843 Prince And The Revolution   I Would Die 4 U                                        Warner Bros. Records Inc.   SR0000054679
 6844 Prince And The Revolution   Kiss                                                   Warner Bros. Records Inc.   SR0000069888
 6845 Prince And The Revolution   Purple Rain                                            Warner Bros. Records Inc.   SR0000054679
 6846 Prince And The Revolution   When Doves Cry                                         Warner Bros. Records Inc.   SR0000054684
 6847 Randy Travis                Forever And Ever, Amen                                 Warner Bros. Records Inc.   SR0000080879
 6848 Red Hot Chili Peppers       21st Century                                           Warner Bros. Records Inc.   SR0000390775
 6849 Red Hot Chili Peppers       Animal Bar                                             Warner Bros. Records Inc.   SR0000390775
 6850 Red Hot Chili Peppers       Around The World                                       Warner Bros. Records Inc.   SR0000174922
 6851 Red Hot Chili Peppers       C'mon Girl                                             Warner Bros. Records Inc.   SR0000390775
 6852 Red Hot Chili Peppers       Californication                                        Warner Bros. Records Inc.   SR0000174922
 6853 Red Hot Chili Peppers       Can't Stop                                             Warner Bros. Records Inc.   SR0000316878
 6854 Red Hot Chili Peppers       Charlie                                                Warner Bros. Records Inc.   SR0000390775
 6855 Red Hot Chili Peppers       Dani California                                        Warner Bros. Records Inc.   SR0000390774
 6856 Red Hot Chili Peppers       Death Of A Martian                                     Warner Bros. Records Inc.   SR0000390775
 6857 Red Hot Chili Peppers       Desecration Smile                                      Warner Bros. Records Inc.   SR0000390775
 6858 Red Hot Chili Peppers       Especially In Michigan                                 Warner Bros. Records Inc.   SR0000390775
 6859 Red Hot Chili Peppers       Hard To Concentrate                                    Warner Bros. Records Inc.   SR0000390775
 6860 Red Hot Chili Peppers       Hey                                                    Warner Bros. Records Inc.   SR0000390775
 6861 Red Hot Chili Peppers       Hump De Bump                                           Warner Bros. Records Inc.   SR0000390775
 6862 Red Hot Chili Peppers       If                                                     Warner Bros. Records Inc.   SR0000390775
 6863 Red Hot Chili Peppers       Make You Feel Better                                   Warner Bros. Records Inc.   SR0000390775
 6864 Red Hot Chili Peppers       Readymade                                              Warner Bros. Records Inc.   SR0000390775
 6865 Red Hot Chili Peppers       Scar Tissue                                            Warner Bros. Records Inc.   SR0000174922
 6866 Red Hot Chili Peppers       She Looks To Me                                        Warner Bros. Records Inc.   SR0000390775
 6867 Red Hot Chili Peppers       She's Only 18                                          Warner Bros. Records Inc.   SR0000390775
 6868 Red Hot Chili Peppers       Slow Cheetah                                           Warner Bros. Records Inc.   SR0000390775
 6869 Red Hot Chili Peppers       Snow (Hey Oh)                                          Warner Bros. Records Inc.   SR0000390775
 6870 Red Hot Chili Peppers       So Much I                                              Warner Bros. Records Inc.   SR0000390775
 6871 Red Hot Chili Peppers       Stadium Arcadium                                       Warner Bros. Records Inc.   SR0000390775
 6872 Red Hot Chili Peppers       Storm In A Teacup                                      Warner Bros. Records Inc.   SR0000390775
 6873 Red Hot Chili Peppers       Strip My Mind                                          Warner Bros. Records Inc.   SR0000390775
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 6874 Red Hot Chili Peppers   Suck My Kiss                            Warner Bros. Records Inc.   SR0000135276
 6875 Red Hot Chili Peppers   Tell Me Baby                            Warner Bros. Records Inc.   SR0000390775
 6876 Red Hot Chili Peppers   Torture Me                              Warner Bros. Records Inc.   SR0000390775
 6877 Red Hot Chili Peppers   Turn It Again                           Warner Bros. Records Inc.   SR0000390775
 6878 Red Hot Chili Peppers   Under The Bridge                        Warner Bros. Records Inc.   SR0000135276
 6879 Red Hot Chili Peppers   Warlocks                                Warner Bros. Records Inc.   SR0000390775
 6880 Red Hot Chili Peppers   We Believe                              Warner Bros. Records Inc.   SR0000390775
 6881 Red Hot Chili Peppers   Wet Sand                                Warner Bros. Records Inc.   SR0000390775
 6882 Story Of The Year       Anthem Of Our Dying Day                 Warner Bros. Records Inc.   SR0000340938
 6883 Story Of The Year       Divide And Conquer                      Warner Bros. Records Inc.   SR0000340938
 6884 Story Of The Year       Sidewalks                               Warner Bros. Records Inc.   SR0000340938
 6885 The Cure                Let's Go To Bed                         Warner Bros. Records Inc.   SR0000045130
 6886 The Cure                The Caterpillar                         Warner Bros. Records Inc.   SR0000054339
 6887 Van Halen               1984                                    Warner Bros. Records Inc.   SR0000054482
 6888 Van Halen               Drop Dead Legs                          Warner Bros. Records Inc.   SR0000054482
 6889 Van Halen               Girl Gone Bad                           Warner Bros. Records Inc.   SR0000054482
 6890 Van Halen               Hot For Teacher                         Warner Bros. Records Inc.   SR0000054482
 6891 Van Halen               House Of Pain                           Warner Bros. Records Inc.   SR0000053832
 6892 Van Halen               I'll Wait                               Warner Bros. Records Inc.   SR0000054482
 6893 Van Halen               Jump                                    Warner Bros. Records Inc.   SR0000053832
 6894 Van Halen               Panama                                  Warner Bros. Records Inc.   SR0000054482
 6895 Van Halen               Top Jimmy                               Warner Bros. Records Inc.   SR0000054482
 6896 Backstreet Boys         All I Have To Give                      Zomba Recording LLC         SR0000250678
 6897 Backstreet Boys         As Long As You Love Me                  Zomba Recording LLC         SR0000250678
 6898 Backstreet Boys         Drowning                                Zomba Recording LLC         SR0000291879
 6899 Backstreet Boys         Everybody (Backstreet's Back)           Zomba Recording LLC         SR0000254065
 6900 Backstreet Boys         I Want It That Way                      Zomba Recording LLC         SR0000275134
 6901 Backstreet Boys         I'll Never Break Your Heart             Zomba Recording LLC         SR0000250678
 6902 Backstreet Boys         Larger Than Life                        Zomba Recording LLC         SR0000275134
 6903 Backstreet Boys         More Than That                          Zomba Recording LLC         SR0000289455
 6904 Backstreet Boys         Quit Playing Games (With My Heart)      Zomba Recording LLC         SR0000250678
 6905 Backstreet Boys         Shape Of My Heart                       Zomba Recording LLC         SR0000289455
 6906 Backstreet Boys         Show Me The Meaning Of Being Lonely     Zomba Recording LLC         SR0000275134
 6907 Backstreet Boys         The Call                                Zomba Recording LLC         SR0000289455
 6908 Backstreet Boys         The One                                 Zomba Recording LLC         SR0000275134
 6909 Bowling For Soup        1985                                    Zomba Recording LLC         SR0000361081
 6910 Bowling For Soup        A-hole                                  Zomba Recording LLC         SR0000361081
 6911 Bowling For Soup        Almost                                  Zomba Recording LLC         SR0000361081
 6912 Bowling For Soup        Down For The Count                      Zomba Recording LLC         SR0000361081
 6913 Bowling For Soup        Friends O' Mine                         Zomba Recording LLC         SR0000361081
 6914 Bowling For Soup        Get Happy                               Zomba Recording LLC         SR0000361081
 6915 Bowling For Soup        Last Call Casualty                      Zomba Recording LLC         SR0000361081
 6916 Bowling For Soup        My Hometown                             Zomba Recording LLC         SR0000361081
 6917 Bowling For Soup        Next Ex-Girlfriend                      Zomba Recording LLC         SR0000361081
 6918 Bowling For Soup        Ohio                                    Zomba Recording LLC         SR0000361081
 6919 Bowling For Soup        Really Might Be Gone                    Zomba Recording LLC         SR0000361081
 6920 Bowling For Soup        Ridiculous                              Zomba Recording LLC         SR0000361081
 6921 Bowling For Soup        Sad Sad Situation                       Zomba Recording LLC         SR0000361081
 6922 Bowling For Soup        Shut-Up And Smile                       Zomba Recording LLC         SR0000361081
 6923 Bowling For Soup        Smoothie King                           Zomba Recording LLC         SR0000361081
 6924 Bowling For Soup        Trucker Hat                             Zomba Recording LLC         SR0000361081
 6925 Bowling For Soup        Two-Seater                              Zomba Recording LLC         SR0000361081
 6926 Britney Spears          (I've Just Begun) Having My Fun         Zomba Recording LLC         SR0000361774
 6927 Britney Spears          (You Drive Me) Crazy                    Zomba Recording LLC         SR0000260870
 6928 Britney Spears          Amnesia                                 Zomba Recording LLC         SR0000620789
 6929 Britney Spears          Blur                                    Zomba Recording LLC         SR0000620789
 6930 Britney Spears          Circus                                  Zomba Recording LLC         SR0000620789
 6931 Britney Spears          Don't Let Me Be The Last One To Know    Zomba Recording LLC         SR0000285667
 6932 Britney Spears          I Love Rock 'N' Roll                    Zomba Recording LLC         SR0000301907
 6933 Britney Spears          I'm a Slave 4 U                         Zomba Recording LLC         SR0000301907
 6934 Britney Spears          I'm Not a Girl, Not Yet A Woman         Zomba Recording LLC         SR0000301907
 6935 Britney Spears          If U Seek Amy                           Zomba Recording LLC         SR0000620789
 6936 Britney Spears          Kill The Lights                         Zomba Recording LLC         SR0000620789
 6937 Britney Spears          Lace and Leather                        Zomba Recording LLC         SR0000620789
 6938 Britney Spears          Lucky                                   Zomba Recording LLC         SR0000285667
 6939 Britney Spears          Mannequin                               Zomba Recording LLC         SR0000620789
 6940 Britney Spears          Mmm Papi                                Zomba Recording LLC         SR0000620789
 6941 Britney Spears          My Baby                                 Zomba Recording LLC         SR0000620789
 6942 Britney Spears          My Prerogative (Boy Wunder Radio Mix)   Zomba Recording LLC         SR0000361774
 6943 Britney Spears          Out From Under                          Zomba Recording LLC         SR0000620789
 6944 Britney Spears          Overprotected                           Zomba Recording LLC         SR0000301907
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6945 Britney Spears                           Phonography                                          Zomba Recording LLC   SR0000620789
6946 Britney Spears                           Piece Of Me                                          Zomba Recording LLC   SR0000609604
6947 Britney Spears                           Radar                                                Zomba Recording LLC   SR0000609604
6948 Britney Spears                           Rock Me In                                           Zomba Recording LLC   SR0000620789
6949 Britney Spears                           Shattered Glass                                      Zomba Recording LLC   SR0000609604
6950 Britney Spears                           Sometimes                                            Zomba Recording LLC   SR0000260870
6951 Britney Spears                           Unusual You                                          Zomba Recording LLC   SR0000620789
6952 Britney Spears                           Womanizer                                            Zomba Recording LLC   PA0001619000
6953 Britney Spears feat. Pharrell Williams   Boys                                                 Zomba Recording LLC   SR0000301907
6954 Céline Dion                              I'm Your Angel (Duet With R. Kelly)                  Zomba Recording LLC   SR0000204533
6955 Chris Brown                              Damage                                               Zomba Recording LLC   SR0000630132
6956 Chris Brown                              Down                                                 Zomba Recording LLC   SR0000630132
6957 Chris Brown                              Forever                                              Zomba Recording LLC   SR0000613921
6958 Chris Brown                              Gimme Whatcha Got                                    Zomba Recording LLC   SR0000630132
6959 Chris Brown                              Heart Ain't A Brain                                  Zomba Recording LLC   SR0000613921
6960 Chris Brown                              Help Me                                              Zomba Recording LLC   SR0000630132
6961 Chris Brown                              Hold Up                                              Zomba Recording LLC   SR0000630132
6962 Chris Brown                              I Wanna Be                                           Zomba Recording LLC   SR0000630132
6963 Chris Brown                              I'll Call Ya                                         Zomba Recording LLC   SR0000630132
6964 Chris Brown                              Kiss Kiss                                            Zomba Recording LLC   SR0000630132
6965 Chris Brown                              Lottery                                              Zomba Recording LLC   SR0000630132
6966 Chris Brown                              Nice                                                 Zomba Recording LLC   SR0000630132
6967 Chris Brown                              Picture Perfect                                      Zomba Recording LLC   SR0000630132
6968 Chris Brown                              Superhuman                                           Zomba Recording LLC   SR0000613921
6969 Chris Brown                              Take You Down                                        Zomba Recording LLC   SR0000630132
6970 Chris Brown                              Throwed                                              Zomba Recording LLC   SR0000630132
6971 Chris Brown                              Wall To Wall                                         Zomba Recording LLC   PA0001634637
6972 Chris Brown                              With You                                             Zomba Recording LLC   SR0000630132
6973 Chris Brown                              You                                                  Zomba Recording LLC   SR0000630132
6974 Ciara                                    And I                                                Zomba Recording LLC   SR0000355316
6975 Ciara                                    Crazy                                                Zomba Recording LLC   SR0000355316
6976 Ciara                                    Goodies                                              Zomba Recording LLC   SR0000355316
6977 Ciara                                    Hotline                                              Zomba Recording LLC   SR0000355316
6978 Ciara                                    Lookin' At You                                       Zomba Recording LLC   SR0000355316
6979 Ciara                                    Ooh Baby                                             Zomba Recording LLC   SR0000355316
6980 Ciara                                    Other Chicks                                         Zomba Recording LLC   SR0000355316
6981 Ciara                                    Pick Up The Phone                                    Zomba Recording LLC   SR0000355316
6982 Ciara                                    The Title                                            Zomba Recording LLC   SR0000355316
6983 Ciara                                    Thug Style                                           Zomba Recording LLC   SR0000355316
6984 Ciara feat. Missy Elliott                One, Two Step                                        Zomba Recording LLC   SR0000355316
6985 Ciara feat. R. Kelly                     Next To You                                          Zomba Recording LLC   SR0000355316
6986 Donell Jones featuring Left-Eye          U Know What's Up                                     Zomba Recording LLC   PA0001280927
6987 Justin Timberlake                        (And She Said) Take Me Now                           Zomba Recording LLC   SR0000319834
6988 Justin Timberlake                        (Another Song) All Over Again                        Zomba Recording LLC   SR0000395943
6989 Justin Timberlake                        (Oh No) What You Got                                 Zomba Recording LLC   SR0000319834
6990 Justin Timberlake                        Chop Me Up                                           Zomba Recording LLC   SR0000395943
6991 Justin Timberlake                        Cry Me A River                                       Zomba Recording LLC   SR0000319834
6992 Justin Timberlake                        FutureSex / LoveSound                                Zomba Recording LLC   SR0000395943
6993 Justin Timberlake                        Last Night                                           Zomba Recording LLC   SR0000319834
6994 Justin Timberlake                        Let's Take A Ride                                    Zomba Recording LLC   SR0000319834
6995 Justin Timberlake                        Like I Love You                                      Zomba Recording LLC   SR0000321888
6996 Justin Timberlake                        Losing My Way                                        Zomba Recording LLC   SR0000395943
6997 Justin Timberlake                        LoveStoned / I Think She Knows Interlude             Zomba Recording LLC   SR0000395943
6998 Justin Timberlake                        Lovestoned/I Think She Knows                         Zomba Recording LLC   SR0000395943
6999 Justin Timberlake                        Medley: Sexy Ladies / Let Me Talk to You (Prelude)   Zomba Recording LLC   SR0000395943
7000 Justin Timberlake                        My Love                                              Zomba Recording LLC   SR0000395943
7001 Justin Timberlake                        Never Again                                          Zomba Recording LLC   SR0000319834
7002 Justin Timberlake                        Nothin' Else                                         Zomba Recording LLC   SR0000319834
7003 Justin Timberlake                        Right For Me                                         Zomba Recording LLC   SR0000319834
7004 Justin Timberlake                        Rock Your Body                                       Zomba Recording LLC   SR0000319834
7005 Justin Timberlake                        Senorita                                             Zomba Recording LLC   SR0000319834
7006 Justin Timberlake                        Sexy Ladies                                          Zomba Recording LLC   SR0000395943
7007 Justin Timberlake                        Still On My Brain                                    Zomba Recording LLC   SR0000319834
7008 Justin Timberlake                        Summer Love                                          Zomba Recording LLC   SR0000395943
7009 Justin Timberlake                        Take It From Here                                    Zomba Recording LLC   SR0000319834
7010 Justin Timberlake                        Until The End Of Time                                Zomba Recording LLC   SR0000395943
7011 Justin Timberlake                        What Goes Around... Comes Around                     Zomba Recording LLC   SR0000395943
7012 Justin Timberlake                        What Goes Around.../...Comes Around Interlude        Zomba Recording LLC   SR0000395943
7013 Justin Timberlake                        Damn Girl (feat. will.i.am)                          Zomba Recording LLC   SR0000395943
7014 Three Days Grace                         Born Like This                                       Zomba Recording LLC   SR0000338429
7015 Three Days Grace                         Burn                                                 Zomba Recording LLC   SR0000338429
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7016 Three Days Grace          Drown                                                           Zomba Recording LLC   SR0000338429
7017 Three Days Grace          Get Out Alive                                                   Zomba Recording LLC   SR0000397604
7018 Three Days Grace          Gone Forever                                                    Zomba Recording LLC   SR0000397604
7019 Three Days Grace          I Hate Everything About You                                     Zomba Recording LLC   SR0000338429
7020 Three Days Grace          It's All Over                                                   Zomba Recording LLC   SR0000397604
7021 Three Days Grace          Just Like You                                                   Zomba Recording LLC   SR0000338429
7022 Three Days Grace          Let It Die                                                      Zomba Recording LLC   SR0000397604
7023 Three Days Grace          Let You Down                                                    Zomba Recording LLC   SR0000338429
7024 Three Days Grace          Never Too Late                                                  Zomba Recording LLC   SR0000397604
7025 Three Days Grace          Now or Never                                                    Zomba Recording LLC   SR0000338429
7026 Three Days Grace          On My Own                                                       Zomba Recording LLC   SR0000397604
7027 Three Days Grace          One X                                                           Zomba Recording LLC   SR0000397604
7028 Three Days Grace          Over And Over                                                   Zomba Recording LLC   SR0000397604
7029 Three Days Grace          Overrated                                                       Zomba Recording LLC   SR0000338429
7030 Three Days Grace          Riot                                                            Zomba Recording LLC   SR0000397604
7031 Three Days Grace          Scared                                                          Zomba Recording LLC   SR0000338429
7032 Three Days Grace          Take Me Under                                                   Zomba Recording LLC   SR0000338429
7033 Three Days Grace          Time Of Dying                                                   Zomba Recording LLC   SR0000397604
7034 Three Days Grace          Wake Up                                                         Zomba Recording LLC   SR0000338429
7035 UGK (Underground Kingz)   Int'l Players Anthem (I Choose You) (Explicit)                  Zomba Recording LLC   PA0001634651
7036 Usher                     Confessions Part II Remix                                       Zomba Recording LLC   SR0000352165
7037 Usher                     My Boo                                                          Zomba Recording LLC   SR0000352165
7038 Usher                     Red Light                                                       Zomba Recording LLC   SR0000352165
7039 Usher                     Seduction                                                       Zomba Recording LLC   SR0000352165
7040 Usher & Alicia Keys       My Boo                                                          Zomba Recording LLC   SR0000352165
7041 Weird Al Yankovic         Albuquerque                                                     Zomba Recording LLC   SR0000275219
7042 Weird Al Yankovic         Germs                                                           Zomba Recording LLC   SR0000275219
                               Grapefruit Diet (Parody of "Zoot Suit Riot" by Cherry Poppin'
7043 Weird Al Yankovic         Daddies)                                                        Zomba Recording LLC   SR0000275219
7044 Weird Al Yankovic         It's All About The Pentiums                                     Zomba Recording LLC   SR0000275219
7045 Weird Al Yankovic         Jerry Springer (Parody of "One Week" by BareNaked Ladies)       Zomba Recording LLC   SR0000275219
7046 Weird Al Yankovic         My Baby's In Love With Eddie Vedder                             Zomba Recording LLC   SR0000275219
7047 Weird Al Yankovic         Polka Power!                                                    Zomba Recording LLC   SR0000275219
                               Pretty Fly For A Rabbi (Parody of "Pretty Fly (For A White
7048 Weird Al Yankovic         Guy)" by Offspring)                                             Zomba Recording LLC   SR0000275219
7049 Weird Al Yankovic         The Saga Begins (Lyrical Adaption of "American Pie")            Zomba Recording LLC   SR0000275219
7050 Weird Al Yankovic         The Weird Al Show Theme                                         Zomba Recording LLC   SR0000275219
7051 Weird Al Yankovic         Truck Drivin' Song                                              Zomba Recording LLC   SR0000275219
7052 Weird Al Yankovic         Your Horoscope For Today                                        Zomba Recording LLC   SR0000275219
7053 Whodini                   Big Mouth                                                       Zomba Recording LLC   SR0000063110
7054 Whodini                   Escape (I Need A Break)                                         Zomba Recording LLC   SR0000063110
7055 Whodini                   Five Minutes Of Funk                                            Zomba Recording LLC   SR0000060859
7056 Whodini                   Freaks Come Out At Night                                        Zomba Recording LLC   SR0000063110
7057 Whodini                   Friends                                                         Zomba Recording LLC   SR0000060859
